                                                                                   E-FILED
                                                Thursday, 29 September, 2022 02:26:25 PM
                                                              Clerk, U.S. District Court, ILCD

                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF ILLINOIS
                           ROCK ISLAND DIVISION



UNITED STATES OF AMERICA, ex rel.
GEOFFREY HOWARD and ZELLA
HEMPHILL,                           Case No. 4:11-cv-04022-MMM-JEH

                 Plaintiffs,
                                    Judge Michael M. Mihm
            v.                      Magistrate Judge Jonathan E. Hawley

KBR INC. and KELLOGG BROWN AND
ROOT SERVICES INC.,

                 Defendants.



                    PLAINTIFFS/RELATORS’ OPPOSITION
             TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT




 13813935
                                                  TABLE OF CONTENTS

                                                                                                                                     Page

TABLE OF AUTHORITIES ......................................................................................................... iv

INTRODUCTION .......................................................................................................................... 1

RESPONSE TO KBR’s STATEMENT OF FACTS ...................................................................... 4

          I.         UNDISPUTED MATERIAL FACTS .................................................................... 4

          II.        DISPUTED MATERIAL FACTS .......................................................................... 6

          III.       DISPUTED IMMATERIAL FACTS ................................................................. 117

          IV.        UNDISPUTED IMMATERIAL FACTS ........................................................... 141

ADDITIONAL MATERIAL FACTS ........................................................................................ 172

          I.         KBR Had a Financial Incentive to Over-Order Supplies on
                     LOGCAP III........................................................................................................ 172

          II.        The Government Hired KBR to be the Army’s Inventory Manager, and
                     Inventory Managers Have to Cross-Level .......................................................... 175

                     A.        KBR Knew That the Government Would Not Pay for
                               Unnecessary Purchases of Inventory ...................................................... 180

                     B.        The Task Orders Issued by the Government Required KBR to
                               Cross Level ............................................................................................. 183

                     C.        KBR Developed and Was Required to Follow Specific
                               Procedures for Acquiring and Managing Inventory, Including
                               Cross-Leveling ........................................................................................ 184

                     D.        Overview of KBR’s Process for Cross-Leveling .................................... 187

          III.       KBR Systematically Failed to Make Use of Existing, Excess Inventory ........... 194

                     A.        KBR Inexplicably Operated for Years without an Integrated
                               Inventory Management System, and Its Transition to an
                               Integrated Inventory Management System Was Fraught with
                               Delays and Problems............................................................................... 194

                     B.        Overview of KBR’s Systemic Failures ................................................... 195

                     C.        KBR Did Not Even Check Its Existing Inventory Before
                               Making New Purchases........................................................................... 200


                                                                   -i-
       D.        KBR Sites Ignored Efforts to Use Existing Inventory to Avoid
                 Making New Purchases, Instead Hoarding Inventory ............................ 203

       E.        KBR Misclassified Its Inventory, Causing It to Unnecessarily
                 Purchase New Inventory Instead of Using Existing Inventory............... 205

       F.        KBR Misused TRECs To Hide Its Abundance of Inventory .................. 207

       G.        KBR Knew That the Government Would Have Demanded
                 Funds Back Via Forms 1 Had the Government Known of
                 KBR’s Systemic Inventory Management Failures ................................. 209

IV.    KBR Hid Its Failures From the Government ...................................................... 212

       A.        KBR Controlled the Information Provided to the Government in
                 Order to Hide What It Did Not Want the Government to See ................ 212

       B.        KBR Hid That It Had Misused TRECs for Years................................... 215

       C.        KBR Hid That It Discovered an “Extensive Cover Up”
                 regarding Two Warehouses Full of Unused Inventory at One of
                 Its Sites When It Had $1 Billion of Inventory “Lying Around
                 Unused”................................................................................................... 219

       D.        KBR Concealed That the Form It Provided to the Government
                 When Returning Unused Inventory Was Full of False
                 Statements ............................................................................................... 220

V.     KBR Never Disclosed Its Systemic Problems With Purchasing New
       Inventory When It Had Excess Inventory Available .......................................... 223

VI.    The Government Did Not Know About KBR’s Systemic Inventory
       Management Failures .......................................................................................... 227

VII.   KBR’s Statements to the Government Falsely Represented Compliance
       with Its Cross-Leveling Obligations ................................................................... 232

       A.        KBR’s Statements to the Government on Public Vouchers
                 Falsely Represented Compliance with Its Cross-Leveling
                 Obligations .............................................................................................. 232

       B.        KBR’s Statements to the Government on Materials Requisitions
                 Falsely Represented Compliance with Its Cross-Leveling
                 Obligations .............................................................................................. 237

       C.        PCARSS.................................................................................................. 239

       D.        Award Fees ............................................................................................. 240



                                                     -ii-
          VIII.      Financial Impact of KBR’s Requests for Reimbursement of Items
                     Purchased When It Already Had Excess Amounts of Inventory on
                     Hand .................................................................................................................... 241

LEGAL STANDARDS .............................................................................................................. 245

ARGUMENT .............................................................................................................................. 246

          I.         KBR Submitted Thousands of False Claims for Payment .................................. 246

                     A.         KBR Submitted Implied False Claims through Its Public
                                Vouchers. ................................................................................................ 247

                     B.         KBR Submitted Implied False Claims through Its Award Fee
                                Applications. ........................................................................................... 250

                     C.         Buying Material Without Checking for Excess on Hand
                                Violates A Core Requirement of LOGCAP III, Like Guns That
                                “Do Not Shoot.” ...................................................................................... 251

                     D.         As This Court Previously Held, KBR Violated Objective
                                Requirements, and Falsity Does Not Require A Quantitatively
                                Measurable Performance Standard. ........................................................ 252

          II.        The Evidence of Scienter Is Overwhelming, and SuperValu Does Not
                     Preclude The Court from Considering That Evidence. ....................................... 257

                     A.         There Is Overwhelming Evidence of Scienter. ....................................... 258

                     B.         SuperValu Does Not Apply Because The Parties Do Not
                                Dispute The Meaning of Legal Terms; The Parties Dispute
                                Whether KBR’s Performance Satisfied The Legal Requirements
                                of The Contract. ...................................................................................... 259

                     C.         SuperValu Does Not Apply to “Reasonable Interpretations” of
                                Contract Terms........................................................................................ 260

                     D.         KBR Fails to Demonstrate That It Acted in Accordance with Its
                                Purportedly “Reasonable” Interpretation of The Contract...................... 263

          III.       Relators Have Identified Thousands of False Claims ......................................... 265

CERTIFICATE OF COMPLIANCE .......................................................................................... 269

APPENDIX A – PLAINTIFFS-RELATORS’ APPENDIX OF KEY TERMS AND
ACRONYMS

INDEX OF EXHIBITS TO PLAINTIFFS/RELATORS’ OPPOSITION TO
DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


                                                                     -iii-
                                              TABLE OF AUTHORITIES

                                                                                                                                Page
Cases

Boyle v. United Techs. Corp.,
       487 U.S. 500 (1988) ........................................................................................................ 261

Dennison v. MONY Life Ret. Income Sec. Plan for Emps.,
      710 F.3d 741 (7th Cir. 2013) .......................................................................................... 261

Grossman v. Smart,
      807 F. Supp. 1404 (C.D. Ill. 1992) (Mihm, J.) ....................................................... 245, 258

Illinois ex rel. Elder v. JPMorgan Chase Bank, N.A.,
         No. 21 C 85, 2022 WL 3908675 (N.D. Ill. Aug. 30, 2022) ............................................ 263

Kellogg Brown & Root Services, Inc. v. United States,
       728 F.3d 1348 (Fed. Cir. 2013)............................................................................... 253, 254

Lupinetti v. Exeltis USA,
       No. 19 C 825, 2021 WL 5407424 (N.D. Ill. Nov. 19, 2021) .......................................... 263

McBride v. Barnes,
      No. 1:18-CV-1424, 2021 WL 4750570 (C.D. Ill. Oct. 12, 2021) (Mihm, J.)................. 245

Metro. Area Transit, Inc. v. Nicholson,
       463 F.3d 1256 (Fed. Cir. 2006)....................................................................................... 261

Safeco Ins. Co. of Am. v. Burr,
       551 U.S. 47 (2007) .................................................................................................. 262, 263

Specialty Earth Scis., LLC v. Carus Corp.,
       No. 15-CV-06133, 2021 WL 4804076 (N.D. Ill. Oct. 14, 2021) ................................... 253

Stewart v. Wexford Health Sources, Inc.,
       14 F.4th 757 (7th Cir. 2021) ........................................................................................... 245

United States ex rel. Barko v. Halliburton Co.,
       241 F. Supp. 3d 37 (D.D.C. 2017) .................................................................................. 250

United States ex rel. Campie v. Gilead Scis., Inc.,
       862 F.3d 890 (9th Cir. 2017) .......................................................................................... 249

United States ex rel. Donegan v. Anesthesia Assocs. of Kan. City, PC,
       833 F.3d 874 (8th Cir. 2016) .......................................................................................... 263

United States ex rel. Garzione v. PAE Gov’t Servs., Inc.,
       164 F. Supp. 3d 806 (E.D. Va. 2016) ............................................................................. 257


                                                                 -iv-
United States ex rel. Grubea v. Rosicki, Rosicki & Assocs., P.C.,
       318 F. Supp. 3d 680 (S.D.N.Y. 2018)............................................................................. 249

United States ex rel. Lisitza v. Par Pharm. Cos., Inc.,
       276 F. Supp. 3d 799 (N.D. Ill. 2017) .............................................................................. 257

United States ex rel. McGrath v. Microsemi Corp.,
       690 F. App’x 551 (9th Cir. 2017) ................................................................................... 263

United States ex rel. Olhausen v. Arriva Med. LLC,
       No. 21-10366, 2022 WL 1203023 (11th Cir. 2022) ....................................................... 263

United States ex rel. Proctor v. Safeway,
       30 F.4th 649 (7th Cir. 2022) ................................................................... 259, 260, 262, 263

United States ex rel. Purcell v. MWI Corp.,
       807 F.3d 281 (D.C. Cir. 2015) ........................................................................................ 263

United States ex rel. Schutte v. SuperValu Inc.,
       9 F.4th 455 (7th Cir. 2021) ........................................................................................ passim

United States ex rel. Sheldon v. Allergan Sales, LLC,
       24 F.4th 340 (4th Cir. 2022), opinion vacated and judgment affirmed,
       No. 20-2330, 2022 WL 4396367 (4th Cir. Sept. 23, 2022) ............................................ 263

United States ex rel. Streck v. Allergan,
       746 F. App’x 101 (3d Cir. 2018) .................................................................................... 263

United States ex rel. Wilson v. KBR,
       525 F.3d 370 (4th Cir. 2008) .......................................................................................... 255

United States ex rel. Yannacopoulos v. General Dynamics,
       652 F.3d 818 (7th Cir. 2011) .......................................................................................... 255

United States v. Academi Training Ctr., Inc.,
       220 F. Supp. 3d 676 (E.D. Va. 2016) ..................................................................... 249, 250

United States v. AseraCare, Inc.,
       938 F.3d 1278 (11th Cir. 2019) ...................................................................................... 256

United States v. Molina Healthcare of Ill., Inc.,
       17 F.4th 732 (7th Cir. 2021) ................................................................... 249, 250, 251, 252

United States v. Nat’l Steel Corp.,
       75 F.3d 1146 (7th Cir. 1996) .......................................................................................... 261

United States v. Northrop Grumman Systems Corporation,
       9 CV 7306, 2015 WL 5916871 (N.D. Ill. 2015) ............................................................. 256



                                                               -v-
United States v. Rogan,
       517 F.3d 449 (7th Cir. 2008) .......................................................................................... 266

United States v. Sanford-Brown, Ltd.,
       840 F.3d 445 (7th Cir. 2016) .......................................................................................... 250

United States v. Triple Canopy, Inc.,
       857 F.3d 174 (4th Cir. 2017), cert. dismissed, 138 S. Ct. 370 (2017) ............................ 249

United States v. Wisconsin Bell Inc.,
       No. 08-CV-0724, 2022 WL 860621 (E.D. Wis. Mar. 23, 2022) .................................... 263

Universal Health Services, Inc. v. United States ex rel. Escobar,
       579 U.S. 176 (2016) ................................................................................................... passim

Statutes

31 U.S.C. § 3729(a)(1)(B) .......................................................................................................... 247

31 U.S.C. § 3729(b)(1) ............................................................................................................... 259

31 U.S.C.A. § 3731(d) ................................................................................................................ 265

Other Authorities

Restatement (Second) of Contracts § 202(4) .............................................................................. 261

Regulations

FAR § 31.201-3 .......................................................................................................................... 254

FAR § 31.201-3(b) ...................................................................................................................... 254




                                                                   -vi-
                                       INTRODUCTION

       At the core of this case lies a basic tenet: An inventory manager, seeking billions of dollars

in reimbursement from the Government, cannot simply order as much material as it chooses,

knowing that there already exists massive excess of that same material in an accessible storeroom.

An inventory manager cannot order more spools of electrical cable when it knows it has enough

of that cable to last over 800 months. An inventory manager cannot deliberately bypass available

stockpiles for more than half the value of items it purchases, or deliberately misclassify and hide

material to justify purchasing even more. But this is exactly what KBR did. KBR and the

Government used the term “cross-leveling” to describe KBR’s fundamental obligation to look for

excess material and use it before spending taxpayer dollars to buy more. KBR’s failure to meet

this obligation cost the Government over $340 million in unnecessary purchases.

       Cross-leveling is a basic function, not an esoteric or technical concept that need be spelled

out. Yet, that requirement is explicit in many LOGCAP III contract provisions. KBR’s expert

claims that KBR was obligated to expend “the good faith maximum effort” to cross-level. That

requirement surely exists, but so do others that are even more specific. For example, each payment

demand that KBR made for Government funds represented that the materials invoiced were

“necessary for performance” of the contract. Specific Task Orders, Statements of Work, and

Government-approved Property Control Procedures all required cross-leveling “to the maximum

extent possible.”

       This Court has already validated the legal theories underpinning KBR’s liability under the

False Claims Act (“FCA”). The Court previously held that regulations incorporated into the

contract required that all costs be “reasonable,” a representation that the Court found to be

objectively false assuming the truth of allegations of KBR’s knowing and systemic failure to




                                                -1-
cross-level. Overwhelming evidence now proves the truth of those allegations and KBR’s

misrepresentations to the Government are even clearer.

       KBR seeks to avoid the Court’s prior legal ruling by arguing that the Supreme Court’s

decision in Universal Health Services, Inc. v. United States ex rel. Escobar, 579 U.S. 176 (2016)

somehow undermines it. Escobar was a 9-0 decision in favor of the relator, expanding the scope

of FCA liability. As explained below, Escobar not only supports this Court’s ruling, it dictates the

conclusion that KBR submitted false claims.

       In an attempt at factual distortion, KBR frames this case as quibbling over whether KBR

was “efficient” enough in cross-leveling. But even a brief overview of the evidence shows a

deliberate, systemic scheme to overcharge the Government by hundreds of millions of dollars.

According to KBR “Senior Leadership Team” member Rich Kaye (one of three top executives on

LOGCAP III), KBR simply bypassed cross-leveling requirements for 50% of its dollar purchases

in 2009, with even worse performance in previous years. It did so by failing to put new requisitions

in Material Control (“MATCON”) status, thus circumventing KBR’s Distribution Management

Center (“DMC”), whose job was to check for excess in theater. According to Kaye himself, this

failure meant that KBR was not even looking at whether material was available in theater for half

(or more) of all material purchases.

       Even when KBR looked for excess, the DMC was blind to much of what was available

because KBR deliberately misclassified material to shield it from cross-leveling. KBR fraudulently

placed material off limits to cross-leveling in four key ways: (1) KBR classified tens of millions

of dollars of lower demand “non-stock” items as frequently-consumed “stock” items, making that

material far more difficult to cross-level; (2) KBR placed items on “reserve” without justification,

which made them unavailable to cross-level; (3) KBR improperly left over $350 million of




                                                -2-
material in TRECs for over 60 days, where it was unavailable for cross-leveling, when the allowed

maximum TREC time was 48 hours “in transit”; and (4) near the end of the contract, when KBR

began to return some materials to the Government, it falsely certified that those materials had no

use for the mission, while continuing to order more of the same materials. KBR personnel

identified all four practices early in the contract, yet they remained uncorrected for years. In its

prior Order denying KBR’s motion to dismiss, this Court cited all four as supporting an FCA

violation.

       KBR lamented these problems internally, noting that if the Government knew of them, it

would seek refunds or “put KBR out of business.” But KBR never disclosed these issues to the

Government; it concealed them. The summary judgment record contains a mountain of devastating

evidence that KBR submitted false claims to the Government, seeking reimbursement to which it

knew it was not entitled. KBR’s summary judgment motion should be denied.




                                                -3-
                     RESPONSE TO KBR’S STATEMENT OF FACTS

I.     UNDISPUTED MATERIAL FACTS

       Relators do not dispute the KBR Statements of Fact listed in this section solely for the

purposes of deciding KBR’s summary judgment motion.

       The following facts from KBR’s Statement of Facts (“KBR’s SOF”) are undisputed and

material:

KBR SOF 2. “In this case, the term ‘cross-leveling’ means the process by which KBR fulfilled
demands for wartime supplies by using available materials in KBR storerooms instead of
purchasing new supplies. Compl. ¶ 9.”

KBR SOF 3. “The war theater consisted of numerous bases of various sizes, known as ‘sites,’
which were spread across Iraq, Afghanistan, Kuwait, Jordan, Djibouti, Turkey, Georgia, and
Uzbekistan. [KBR] Ex. 1, Booth Decl. ¶ 3 (Aug. 29, 2022). In the relevant time period, KBR
supported the military at over 200 sites in the war theater, with the majority located in Iraq and
Afghanistan. Id. at ¶ 4; see also [KBR] Ex. 33, Vollmecke Dep. (Oct. 23, 2020) at 33:14-37:12
(describing the environment as ‘quite challenging’ with ‘elements of weather, the enemy, and
constant, again, mortar rocket attacks,’ creating ‘extremely complicated’ logistical support
operations ‘spread across 426,105 miles between two [war] theaters’ during his tenure as DCMA
commander).”

KBR SOF 5. “On December 14, 2001, the Army Operations Support Command, Rock Island,
Illinois (‘ACC’) awarded the LOGCAP III contract to Brown & Root Services, Inc, a subsidiary
of Defendant Kellogg Brown & Root Services, Inc. (‘KBR’) [KBR] Ex. 17, Contract DAAA09-
02-D-0007 (Dec. 14, 2001) (‘LOGCAP III Contract’). LOGCAP utilizes civilian contractors to
perform life support and other services for the warfighter. Id. at Base Statement of Work (“Base
SOW”) at §1.0 (KBR-HOW-7104387); [KBR] Ex. 32, Wade Dep. (Sept. 15, 2020) at 13:23-24;
[KBR] Ex. 34, Larkin Dep. (Nov. 5, 2020) at 43:4-45:14.

KBR SOF 6. “LOGCAP III is an indefinite delivery, indefinite quantity (‘IDIQ’) contract. [KBR]
Ex. 33, Vollmecke Dep. (Oct. 23, 2020) at 23:13-16. This IDIQ contract served as an umbrella
contract, and KBR performed work under it pursuant to individually-awarded task orders. [KBR]
Ex. 26, Branch Rep. at 19; [KBR] Ex. 32, Wade Dep. (Sept. 15, 2020) at 26:17-19; [KBR] Ex. 34,
Larkin Dep. (Nov. 5, 2020) at 64:8-16.

KBR SOF 12. “KBR purchased materials for twenty-three task orders during the relevant time
period: task orders 104, 110, 114, 116, 117, 118, 121, 122, 129, 130, 131, 137, 138, 139, 142, 145,
147, 151, 152, 155, 157, 159, and 161. [KBR] Ex. 1, Booth Decl. ¶ 5. These task orders were cost-
reimbursable contracts, id., meaning KBR was entitled to reimbursement for the costs incurred
during its performance of the task orders as long as the costs were reasonable, among other things.
FAR 52.216-7; FAR 31.201; [KBR] Ex. 26, Branch Rep. at 26-27.”




                                                -4-
KBR SOF 16. “The Form 1034 contained in each public voucher includes a statement that
‘Pursuant to the authority vested in me, I certify that this voucher is correct and proper for
payment.’ See, e.g., [KBR] Ex. 18, Task Order 139 Voucher Package (PDF of Native Excel
produced at KBR-HOW-0043594); [KBR] Ex. 19, Task Order 159 Voucher Package (PDF of
Native Excel produced at KBR-HOW-0044437). The Government was responsible for executing
this part of the voucher. [KBR] Ex. 29, KBR 30(b)(6) Dep. (Sept. 23, 2021) at 165:9-167:8. This
section could only be completed by a Government official from the Defense Contract Audit
Agency (‘DCAA’) after the official had reviewed and ‘provisionally approved’ the purchases
reflected by the voucher, meaning that DCAA approved the voucher for payment but retained the
right to later perform an ‘incurred cost audit.’ Id. at 165:22-169:22.”

KBR SOF 17. “Due to the size and scope of LOGCAP III, the Army delegated aspects of contract
administration, including property management oversight, to the Defense Contract Management
Agency (‘DCMA’). [KBR] Ex. 33, Vollmecke Dep. (Oct. 23, 2020) at 21:23-24:19; id. at 66:21-
67:13.”

KBR SOF 18. “LOGCAP III incorporated the FAR Government property clause and thus required
KBR to establish and maintain an adequate property management system (PMS) approved by the
DCMA Government Property Administrator (GPA). [KBR] Ex. 16, DOD 4161.2-M, Dept. of Def.
Manual for the Performance of Contract Property Admin. at 1-2 to 1-3 (‘DOD Property Manual’);
see also FAR 52.245-5(e)(2) (1986) & FAR 45.502(a) (1984); FAR 52.245-1 (2007).”

KBR SOF 47. “KBR’s costs under LOGCAP III are subject to audit and evaluation by the Defense
Contract Audit Agency (‘DCAA’). [KBR] Ex. 31, Walter Dep. (Apr. 23, 2021) at 146:16-19.
DCAA has the authority to question particular costs claimed by KBR and issue a ‘Form 1,’ which
suspends payment and recommends that the contracting officer disallow payment. [KBR] Ex. 29,
KBR 30(b)(6) Dep. (Sept. 23, 2021) at 18:5-9.”

KBR SOF 49. “During KBR’s performance of LOGCAP III, DCAA issued Form 1s questioning
the reasonableness of KBR’s costs on variety of issues. [KBR] Ex. 48, Booth Oct. 23, 2019 Decl.
at ¶ 11. Although DCAA reviewed KBR’s invoices for property and materials, DCAA never issued
a Form 1 or recommended the Government not pay any costs based on KBR’s purchases of
property and materials or its cross-leveling performance. Id.; see also [KBR] Ex. 29, KBR 30(b)(6)
Dep. (Sept. 23, 2021) at 170:15-17.”




                                               -5-
II.    DISPUTED MATERIAL FACTS

       The following facts from KBR’s SOF are material and disputed, for the following reasons.

KBR SOF 4. “KBR cross-leveled at least $495 million dollars in materials during the relevant
time period. [KBR] Ex. 39, Gaukler Rebuttal Rep. at 5 (stating that KBR cross-leveled
$495 million in materials); [KBR] Ex. 28, Walter Rep. at 2-3 (summarizing analysis finding that
KBR cross-leveled approximately $1.2 billion in materials, and as much as $4.9 billion overall);
[KBR] Ex. 36, Hemphill Dep. (Apr. 13, 2018) at 151:7-14 (testifying that KBR cross-leveled at
least $240 million of items).” Footnote 2: “The parties disagree about the exact quantity of
materials KBR cross-leveled during the relevant time period, with KBR’s own expert, Bill Walter,
calculating cross-leveling of materials alone as at least $700 million and potentially exceeding
$1 billion. KBR includes Dr. Gaukler’s calculation here only to show that the parties agree KBR
cross-leveled hundreds of millions of dollars’ worth of supplies even if all of Relators’ proffered
expert testimony is accepted.”

Relators’ Response to KBR SOF 4:

       The statement of fact, including the footnote, is disputed.

       First, KBR Exhibit 39, the rebuttal report of Relators’ expert, Dr. Gary Gaukler, supports

neither KBR’s statement that “KBR cross-leveled at least $495 million dollars in materials during

the relevant time period,” nor KBR’s parenthetical characterizing that rebuttal report as “stating

that KBR cross-leveled $495 million in materials,” nor KBR’s statement that “the parties agree

KBR cross-leveled hundreds of millions of dollars’ worth of supplies even if all of Relators’

proffered expert testimony is accepted.” That was not Dr. Gaukler’s opinion or conclusion at all.

Instead, Dr. Gaukler, among other things, opined that the calculations of KBR’s proffered expert,

Mr. William Walter, “contain numerous errors and overstate the number and value of KBR’s cross-

level transactions.” Ex. 105 (Expert Rebuttal Report of G. Gaukler) ¶ 5. Dr. Gaukler then

proceeded to identify no fewer than seven different categories of Mr. Walter’s errors and

overstatements. Id. Dr. Gaukler then opined that, “Correcting the number and value of cross-

leveled materials transactions that Mr. Walter improperly included reduces their value from

approximately $1.2 billion to approximately $495 million.” Id. ¶ 6. Dr. Gaukler’s identification of

certain errors and overstatements in the work of KBR’s proffered expert, Mr. Walter, and


                                                -6-
Dr. Gaukler’s analysis and calculation of the impact of correcting for Mr. Walter’s errors and

overstatements, does not equate to Dr. Gaukler or Relators agreeing that KBR cross-leveled

approximately $495 million in materials, as KBR states. Neither Dr. Gaukler nor Relators agree

that KBR cross-leveled approximately $495 million in materials.

       Second, KBR Exhibit 28, the report of KBR expert Mr. Walter, supports neither KBR’s

statement that “KBR cross-leveled at least $495 million dollars in materials during the relevant

time period,” nor its statement that “KBR’s own expert, Bill Walter, calculat[ed] cross-leveling of

materials alone as at least $700 million and potentially exceeding $1 billion,” because Mr. Walter’s

report is fundamentally flawed and subject to at least the multiple errors and overstatements that

Dr. Gaukler identified in his rebuttal report, including that Mr. Walter:

       (a) identifies “inside the wire” transactions as cross-levels despite acknowledging
       that the transactions appear to involve a single warehouse that issued materials to a
       group of sites within a common security perimeter, as opposed to materials
       transactions between independent sites;

       (b) includes transfers of property that did not fill a requisition and thereby avoid the
       need to order more goods—thus contradicting the very purpose of a cross-level.
       Specifically, Mr. Walter’s totals include numerous transactions that simply
       disposed of excess property from the LOGCAP III contract;

       (c) includes numerous other transactions that do not reflect Mr. Walter’s own
       definition of a cross-level, including administrative transactions in Maximo relating
       to item research and counterfeits;

       (d) includes pervasive double-counting of cross-level transactions for materials.
       Mr. Walter includes transactions in which KBR was returning materials to a
       storeroom from a worksite, such that he counts as a cross-level both the issue to fill
       a requisition and the return after the item was not used. Mr. Walter further double-
       counts transactions that KBR recorded in Maximo as both assets and materials,
       inflating the number and value of materials that KBR cross-leveled;

       (e) includes materials transactions that occurred within the same physical site,
       including materials that warehouses issued to “missions” located at their sites. Such
       transactions do not meet Mr. Walter’s own definition of a cross-level;




                                                 -7-
       (f) includes transactions involving items that KBR has asserted in this litigation are
       not subject to cross-leveling, including non-tangible items and TRECs; [and]

       (g) overstates the value of transactions by failing to correct errors in the materials’
       purchase price listed in Maximo.

Ex. 105 (Expert Rebuttal Report of G. Gaukler) ¶ 5. Mr. Walter also “overstates the number of

cross-levels involving assets.” Id. ¶ 5 n.9.

       Third, KBR Exhibit 36, excerpts of the deposition of Relator Hemphill, does not support

KBR’s statement that “KBR cross-leveled at least $495 million dollars in materials during the

relevant time period.” Relator Hemphill’s testimony at the transcript range KBR cites was as

follows:

       Q. Okay. Do you have a figure in your mind that you -- for the -- do you have a
       figure in your mind for the value of the items that you helped cross-level while you
       were working at the DMC?

       A. I always thought it was about 240 mil. I’m not sure.

       Q. About $240 million worth of items?

       A. Yes.

KBR Ex. 36 (excerpts of Relator Hemphill Dep.) at 151:7-14. Relator Hemphill did not testify that

“KBR cross-leveled at least $495 million dollars in materials during the relevant time period,” as

KBR asserts; Relator Hemphill testified as to a number less than half that amount. Furthermore,

Relator Hemphill stated that she was “not sure” about that number. Id. KBR’s parenthetical

characterizing Relator Hemphill’s testimony is likewise disputed. As the above testimony makes

clear, Relator Hemphill did not “testify[] that KBR cross-leveled at least $240 million of items,”

as KBR says in its parenthetical characterization (emphasis added). Relator Hemphill simply

testified that she “always thought it was about 240 mil[lion worth of items],” and added that she

was “not sure.” Id.




                                                -8-
       Fourth, there is substantial evidence in the record showing that KBR systemically failed to

cross-level, including bypassing the cross-leveling process half the time and manipulating

inventory to artificially decrease items available to cross-level. See, e.g., Ex. 66 (Feb. 28, 2010

internal KBR email from KBR’s Head of the DMC, C. O’Muirgheasa) at ‘4132 (“In 2009, 65% of

Requisitions] were put into MATCON, representing 51% of the dollars. So, 35% of the

Req[uisitions] bypassed us [KBR’s DMC], representing almost 50% of the dollars.”)

(emphasis added); Ex. 67 (KBR data) at ‘4133 (quantifying that in 2007, out of 65,372 Material

Requisitions valued at $1,237,891,670.75, a total of 52,488 (80.3%) of those Material Requisitions

valued at $949,886,655.51 (76.7% of the dollars) were not checked for cross-leveling; in 2008, out

of 90,025 Material Requisitions valued at $1,171,737,717.95, a total of 49,683 (55.2%) of those

Material Requisitions valued at $647,308,265.68 (55.2% of the dollars) were not checked for

cross-leveling; and in 2009, out of 65,526 Material Requisitions valued at $ 812,554,107.70, a

total of 23,124 (35.3%) of the Material Requisitions valued at $401,484,184.06 (49.4% of the

dollars) did not go to the DMC for the cross-leveling check); Ex. 3 (Internal KBR email containing

Dec. 29, 2008 email from KBR’s Head of the DMC, B. Simmons) at ‘4448 (“The three major

factors impeding the DMC’s ability to Cross Level under utilized materials are as follows:

1) Categorization of ASL/Inventory Lines (i.e. reflecting [STK] when demands indicates [SP] or

[NS] category)[;] 2) Unresponsive Sites/Projects to Tasking leading to Denials[;] 3) Sites/Projects

resistant to place Material Requisitions in MATCON Status; consequently, sending the Majority

(if not All) directly through Procurement Channels.”); Ex. 81 (Mar. 20, 2010 email from KBR

Deputy Program manager – Support, R. Kaye, to KBR Deputy Principal Program Manager,

Larry Lust) at ‘9112 (“Last year, fully 35% of all requisitions (with an extended value of

$401M[illion]) by-passed the cross-leveling check. As we start to turn over more and more




                                                -9-
materials to GOI [Government of Iraq], we are facing an increasing risk of being Formed 1 for

buying items we just declared excess and gave away. … [A]s of yesterday, we [had] 43,801

lines across Iraq being carried as STK that have 2 or fewer demands in the past 360 days.

We did a trial run on three sites and determined that 80% of their STK lines had RO [Requisition

Objectives] and ROP [Reorder Points] set above what it should be based upon demand history. …

We’ve got $71M[illion] in reserved stock of which less than 50% is legitimate. The rest is

against cancelled ACLs, completed ACLs, or just plain ‘hidden’ from cross-leveling. TREC

storerooms is going to be my biggest challenge….we’ve currently got $331M[illion] in them

as of yesterday. I’ve told Guy [LaBoa, KBR Principal Program Manager] this is the Mother of

all Forms 1.”) (emphasis added); Ex. 82 (Apr. 1, 2010 internal KBR email from KBR Deputy

Program Manager – Support, R. Kaye, to KBR Principal program Manager, G. LaBoa) at ‘7417

(“The deeper I dig, the more uncomfortable I become that we really do know what’s going on.

We’ve got continuing issues with RO [Requisition Objective], ROP [Reorder Point], Stk vs

Non-Stk, reservations and TRECs.”) (emphasis added); Ex. 7 (June 2009 email from KBR

employee) at ECF Page 4 (“He said they are placing everything on reserve so DMC won’t ask

for it CL [cross-level].”) (emphasis added); Ex. 8 (Internal KBR email containing Feb. 25, 2010

email from KBR’s Deputy Program Manager – Support, R. Kaye) at ‘0062 (“We are purchasing

$5 M per day when we’ve got $1.2 B i[n] excess on hand. At some point, the DCAA is going to

put KBR out of business if we keep doing this.”); Ex. 96 (Expert Report of G. Gaukler) at 5

(concluding that on 73,530 separate purchase orders, KBR had purchased $341 million of excess

inventory that it never should have purchased if KBR had followed its own procedures and

standards regarding cross-leveling); see also, e.g., Plaintiffs/Relators’ Statement of Additional

Material Facts (“SOF”) ¶¶ 52-86.




                                              -10-
KBR SOF 7. “Each task order included a statement of work (‘SOW’), which was a document
drafted by the Government that articulated KBR’s specific responsibilities for the particular task
order. [KBR] Ex. 32, Wade Dep. (Sept. 15, 2020) at 32:19-34:10.”

Relators’ Response to KBR SOF 7.

       The statement of fact is disputed.

       In addition to the specific responsibilities articulated in the statement of work for each task

order, when performing a task order under LOGCAP III, KBR also has specific responsibilities

under the LOGCAP III base contract. See, e.g., Ex.95 (LOGCAP III Base Contract and Statement

of Work) at ‘0006 (“For Cost-Reimbursable Contract Line Item Numbers (CLINs) only supplies

and materials necessary for performance under this contract will be reimbursed as stated in each

individual Task Order’s Scope of Work (SOW) and Federal Acquisition Regulation (FAR)

31.205-26.”); Ex. 62 (July 22, 2004 Amendment P00008 to LOGCAP III Base Contract) at ‘3166

(“The purpose of this modification is to incorporate Task Order Cross Utilization of Government

Property into the basic contract and is applicable to all current and future task orders awarded

under this contract. . . . Definition: Cross Utilized Property is government property purchased

against one task order which is subsequently loaned to another task order on a temporary basis.

Cross-utilized property shall remain accountable to the task order against which it was purchased,

unless it has been duly transferred to another task order, in which case it will remain accountable

to the task order to which it has been transferred.”); Ex. 100 (Aug. 21, 2006 Task Order 139)

at ‘1481 (“[A]ll other clauses, terms and conditions set forth in the Basic LOGCAP contract

DAAA09-02-D-0007 apply.”); Ex. 48 (Task Order 139 Statement Of Work Change 6) at ‘5606

(“The contractor shall provide all resources and management necessary to perform the mission in

accordance with basic Contract No. DAAA09-02-D-0007 and the Task Order (TO) Statement of

Work (SOW) described herein.”); Ex. 40 (Sept. 1, 2008 Task Order 159) at ‘5828 (“All clauses

and terms and conditions set forth in the Basic LOGCAP contract DAAA09-02-D-0007 apply.”);


                                                -11-
Ex. 41 (Aug. 25, 2008 Task Order 159 SOW) at ‘5486 (“The contractor shall provide all resources

and management necessary to perform the mission in accordance with basic Contract

No. DAAA09-02-D-0007 and the Task Order (TO) Statement of Work (SOW) described herein.”).




                                             -12-
KBR SOF 8. “Under the task orders at issue in this case, KBR was required to use its ‘best efforts’
to deliver supplies and services that complied with the contract specifications and statements of
work. [KBR] Ex. 17, LOGCAP III Contract at KBR-HOW-7104369 (incorporating by reference
FAR 52.232-20 & 52.232-22); FAR 52.232-20 (‘The Contractor agrees to use its best efforts to
perform the work specified in the Schedule and all obligations under this contract within the
estimated costs); FAR 52.232-22 (same). Neither LOGCAP III nor the FAR define ‘best efforts.’
See generally FAR 52.232-20 & 52.232-22 and [KBR] Ex. 17, LOGCAP III Contract; see also
[KBR] Ex. 26, Branch Rep. at 27-29 (discussing the contract and FAR clauses relating to ‘best
efforts’); [KBR] Ex. 43, Zakheim Dep. (Jul. 29, 2022) at 127:10-128:15 (Relators’ expert
testifying that the contract had a ‘general requirement for best efforts’ which ‘could easily be
interpreted as being cross-leveling,’ that ‘best efforts is a squishy term,’ and KBR was required to
‘make the best effort to be efficient’); [KBR] Ex. 40, Rudolph Rep. at 44 (describing ‘concerted
and dedicated supervision/management and efforts’ as the ‘level of effort required to successfully
execute and fulfill the LOGCAP III contract and its task orders’).”

Relators’ Response to KBR SOF 8.

       The statement of fact is disputed.

       FAR 52.232-20 states that the contractor “agrees to use its best efforts to perform the work

specified in the Schedule and all obligations under this contract within the estimated costs.”

(emphasis added). Thus, the only thing subject to any sort of “best efforts” requirement was efforts

to keep overall costs to within the definitized amount. There is nothing to suggest that all aspects

of KBR’s performance are modified by a “best efforts” standard.

       In addition, Zakheim and Rudolph are not contracting experts, and therefore lack the

foundation to support this statement of fact.

       Further, under the LOGCAP III contract, the supplies and materials KBR purchased had to

be (1) “necessary for performance” of the contract, (2) cross-leveled to the “maximum extent

possible” per the contract’s Statements of Work (as KBR concedes, KBR Br. at 2), and in the case

of larger purchases, (3) expressly certified to have been cross-leveled. If “best efforts” goes beyond

keeping within estimated costs, these additional requirements may be viewed either as providing

more specific meaning to “best efforts” or as the variety of considerations and circumstances used

to determine reasonableness. Taken together or individually, these requirements objectively



                                                -13-
require KBR to check for available material and use it before buying more, and to only buy supplies

and materials necessary for performance under the contract, as both KBR and the Government

agreed. Ex. 138 (McNamara Dep.) 279:7-280:2 (“Q. . . . [D]id you have a view on . . . whether

KBR was appropriately cross-leveling property in the 2007 to 2012 time period? [Objection.]

A. . . . They needed to have been doing it . . . because it was part of . . . their property procedure.

It was part of what was required of them as a prudent contractor.”), 590:13-19 (“If you are

purchasing something and you know that you have a large operation, then as a prudent contractor,

you would be required to screen through your system to see if there is any availability of . . . these

items or property that you’re currently trying to buy . . . .”), 597:20-598:9 (“Q. Do you know . . .

when KBR was required to certify that it had attempted to cross-level before making purchase?

A. There was a modification to the contract. I don’t remember exactly when. It was sometime

after 2006. I don’t know if it was 2007 or 2008. . . . [I]t is part of the contract.”); Ex. 136

(Lust Dep.) 30:13-17 (“Q. . . . [W]ere you aware that the obligation to cross-level was a contractual

requirement in KBR’s contract with the United States Government? [Objection.] A. Yes.”);

Ex. 132 (KBR 30(b)(6) (Lust) (Sept. 28, 2021) Dep.) 38:22-39:8 (“Q. . . . Any other generally

applicable instructions from the U.S. Government concerning KBR cross leveling between task

orders other than those that you just referenced? [Objection.] A. . . . Mary Wade, who was the

contract administrator for the LOGCAP III contract in Houston, had said that we were to make

maximum use of cross leveling where possible. She understood you couldn’t do it all the time but

where possible.”); Ex. 135 (LaBoa Dep.) 70:24-71:21 (agreeing cross-leveling was part of KBR’s

property control procedures); Ex. 127 (Hippert Dep.) 162:24-163:20 (agreeing his “view at the

time” was that cross-leveling was expected); Ex. 134 (King Dep.) 16:21-17:2 (“Q. . . . With respect

to KBR’s work on LOGCAP-III, was KBR supposed to try to cross-level materials and property




                                                 -14-
before purchasing new materials and property? [Objection.] A. Yes.”); Ex. 142 (Rock Dep.)

520:17-22 (“Q. And it was KBR’s obligation under LOGCAP III to cross level property [and

materials]; is that right, sir? [Objection.] A. I think . . . where possible, yes.”); Ex. 141 (Ritondale

Dep.) 105:22-106:5 (“Q. . . . [I]s it your understanding that KBR was supposed to try to cross-

level property and materials at some point in the procurement process? [Objection.] A. My

understanding is at some point in time the cross-leveling was something that was supposed to

occur.”); Ex. 95 (LOGCAP III Base Contract and Statement of Work) at ‘0006 (“For

Cost-Reimbursable Contract Line Item Numbers (CLINs) only supplies and materials necessary

for performance under this contract will be reimbursed as stated in each individual Task Order’s

Scope of Work (SOW) and Federal Acquisition Regulation (FAR) 31.205-26.”), ‘0037-38

(incorporating FAR 52.216-7, FAR 52.232-20, FAR 52.232-22); FAR 52.216-7; FAR 52.232-20;

FAR 52.232-22; Ex. 48 (Task Order 139 Statement Of Work Change 6) at ‘5609

(“3.0 CONTRACTOR ACQUIRED OR GOVERNMENT FURNISHED EQUIPMENT AND

PROPERTY. Prior to procurement of equipment to support all efforts described in this task order,

the contractor shall exercise due diligence in verifying and certify that the required items cannot

be satisfied from existing stock available from other sites covered by this task order. This

certification shall be provided to the [government] ACO [Administrative Contracting

Officer]. . . . 3.1.1. The Contractor shall adhere to the requirement priorities listed in

TABLE 3.1.1. to the maximum extent possible. For purchases that cannot be obtained through

cross leveling or from the Host Country sources, the contractor shall make maximum use of the

Federal Supply System (FSS). REQUIREMENTS PRIORITIES 1 USG military unit, organic,

green suit[;] 2 Cross level within LOGCAP Task Order[;] 3 Other Task Orders within

LOGCAP[;] 4 Host Country sources[;] 5 FSS[;] 6 Commercial.”) (emphasis in original); Ex. 41




                                                 -15-
(Task Order 159 Statement Of Work) at ‘5488-89 (same, without emphasis); Ex. 101 (Nov. 2,

2007 DCMA Letter of Technical Directive to KBR) at ‘6706 (“All equipment MRs [material

requisitions] shall be initially submitted to the site ACO. . . . All equipment MRs [material

requisitions] shall contain the following information: . . . (3) Has KBR checked for theater-wide

re-distribution under the cross-leveling process?”); Ex. 24 (July 1, 2009 KBR Technical Direction

Bulletin re: PCARSS) at ‘4270 (“KBR has a responsibility to cross level before purchase.”); Ex. 34

(containing June 4, 2011 email from KBR’s Head of the DMC, C. O’Muirgheasa) at ‘3826 (“It is

a contractual requirement on LOGCAP III to cross level items in order to reduce spending,

eliminate excess, and, nowadays just as importantly, get available material to other[] sites

ASAP.”); Ex. 44 (June 30, 2011 internal KBR email from T. Hippert to M. Wade) at ‘0608

(“LOGCAP III . . . is reporting cost avoidance on material that is excess in one camp and moved

to another, we call that cross-leveling. These slides are being briefed to the Government and I don’t

think it’s a true cost avoidance. My concern is that the government paid for the material and we

are expected to be good stewards and properly manage the inventory. So c[ross]-level is

expected.”); Ex. 71 (July 2, 2009 Analysis by KBR’s Head of the DMC) at ‘1369 (“Our mission

is to cross level materials from locations where there is redistributable material to locations where

there is a need for those materials.”); Ex. 94 (Expert Report of M. Rudolph) at 19 (“KBR was

obligated to cross level property and materials on LOGCAP III.”) (citing sources); see also Ex. 104

(Expert Report of E. Branch) at 8 (“LOGCAP III required KBRSI to make its ‘best efforts’ to

perform its obligated work, which included its obligation to exercise due diligence in verifying

that required items could not be satisfied from existing, available stock.”); KBR SOF 46

(U.S. Army Audit Agency report: “LOGCAP contract requires the contractor to fill requirements




                                                -16-
with existing stock.”); Ex. 121 (Branch Dep.) at 70:12-71:10 (KBR’s proffered expert defining

standard as “the good faith maximum effort that could be given in any stated context.”).

       Furthermore, KBR developed and was required to follow specific procedures for acquiring

and managing inventory, including cross-leveling. KBR understood its contractual requirement to

cross-level supplies, incorporating the requirement into a Government-approved set of Property

Control Procedures, and into detailed “Desktop Operating Procedures” and “Technical Directives”

for its personnel. Ex. 1 (KBR’s Government-Approved Property Control Procedures, dated

Sept. 21, 2006) at ‘5992 (“All property, whether government furnished or KBR acquired, must be:

. . . Reasonable quantities, commensurate with the work to be accomplished.”), at ‘5993

(“Consuming: Quantities of material/supplies produced or procured for incorporation into an end

item or otherwise consumed will . . . Be reasonable when compared to the work/job at hand and

Material Requisitions . . . Be promptly returned to stock and recorded when determined to be

excess.”), at ‘5994 (“Government property will be disposed of by: . . . Screening items against

existing and anticipated needs . . . Promptly reporting excess items . . . .Receiving property

authority from the Government . . . prior to disposal.”), at ‘6015 (“Requisitions for all property,

whether government furnished or KBR acquired, must: . . . Be contractually authorized and

necessary for performance of the prime contract . . . Be for the quantities required for said

performance . . . .”), at ‘6017-021 (“Warehouse personnel will first attempt to fill requisitions from

stock on-hand. . . . If suitable property is available for issue, warehouse personnel will [take

specific steps] . . . Property may not be available, or there may not be sufficient stock on-hand to

fill the entire quantity. When this happens, Material Control takes action to obtain the property for

the requester. . . . Material Control – Processing Requisitions for cross leveling or Purchasing. . .

. Upon return Materials Control will first check the theater inventory to determine if the requisition




                                                -17-
can be filled from existing stock. If suitable material is located, materials control will forward a

copy of the approved Materials Requisitions. . . . If suitable material/equipment can not be located

in the Theater Inventory, Material Control processes the approved MR [material requisition],

establishes a manual record file by MR [material requisition] number and forwards to Procurement

for purchase action.” ); Ex. 89 (KBR’s Government-Approved Property Control Procedures, dated

July 15, 2008) at ‘6168 (“All property, whether government furnished or KBR acquired, must be:

. . . Reasonable quantities, commensurate with the work to be accomplished.”), at ‘6169

(“Consuming: Quantities of material/supplies produced or procured for incorporation into an end

item or otherwise consumed will be: . . . reasonable when compared to the work/job at hand and

Material Requisitions. . . . promptly returned to stock and recorded when determined to be

excess.”), at ‘6170 (“Government property will be disposed of by: . . . Screening items against

existing and anticipated needs. . . . Promptly reporting excess items. . . . Receiving property

authority from the Government . . . prior to disposal.”), at ‘6227 (“Requisitions for all property,

whether government furnished or KBR acquired, must: . . . Be contractually authorized and

necessary for performance of the prime contract; . . . Be for the quantities required for said

performance . . . .”), at ‘6230-32 (“Material Control personnel will first attempt to fill the

requisitions from stock on-hand and will also check the Automated Inventory Control System for

Theater wide availability of the item(s) being requested. . . . If suitable property is available for

issue, from on hand stock, warehouse personnel will [take specific steps]. . . . If suitable property

is found at another site, the Material Manager or designee will . . . Verify via the owning Site

Material Manager that the requested item(s) are excess to that site’s need and is available for cross

utilization [and take specific steps] . . . . Property may not be available, or there may not be

sufficient stock on-hand to fill the entire quantity. When this happens, Material Control takes




                                                -18-
action to obtain the property for the requester. . . . All requisitions must be coordinated with cost

control and approvals obtained from project management, government LOTD’S, and contract

modifications, before submitting for procurement action. . . . Upon return Materials Control

processes the approved MR [material requisitions], establish a manual record file by MR [material

requisition] number and forwards to Procurement for purchase action.”), at ‘6313 (“Consumption

of Government property shall be reasonable when compared to requirements. . . . Quantities of

property produced or procured for incorporation into an end item or otherwise consumed will . . .

Be reasonable when compared to Material Requisitions. On hand stocks in the Materials

warehouses will be maintained in reasonable quantities to support contractual requirements and in

accordance with specific project policies or replenishment lead time. Stock levels will be based on

equipment density, population to be supported, recurring demands or the history of a previous

project with like property. . . . Unused Materials from trades on hand stock, special projects,

ACL’s LOTD’s etc must be returned to the Material Warehouse within a reasonable period of time

after the work is completed or no demands. Material Control department will ensure returned

unused materials are posted to the automated inventory system with appropriate documentation

within 48 hrs. Materials determined to be excess must be disposed of in accordance with

Disposition Tab.”); Ex. 103 (July 2006 KBR “Desktop Procedures: Redistribution of Government

Property and Materiel to include FOB/Base Closures”) at ‘9114 (“After a Materiel Requisition has

been approved but prior to being turned over to procurement for purchase, Materiel Control will

check the Theater Wide inventory and the Redistribution cell to determine if a requisition can be

filled from existing stock. Every effort to fill requisitions within the theater shall be taken utilizing

inventories on the KBR portal. If items are found within these inventories every reasonable effort

shall be taken to redistribute these items.”) (Emphasis added); Ex. 132 (KBR 30(b)(6) (Lust)




                                                  -19-
(Sept. 28, 2021) Dep.) 34:3-14 (“Q. . . . [C]an you describe what the instructions were in that

particular desktop operating procedure you just referenced? A. . . . I can sum it up that every effort

to fill requisition[s] within the theater shall be taken to utilize the inventory that is in KBR’s

portal.”) (Emphasis added); Ex. 90 (KBR “Desktop Procedures: Redistribution of Government

Property and Materiel to include FOB/Base Closures,” revised June 2007) at ‘0992 (“Cross Level

Requisitioning Process. Upon receipt of a material requisition Materiel Control will check the

theater-wide inventory through STEAM [KBR’s inventory management program, also referred to

as MAXIMO] to determine if items can be filled from excess stock. Found items will be cross

leveled through the procedures in 5.1 and 5.2. “) (Emphasis in original); Ex. 132 (KBR 30(b)(6)

(Lust) (Sept. 28, 2021) Dep.) 34:3-14 (“Q. . . . [C]an you describe what the instructions were in

that particular desktop operating procedure you just referenced? A. . . . I can sum it up that every

effort to fill requisition[s] within the theater shall be taken to utilize the inventory that is in KBR’s

portal. . . . And then in June of ’07, we did a revision which added STEAM – MAXIMO/STEAM

to this process.”); Ex. 91 (“KBR Distribution of Government Property DESKTOP OPERATING

PROCEDURE,” dated Aug. 23, 2008) at ‘0251 (“The DMC (Distribution Management Center)

will be responsible for screening all requests for procurement action for possible Cross Level

support. . . . All requisitions for procurement action will flow through the DMC and be screened

for availability within theater prior to purchase.”) (Emphasis in original), at ‘0256 (“If a site

foresees a need for an item(s), it is contractually obligated to attempt to obtain the items through

cross utilization within its project (group of sites).”).

        In addition, KBR cites pages 127-128 of the deposition transcript of Relators’ expert,

Dr. Dov Zakheim. However, KBR fails to cite Dr. Zahkeim’s testimony on pages 126-127, which

stated that the standard for unallowable costs is “not squishy at all”:




                                                  -20-
             Q. Because you have given me what's a fairly squishy email, charging more
             than they should have done. And I just want to be clear. Can you give me
             what the actual standard is for an unallowable cost, as that seems to be the
             thrust of your opinion here?

             A Well [Objection.] -- it's not squishy at all. An unallowable cost is a charge
             for which the government should not be paying. Simple as that.

             …

             Q Sir. Please. Can you articulate the actual standard beyond just what you
             said?

             A The standard is that when -- let me see if I can articulate this clearly. The
             standard for something that is unallowable is any charge to the government
             that is not justified in terms of the contractual demand and that involves
             expenditures by the government for which it needn't have spent the money.

Ex. 149 (Zakheim Dep.) 126:2-127:1.




                                              -21-
KBR SOF 9. “The Federal Acquisition Regulation (‘FAR’) is the primary regulation setting forth
the Government’s requirements for contractors’ acquisition and procurement of supplies and
services. See [KBR] Ex. 44, FAR Foreword (1984); [KBR] Ex. 34, Larkin Dep. (Nov. 5, 2020) at
28:13-29:11. LOGCAP III incorporates certain clauses from the FAR. [KBR] Ex. 17, LOGCAP
III Contract at KBR-HOW-7104367 through KBR-HOW-7104379. From the time of contract
award through September 30, 2009, LOGCAP III incorporated FAR 52.245-5 (1986), the
‘Government property clause.’ Id. at KBR-HOW-7104378. After a contract modification effective
September 30, 2009, and in effect through the end of the relevant time period, LOGCAP III
incorporated a revised version of the Government property clause, renumbered as FAR 52.245-1
(2007). [KBR] Ex. 9, LOGCAP III Contract Mod. 36 at KBR-HOW-0001598.”

Relators’ Response to KBR SOF 9.

       The statement of fact is disputed.

       KBR Exhibit 4, the FAR Foreword, and KBR Exhibit 34, excerpts of the deposition of

Kevin Larkin, state that the FAR is the primary regulation setting for the Government’s or

Executive agencies’ requirements for their acquisition and procurement of supplies and services;

rather than “the Government’s requirements for contractors’ acquisition and procurement of

supplies and services,” as KBR states. See KBR Ex. 4 (FAR Foreword (1984)) at ECF Page 3

(“The Federal Acquisition Regulation (FAR) is the primary regulation for us by all Federal

Executive agencies in their acquisition of supplies and services with appropriated funds.”)

(Emphasis added); KBR Ex. 34 (Larkin Dep.) at 28:13-23 (“Q. … So broad strokes, what’s the

Federal Acquisition Regulation? A. The Federal Acquisition Regulation is a contracting officer’s

or an acquisition official’s firm set of guidelines of what is allowed, what is not allowed, and how

to formulate and put in place an action required. Q. Is it fair to say that they’re essentially the

government’s rules of the road for government contracting; is that right? A.            Absolutely.

Absolutely, yes, sir.”) (Emphasis added).




                                               -22-
KBR SOF 10. “KBR purchased property and materials to provide the services required by the task
order statements of work. [KBR] Ex. 32, Wade Dep. (Sept. 15, 2020) at 23:12-25:3; [KBR] Ex. 23,
KBR 30(b)(6) Dep. (Sept. 28, 2021) at 21:17-22:14.”

Relators’ Response to KBR SOF 10.

       The statement of fact is disputed.

       KBR purchased hundreds of millions of dollars’ worth of property and materials that were

not necessary to perform the LOGCAP III contract and its task orders, and when KBR failed to

check whether an item was available in theater prior to purchasing that item new, or manipulated

the process established to look for excess inventory, the item was not purchased “to provide the

services required by the task order statements of work,” as KBR states.

       Relators’ expert, Dr. Gaukler, analyzed KBR’s inventory and purchasing data to identify

specific cases when KBR over-ordered materials that it had available for cross-leveling under

KBR’s then-existing procedures. See Ex. 96 (Expert Report of G. Gaukler). Analyzing 34.5 million

transactions found in this data, Dr. Gaukler determined KBR’s inventory balances at every given

point in time between May 28, 2007 and March 5, 2013. Ex. 96 (Expert Report of G. Gaukler)

§ IV.A. Dr. Gaukler validated his analysis of KBR’s inventory balances by using corroborating

information in the transactions. 98.5% of the transactions were internally consistent, and

Dr. Gaukler conservatively screened the remaining 1.5% in order to block balance reconstruction

when the transactions suggested any uncertainty. Id. § IV.B. He also compared his conclusions to

KBR’s ASL [authorized stock list] reports, and found that they matched 98% of the time and that

when there was a discrepancy his model typically underestimated inventory balances. 105 (Expert

Rebuttal Report of G. Gaukler) § IV.E.

       Dr. Gaukler then applied KBR’s own procedures to the inventory levels in order to classify

KBR’s inventory as Stock, Non-Stock, or Special at any given point in time according to KBR’s

own procedures and standards. Ex. 96 (Expert Report of G. Gaukler) § IV.C. Under KBR’s


                                              -23-
procedures, these classifications determine how much of an item’s inventory is available for cross-

leveling. Id. § IV.D.

       Dr. Gaukler then analyzed KBR’s purchase order data over the same period of time to

identify cases when KBR purchased something new even though the item being purchased was

available for cross-leveling according to KBR’s own procedures. Id. § IV.D. Dr. Gaukler applied

KBR’s procedures as KBR had defined them in its Rule 30(b)(6) testimony, including additional

“restrictions” on cross-leveling that do not appear in KBR’s procedures. Id. This means that

Dr. Gaukler’s analysis is highly conservative, as the restrictions he accepted included ones that the

Government did not know about and that the Government would have referred to DCAA had it

known. Ex. 143 (Sheridan Dep.) 155:5-156:13. On the occasions when KBR actually followed its

cross-leveling procedures, and the database showed cross-level was supportable, the underlying

circumstances rarely led KBR to deny a cross-level request. Moreover, Dr. Gaukler’s model

incorporates KBR’s documented cross-level denials, and it reduces the value of KBR’s

$341 million in over-ordering by a mere $800,000. Ex. 105 (Rebuttal Report of G. Gaukler) at

¶¶ 132-135; Ex. 106 (Supplemental Rebuttal Report of G. Gaukler) at ¶ 4.

       Dr. Gaukler concluded that on 73,530 separate purchase orders, KBR had purchased

$341 million of excess inventory that should not have been purchased if KBR had followed its

own procedures and standards regarding cross-leveling. Ex. 96 (Expert Report of G. Gaukler) at 5.

Dr. Gaukler later adjusted the total amount of excess purchases to $338 million (a reduction of less

than 1%) after applying corrections that he had identified in rebuttal of KBR’s expert

William Walter. Ex. 96 (Expert Rebuttal Report of G. Gaukler) § IV.C.viii.

       KBR submitted its costs to the Government for reimbursement. See Ex. 131 (KBR 30(b)(6)

(Jacobs) Dep.) at 31:7-14, 37:5-10; Ex. 84 (KBR Response to Interrogatory No. 10). Consequently,




                                                -24-
the Government reimbursed KBR for the entire $341 million it had incurred unnecessarily. See

Ex. 131 (KBR 30(b)(6) (Jacobs) Dep.) 24:9-14 (“Q. . . . Are you aware sitting here today of any

pieces of property and materials that KBR bought and received on LOGCAP III that the

government paid less than a hundred percent of what KBR spent buying the property and material?

A. I am not aware.”), 31:7-14 (“Q. . . . [A]s a general matter were KBR’s costs spent procuring

property and materials that KBR procured and received on LOGCAP III, did those costs ultimately

end up on the public vouchers KBR submitted to the U.S. Government? A. In general the costs

incurred based on receipts of materials and equipment were included on a public voucher, in

general.”). Moreover, Dr. Gaukler was able to directly trace $226 million of the $341 million of

unnecessary purchased items to specific public vouchers. Ex. 96 (Expert Report of G. Gaukler)

at 39. Those public vouchers expressly represented that these $226 million of over-ordered

supplies were “necessary for performance” of LOGCAP III. SOF ¶¶ 151-157.

       Dr. Gary Gaukler identified 899 public vouchers associated with unnecessary costs

incurred because KBR purchased items despite existing excess material being available in theater.

For example, on July 14, 2008, KBR submitted Public Voucher No. 47 for Task Order 139. That

Public Voucher requested reimbursement for the cost of purchase order line (“POLINE”)

(#771983), on purchase order number (“PONUM”) #4750053582 for 15 1.5HP blower motors

ordered on July 1, 2008 (item number 1001331456), for a total cost of $7,725, despite the fact that

the 15 blower motors were all available in excess in other KBR storerooms. Ex. 120 (Expert

Rebuttal Report of G. Gaukler, Output 3); Ex. 118 (Expert Report of G. Gaukler, Output 1);

Ex. 114 (ZBILL20080714-044718-GC00GY) at Tab “ZBILL20080714-044718-GC00GY,” Row

1376 (identifying Object: “GCA8YM-BAD9D1602-5”; Cost Elem: “550451”; Document:

“1030466893”; Vendor Name: GOLDEN ARROW GENERAL TRADING C”; PostDate:




                                               -25-
“20080701”; Ref Doc: “5000339056”; Trns Amt: “7,725.00”); Ex. 110 (PDF of Native Excel

Spreadsheet Public Voucher No. 47 for Task Order 139) at Tab “1034-Task 57,” at Tab “Yr 2

Detail 2008,” Row 128 (identifying Object: “GCA8YM-BAD9D1602-5”; Cost Elem: “550451”;

Document: “1030466893”; Vendor Name: “GOLDEN ARROW GENERAL TRADING C”;

PostDate: “20080701”; Ref Doc: “5000339056”; Obj Amt: “7,725.00”). Dr. Gaukler concluded

that on 73,530 separate purchase orders, KBR had purchased $341 million of excess inventory that

it never should have purchased if KBR had followed its own procedures and standards regarding

cross-leveling. On the occasions when KBR actually followed its cross-leveling procedures, and

the database showed cross-level was supportable, the underlying circumstances rarely led KBR to

deny a cross-level request. Moreover, Dr. Gaukler’s model incorporates KBR’s documented cross-

level denials, and it reduces the value of KBR’s $341 million in over-ordering by a mere $800,000.

Ex. 96 (Expert Report of G. Gaukler) at 5; Ex. 105 (Expert Rebuttal Report of G. Gaukler)

¶¶ 132-135; Ex. 106 (Supplement to Expert Rebuttal Report of G. Gaukler) ¶ 4.




                                              -26-
KBR SOF 11. “Relators’ allegations in this case are limited to KBR’s alleged ‘over-purchasing’
of materials. See Compl. ¶ 4; [KBR] Ex. 37, Gaukler Rep. at ¶¶ 7, 11. Materials are items of
Government property that are consumed or expended during the performance of the contract,
ranging from large, relatively immobile items (such as construction materials and mattresses) to
small, everyday materials (such as nails, laundry detergent, and pencils). FAR 45.101; [KBR]
Ex. 23, KBR 30(b)(6) Dep. (Sept. 28, 2021) at 21:17-22:14. Relators are not making any
allegations regarding equipment, which are items of Government property that are durable and not
expendable, such as trucks and generators. FAR 45.101; [KBR] Ex. 33, Vollmecke Dep. (Oct. 23,
2020) at 27:4-21 (equipment included a ‘military truck’ or ‘commercial based acquired leased
equipment’ including generators, trucks, and other non-tactical vehicles’); id. at 90:19-91:5
(distinguishing between equipment and material); id. at 95:9-15 (noting that movement of
equipment required government approval); [KBR] Ex. 37, Gaukler Rep. ¶ 7 (describing Relators’
allegations as relating to ‘materials’); [KBR] Ex. 39, Gaukler Reb. Rep. ¶¶ 24, 69 (stating that
Relators’ expert analysis was limited to materials).”

Relators’ Response to KBR SOF 11.

       The statement of fact is disputed.

       As to KBR’s first sentence, the Complaint describes Relators’ allegations in this case, and

they are not “limited to KBR’s alleged ‘over-purchasing’ of materials,” as KBR states. Relators’

allegations include that KBR purchased unnecessary property and materials. See, e.g., Compl. ¶ 4

(“KBR violated the FCA by purchasing hundreds of millions of dollars[’] worth of materials under

the LOGCAP III contract that were duplicative for the performance of its work. These wasteful

purchased filled KBR’s storerooms in Iraq and Afghanistan with excess materials. By June 2009,

KBR had over $600 million in idle government property in its warehouse. KBR built and sustained

this stockpile of excess materials through widespread fraud in its ordering, use, and disposition of

government property.”); id. ¶ 5 (“Through this course of fraud, KBR has billed the government

for thousands of purchases of materials it did not need to buy. Accordingly, the government has

paid KBR twice or more for goods under the LOGCAP contract, including hundreds of millions

of dollars in idle materials and equipment in Iraq and Afghanistan that nobody needs.”); id. ¶ 85

(“The TRECs, now larger than ever, could not unwind their property into KBR’s active storerooms

in Iraq because those storerooms were drawing down their inventory. Property that might have



                                               -27-
found a use in 2009 was totally unneeded in 2010.”); id. ¶ 90 (“Property that is reserved ceases to

be available for cross-leveling, even when it is otherwise classified as non-stock. The property

KBR’s managers reserve, however, is often unassociated with any work order and therefore cannot

be properly reserved.”); id. ¶ 114 (“In this effort to quietly reduce its massive stocks of idle

materials, KBR returned millions of dollars’ worth of property to the government . . . .”); id. ¶ 115

(“KBR prepared and submitted PCARSS forms attesting that the property was surplus to its

requirements and asking for disposition instructions.”); Ex. 107 (Relator Hemphill’s Feb. 10, 2020

Suppl. Resp. to Interrog. 9) at 2 (“[T]he funds paid by the Government for unnecessary or

unallowable materials that KBR ordered under LOGCAP III may be measured as the cost of

property and materials that KBR bought to fill requisitions under the LOGCAP III contract when

it had existing property and materials available to fill the requisitions through cross-leveling.”); id.

at 4 (“If the Government had known that KBR had failed to screen a high percentage of its PRs

[Purchase Requisitions] for potential cross-leveling, that KBR regularly failed to cross-level PRs

[Purchase Requisitions] when required even when it had screened those PRs [Purchase

Requisitions] for potential cross-leveling, and that KBR’s failures resulted in its purchasing

property and materials that were not allowed or authorized under the contract, the Government

would not have paid the award fees to KBR, or would have paid smaller award fee amounts.”).

       Relators’ allegations also include that KBR billed the government for its purchase of

unnecessary property and materials. Compl. ¶ 5 (“Through this course of fraud, KBR has billed

the government for thousands of purchases of materials it did not need to buy.”); id. ¶ 136 (“By

virtue of the acts described above, Defendants knowingly submitted or caused to be submitted to

the United States Government false or fraudulent claims for payment of services performed under

the LOGCAP III contract when those services did not qualify for payment. Each of these requests




                                                 -28-
for payment constitutes an actionable false claim under the False Claims Act.”); id. ¶ 137

(“Through the acts described above and otherwise, Defendants and their agents and employees

knowingly made, used, and/or caused to be made or used false records and statements in order to

get such false and fraudulent claims paid and approved by the United States Government.”); id.

¶ 138 (“The United States, unaware of the falsity of the records, statements or claims made by the

Defendants, paid the Defendants for claims that would otherwise not have been allowed.”).

       Relators’ allegations also include that KBR concealed its misconduct and its unnecessary

purchases of property and materials from the Government. See, e.g., Compl. ¶ 70 (“KBR, however,

did not address the problem or tell the government about it.”); id. ¶ 82 (“KBR concealed its TREC

issues from the government.”); id. ¶ 83 (“KBR did not want to perform inventory adjustments in

its TRECs because it did not want the government to know the amount of property the TRECs

contained. . . . Through this sleight of hand, the government did not learn that KBR’s D and F site

TRECs had stockpiled over $153 million worth of materials.”); id. ¶ 85 (“Despite knowing about

the problems with its TRECs in the first half of 2009, KBR delayed cleaning out the TRECs until

mid-2010 because it did not want to notify the government of the problem . . . . At no point has

KBR told the government about the waste its TRECs caused.”); id. ¶¶ 104-114 (section titled

“KBR CONCEALED ITS EXCESS INVENTORY FROM THE GOVERNMENT,”

including quotation of KBR employee who wrote, “I don’t think we should be showing

underutilized on anything that can be seen by USG.”); id. ¶ 130 (“KBR tried to conceal this failure

to reduce stock levels from the government.”).

       As to KBR’s second sentence, materials are not only “items of Government property that

are consumed or expended during the performance of the contract,” but also include any such items

that could be consumed or expended during the performance of a contract. For example, cable or




                                                 -29-
nails are materials even if the cable or nails are not actually consumed or expended during the

performance of the contract. FAR 45.1 (cited by KBR), defines “Material” as “property that may

be consumed or expended during the performance of a contract, component parts of a higher

assembly, or items that lose their individual identity through incorporation into an end-item.

Material does not include equipment, special tooling, special test equipment or real property.” FAR

45.101 (emphasis added). However, the FAR regulation KBR cites is not “documentary evidence

that supports” KBR’s assertion, in violation of Local Rule 7.1(D)(1)(b). KBR’s only other citation

for KBR’s second sentence is to 21:17-22:14 of the testimony from KBR’s 30(b)(6) deposition on

September 28, 2001. However, that testimony does not support KBR’s assertion as that testimony

does not define “Materials”:

       Q. Okay. Did KBR procure property and materials in connection with KBR’s performance
       on certain task orders under LOGCAP III? [Objection.]

       A. Yes, sir.

       Q. Did KBR manage property and materials in connection with KBR’s performance on
       certain task orders . . . under LOGCAP III?

       A. Yes, sir. Excuse me. [Objection.] A. Yes, sir.

       ...

       Q. . . . Did KBR issue property and materials in connection with KBR’s performance on
       certain task orders under LOGCAP III?

       A. Yes, sir.

See KBR Ex. 23 (KBR 30(b)(6) Dep.) at 21:17-22:14. KBR failed to “provide citations to the

documentary evidence that supports it,” in violation of Local Rule 7.1(D)(1)(b).

       As to KBR’s third sentence, the Complaint contains the full scope of Relators’ allegations

in this case, and they are not limited as KBR states. See supra. Furthermore, KBR’s assertion that

“Relators are not making any allegations regarding equipment, which are items of Government




                                               -30-
property that are durable and not expendable, such as trucks and generators,” and KBR’s citation

to the reports of Dr. Gaukler are incomplete or incorrect. Dr. Gaukler does address generators, as

well as incinerators and Reverse Osmosis Water Purification Units (“ROWPUs”), for example, in

his rebuttal report. See Ex. 105 (Expert Rebuttal Report of G. Gaukler) ¶ 69 (“Whether

incinerators, ROWPUs, and generators are subject to cross-leveling when classified as assets is

not relevant to my analysis. Because my Affirmative Report does not analyze cross-leveled assets,

I only included incinerators, ROWPUs, and generators when KBR had tracked them in its

materials inventory system.”).




                                              -31-
KBR SOF 13. “During the relevant time period, KBR sought reimbursement from the Government
for its incurred costs, and any applicable fee, through invoices called ‘public vouchers.’ [KBR]
Ex. 29, KBR 30(b)(6) Dep. (Sept. 23, 2021) at 17:5-21, 21:11-22:3; see also FAR 52.216-7.
A public voucher is a standard Government form and does not contain any certification to the
Government as a condition of receiving payment or any specific representation regarding the goods
or services invoiced on the public voucher. [KBR] Ex. 2, Walter Decl. ¶ 4; see also U.S. ex rel.
Barko v. Haliburton Co., 241 F. Supp. 3d 37, 58-59 (D.D.C. 2017) (citing cases). The public
voucher also does not contain any representations relating to cross-leveling or statements about
whether KBR did or did not attempt to cross-level prior to purchasing the property and materials
that are invoiced on the voucher. [KBR] Ex. 2, Walter Decl. ¶ 4;”

Relators’ Response to KBR SOF 13.

       The statement of fact is disputed.

       As to KBR’s first sentence, the statement of fact is not disputed.

       The remainder of the statement of fact is disputed. Each public voucher KBR submitted to

the Government under LOGCAP III contained representations to the Government and specific

representations regarding the goods or services invoiced on the public voucher, including through

KBR’s use and identification of particular Cost-Reimbursable Contract Line Item Numbers

(“CLINs”) on its public vouchers seeking reimbursement, which represented that the supplies and

materials purchased were “necessary” for performance under the contract. See, e.g., Ex. 95

(LOGCAP III Base Contract and Statement of Work) at ‘0006 (“For Cost-Reimbursable Contract

Line Item Numbers (CLINs) only supplies and materials necessary for performance under this

contract will be reimbursed as stated in each individual Task Order’s Scope of Work (SOW) and

Federal Acquisition Regulation (FAR) 31.205-26.”); KBR Ex. 18 (Nov. 30, 2007 Public Voucher

No. 32 for Task Order 139) at ECF page 2 (requesting “$155,199,325.83” in this public voucher

for Task Order 139 for “Cost[s] for October & November 2007”), at ECF pages 3-6 (listing CLINs

4005, 4009, 5005, 5009, 6005, 6009, and associated dollar values currently billed and cumulatively

billed, among other things), at ECF pages 20-657 (listing non-labor and labor costs included in

this public voucher, with associated cost elements, descriptions, object amounts, and invoice



                                               -32-
identifications); KBR Ex. 19 (May 13, 2010 Public Voucher No. 40 for Task Order 159) at ECF

page 2 (requesting “$97,021,332.00” in this public voucher for Task Order 159 for “Cost[s] for

April-May 2010”), at ECF pages 3-4 (listing CLINs 7005, 7009, 8005, 8009, 9005, 9009, 1005,

1009, 1105, 1109, 1205, 1209, and associated dollar values currently billed and cumulatively

billed, among other things), at ECF pages 7-14, 106-588) (listing non-labor and labor costs

included in this public voucher, with associated cost elements, descriptions, object amounts, and

invoice identifications); Ex. 110 (PDF of Native Excel Spreadsheet Public Voucher No. 47 for

Task Order 139) at Tab “1034-Task 57” (requesting $145,074,262.22 in this public voucher for

Task Order 139 for “Cost for June-July 2008”), at Tab “1035-Task57” (listing CLINs 4005, 4009,

5005, 5009, 6005, 6009, and associated dollar values currently billed and cumulatively billed,

among other things), at e.g., Tab “Prior MonthYr1 Details 2008” (listing non-labor and labor costs

included in this public voucher, with associated object, cost elements, documents, vendor names,

object amounts, item descriptions, and invoice identifications, among others).

       Furthermore, KBR purports to support its second sentence with a citation to an opinion

from the United States District Court for the District of Columbia. The judicial opinion KBR cites

is not “documentary evidence that supports” KBR’s assertion, in violation of Local

Rule 7.1(D)(1)(b). In any event, that case did not consider or analyze whether KBR’s use and

identification of particular CLINs on its public vouchers seeking reimbursement represented that

the materials purchased were “necessary” for performance under the contract, as indicated in the

LOGCAP III base contract. See Ex. 95 (LOGCAP III Base Contract and Statement of Work) at

‘0006 (“For Cost-Reimbursable Contract Line Item Numbers (CLINs) only supplies and materials

necessary for performance under this contract will be reimbursed as stated in each individual Task

Order’s Scope of Work (SOW) and Federal Acquisition Regulation (FAR) 31.205-26.”). Notably,




                                              -33-
in that case, “the relevant public voucher . . . submitted by KBR as part of the record,” which the

court “ha[d] examined,” was “KBR Ex. 114, Purchase Voucher, ECF 136-11.” United States

ex rel. Barko v. Halliburton Co., 241 F. Supp. 3d 37, 58 (D.D.C. 2017). That exhibit 114 containing

the public voucher did not contain the CLINs that KBR submitted with its public vouchers in this

case. United States ex rel. Barko v. Halliburton Co., 1:05-cv-01276-RCL, ECF No. 136-11

(Ex. 114 to Defs.’ Mem. In Supp. Of Defs.’ Mot. For Summ. J.).




                                               -34-
KBR SOF 14. “The public voucher consists solely of a standard Government Form 1034 and
standard Government Form 1035. [KBR] Ex. 29, KBR 30(b)(6) Dep. (Sept. 23, 2021) at 155:4-
159:2. An SF 1034 is a roll-up of all costs incurred by the contractor for the task order covered by
the public voucher for a particular period of time, which was typically two weeks under LOGCAP
III. Id. at 12:20-13:4; 107:19-108:4; [KBR] Ex. 2, Walter Decl. ¶ 4. During the relevant time
period, KBR voluntarily submitted a supplemental billing ‘package’ with the public voucher that
included worksheets listing the individual incurred costs summarized on the Form 1034. Id. at
¶ 5.”

Relators’ Response to KBR SOF 14.

       The statement of fact is disputed.

       The public vouchers do not “solely” consist of “standard” Government forms and are not

only “a roll-up of all costs incurred by the contractor for the task order covered by the public

voucher for a particular period of time, which was typically two weeks under LOGCAP III,” as

KBR states. Each public voucher KBR submitted to the Government under LOGCAP III also

contained certifications to the Government and specific representations regarding the goods or

services invoiced on the public voucher, including through KBR’s use and identification of

particular Cost-Reimbursable Contract Line Item Numbers (“CLINs”) on its public vouchers

seeking reimbursement, which represented that the supplies and materials purchased were

“necessary” for performance under the contract. See, e.g., Ex. 95 (LOGCAP III Base Contract and

Statement of Work) at ‘0006 (“For Cost-Reimbursable Contract Line Item Numbers (CLINs) only

supplies and materials necessary for performance under this contract will be reimbursed as stated

in each individual Task Order’s Scope of Work (SOW) and Federal Acquisition Regulation (FAR)

31.205-26.”); KBR Ex. 18 (Nov. 30, 2007 Public Voucher No. 32 for Task Order 139) at ECF

page 2 (requesting “$155,199,325.83” in this public voucher for Task Order 139 for “Cost[s] for

October & November 2007”), at ECF pages 3-6 (listing CLINs 4005, 4009, 5005, 5009, 6005,

6009, and associated dollar values currently billed and cumulatively billed, among other things),

at ECF pages 20-657 (listing non-labor and labor costs included in this public voucher, with



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“$97,021,332.00” in this public voucher for Task Order 159 for “Cost[s] for April-May 2010”), at

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1209, and associated dollar values currently billed and cumulatively billed, among other things),

at ECF pages 7-14, 106-588) (listing non-labor and labor costs included in this public voucher,

with associated cost elements, descriptions, object amounts, and invoice identifications); Ex. 110

(PDF of Native Excel Spreadsheet Public Voucher No. 47 for Task Order 139) at Tab “1034-Task

57” (requesting $145,074,262.22 in this public voucher for Task Order 139 for “Cost for June-July

2008”), at Tab “1035-Task57” (listing CLINs 4005, 4009, 5005, 5009, 6005, 6009, and associated

dollar values currently billed and cumulatively billed, among other things), at e.g., Tab “Prior

MonthYr1 Details 2008” (listing non-labor and labor costs included in this public voucher, with

associated object, cost elements, documents, vendor names, object amounts, item descriptions, and

invoice identifications, among others).

       Furthermore, KBR’s public vouchers did not only contain “costs incurred by the contractor

for the task order,” as KBR states. KBR’s public vouchers also included purchases that were not

necessary for performance under the contract. KBR purchased hundreds of millions of dollars’

worth of property and materials that were not necessary to perform the LOGCAP III contract and

its task orders; KBR failed to check whether an item was available in theater prior to purchasing

that item new, and manipulated the process established to look for excess inventory.

       Relators’ expert, Dr. Gaukler, analyzed KBR’s inventory and purchasing data to identify

specific cases when KBR over-ordered materials that it had available for cross-leveling under

KBR’s then-existing procedures. See Ex. 96 (Expert Report of G. Gaukler). Analyzing 34.5 million




                                              -36-
transactions found in this data, Dr. Gaukler determined KBR’s inventory balances at every given

point in time between May 28, 2007 and March 5, 2013. Id. § IV.A. Dr. Gaukler validated his

analysis of KBR’s inventory balances by using corroborating information in the transactions.

98.5% of the transactions were internally consistent, and Dr. Gaukler conservatively screened the

remaining 1.5% in order to block balance reconstruction when the transactions suggested any

uncertainty. Id. § IV.B. He also compared his conclusions to KBR’s ASL [authorized stock list]

reports, and found that they matched 98% of the time and that when there was a discrepancy his

model typically underestimated inventory balances. Ex. 105 (Expert Rebuttal Report of

G. Gaukler) § IV.E.

       Dr. Gaukler then applied KBR’s own procedures to the inventory levels in order to classify

KBR’s inventory as Stock, Non-Stock, or Special at any given point in time according to KBR’s

own procedures and standards. Ex. 96 (Expert Report of G. Gaukler) § IV.C. Under KBR’s

procedures, these classifications determine how much of an item’s inventory is available for cross-

leveling. Id. § IV.D.

       Dr. Gaukler then analyzed KBR’s purchase order data over the same period of time to

identify cases when KBR purchased something new even though the item being purchased was

available for cross-leveling according to KBR’s own procedures. Id. § IV.D. Dr. Gaukler applied

KBR’s procedures as KBR had defined them in its Rule 30(b)(6) testimony, including additional

“restrictions” on cross-leveling that do not appear in KBR’s procedures. Id. This means that

Dr. Gaukler’s analysis is highly conservative, as the restrictions he accepted included ones that the

Government did not know about and that the Government would have referred to DCAA had it

known. Ex. 143 (Sheridan Dep.) 155:5-156:13.




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       Dr. Gaukler concluded that on 73,530 separate purchase orders, KBR had purchased

$341 million of excess inventory that should not have been purchased if KBR had followed its

own procedures and standards regarding cross-leveling. Ex. 96 (Expert Report of G. Gaukler) at

5. Dr. Gaukler later adjusted the total amount of excess purchases to $338 million (a reduction of

less than 1%) after applying corrections that he had identified in rebuttal of KBR’s expert

William Walter. Ex. 105 (Expert Rebuttal Report of G. Gaukler) § IV.C.viii.

       KBR submitted its costs to the Government for reimbursement. See Ex. 131 (KBR 30(b)(6)

(Jacobs) Dep.) at 31:7-14, 37:5-10; Ex. 84 (KBR Response to Interrogatory No. 10). Consequently,

the Government reimbursed KBR for the entire $341 million it had incurred unnecessarily. See

Ex. 131 (KBR 30(b)(6) (Jacobs) Dep.) 24:9-14 (“Q. . . . Are you aware sitting here today of any

pieces of property and materials that KBR bought and received on LOGCAP III that the

government paid less than a hundred percent of what KBR spent buying the property and material?

A. I am not aware.”), 31:7-14 (“Q. . . . [A]s a general matter were KBR’s costs spent procuring

property and materials that KBR procured and received on LOGCAP III, did those costs ultimately

end up on the public vouchers KBR submitted to the U.S. Government? A. In general the costs

incurred based on receipts of materials and equipment were included on a public voucher, in

general.”). Moreover, Dr. Gaukler was able to directly trace $226 million of the $341 million of

unnecessary purchased items to specific public vouchers. Ex. 96 (Expert Report of G. Gaukler)

at 39. Those public vouchers expressly represented that these $226 million of over-ordered

supplies were “necessary for performance” of LOGCAP III. SOF ¶¶ 151-157.

       Dr. Gary Gaukler identified 899 public vouchers associated with unnecessary costs

incurred because KBR purchased items despite existing excess material being available in theater.

For example, on July 14, 2008, KBR submitted Public Voucher No. 47 for Task Order 139. That




                                              -38-
Public Voucher requested reimbursement for the cost of purchase order line (“POLINE”)

(#771983), on purchase order number (“PONUM”) #4750053582 for 15 1.5HP blower motors

ordered on July 1, 2008 (item number 1001331456), for a total cost of $7,725, despite the fact that

the 15 blower motors were all available in excess in other KBR storerooms. Ex. 120 (Expert

Rebuttal Report of G. Gaukler, Output 3); Ex. 118 (Expert Report of G. Gaukler, Output 1);

Ex. 114 (ZBILL20080714-044718-GC00GY) at Tab “ZBILL20080714-044718-GC00GY,” Row

1376 (identifying Object: “GCA8YM-BAD9D1602-5”; Cost Elem: “550451”; Document:

“1030466893”; Vendor Name: GOLDEN ARROW GENERAL TRADING C”; PostDate:

“20080701”; Ref Doc: “5000339056”; Trns Amt: “7,725.00”); Ex. 110 (PDF of Native Excel

Spreadsheet Public Voucher No. 47 for Task Order 139) at Tab “1034-Task 57,” at Tab “Yr 2

Detail 2008,” Row 128 (identifying Object: “GCA8YM-BAD9D1602-5”; Cost Elem: “550451”;

Document: “1030466893”; Vendor Name: “GOLDEN ARROW GENERAL TRADING C”;

PostDate: “20080701”; Ref Doc: “5000339056”; Obj Amt: “7,725.00”). Dr. Gaukler concluded

that on 73,530 separate purchase orders, KBR had purchased $341 million of excess inventory that

it never should have purchased if KBR had followed its own procedures and standards regarding

cross-leveling. On the occasions when KBR actually followed its cross-leveling procedures, and

the database showed cross-level was supportable, the underlying circumstances rarely led KBR to

deny a cross-level request. Moreover, Dr. Gaukler’s model incorporates KBR’s documented cross-

level denials, and it reduces the value of KBR’s $341 million in over-ordering by a mere $800,000.

Ex. 96 (Expert Report of G. Gaukler) at 5; Ex. 105 (Expert Rebuttal Report of G. Gaukler)

¶¶ 132-135; Ex. 106 (Supplement to Expert Rebuttal Report of G. Gaukler) ¶ 4.




                                               -39-
KBR SOF 15. “The public voucher packages that KBR submitted to the Government for
reimbursement under LOGCAP III do not contain any certifications as a condition of receiving
payment, nor any specific representations regarding the goods or services invoiced on the voucher.
Id. The public voucher packages also do not contain any representations relating to cross-leveling,
let alone statements about whether KBR did or did not attempt to cross-level prior to purchasing
the property and materials that are invoiced on the voucher. Id.; see, e.g., Ex. 18, Task Order 139
Voucher Package (PDF of Native Excel produced at KBR-HOW-0043594); Ex. 19, Task
Order 159 Voucher Package (PDF of Native Excel produced at KBR-HOW-0044437).”

Relators’ Response to KBR SOF 15.

       The statement of fact is disputed.

       Each public voucher KBR submitted to the Government under LOGCAP III contained

specific representations regarding the goods or services invoiced on the public voucher, and

representations relating to cross-leveling and whether KBR did or did not attempt to cross-level

prior to purchasing the property and materials that are invoiced on the voucher, including through

KBR’s use and identification of particular Cost-Reimbursable Contract Line Item Numbers

(“CLINs”) on its public vouchers seeking reimbursement, which represented that the materials

purchased were “necessary” for performance under the contract. See, e.g., Ex. 95 (LOGCAP III

Base Contract and Statement of Work) at ‘0006 (“For Cost-Reimbursable Contract Line Item

Numbers (CLINs) only supplies and materials necessary for performance under this contract will

be reimbursed as stated in each individual Task Order’s Scope of Work (SOW) and Federal

Acquisition Regulation (FAR) 31.205-26.”); KBR Ex. 18 (Nov. 30, 2007 Public Voucher No. 32

for Task Order 139) at ECF page 2 (requesting “$155,199,325.83” in this public voucher for Task

Order 139 for “Cost[s] for October & November 2007”), at ECF pages 3-6 (listing CLINs 4005,

4009, 5005, 5009, 6005, 6009, and associated dollar values currently billed and cumulatively

billed, among other things), at ECF pages 20-657 (listing non-labor and labor costs included in

this public voucher, with associated cost elements, descriptions, object amounts, and invoice

identifications); KBR Ex. 19 (May 13, 2010 Public Voucher No. 40 for Task Order 159) at ECF



                                               -40-
page 2 (requesting “$97,021,332.00” in this public voucher for Task Order 159 for “Cost[s] for

April-May 2010”), at ECF pages 3-4 (listing CLINs 7005, 7009, 8005, 8009, 9005, 9009, 1005,

1009, 1105, 1109, 1205, 1209, and associated dollar values currently billed and cumulatively

billed, among other things), at ECF pages 7-14, 106-588) (listing non-labor and labor costs

included in this public voucher, with associated cost elements, descriptions, object amounts, and

invoice identifications); Ex. 110 (PDF of Native Excel Spreadsheet Public Voucher No. 47 for

Task Order 139) at Tab “1034-Task 57” (requesting $145,074,262.22 in this public voucher for

Task Order 139 for “Cost for June-July 2008”), at Tab “1035-Task57” (listing CLINs 4005, 4009,

5005, 5009, 6005, 6009, and associated dollar values currently billed and cumulatively billed,

among other things), at e.g., Tab “Prior MonthYr1 Details 2008” (listing non-labor and labor costs

included in this public voucher, with associated object, cost elements, documents, vendor names,

object amounts, item descriptions, and invoice identifications, among others).




                                              -41-
KBR SOF 25. “The LOGCAP III contract does not contain or define the term ‘cross-leveling’ and
does not set any objective criteria or standards for assessing KBR’s cross-leveling of materials.
See generally [KBR] Ex. 17, LOGCAP III Contract; see also [KBR] Ex. 26, Branch Rep. at 60;
Ex. 27, Branch Dep. (Jun. 24, 2022) at 63:15-25.”

Relators’ Response to KBR SOF 25.

       This statement of fact is disputed.

       KBR was required under LOGCAP III to check to see if it had a particular material on hand

and available before ordering more. See, e.g., Ex. 95 (LOGCAP III Base Contract and Statement

of Work) at ‘0006 (“For Cost-Reimbursable Contract Line Item Numbers (CLINs) only supplies

and materials necessary for performance under this contract will be reimbursed as stated in each

individual Task Order’s Scope of Work (SOW) and Federal Acquisition Regulation (FAR) 31.205-

26.”), ‘0037-38 (incorporating FAR 52.216-7, FAR 52.232-20, FAR 52.232-22); FAR 52.216-7;

FAR 52.232-20; FAR 52.232-22; Ex. 48 (Task Order 139 Statement Of Work Change 6) at ‘5609

(“3.0 CONTRACTOR ACQUIRED OR GOVERNMENT FURNISHED EQUIPMENT AND

PROPERTY. Prior to procurement of equipment to support all efforts described in this task order,

the contractor shall exercise due diligence in verifying and certify that the required items cannot

be satisfied from existing stock available from other sites covered by this task order. This

certification shall be provided to the ACO. . . . 3.1.1. The Contractor shall adhere to the

requirement priorities listed in TABLE 3.1.1. to the maximum extent possible. For purchases that

cannot be obtained through cross leveling or from the Host Country sources, the contractor shall

make maximum use of the Federal Supply System (FSS). REQUIREMENTS PRIORITIES 1 USG

military unit, organic, green suit[;] 2 Cross level within LOGCAP Task Order[;] 3 Other Task

Orders within LOGCAP[;] 4 Host Country sources[;] 5 FSS[;] 6 Commercial.”); Ex. 41 (Task

Order 159 Statement Of Work) at ‘5488-89 (“3.0 CONTRACTOR ACQUIRED OR

GOVERNMENT FURNISHED EQUIPMENT AND PROPERTY. Prior to procurement of



                                               -42-
equipment to support all efforts described in this task order, the contractor shall exercise due

diligence in verifying and certify that the required items cannot be satisfied from existing stock

available from other sites covered by this task order. This certification shall be provided to the

ACO. . . . 3.1.1. The contractor shall adhere to the requirement priorities listed in TABLE 3.1.1.

to the maximum extent possible. For purchases that cannot be obtained through cross leveling or

from the Host Country sources, the contractor shall make maximum use of the Federal Supply

System (FSS). REQUIREMENTS PRIORITIES 1 USG military unit, organic, green suit[;] 2 Cross

level within LOGCAP Task Order[;] 3 Other Task Orders within LOGCAP[;] 4 Host Country

sources[;] 5 FSS[;] 6 Commercial.”); Ex. 136 (Lust Dep.) 28:19-22 (“Q. Can you explain what

cross-leveling is? A. When a requirement is generated at one location, . . . material from another

location is used to satisfy the requirement at the first location.”), 30:13-17 (“Q. . . . [W]ere you

aware that the obligation to cross-level was a contractual requirement in KBR’s contract with the

United States Government? [Objection.] A. Yes.”); Ex. 132 (KBR 30(b)(6) (Lust) (Sept. 28, 2021)

Dep.) 23:18-24:4 (“Cross leveling is when you move an item from one site to another site to satisfy

a demand at the second site . . . without going to the procurement system to get an item.”), 38:22-

39:8 (“Q. . . . Any other generally applicable instructions from the U.S. Government concerning

KBR cross leveling between task orders other than those that you just referenced? [Objection.]

A. . . . Mary Wade, who was the contract administrator for the LOGCAP III contract in Houston,

had said that we were to make maximum use of cross leveling where possible. She understood you

couldn’t do it all the time but where possible.”); Ex. 134 (King Dep.) 16:21-17:2 (“Q. . . . With

respect to KBR’s work on LOGCAP-III, was KBR supposed to try to cross-level materials and

property before purchasing new materials and property? [Objection.] A. Yes.”); Ex. 101 (Nov. 2,

2007 DCMA Letter of Technical Directive to KBR) at ‘6706 (“All equipment MRs [material




                                               -43-
requisitions] shall be initially submitted to the site ACO. . . . All equipment MRs [material

requisitions] shall contain the following information: . . . (3) Has KBR checked for theater-wide

re-distribution under the cross-leveling process?”); Ex. 1 (KBR’s Government-Approved Property

Control Procedures, dated Sept. 21, 2006) at ‘5992 (“All property, whether government furnished

or KBR acquired, must be: . . . Reasonable quantities, commensurate with the work to be

accomplished.”), at ‘5993 (“Consuming: Quantities of material/supplies produced or procured for

incorporation into an end item or otherwise consumed will . . . Be reasonable when compared to

the work/job at hand and Material Requisitions . . . Be promptly returned to stock and recorded

when determined to be excess.”), at ‘5994 (“Government property will be disposed of by: . . .

Screening items against existing and anticipated needs . . . Promptly reporting excess items . . .

.Receiving property authority from the Government . . . prior to disposal.”), at ‘6015 (“Requisitions

for all property, whether government furnished or KBR acquired, must: . . . Be contractually

authorized and necessary for performance of the prime contract . . . Be for the quantities required

for said performance . . . .”), at ‘6017-021 (“Warehouse personnel will first attempt to fill

requisitions from stock on-hand. . . . If suitable property is available for issue, warehouse

personnel will [take specific steps] . . . Property may not be available, or there may not be sufficient

stock on-hand to fill the entire quantity. When this happens, Material Control takes action to obtain

the property for the requester. . . . Material Control – Processing Requisitions for cross leveling

or Purchasing. . . . Upon return Materials Control will first check the theater inventory to determine

if the requisition can be filled from existing stock. If suitable material is located, materials control

will forward a copy of the approved Materials Requisitions. . . . If suitable material/equipment

can not be located in the Theater Inventory, Material Control processes the approved MR [material

requisition], establishes a manual record file by MR [material requisition] number and forwards to




                                                 -44-
Procurement for purchase action.”); Ex. 89 (KBR’s Government-Approved Property Control

Procedures, dated July 15, 2008) at ‘6168 (“All property, whether government furnished or KBR

acquired, must be: . . . Reasonable quantities, commensurate with the work to be accomplished.”),

at ‘6169 (“Consuming: Quantities of material/supplies produced or procured for incorporation into

an end item or otherwise consumed will be: . . . reasonable when compared to the work/job at hand

and Material Requisitions. . . . promptly returned to stock and recorded when determined to be

excess.”), at ‘6170 (“Government property will be disposed of by: . . . Screening items against

existing and anticipated needs. . . . Promptly reporting excess items. . . . Receiving property

authority from the Government . . . prior to disposal.”), at ‘6227 (“Requisitions for all property,

whether government furnished or KBR acquired, must: . . . Be contractually authorized and

necessary for performance of the prime contract; . . . Be for the quantities required for said

performance . . . .”), at ‘6230-32 (“Material Control personnel will first attempt to fill the

requisitions from stock on-hand and will also check the Automated Inventory Control System for

Theater wide availability of the item(s) being requested. . . . If suitable property is available for

issue, from on hand stock, warehouse personnel will [take specific steps]. . . . If suitable property

is found at another site, the Material Manager or designee will . . . Verify via the owning Site

Material Manager that the requested item(s) are excess to that site’s need and is available for cross

utilization [and take specific steps] . . . . Property may not be available, or there may not be

sufficient stock on-hand to fill the entire quantity. When this happens, Material Control takes

action to obtain the property for the requester. . . . All requisitions must be coordinated with cost

control and approvals obtained from project management, government LOTD’S, and contract

modifications, before submitting for procurement action. . . . Upon return Materials Control

processes the approved MR [material requisitions], establish a manual record file by MR [material




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requisition] number and forwards to Procurement for purchase action.”), at ‘6313 (“Consumption

of Government property shall be reasonable when compared to requirements. . . . Quantities of

property produced or procured for incorporation into an end item or otherwise consumed will . . .

Be reasonable when compared to Material Requisitions. On hand stocks in the Materials

warehouses will be maintained in reasonable quantities to support contractual requirements and in

accordance with specific project policies or replenishment lead time. Stock levels will be based on

equipment density, population to be supported, recurring demands or the history of a previous

project with like property. . . . Unused Materials from trades on hand stock, special projects,

ACL’s LOTD’s etc must be returned to the Material Warehouse within a reasonable period of time

after the work is completed or no demands. Material Control department will ensure returned

unused materials are posted to the automated inventory system with appropriate documentation

within 48 hrs. Materials determined to be excess must be disposed of in accordance with

Disposition Tab.”); Ex. 91 (“KBR Distribution of Government Property DESKTOP OPERATING

PROCEDURE,” dated Aug. 23, 2008) at ‘0251 (“The DMC (Distribution Management Center)

will be responsible for screening all requests for procurement action for possible Cross Level

support. . . . All requisitions for procurement action will flow through the DMC and be screened

for availability within theater prior to purchase.”) (emphasis in original), at ‘0256 (“If a site

foresees a need for an item(s), it is contractually obligated to attempt to obtain the items through

cross utilization within its project (group of sites).”); Ex. 24 (July 1, 2009 KBR Technical Direction

Bulletin re: PCARSS) at ‘4270 (“KBR has a responsibility to cross level before purchase.”); Ex. 34

(containing June 4, 2011 email from KBR’s Head of the DMC, C. O’Muirgheasa) at ‘3826 (“It is

a contractual requirement on LOGCAP III to cross level items in order to reduce spending,

eliminate excess, and, nowadays just as importantly, get available material to other[] sites




                                                -46-
ASAP.”); Ex. 71 (July 2, 2009 Analysis by KBR’s Head of the DMC) at ‘1369 (“Our mission is

to cross level materials from locations where there is redistributable material to locations where

there is a need for those materials.”); Ex. 94 (Expert Report of M. Rudolph) at 19 (“KBR was

obligated to cross level property and materials on LOGCAP III.”) (citing sources). Indeed, KBR’s

own experts concede that KBR had a contractual obligation to check for such availability, using,

at a minimum, “best efforts” to do so. Ex. 121 (Branch Dep.) 71:7-10.

       It was further required under LOGCAP III that all of KBR’s purchases be (1) “necessary

for performance” of the contract (based on CLINs), (2) cross-leveled to the “maximum extent

possible” per the contract’s Statements of Work (as KBR concedes, Br. at 2), and in the case of

larger purchases, (3) expressly certified to have been cross-leveled. Ex. 95 (LOGCAP III Base

Contract and Statement of Work) at ‘0006 (“For Cost-Reimbursable Contract Line Item Numbers

(CLINs) only supplies and materials necessary for performance under this contract will be

reimbursed as stated in each individual Task Order’s Scope of Work (SOW) and Federal

Acquisition Regulation (FAR) 31.205-26.”); KBR Ex. 6 (Apr. 22, 2008 Task Order 139 SOW

Change 6) at ‘5609 (“3.0 CONTRACTOR ACQUIRED OR GOVERNMENT FURNISHED

EQUIPMENT AND PROPERTY. Prior to procurement of equipment to support all efforts

described in this task order, the contractor shall exercise due diligence in verifying and certify

that the required items cannot be satisfied from existing stock available from other sites covered

by this task order. This certification shall be provided to the ACO. . . . 3.1.1 The contractor

shall adhere to the requirement priorities listed in TABLE 3.1.1. to the maximum extent

possible. For purchases that cannot be obtained through cross leveling or from the Host County

sources, the contractor shall make maximum use of the Federal Supply System (FSS).

REQUIREMENTS PRIORITIES 1 USG military unit, organic, green suit[;] 2 Cross level




                                              -47-
within LOGCAP Task Oroder[;] 3 Other Task Orders within LOGCAP[;] 4 Host Country

sources[;] 5 FSS[;] 6 Commercial.”); KBR Ex. 7 (Aug. 25, 2008 Task Order 159 SOW, KBR-

HOW-0039632-9782) at ‘9638-39 (same without emphasis).




                                         -48-
KBR SOF 27. “There are certain task order statements of work that do not reference
‘crossleveling,’ but directed KBR to use ‘due diligence’ to determine if a site’s need for equipment
(which is not the subject of Relators’ allegations, see SOF ¶ 11), could be fulfilled by equipment
available from other sites covered by the same task order. Ex. 1, Booth Decl. ¶ 8 (citing [KBR]
Ex. 4, Task Order 118 SOW .v2 at ¶ 3.0 (Aug. 2, 2007) (“Prior to procurement of equipment to
support all efforts described in this task order, the contractor shall exercise due diligence in
verifying that the required items cannot be satisfied from existing stock available from other sites
covered by this task order”) (emphasis added)).”

Relators’ Response to KBR SOF 27.

       The statement of fact is disputed.

       Relators dispute this statement because it is not supported by the cited materials. KBR

selectively quotes paragraph 3.0 of Task Order 118 SOW .v2 to misleadingly suggest that the

paragraph pertains only to “equipment.” Instead, as the full quote shows, it plainly covers all

“government furnished property,” not just “equipment.” The paragraph reads in full (with the

words KBR omitted in bold): “3.0 GOVERNMENT FURNISHED EQUIPMENT AND

PROPERTY. Prior to procurement of equipment to support all efforts described in this task order,

the contractor shall exercise due diligence in verifying that the required items cannot be satisfied

from existing stock available from other sites covered by this task order, or as Government

Furnished Property (GFP).” KBR’s Ex. 4 ¶ 3.0.

       Finally, LOGCAP III was amended on July 22, 2004, three years prior to the SOW cited

by KBR. The July 22, 2004 amendment explicitly made cross-leveling among task orders a

requirement for KBR for all current and future task orders: “Task Order Cross Utilization of

Government Property into the basic contact and is applicable to all current and future task

orders awarded under this contract.” Ex. 62 (July 22, 2004 Amendment P00008 to LOGCAP III

Base Contract) at ‘3166 (emphasis added). That July 22, 2004 amendment to LOGCAP III

provided: “Definition: Cross Utilized Property is government property purchased against one task

order which is subsequently loaned to another task order on a temporary basis. Cross-utilized



                                               -49-
property shall remain accountable to the task order against which it was purchased, unless it has

been duly transferred to another task order, in which case it will remain accountable to the task

order to which it has been transferred.” Id. In addition, KBR’s 30(b)(6) corporate representative

confirmed that KBR was required to cross-level between task orders. See KBR 30(b)(6) (Lust)

(Sept. 28, 2021) Dep. 37:23-38:4.

        It is further disputed because KBR’s cross-leveling obligations were part of the LOGCAP

III contract, and applied to all task orders. See, e.g., Ex. 95 (LOGCAP III Base Contract and

Statement of Work) at ‘0006 (“For Cost-Reimbursable Contract Line Item Numbers (CLINs) only

supplies and materials necessary for performance under this contract will be reimbursed as stated

in each individual Task Order’s Scope of Work (SOW) and Federal Acquisition Regulation (FAR)

31.205-26.”); Ex. 138 (McNamara Dep.) 279:7-280:2 (“Q. . . . [D]id you have a view on . . .

whether KBR was appropriately cross-leveling property in the 2007 to 2012 time period?

[Objection.] A. . . . They needed to have been doing it . . . because it was part of . . . their property

procedure. It was part of what was required of them as a prudent contractor.”), 590:13-19 (“If you

are purchasing something and you know that you have a large operation, then as a prudent

contractor, you would be required to screen through your system to see if there is any availability

of . . . these items or property that you’re currently trying to buy . . . .”), 597:20-598:9 (“Q. Do

you know . . . when KBR was required to certify that it had attempted to cross-level before making

purchase? A. There was a modification to the contract. I don’t remember exactly when. It was

sometime after 2006. I don’t know if it was 2007 or 2008. . . . [I]t is part of the contract.”); Ex. 136

(Lust Dep.) 30:13-17 (“Q. . . . [W]ere you aware that the obligation to cross-level was a contractual

requirement in KBR’s contract with the United States Government? [Objection.] A. Yes.”);

Ex. 132 (KBR 30(b)(6) (Lust) (Sept. 28, 2021) Dep.) 38:22-39:8 (“Q. . . . Any other generally




                                                  -50-
applicable instructions from the U.S. Government concerning KBR cross leveling between task

orders other than those that you just referenced? [Objection.] A. . . . Mary Wade, who was the

contract administrator for the LOGCAP III contract in Houston, had said that we were to make

maximum use of cross leveling where possible. She understood you couldn’t do it all the time but

where possible.”); Ex. 135 (LaBoa Dep.) 70:24-71:21 (agreeing cross-leveling was part of KBR’s

property control procedures); Ex. 127 (Hippert Dep.) 162:24-163:20 (agreeing his “view at the

time” was that cross-leveling was expected); Ex. 134 (King Dep.) 16:21-17:2 (“Q. . . . With respect

to KBR’s work on LOGCAP-III, was KBR supposed to try to cross-level materials and property

before purchasing new materials and property? [Objection.] A. Yes.”); Ex. 142 (Rock Dep.)

520:17-22 (“Q. And it was KBR’s obligation under LOGCAP III to cross level property [and

materials]; is that right, sir? [Objection.] A. I think . . . where possible, yes.”); Ex. 141 (Ritondale

Dep.) 105:22-106:5 (“Q. . . . [I]s it your understanding that KBR was supposed to try to cross-

level property and materials at some point in the procurement process? [Objection.] A. My

understanding is at some point in time the cross-leveling was something that was supposed to

occur.”).




                                                 -51-
KBR SOF 28. “There are certain task order statements of work that do not reference
‘crossleveling,’ but directed KBR to use ‘due diligence’ to determine if equipment needs could be
fulfilled with equipment in existing stock available from other sites, presumably regardless of task
order. [KBR] Ex. 1, Booth Decl. ¶ 9 (citing [KBR] Ex. 5, Task Order 118 SOW v1.2 at ¶ 3.0
(Jan. 28, 2008) (‘Prior to procurement of equipment to support all efforts described in this task
order, the contractor shall exercise due diligence in verifying that the required items cannot be
satisfied from existing stock available from other sites’) (emphasis added) and [KBR] Ex. 8, Task
Order 151 SOW v2 at ¶ 3.0 (Jan. 25, 2010) (same meaning)).”

Relators’ Response to KBR SOF 28.

       This statement of fact is disputed. The assertion that something is “presumably” true is not

a proper fact, but instead KBR’s characterization of documents, and violates Local Civil

Rule 7.1(D)(1)(b).

       Further, this statement of fact is not supported by the cited materials. KBR selectively

quotes paragraph 3.0 of Task Order 118 SOW v1.2 to misleadingly suggest that the paragraph

pertains only to “equipment.” Instead, as the full quote shows, it plainly covers all “government

furnished property,” not just “equipment.” The paragraph reads in full (with the words KBR

omitted in bold): “3.0 GOVERNMENT FURNISHED EQUIPMENT AND PROPERTY. Prior

to procurement of equipment to support all efforts described in this task order, the Contractor shall

exercise due diligence in verifying that the required items cannot be satisfied from existing stock

available from other sites, or as Government Furnished Property (GFP).” KBR’s Ex. 5 ¶ 3.0.

       Finally, LOGCAP III was amended on July 22, 2004, four to six years prior to the SOWs

cited by KBR. The July 22, 2004 amendment explicitly made cross-leveling among task orders a

requirement for KBR for all current and future task orders: “Task Order Cross Utilization of

Government Property into the basic contact and is applicable to all current and future task

orders awarded under this contract.” Ex. 62 (July 22, 2004 Amendment P00008 to LOGCAP III

Base Contract) at ‘3166 (emphasis added). That July 22, 2004 amendment to LOGCAP III

provided: “Definition: Cross Utilized Property is government property purchased against one task



                                                -52-
order which is subsequently loaned to another task order on a temporary basis. Cross-utilized

property shall remain accountable to the task order against which it was purchased, unless it has

been duly transferred to another task order, in which case it will remain accountable to the task

order to which it has been transferred.” Id. In addition, KBR’s 30(b)(6) corporate representative

confirmed that KBR was required to cross-level between task orders. See KBR 30(b)(6) (Lust)

(Sept. 28, 2021) Dep. 37:23-38:4.

        It is further disputed because KBR’s cross-leveling obligations were part of the LOGCAP

III contract, and applied to all task orders. See, e.g., Ex. 95 (LOGCAP III Base Contract and

Statement of Work) at ‘0006 (“For Cost-Reimbursable Contract Line Item Numbers (CLINs) only

supplies and materials necessary for performance under this contract will be reimbursed as stated

in each individual Task Order’s Scope of Work (SOW) and Federal Acquisition Regulation (FAR)

31.205-26.”); Ex. 138 (McNamara Dep.) 279:7-280:2 (“Q. . . . [D]id you have a view on . . .

whether KBR was appropriately cross-leveling property in the 2007 to 2012 time period?

[Objection.] A. . . . They needed to have been doing it . . . because it was part of . . . their property

procedure. It was part of what was required of them as a prudent contractor.”), 590:13-19 (“If you

are purchasing something and you know that you have a large operation, then as a prudent

contractor, you would be required to screen through your system to see if there is any availability

of . . . these items or property that you’re currently trying to buy . . . .”), 597:20-598:9 (“Q. Do

you know . . . when KBR was required to certify that it had attempted to cross-level before making

purchase? A. There was a modification to the contract. I don’t remember exactly when. It was

sometime after 2006. I don’t know if it was 2007 or 2008. . . . [I]t is part of the contract.”); Ex. 136

(Lust Dep.) 30:13-17 (“Q. . . . [W]ere you aware that the obligation to cross-level was a contractual

requirement in KBR’s contract with the United States Government? [Objection.] A. Yes.”);




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Ex. 132 (KBR 30(b)(6) (Lust) (Sept. 28, 2021) Dep.) 38:22-39:8 (“Q. . . . Any other generally

applicable instructions from the U.S. Government concerning KBR cross leveling between task

orders other than those that you just referenced? [Objection.] A. . . . Mary Wade, who was the

contract administrator for the LOGCAP III contract in Houston, had said that we were to make

maximum use of cross leveling where possible. She understood you couldn’t do it all the time but

where possible.”); Ex. 135 (LaBoa Dep.) 70:24-71:21 (agreeing cross-leveling was part of KBR’s

property control procedures); Ex. 127 (Hippert Dep.) 162:24-163:20 (agreeing his “view at the

time” was that cross-leveling was expected); Ex. 134 (King Dep.) 16:21-17:2 (“Q. . . . With respect

to KBR’s work on LOGCAP-III, was KBR supposed to try to cross-level materials and property

before purchasing new materials and property? [Objection.] A. Yes.”); Ex. 142 (Rock Dep.)

520:17-22 (“Q. And it was KBR’s obligation under LOGCAP III to cross level property [and

materials]; is that right, sir? [Objection.] A. I think . . . where possible, yes.”); Ex. 141 (Ritondale

Dep.) 105:22-106:5 (“Q. . . . [I]s it your understanding that KBR was supposed to try to cross-

level property and materials at some point in the procurement process? [Objection.] A. My

understanding is at some point in time the cross-leveling was something that was supposed to

occur.”).




                                                 -54-
KBR SOF 31. “There are only two task orders with statements of work that address ‘crossleveling’
without limitation to equipment. [KBR] Ex. 1, Booth Decl. ¶ 12 (citing Ex. 6, Task Order 139
SOW v6 ¶ 3.1.1 (Apr. 22, 2008), [KBR] Ex. 7, Task Order 159 Basic SOW ¶ 3.1.1 (Aug. 25,
2008). Those statements of work state: ‘The contractor shall adhere to the requirement priorities
listed in TABLE 3.1.1 to the maximum extent possible.’ Id. Table 3.1.1 lists ‘REQUIREMENTS
PRIORITIES’ as (1) USG military unit, organic, green suit; (2) ‘Cross level within LOGCAP Task
Order;’ (3) ‘Other Task Orders within LOGCAP,’ followed by purchasing sources. Id. These
statements of work do not specify whether the ‘REQUIREMENTS PRIORITIES’ apply to
equipment or other types of Government property. Id.; see also Ex. 26, Branch Rep. at 35-36
(noting that many task orders had no task order language about cross-leveling, and those that did
at most asked KBR to adhere ‘to the maximum extent possible’ to certain ‘requirement priorities,’
the third of which was ‘cross-leveling,’ a term left undefined.’). These statements of work also
require the contractor to ‘exercise due diligence in verifying’ whether required items can be
satisfied from existing stock ‘[p]rior to procurement of equipment.” [KBR] Ex. 6, Task Order 139
SOW v6 ¶ 3.0 (Apr. 22, 2008); [KBR] Ex. 7, Task Order 159 Basic SOW ¶ 3.0 (Aug. 25, 2008)
(emphasis added).”

Relators’ Response to KBR SOF 31.

       This statement of fact is disputed.

       As an initial matter, Task Orders 139 and 159 are not the only two task orders with

statements of work that address cross-leveling “without limitation to equipment.” As just one

additional example, Task Order 118 SOW .v2 (a task order that KBR attached to its brief) states:

“3.0 GOVERNMENT FURNISHED EQUIPMENT AND PROPERTY. Prior to procurement of

equipment to support all efforts described in this task order, the contractor shall exercise due

diligence in verifying that the required items cannot be satisfied from existing stock available from

other sites covered by this task order, or as Government Furnished Property (GFP).” KBR’s Ex. 4,

¶ 3.0. Additionally, LOGCAP III was amended on July 22, 2004. The July 22, 2004 amendment

explicitly made cross-leveling among task orders a requirement for KBR for all current and future

task orders: “Task Order Cross Utilization of Government Property into the basic contact and is

applicable to all current and future task orders awarded under this contract.” Ex. 62 (July 22,

2004 Amendment P00008 to LOGCAP III Base Contract,) at ‘3166. That July 22, 2004

amendment to LOGCAP III provided: “Definition: Cross Utilized Property is government property



                                                -55-
purchased against one task order which is subsequently loaned to another task order on a temporary

basis. Cross-utilized property shall remain accountable to the task order against which it was

purchased, unless it has been duly transferred to another task order, in which case it will remain

accountable to the task order to which it has been transferred.” Id.

        It is further disputed that Task Orders 139 and 159 “do not specify whether the

‘REQUIREMENTS PRIORITIES’ apply to equipment or other types of Government property.”

The sub-sections quoted by KBR are in the main section titled “CONTRACTOR ACQUIRED OR

GOVERNMENT FURNISHED EQUIPMENT AND PROPERTY,” and plainly the sub-sections,

including the sub-sections on “REQUIREMENTS PRIORITIES,” apply to all types of

Government property. KBR’s Ex. 6, Task Order 139 SOW v6 ¶ 3.1.1 (Apr. 22, 2008), KBR’s

Ex. 7, Task Order 159 Basic SOW ¶ 3.1.1 (Aug. 25, 2008).

        It is further disputed because KBR’s cross-leveling obligations were part of the

LOGCAP III contract, and applied to all task orders. See, e.g., Ex. 95 (LOGCAP III Base Contract

and Statement of Work) at ‘0006 (“For Cost-Reimbursable Contract Line Item Numbers (CLINs)

only supplies and materials necessary for performance under this contract will be reimbursed as

stated in each individual Task Order’s Scope of Work (SOW) and Federal Acquisition Regulation

(FAR) 31.205-26.”); Ex. 138 (McNamara Dep.) 279:7-280:2 (“Q. . . . [D]id you have a view on .

. . whether KBR was appropriately cross-leveling property in the 2007 to 2012 time period?

[Objection.] A. . . . They needed to have been doing it . . . because it was part of . . . their property

procedure. It was part of what was required of them as a prudent contractor.”), 590:13-19 (“If you

are purchasing something and you know that you have a large operation, then as a prudent

contractor, you would be required to screen through your system to see if there is any availability

of . . . these items or property that you’re currently trying to buy . . . .”), 597:20-598:9 (“Q. Do




                                                  -56-
you know . . . when KBR was required to certify that it had attempted to cross-level before making

purchase? A. There was a modification to the contract. I don’t remember exactly when. It was

sometime after 2006. I don’t know if it was 2007 or 2008. . . . [I]t is part of the contract.”); Ex. 136

(Lust Dep.) 30:13-17 (“Q. . . . [W]ere you aware that the obligation to cross-level was a contractual

requirement in KBR’s contract with the United States Government? [Objection.] A. Yes.”);

Ex. 132 (KBR 30(b)(6) (Lust) (Sept. 28, 2021) Dep.) 38:22-39:8 (“Q. . . . Any other generally

applicable instructions from the U.S. Government concerning KBR cross leveling between task

orders other than those that you just referenced? [Objection.] A. . . . Mary Wade, who was the

contract administrator for the LOGCAP III contract in Houston, had said that we were to make

maximum use of cross leveling where possible. She understood you couldn’t do it all the time but

where possible.”); Ex. 135 (LaBoa Dep.) 70:24-71:21 (agreeing cross-leveling was part of KBR’s

property control procedures); Ex. 127 (Hippert Dep.) 162:24-163:20 (agreeing his “view at the

time” was that cross-leveling was expected); Ex. 134 (King Dep.) 16:21-17:2 (“Q. . . . With respect

to KBR’s work on LOGCAP-III, was KBR supposed to try to cross-level materials and property

before purchasing new materials and property? [Objection.] A. Yes.”); Ex. 142 (Rock Dep.)

520:17-22 (“Q. And it was KBR’s obligation under LOGCAP III to cross level property [and

materials]; is that right, sir? [Objection.] A. I think . . . where possible, yes.”); Ex. 141 (Ritondale

Dep.) 105:22-106:5 (“Q. . . . [I]s it your understanding that KBR was supposed to try to cross-

level property and materials at some point in the procurement process? [Objection.] A. My

understanding is at some point in time the cross-leveling was something that was supposed to

occur.”).




                                                 -57-
KBR SOF 33. “The statements of work for the twenty-three task orders at issue in this case do not
contain any objective standards or metrics for evaluating KBR’s cross-leveling. See, e.g., [KBR]
Exs. 3-8 (SOWs); [KBR] Ex. 26, Branch Rep. at 35-36 (‘[T]here was never any overarching
contractual requirement to actually transfer any or all equipment and material found at a site in
theater whenever any other site had such a need. Rather, [KBR’s] ‘cross-leveling’ obligation, as I
use the term throughout this report, centered on conducting due diligence checks prior to
purchasing items, to determine whether items could be found in theater, those items were excess
to its current location, and whether transferring them would enhance contract performance.
Although this concept was introduced in various task orders, nothing in the base LOGCAP contract
required transferring or even ‘cross-leveling’ due diligence checks discussed in this section.
Moreover, during the relevant time-frame, there were inconsistencies regarding the scope and
limits of [KBR’s] obligations related to this ‘cross-leveling’ due diligence process’); id. at 38-39
(‘[T]he Task Orders, like the LOGCAP III base contract, did not establish any specific objectives
or requirements for when, how often or how many items [KBR] was required to transfer items
between sites, or any specific procedures for how [KBR] was required to accomplish
crossleveling.’); id. at 60 (‘[KBR’s] obligation, at most, was to use its best efforts to exercise due
diligence to verify and certify that material requirements could not be satisfied from existing
inventory, or in some cases to provide its best efforts to the ‘maximum extent practical’ to adhere
to a hierarchy of requirement priorities [. . . . ] The base contract, modifications, and task orders
neither defined cross-leveling nor offered any basis or guidance for when or how cross-leveling
must have been accomplished.’); id. at 62 (‘Under cost-plus-award-fee task orders, LOGCAP III
required [KBR] to make its ‘best efforts’ to perform its obligated work, which included its
obligation to exercise due diligence in verifying that required items could not be satisfied from
existing, available stock’).”

Relators’ Response to KBR SOF 33.

       This statement of fact is disputed because there were objective standards or metrics in

certain task orders. For instance, the two main task orders under which KBR completed the great

bulk of work under LOGCAP III both contain standards for evaluating KBR’s cross-leveling

performance, and specifically that KBR cross-level “to the maximum extent possible.” KBR Ex. 6

(Apr. 22, 2008 Task Order 139 SOW Change 6) at ‘609 (“3.1.1 The contractor shall adhere to

the requirement priorities listed in TABLE 3.1.1. to the maximum extent possible. For

purchases that cannot be obtained through cross leveling or from the Host County sources, the

contractor shall make maximum use of the Federal Supply System (FSS). [TABLE 3.1.1.]

REQUIREMENTS PRIORITIES 1. USG military unit, organic, green suit 2. Cross level

within LOGCAP Task Order 3. Other Task Orders within LOGCAP 4. Host County sources



                                                -58-
5. FSS 6. Commercial.”) (emphasis in original); KBR Ex. 7 (Aug. 25, 2008 Task Order 159 SOW,

KBR-HOW-0039632-9782) at ‘641 (same, without emphasis). KBR’s PCPs and DOPs also

contained cross-leveling standards. KBR’s PCPs required KBR to order inventory in “[r]easonable

quantities, commensurate with the work to be accomplished.” Ex. 1 (KBR’s Government-

Approved Property Control Procedures, dated Sept. 21, 2006) at ‘5992; Ex. 89 (KBR’s

Government-Approved Property Control Procedures, dated July 15, 2008) at ‘6168. They similarly

required KBR to order inventory that was “contractually authorized and necessary for performance

of the prime contract” and “for the quantities required for said performance.” Ex. 1 (KBR’s

Government-Approved Property Control Procedures, dated Sept. 21, 2006) at ‘6015; Ex. 89

(KBR’s Government-Approved Property Control Procedures, dated July 15, 2008) at ‘6227.

KBR’s PCPs required KBR to dispose of excess, unneeded inventory only after “[s]creening items

against existing and anticipated needs,” “[p]romply reporting excess items,” and receiving

Government approval. Ex. 1 (KBR’s Government-Approved Property Control Procedures, dated

Sept. 21, 2006) at ‘5994; Ex. 89 (KBR’s Government-Approved Property Control Procedures,

dated July 15, 2008) at ‘6170. KBR’s PCPs required that when filling a requisition, KBR

“personnel will first attempt to fill requisitions from stock on-hand.” Ex. 1 (KBR’s Government-

Approved Property Control Procedures, dated Sept. 21, 2006) at ‘6017; Ex. 89 (KBR’s

Government-Approved Property Control Procedures, dated July 15, 2008) at ‘6230. KBR’s PCPs

required checking theater-wide inventory as well when filling a requisition. Ex. 1 (KBR’s

Government-Approved Property Control Procedures, dated Sept. 21, 2006) at ‘6019 (“Material

Control – Processing Requisitions for cross leveling or Purchasing . . . Upon return Materials

Control will first check the theater inventory to determine if the requisition can be filled from

existing stock.”); Ex. 89 (KBR’s Government-Approved Property Control Procedures, dated




                                              -59-
July 15, 2008) at ‘6230-31 (“Material Control personnel . . . will also check the Automated

Inventory Control System for Theater wide availability of the item(s) being requested. . . . Material

Control – Filling Requisitions from Theater Stock. . . . If suitable property is found at another site,

the Material Manager or designee will: . . . Verify via the owning Site Material manager that the

requested item(s) are excess to that’s need and is available for cross utilization.”). Thus, KBR’s

PCP expressly required KBR to screen requisitions against its existing inventory and to fill the

requisitions through cross-leveling when it had supplies available in the theater. As an example of

a DOP setting forth KBR’s cross-leveling obligations with specific criteria and procedures for

KBR to follow, in July 2006, KBR’s Redistribution of Government Property DOP required KBR

to make “every effort” to cross-level with existing inventory before purchasing new items. Ex. 103

(July 2006 KBR “Desktop Procedures: Redistribution of Government Property and Materiel to

include FOB/Base Closures”) at ‘9114 (“After a Materiel Requisition has been approved but prior

to being turned over to procurement for purchase, Materiel Control will check the Theater Wide

inventory and the Redistribution cell to determine if a requisition can be filled from existing stock.

Every effort to fill requisitions within the theater shall be taken utilizing inventories on the KBR

portal. If items are found within these inventories every reasonable effort shall be taken to

redistribute these items.”); Ex. 132 (KBR 30(b)(6) (Lust) (Sept. 28, 2021) Dep.) 34:3-14 (“Q. . . .

[C]an you describe what the instructions were in that particular desktop operating procedure you

just referenced? A. . . . I can sum it up that every effort to fill requisition[s] within the theater shall

be taken to utilize the inventory that is in KBR’s portal.”). See also SOF ¶¶ 24-33.

        In addition, under the FAR, “A cost is allowable only when the cost complies with all of

the following requirements: (1) Reasonableness[;] (2) Allocability[;] (3) Standards promulgated

by the CAS Board, if applicable, otherwise, generally accepted accounting principles and practices




                                                   -60-
appropriate to the circumstances[;] (4) Terms of the contract[; and] (5) Any limitations set forth in

this subpart. FAR § 31.201-2 (emphasis added). “A cost is reasonable if, in its nature and amount,

it does not exceed that which would be incurred by a prudent person in the conduct of competitive

business. . . . No presumption of reasonableness shall be attached to the incurrence of costs by a

contractor. If an initial review of the facts results in a challenge of a specific cost by the contracting

officer or the contracting officer’s representative, the burden of proof shall be upon the contractor

to establish that such cost is reasonable.” FAR § 31.201-3.




                                                  -61-
KBR SOF 34. “No expert in this case, including Relators’ experts, nor any of the fact witnesses
have identified an objective requirement for cross-leveling. [KBR] Ex. 34, Larkin Dep. (Nov. 5,
2020) at 118:5-120:7 (Government fact witness testifying that the cross-leveling language in the
task order statements of work gave ‘KBR discretion to determine when it can satisfy a requirement
from cross-leveling.’); id. at 113:14-19 (Government fact witness agreeing that ‘due diligence’
means that ‘KBR has discretion in making the determination of whether equipment is available to
cross-level or not’); [KBR] Ex. 24, Goetz Rep. at 23-24 (‘In all of my 40+ years of experience in
dealing with Government property, I have not seen the term ‘cross leveling’ used. That term is not
used or defined in the FAR or the DFARS. [. . . ] I understand that cross-leveling is not defined in
the LOGCAP III base contract, modifications, or task orders.’); [KBR] Ex. 26, Branch Rep. at 38
(‘[T]he Task Orders, like the LOGCAP III base contract, did not establish any specific objectives
or requirements for when, how often or how many items [KBR] was required to transfer items
between sites, or any specific procedures for how [KBR] was required to accomplish
crossleveling.’); [KBR] Ex. 40, Rudolph Rep. at 4, 21 (Relators’ expert citing a 2019 document
published by the Joint Chiefs of Staff, Joint Publication 4-0 (May 8, 2019), that did not apply to
contractors, did not apply in the relevant time period, and did not contain an objective requirement
for crossleveling); [KBR] Ex. 42, Rudolph Rebuttal Rep. at 2 (citing a different Joint Publication
(4-7) that did not apply to contractors and did not contain an objective requirement for cross-
leveling); [KBR] Ex. 41, Rudolph Dep. (Mar. 28, 2022) at 54:4-55:15, 57:16-58:19
(acknowledging that 2019 publication would not be relevant to this case and if ‘cross-leveling’ is
not in earlier versions, Joint Publication 4-0 is not relevant for this lawsuit); id. at 112:7-114:9
(testifying that a requirement to cross-level to the ‘maximum extent possible’ would not require
KBR to cross-level ‘every single time’ and that KBR would need to consider other factors such as
whether cross-leveling ‘doesn’t make sense economically’); [KBR] Ex. 43, Zakheim Dep. (Jul. 29,
2022) at 132:3-133:11 (Relators’ expert testifying that the government would have left KBR
‘room’ for discretion in cross-leveling).”

Relators’ Response to KBR SOF 34.

       This statement of fact is disputed.

       The record is replete with testimony and admissions by fact and expert witnesses regarding

KBR’s cross-leveling duties and requirements. Ex. 136 (Lust Dep.) 30:13-17 (“Q. . . . [W]ere you

aware that the obligation to cross-level was a contractual requirement in KBR’s contract with the

United States Government? [Objection.] A. Yes.”); Ex. 132 (KBR 30(b)(6) (Lust) (Sept. 28, 2021)

Dep.) 34:3-14 (“Q. . . . [C]an you describe what the instructions were in that particular desktop

operating procedure you just referenced? A. . . . I can sum it up that every effort to fill

requisition[s] within the theater shall be taken to utilize the inventory that is in KBR’s portal. . . .

And then in June of ’07, we did a revision which added STEAM – MAXIMO/STEAM to this



                                                 -62-
process.”), 38:22-39:8 (“Q.      . . . Any other generally applicable instructions from the

U.S. Government concerning KBR cross leveling between task orders other than those that you

just referenced? [Objection.] A. . . . Mary Wade, who was the contract administrator for the

LOGCAP III contract in Houston, had said that we were to make maximum use of cross leveling

where possible. She understood you couldn’t do it all the time but where possible.”); Ex. 135

(LaBoa Dep.) 70:24-71:21 (agreeing cross-leveling was part of KBR’s property control

procedures); Ex. 127 (Hippert Dep.) 162:24-163:20 (agreeing his “view at the time” was that cross-

leveling was expected); Ex. 134 (King Dep.) 16:21-17:2 (“Q. . . . With respect to KBR’s work on

LOGCAP-III, was KBR supposed to try to cross-level materials and property before purchasing

new materials and property? [Objection.] A. Yes.”); Ex. 142 (Rock Dep.) 520:17-22 (“Q. And it

was KBR’s obligation under LOGCAP III to cross level property [and materials]; is that right, sir?

[Objection.] A. I think . . . where possible, yes.”); Ex. 141 (Ritondale Dep.) 105:22-106:5 (“Q. .

. . [I]s it your understanding that KBR was supposed to try to cross-level property and materials at

some point in the procurement process? [Objection.] A. My understanding is at some point in time

the cross-leveling was something that was supposed to occur.”); Ex. 146 (Vollmecke Dep.) 91:13-

92:10 (“It was a contractual requirement to cross level . . . to the maximum extent possible”),

316:15-18 (“The contract had a requirement for cross leveling, but to the maximum extent

possible.”); McNamara 279:7-280:2; Ex. 104 (Expert Report of E. Branch) at 62 (“KBRSI’s

contractual requirement under LOGCAP III was to exercise ‘due diligence’ in verifying that

required items could not be satisfied from existing, available stock. As a cost-plus-award-fee

contract, LOGCAP III required KBRSI to make its ‘best efforts’ to perform its obligated work,

including its obligation to exercise due diligence in verifying that required items could not be

satisfied from existing, available stock.”; Ex. 121 (Branch Dep.) at 65:7-15 (|“Q. Okay. And your




                                               -63-
opinion is that pursuant to the contract, the contract required KBR to make its best efforts to

perform its obligated work, and that included the obligation to exercise due diligence in verify that

required items could not be satisfied from existing stock; correct? A. Yes, that’s correct.”); Ex.121

(Branch Dep.) at 71:7-10 (“best efforts means . . . the good faith maximum effort that could be

given in any stated context.”); Ex. 149 (Zakheim Dep.) 132:8-9 (“The requirement was explicit

that KBR should be cross-leveling wherever possible.”); Ex. 94 (Expert Report of M. Rudolph) at

34 (“LOGCAP III tasked DMC to screen all procurement requests for possible cross-leveling.”),

45 (KBR’s PCP “required cross-leveling ‘to the maximum extent possible’”); Ex. 96 (Expert

Report of G. Gaukler) at 7 (“KBR was responsible for purchasing supplies for which it would be

reimbursed by the government. … [LOGCAP III] provided for reimbursement only if the items

purchased are necessary for performance.”).

        In addition, under the FAR, “A cost is allowable only when the cost complies with all of

the following requirements: (1) Reasonableness[;] (2) Allocability[;] (3) Standards promulgated

by the CAS Board, if applicable, otherwise, generally accepted accounting principles and practices

appropriate to the circumstances[;] (4) Terms of the contract[; and] (5) Any limitations set forth in

this subpart. FAR § 31.201-2 (emphasis added). “A cost is reasonable if, in its nature and amount,

it does not exceed that which would be incurred by a prudent person in the conduct of competitive

business. . . . No presumption of reasonableness shall be attached to the incurrence of costs by a

contractor. If an initial review of the facts results in a challenge of a specific cost by the contracting

officer or the contracting officer’s representative, the burden of proof shall be upon the contractor

to establish that such cost is reasonable.” FAR § 31.201-3.




                                                  -64-
KBR SOF 35. “Cross-leveling is not a standard practice for contractors managing Government
property, particularly in a war zone. [KBR] Ex. 25, Goetz Dep. (May 19, 2022) at 242:22-243:9
(testifying that he had advised between ‘500 to 1,000’ government contractors during his career
and had never encountered a contractor that had a cross-leveling program similar to KBR’s, and
had never encountered a contractor that cross-leveled in a war zone); [KBR] Ex. 24, Goetz. Rep.
at 24 (‘I also have not seen that term [cross-leveling] in any of my dealings with the hundreds or
potentially thousands of contracts or contractors over the course of my career.’)”

Relators’ Response to KBR SOF 35.

       This statement of fact is disputed. The only source cited for this fact is Goetz; however, he

lacks the foundation to make this statement, as he is not and has never been an inventory manager.

Ex. 125 (Goetz Dep.) at 7:18-21. Cross-leveling is a standard practice for contractors managing

Government property in any environment, even in a war zone. See, e.g., Ex. 94 (Expert Report of

M. Rudolph) at 3 (“Publicly available literature documents industry standards for Inventory

Management, Control, and Cross-leveling. Many certified professionals exist in the United States

fully capable of performing these functions in entry-level, middle management, and senior

leadership roles, capable of overseeing and executing a contract like LOGCAP III, even in austere

and security challenged environments. Logistics professionals understand the trade-offs inherent

in managing stock and service levels vs. costs, including cross-leveling practices in multi-echelon

enterprises and systems.”), 4-5 (“Cross-leveling in the private sector and public sector, to include

the deployed environments of Iraq and Afghanistan as directed in Joint Doctrine, is critical to

effective enterprise inventory management. When you do not consistently enforce adherence to

cross-leveling, the result is the creation of islands of inventory that are independent of each other.

In other words, throughout the enterprise you end up creating many islands of inventory that

basically operate independently without regard for any other islands of inventory within the

enterprise. This leads to the accumulation of excess inventory across the enterprise, increases

dependency on procurement from external sources, extends lead times, fails to take advantage of

inventory already bought, paid-for, and on-hand elsewhere in the enterprise, and reduces


                                                -65-
responsiveness. Cross-leveling is not unique to LOGCAP III – it is a practice employed across the

private and public sectors (especially within DoD) for effectively and efficiently managing

enterprise inventories and operations of the magnitude, breadth, depth, and geographic dispersion

required by LOGCAP III. When adherence to crossleveling requirements and opportunities are

enforced, the enterprise becomes more responsive to the local customer and more cost effective

and efficient to the ultimate bill-payer.”), 43-44 (“Cross-leveling, in enterprise scenarios like

LOGCAP III that include multiple and disparate inventory locations, distribution/transportation

challenges, and unpredictable operational tempos/consumption rates is an industry standard and a

standard practice. . . . Cross-leveling in austere and contested environments like Iraq and

Afghanistan during Operation Iraqi Freedom (OIF) and Operation Enduring Freedom (OEF,

Afghanistan) are in reality not too dissimilar to the non-austere and non-contested normal business

operating environment in the United States. The same principles and standards apply to both

environments, with some caveats for distribution/transportation challenges. The bottom line is that

the operating environments for OIF and OEF did not present circumstances that were

insurmountable for a vendor that employed industry standards for inventory management,

inventory control, and cross-leveling. The means and capabilities needed to cross-level were

available to move cargo and assets throughout the theater of operations.”); Ex. 97 (Expert Rebuttal

Report of M. Rudolph) at 2 (“Cross-leveling by any name (inventory balancing, lateral

redistribution, crosssourcing, etc.,) is an accepted fundamental inventory management practice.

Cross-leveling is a requisite tenet of the requirement to perform inventory management functions

in any scenario or environment, but especially for a contract like LOGCAP III which from the

outset included multiple geographically-separated locations, tens of thousands of troops to support,

many inventory lines, and austere, non-permissive environments.”); 7 (“Cross-leveling is yet




                                               -66-
another force-multiplier that prevents the systemic growth of excess inventories while at the same

time significantly improves the response time, effectiveness, and efficiency of supporting the

warfighter.”), 11 (“Cross-leveling is in almost every circumstance the fastest, most responsive,

and most cost effective method of fulfilling material requirements to the warfighter, even in an

austere warzone environment like LOGCAP III.”), 13 (“Cross-leveling is obviously the prudent

option when excess inventory is available to fulfill requirements instead of buying new items.”);

Ex. 127 (Hippert Dep.) 101:14-104:21 (“Q. . . . Why was the requirement of cross-leveling part of

the property control procedures? [Objection.] A. Just, . . . it’s common sense.”).




                                               -67-
KBR SOF 36. “KBR implemented cross-leveling as part of its property management system.
[KBR] Ex. 10, 2006 PCP at ¶ 4.6 (KBR-HOW-0046019); [KBR] Ex. 11, 2008 PCP at ¶¶ 4.3-4.4
(KBR-HOW-0046231).”

Relators’ Response to KBR SOF 36.

       The statement of fact is disputed, since KBR did not successfully “implement” cross-

leveling at any point under LOGCAP III, and instead systematically failed to cross-level.

       Relators’ expert, Dr. Gaukler, analyzed KBR’s inventory and purchasing data to identify

specific cases when KBR over-ordered materials that it had available for cross-leveling under

KBR’s then-existing procedures. See Ex. 96 (Expert Report of G. Gaukler). Analyzing 34.5 million

transactions found in this data, Dr. Gaukler determined KBR’s inventory balances at every given

point in time between May 28, 2007 and March 5, 2013. Id. § IV.A. Dr. Gaukler validated his

analysis of KBR’s inventory balances by using corroborating information in the transactions.

98.5% of the transactions were internally consistent, and Dr. Gaukler conservatively screened the

remaining 1.5% in order to block balance reconstruction when the transactions suggested any

uncertainty. Id. § IV.B. He also compared his conclusions to KBR’s ASL [authorized stock list]

reports, and found that they matched 98% of the time and that when there was a discrepancy his

model typically underestimated inventory balances. Ex. 105 (Expert Rebuttal Report of

G. Gaukler) § IV.E.

       Dr. Gaukler then applied KBR’s own procedures to the inventory levels in order to classify

KBR’s inventory as Stock, Non-Stock, or Special at any given point in time according to KBR’s

own procedures and standards. Ex. 96 (Expert Report of G. Gaukler) § IV.C. Under KBR’s

procedures, these classifications determine how much of an item’s inventory is available for cross-

leveling. Id. § IV.D.

       Dr. Gaukler then analyzed KBR’s purchase order data over the same period of time to

identify cases when KBR purchased something new even though the item being purchased was


                                               -68-
available for cross-leveling according to KBR’s own procedures. Id. § IV.D. Dr. Gaukler applied

KBR’s procedures as KBR had defined them in its Rule 30(b)(6) testimony, including additional

“restrictions” on cross-leveling that do not appear in KBR’s procedures. Id. This means that

Dr. Gaukler’s analysis is highly conservative, as the restrictions he accepted included ones that the

Government did not know about and that the Government would have referred to DCAA had it

known. Ex. 143 (Sheridan Dep.) 155:5-156:13.

       Dr. Gaukler concluded that on 73,530 separate purchase orders, KBR had purchased $341

million of excess inventory that should not have been purchased if KBR had followed its own

procedures and standards regarding cross-leveling. Ex. 96 (Expert Report of G. Gaukler) at 5.

Dr. Gaukler later adjusted the total amount of excess purchases to $338 million (a reduction of less

than 1%) after applying corrections that he had identified in rebuttal of KBR’s expert

William Walter. Ex. 105 (Expert Rebuttal Report of G. Gaukler) § IV.C.viii.

       KBR submitted its costs to the Government for reimbursement. See Ex. 131 (KBR 30(b)(6)

(Jacobs) Dep.) at 31:7-14, 37:5-10; Ex. 84 (KBR Response to Interrogatory No. 10). Consequently,

the Government reimbursed KBR for the entire $341 million it had incurred unnecessarily. See

Ex. 131 (KBR 30(b)(6) (Jacobs) Dep.) 24:9-14 (“Q. . . . Are you aware sitting here today of any

pieces of property and materials that KBR bought and received on LOGCAP III that the

government paid less than a hundred percent of what KBR spent buying the property and material?

A. I am not aware.”), 31:7-14 (“Q. . . . [A]s a general matter were KBR’s costs spent procuring

property and materials that KBR procured and received on LOGCAP III, did those costs ultimately

end up on the public vouchers KBR submitted to the U.S. Government? A. In general the costs

incurred based on receipts of materials and equipment were included on a public voucher, in

general.”). Moreover, Dr. Gaukler was able to directly trace $226 million of the $341 million of




                                                -69-
unnecessary purchased items to specific public vouchers. Ex. 96 (Expert Report of G. Gaukler) at

39. Those public vouchers expressly represented that these $226 million of over-ordered supplies

were “necessary for performance” of LOGCAP III. SOF ¶¶ 151-157.

       Dr. Gary Gaukler identified 899 public vouchers associated with unnecessary costs

incurred because KBR purchased items despite existing excess material being available in theater.

For example, on July 14, 2008, KBR submitted Public Voucher No. 47 for Task Order 139. That

Public Voucher requested reimbursement for the cost of purchase order line (“POLINE”)

(#771983), on purchase order number (“PONUM”) #4750053582 for 15 1.5HP blower motors

ordered on July 1, 2008 (item number 1001331456), for a total cost of $7,725, despite the fact that

the 15 blower motors were all available in excess in other KBR storerooms. Ex. 120 (Expert

Rebuttal Report of G. Gaukler, Output 3); Ex. 118 (Expert Report of G. Gaukler, Output 1);

Ex. 114 (ZBILL20080714-044718-GC00GY) at Tab “ZBILL20080714-044718-GC00GY,” Row

1376 (identifying Object: “GCA8YM-BAD9D1602-5”; Cost Elem: “550451”; Document:

“1030466893”; Vendor Name: GOLDEN ARROW GENERAL TRADING C”; PostDate:

“20080701”; Ref Doc: “5000339056”; Trns Amt: “7,725.00”); Ex. 110 (PDF of Native Excel

Spreadsheet Public Voucher No. 47 for Task Order 139) at Tab “1034-Task 57,” at Tab “Yr 2

Detail 2008,” Row 128 (identifying Object: “GCA8YM-BAD9D1602-5”; Cost Elem: “550451”;

Document: “1030466893”; Vendor Name: “GOLDEN ARROW GENERAL TRADING C”;

PostDate: “20080701”; Ref Doc: “5000339056”; Obj Amt: “7,725.00”). Dr. Gaukler concluded

that on 73,530 separate purchase orders, KBR had purchased $341 million of excess inventory that

it never should have purchased if KBR had followed its own procedures and standards regarding

cross-leveling. On the occasions when KBR actually followed its cross-leveling procedures, and

the database showed cross-level was supportable, the underlying circumstances rarely led KBR to




                                               -70-
deny a cross-level request. Moreover, Dr. Gaukler’s model incorporates KBR’s documented cross-

level denials, and it reduces the value of KBR’s $341 million in over-ordering by a mere $800,000.

Ex. 96 (Expert Report of G. Gaukler) at 5; Ex. 105 (Expert Rebuttal Report of G. Gaukler)

¶¶ 132-135; Ex. 106 (Supplement to Expert Rebuttal Report of G. Gaukler) ¶ 4.




                                              -71-
KBR SOF 37. “KBR implemented its property management system based on written property
control procedures (‘PCPs’). [KBR] Ex. 10, 2006 PCP at ¶ 1.0 (KBR-HOW-0045990); [KBR] Ex.
11, 2008 PCP at ¶ 1.0 (KBR-HOW-004166). There is no language in the FAR, LOGCAP III, or
any modification to LOGCAP III incorporating KBR’s internal property control procedures as part
of the contract or otherwise setting any benchmark for KBR’s compliance with these procedures.
FAR 52.245-5(e)(2) (1986) & FAR 45.502(a) (1984); FAR 52.245-1 (2007); [KBR] Ex. 26,
Branch Rep. at 41. Indeed, KBR’s PCPs make clear they were not part of the LOGCAP III contract.
[KBR] Ex. 10, 2006 PCP at ¶1.0 (KBR-HOW-0045990) (‘In the event of inconsistencies between
this procedure and the terms of the contract under which the Government property is provided or
acquired, or the FAR, the terms of the contract shall prevail.’); [KBR] Ex. 11, 2008 PCP at ¶ 1.0
(KBR-HOW-0046166) (similar).”

Relators’ Response to KBR SOF 37.

       This statement of fact is disputed.

       With respect to the first sentence, while KBR had written property control procedures that

were supposed to guide its property management system, KBR systematically failed to

“implement” a property management system that fulfilled its obligations under LOGCAP III.

Relators’ expert Dr. Gaukler concluded that on 73,530 separate purchase orders, KBR had

purchased $341 million of excess inventory that it never should have purchased if KBR had

followed its own procedures and standards regarding cross-leveling. Ex. 96 (Expert Report of

G. Gaukler) at 5. Further, there is substantial evidence in the record showing that KBR

systemically failed “implement” a property management system. See, e.g., Ex. 66 (Feb. 28, 2010

internal KBR email from KBR’s Head of the DMC, C. O’Muirgheasa) at ‘4132 (“In 2009, 65% of

Requisitions] were put into MATCON, representing 51% of the dollars. So, 35% of the

Req[uisitions] bypassed us [KBR’s DMC], representing almost 50% of the dollars.”)

(emphasis added); Ex. 67 (KBR data) at ‘4133 (quantifying that in 2007, out of 65,372 Material

Requisitions valued at $1,237,891,670.75, a total of 52,488 (80.3%) of those Material Requisitions

valued at $949,886,655.51 (76.7% of the dollars) were not checked for cross-leveling; in 2008, out

of 90,025 Material Requisitions valued at $1,171,737,717.95, a total of 49,683 (55.2%) of those

Material Requisitions valued at $647,308,265.68 (55.2% of the dollars) were not checked for


                                              -72-
cross-leveling; and in 2009, out of 65,526 Material Requisitions valued at $ 812,554,107.70, a

total of 23,124 (35.3%) of the Material Requisitions valued at $401,484,184.06 (49.4% of the

dollars) did not go to the DMC for the cross-leveling check); Ex. 3 (Internal KBR email containing

Dec. 29, 2008 email from KBR’s Head of the DMC, B. Simmons) at ‘4448 (“The three major

factors impeding the DMC’s ability to Cross Level under utilized materials are as follows:

1) Categorization of ASL/Inventory Lines (i.e. reflecting [STK] when demands indicates [SP] or

[NS] category)[;] 2) Unresponsive Sites/Projects to Tasking leading to Denials[;] 3) Sites/Projects

resistant to place Material Requisitions in MATCON Status; consequently, sending the Majority

(if not All) directly through Procurement Channels.”); Ex. 81 (Mar. 20, 2010 email from KBR

Deputy Program manager – Support, R. Kaye, to KBR Deputy Principal Program Manager,

Larry Lust) at ‘9112 (“Last year, fully 35% of all requisitions (with an extended value of

$401M[illion]) by-passed the cross-leveling check. As we start to turn over more and more

materials to GOI [Government of Iraq], we are facing an increasing risk of being Formed 1 for

buying items we just declared excess and gave away. … [A]s of yesterday, we [had] 43,801

lines across Iraq being carried as STK that have 2 or fewer demands in the past 360 days.

We did a trial run on three sites and determined that 80% of their STK lines had RO [Requisition

Objectives] and ROP [Reorder Points] set above what it should be based upon demand history. …

We’ve got $71M[illion] in reserved stock of which less than 50% is legitimate. The rest is

against cancelled ACLs, completed ACLs, or just plain ‘hidden’ from cross-leveling. TREC

storerooms is going to be my biggest challenge….we’ve currently got $331M[illion] in them

as of yesterday. I’ve told Guy [LaBoa, KBR Principal Program Manager] this is the Mother of

all Forms 1.”) (emphasis added); Ex. 82 (Apr. 1, 2010 internal KBR email from KBR Deputy

Program Manager – Support, R. Kaye, to KBR Principal program Manager, G. LaBoa) at ‘7417




                                               -73-
(“The deeper I dig, the more uncomfortable I become that we really do know what’s going on.

We’ve got continuing issues with RO [Requisition Objective], ROP [Reorder Point], Stk vs

Non-Stk, reservations and TRECs.”) (emphasis added); Ex. 82 (June 2009 email from KBR

employee) at ECF Page 4 (“He said they are placing everything on reserve so DMC won’t ask

for it CL [cross-level].”) (emphasis added); Ex. 8 (Internal KBR email containing Feb. 25, 2010

email from KBR’s Deputy Program Manager – Support, R. Kaye) at ‘0062 (“We are purchasing

$5 M per day when we’ve got $1.2 B i[n] excess on hand. At some point, the DCAA is going to

put KBR out of business if we keep doing this.”); Ex. 96 (Expert Report of G. Gaukler) at 5

(concluding that on 73,530 separate purchase orders, KBR had purchased $341 million of excess

inventory that it never should have purchased if KBR had followed its own procedures and

standards regarding cross-leveling); see also, e.g., SOF ¶¶ 52-86.

       With respect to the second sentence, it is disputed, because the FAR required KBR to

implement property control procedures, the Government had to approve the property control

procedures, and KBR had to adhere to the property control procedures. FAR 52.245-1

(“Government Property”); Ex. 126 (Haught Dep.) 44:10-12 (contractual requirement to follow the

PCP); Ex. 137 (Mayo Dep.) 83:10-84:8; Ex. 1 (KBR’s Government-Approved Property Control

Procedures, dated Sept. 21, 2006) (approved by Government); Ex. 89 (KBR’s Government-

Approved Property Control Procedures, dated July 15, 2008) (same).

       Additionally, Relators dispute that LOGCAP III and its modifications did not provide any

“benchmarks” for KBR’s performance. See, e.g., Ex. 95 (LOGCAP III Base Contract and

Statement of Work) at ‘0006 (“For Cost-Reimbursable Contract Line Item Numbers (CLINs) only

supplies and materials necessary for performance under this contract will be reimbursed as stated

in each individual Task Order’s Scope of Work (SOW) and Federal Acquisition Regulation (FAR)




                                               -74-
31.205-26.”), ‘0037-38 (incorporating FAR 52.216-7, FAR 52.232-20, FAR 52.232-22); Ex. 62

(July 22, 2004 Amendment P00008 to LOGCAP III Base Contract) at ‘3166 (“The purpose of this

modification is to incorporate Task Order Cross Utilization of Government Property into the basic

contract and is applicable to all current and future task orders awarded under this contract. . . .

Definition: Cross Utilized Property is government property purchased against one task order which

is subsequently loaned to another task order on a temporary basis. Cross-utilized property shall

remain accountable to the task order against which it was purchased, unless it has been duly

transferred to another task order, in which case it will remain accountable to the task order to which

it has been transferred.”).

       The third sentence of the statement of fact is disputed and immaterial because the language

cited in the PCP does not support the statement. Whether or not there is an “inconsistency” between

the PCP and LOGCAP III has no bearing on whether or not the PCP is part of LOGCAP III, and

further there is no “inconsistency” identified by KBR that is relevant to any issue in this lawsuit.




                                                -75-
KBR SOF 38. “During the relevant time period, KBR reasonably implemented the contractual
requirement (contained in only two of the relevant task orders at certain times) to use ‘best efforts’
to cross-level to the ‘maximum extent possible’ by conducting due diligence checks as to whether
items could be cross-leveled, not perfectly and not in every instance, as the contract never required
perfection. [KBR] Ex. 23, KBR 30(b)(6) Dep. (Sept. 29, 2021) at 154:14-155:7 (interpreting
‘possible’ to mean ‘it wasn’t absolute that you had to do it. It was to the extent possible.’); [KBR]
Ex. 26, Branch Rep. at 35-36 (‘KBR[] conducted theater-wide cross-leveling due diligence checks
during LOGCAP III beyond the requirements of the individual Task Orders.’); [KBR] Ex. 24,
Goetz Rep. at 23 (‘the Government does not require or expect contractors to achieve perfection in
their management of Government property’). That included cross-leveling both equipment and
materials without regard to whether individual task order statements of work imposed narrower
requirements. [KBR] Ex. 23, KBR 30(b)(6) Dep. (Sept. 28, 2021) at 29:13-19 (‘We’d go beyond
what was required of us to cross level anything across the – all the task orders we had.’); id. at
34:24-35:7 (‘It was crossleveling, period. We did not make a distinction whether it was bedtween
(sic) task orders or within task orders. Cross-leveling was cross-leveling across the LOGCAP III
program.’)).”

Relators’ Response to KBR SOF 38.

       The statement of fact is disputed. There is substantial evidence in the record showing that

KBR systematically failed to cross-level, and at no time had it “reasonably implemented the

contractual requirement” to cross-level, regardless of whether “individual task order statements of

work imposed narrower requirements.” See, e.g., Ex. 66 (Feb. 28, 2010 internal KBR email from

KBR’s Head of the DMC, C. O’Muirgheasa) at ‘4132 (“In 2009, 65% of Requisitions] were put

into MATCON, representing 51% of the dollars. So, 35% of the Req[uisitions] bypassed us

[KBR’s DMC], representing almost 50% of the dollars.”) (emphasis added); Ex. 67 (KBR data)

at ‘4133 (quantifying that in 2007, out of 65,372 Material Requisitions valued at

$1,237,891,670.75, a total of 52,488 (80.3%) of those Material Requisitions valued at

$949,886,655.51 (76.7% of the dollars) were not checked for cross-leveling; in 2008, out of 90,025

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and in 2009, out of 65,526 Material Requisitions valued at $ 812,554,107.70, a total of 23,124

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email from KBR’s Head of the DMC, B. Simmons) at ‘4448 (“The three major factors impeding

the DMC’s ability to Cross Level under utilized materials are as follows: 1) Categorization of

ASL/Inventory Lines (i.e. reflecting [STK] when demands indicates [SP] or [NS] category)[;]

2) Unresponsive Sites/Projects to Tasking leading to Denials[;] 3) Sites/Projects resistant to place

Material Requisitions in MATCON Status; consequently, sending the Majority (if not All) directly

through Procurement Channels.”); Ex. 81 (Mar. 20, 2010 email from KBR Deputy Program

manager – Support, R. Kaye, to KBR Deputy Principal Program Manager, Larry Lust) at ‘9112

(“Last year, fully 35% of all requisitions (with an extended value of $401M[illion]) by-passed

the cross-leveling check. As we start to turn over more and more materials to GOI [Government

of Iraq], we are facing an increasing risk of being Formed 1 for buying items we just declared

excess and gave away. … [A]s of yesterday, we [had] 43,801 lines across Iraq being carried

as STK that have 2 or fewer demands in the past 360 days. We did a trial run on three sites and

determined that 80% of their STK lines had RO [Requisition Objectives] and ROP [Reorder

Points] set above what it should be based upon demand history. … We’ve got $71M[illion] in

reserved stock of which less than 50% is legitimate. The rest is against cancelled ACLs,

completed ACLs, or just plain ‘hidden’ from cross-leveling. TREC storerooms is going to be

my biggest challenge….we’ve currently got $331M[illion] in them as of yesterday. I’ve told

Guy [LaBoa, KBR Principal Program Manager] this is the Mother of all Forms 1.”) (emphasis

added); Ex. 82 (Apr. 1, 2010 internal KBR email from KBR Deputy Program Manager – Support,

R. Kaye, to KBR Principal program Manager, G. LaBoa) at ‘7417 (“The deeper I dig, the more

uncomfortable I become that we really do know what’s going on. We’ve got continuing issues

with RO [Requisition Objective], ROP [Reorder Point], Stk vs Non-Stk, reservations and




                                               -77-
TRECs.”) (emphasis added); Ex. 7 (June 2009 email from KBR employee) at ECF Page 4 (“He

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(emphasis added); Ex. 8 (Internal KBR email containing Feb. 25, 2010 email from KBR’s Deputy

Program Manager – Support, R. Kaye) at ‘0062 (“We are purchasing $5 M per day when we’ve

got $1.2 B i[n] excess on hand. At some point, the DCAA is going to put KBR out of business if

we keep doing this.”); Ex. 96 (Expert Report of G. Gaukler) at 5 (concluding that on 73,530

separate purchase orders, KBR had purchased $341 million of excess inventory that it never should

have purchased if KBR had followed its own procedures and standards regarding cross-leveling);

see also, e.g., SOF ¶¶ 52-86.




                                              -78-
KBR SOF 39. “The property control procedures were not detailed and required interpretation at
each individual site based on the judgment of site-level personnel and their particular
circumstances. [KBR] Ex. 30, Hippert Dep. (Sept. 17, 2020) at 72:3-75:11. The property control
procedures do not include an objective standard or requirement for cross-leveling. [KBR] Ex. 10,
2006 PCP ¶ 4.6.1 (KBR-HOW-0046019) & [KBR] Ex. 11, 2008 PCP at ¶ 4.3. (KBR-HOW-
0046230).”

Relators’ Response to KBR SOF 39.

       This statement of fact is disputed. KBR understood its contractual requirement to cross-

level supplies, incorporating the requirement into a Government-approved set of Property Control

Procedures (“PCP”), and into detailed “Desktop Operating Procedures” (“DOPs”) and “Technical

Directives” (“TDs”) for its personnel. LOGCAP III required that KBR implement and maintain a

PCP, which the Government reviewed and approved. See Ex. 95 (LOGCAP III Base Contract and

Statement of Work) at ‘0039 (incorporating FAR 52.245-1); FAR 52.245-1 (“Government

Property”); Ex. 142 (Rock Dep.) 84:4-13 (“Q. . . . [W]hat were the PCPs? A. . . . [T]he property

control procedures were a process by which [KBR] accounted for our property . . . on our sites.

Q. And were the PCPs approved by the government? [Objection.] A. Yes.”); Ex. 134 (King Dep.)

21:18-22:2 (“Q. What are the PCPs? A. It’s a government-approved document that’s a – property

control document . . . – we write what we’re going to do to protect and – from A to Z . . . from

cradle to grave as we call it, on all procedures for handling U.S. government property. And that

document is reviewed by the government, the corporate government property administrator for her

review, and she signs off on it concurring with everything we’re going to do.”); Ex. 1 (KBR’s

Government-Approved Property Control Procedures, dated Sept. 21, 2006) at ‘5978; Ex. 89

(KBR’s Government-Approved Property Control Procedures, dated July 15, 2008) at ‘6157.

       KBR’s PCPs required KBR to cross-level, and included specific cross-leveling procedures

KBR was to follow. See Ex. 135 (LaBoa Dep.) 70:24-71:21 (agreeing cross-leveling was part of

KBR’s property control procedures); Ex. 138 (McNamara Dep.) 279:7-280:2 (“Q. . . . [D]id you



                                             -79-
have a view on . . . whether KBR was appropriately cross-leveling property in the 2007 to 2012

time period? [Objection.] A. . . . They needed to have been doing it . . . because it was part of . . .

their property procedure. It was part of what was required of them as a prudent contractor.”); Ex. 76

(containing Feb. 23, 2010 email from KBR’s Deputy Program Manager – Support, R. Kaye) at

‘3447 (“Going forward and in accordance with the PCP, not issuing something because you are

‘under inventory’ is not acceptable. We can not continue to order in material that we know to

already be here in country.”).

       KBR’s PCPs required KBR to order inventory in “[r]easonable quantities, commensurate

with the work to be accomplished.” Ex. 1 (KBR’s Government-Approved Property Control

Procedures, dated Sept. 21, 2006) at ‘5992; Ex. 89 (KBR’s Government-Approved Property

Control Procedures, dated July 15, 2008) at ‘6168. They similarly required KBR to order inventory

that was “contractually authorized and necessary for performance of the prime contract” and “for

the quantities required for said performance.” Ex. 1 (KBR’s Government-Approved Property

Control Procedures, dated Sept. 21, 2006) at ‘6015; Ex. 89 (KBR’s Government-Approved

Property Control Procedures, dated July 15, 2008) at ‘6227.

       KBR’s PCPs required KBR to dispose of excess, unneeded inventory only after

“[s]creening items against existing and anticipated needs,” “[p]romply reporting excess items,”

and receiving Government approval. Ex. 1 (KBR’s Government-Approved Property Control

Procedures, dated Sept. 21, 2006) at ‘5994; Ex. 89 (KBR’s Government-Approved Property

Control Procedures, dated July 15, 2008) at ‘6170.

       KBR’s PCPs required that when filling a requisition, KBR “personnel will first attempt to

fill requisitions from stock on-hand.” Ex. 1 (KBR’s Government-Approved Property Control




                                                 -80-
Procedures, dated Sept. 21, 2006) at ‘6017; Ex. 89 (KBR’s Government-Approved Property

Control Procedures, dated July 15, 2008) at ‘6230.

        KBR’s PCPs required checking theater-wide inventory as well when filling a requisition.

Ex. 1 (KBR’s Government-Approved Property Control Procedures, dated Sept. 21, 2006) at ‘6019

(“Material Control – Processing Requisitions for cross leveling or Purchasing . . . Upon return

Materials Control will first check the theater inventory to determine if the requisition can be filled

from existing stock.”); Ex. 89 (KBR’s Government-Approved Property Control Procedures, dated

July 15, 2008) at ‘6230-31 (“Material Control personnel . . . will also check the Automated

Inventory Control System for Theater wide availability of the item(s) being requested. . . . Material

Control – Filling Requisitions from Theater Stock. . . . If suitable property is found at another site,

the Material Manager or designee will: . . . Verify via the owning Site Material manager that the

requested item(s) are excess to that’s need and is available for cross utilization.”). Thus, KBR’s

PCP expressly required KBR to screen requisitions against its existing inventory and to fill the

requisitions through cross-leveling when it had supplies available in the theater.

        In performing its duties under LOGCAP III, KBR issued formal written documents for use

by its employees to standardize processes across its sites DOPs. See Ex. 133 (KBR 30(b)(6) (Lust)

(Sept. 29, 2021) Dep.) 193:23-194:8. The DOPs told KBR employees how to do their jobs

correctly. Id.

        As an example of a DOP setting forth KBR’s cross-leveling obligations with specific

criteria and procedures for KBR to follow, in July 2006, KBR’s Redistribution of Government

Property DOP required KBR to make “every effort” to cross-level with existing inventory before

purchasing new items. Ex. 103 (July 2006 KBR “Desktop Procedures: Redistribution of

Government Property and Materiel to include FOB/Base Closures”) at ‘9114 (“After a Materiel




                                                 -81-
Requisition has been approved but prior to being turned over to procurement for purchase, Materiel

Control will check the Theater Wide inventory and the Redistribution cell to determine if a

requisition can be filled from existing stock. Every effort to fill requisitions within the theater shall

be taken utilizing inventories on the KBR portal. If items are found within these inventories every

reasonable effort shall be taken to redistribute these items.”); Ex. 132 (KBR 30(b)(6) (Lust)

(Sept. 28, 2021) Dep.) 34:3-14 (“Q. . . . [C]an you describe what the instructions were in that

particular desktop operating procedure you just referenced? A. . . . I can sum it up that every effort

to fill requisition[s] within the theater shall be taken to utilize the inventory that is in KBR’s

portal.”).

        As another example, KBR’s “Desktop Procedures: Redistribution of Government Property

and Materiel to include FOB/Base Closures,” revised June 2007, stated:

                        Cross Level Requisitioning Process. Upon receipt of a
                        material requisition Materiel Control will check the theater-
                        wide inventory through STEAM [KBR’s inventory
                        management program, also referred to as MAXIMO] to
                        determine if items can be filled from excess stock. Found
                        items will be cross leveled through the procedures in 5.1 and
                        5.2.

Ex. 90 (KBR “Desktop Procedures: Redistribution of Government Property and Materiel to

include FOB/Base Closures,” revised June 2007) at ‘0992 (emphasis in original); Ex. 132 (KBR

30(b)(6) (Lust) (Sept. 28, 2021) Dep.) 34:3-14 (“Q. . . . [C]an you describe what the instructions

were in that particular desktop operating procedure you just referenced? A. . . . I can sum it up

that every effort to fill requisition[s] within the theater shall be taken to utilize the inventory that

is in KBR’s portal. . . . And then in June of ’07, we did a revision which added STEAM –

MAXIMO/STEAM to this process.”).

        As another example, KBR’s “Distribution of Government Property DESKTOP

OPERATING PROCEDURE,” dated August 23, 2008, stated:


                                                  -82-
                      The DMC (Distribution Management Center) will be
                      responsible for screening all requests for procurement action
                      for possible Cross Level support. . . .

                      All requisitions for procurement action will flow through the
                      DMC and be screened for availability within theater prior to
                      purchase. . . .

                      If a site foresees a need for an item(s), it is contractually
                      obligated to attempt to obtain the items through cross
                      utilization within its project (group of sites). . . .

Ex. 91 ( “KBR Distribution of Government Property DESKTOP OPERATING PROCEDURE,”

dated Aug. 23, 2008) at ‘0251, ‘0256 (emphasis in original).




                                              -83-
KBR SOF 40. “The property control procedures instructed KBR employees to check the theater
inventory to determine if there was ‘suitable’ material prior to starting the purchasing process. Id.
If a ‘suitable’ item was located at another site, personnel were instructed to ‘verify via the owning
site’ that the item was ‘truly excess and available’ before moving forward with the cross-leveling
process. [KBR] Ex. 10, 2006 PCP ¶ 4.6.1 (KBR-HOW-0046019); see also [KBR] Ex. 11 2008
PCP at ¶ 4.3 (KBR-HOW-0046231) (instructing employees to look for ‘suitable property’
‘available for issue’ and verification that any located item is ‘excess to that site’s need’ and
“available for cross utilization’).; see also [KBR] Ex. 41, Rudolph Dep. (Mar. 28, 2022) at 146:15-
21 (Relators’ expert agreeing that ‘if you look in the inventory management system and see that
there is inventory, that doesn’t necessarily answer the question as to whether it is available to cross-
level.’). Crossleveling was sometimes limited for particular sites due to individual circumstances
including security concerns, mortar attacks, or because the storeroom was ‘frozen’ in anticipation
of a major wartime event, such as a troop surge or base closure. See, e.g., [KBR] Ex. 23, KBR
30(b)(6) Dep. (Sept. 29, 2021) at 102:23-103:16.”

Relators’ Response to KBR SOF 40.

       The statement of fact is disputed.

       As to the first and second sentence, the statement of fact is not disputed.

As to the third sentence, the statement of fact is disputed. There were not any additional security

concerns with cross-leveling as opposed to procuring new items, as cross-leveling used the same

supply road network that all supplies were transported on, traveling via truck convoys. Ex. 138

(McNamara Dep.) 106:8-9 (“All of the property moved from camp to camp under a convoy that

the military were in charge of.”), 411:10-15 (“Q. . . . [I]f one of the bases wants to buy some new

material, how does that get to them? [Objection.] A. It . . . gets there by convoy. Everything gets

there by convoy.”); Ex. 140 (Pagonis Dep.) 92:12-93:12 (“I never – I never separated the two

[transporting new inventory versus transporting existing inventory]. It was all one system.”);

Ex. 142 (Rock Dep.) 92:5-16 (“Q. . . . [W]hat kind of support did the U.S. Military provide [for

the trucks when they were moving property and materials between sites]? A. Armed escort.

Q. And was that each and every time a KBR truck moved from site to site to transport property

and materials? A. Yes.”), 94:17-95:10 (“Each location or each base cluster had a [KBR Theater

Transportation Mission] operations site. And at each one of those locations, every day convoys



                                                 -84-
moved to various locations throughout the Theater. . . . [I]t was on a regular schedule that [KBR]

moved materials and equipment from sites to sites. Q. . . . [I]rrespective of whether the item was

purchased new or whether it was cross-leveled, it would travel by truck and by convoy to the

receiving site; is that correct? A. To the best of my knowledge, now, yes.”), 410:4-20 (questioning

by KBR’s counsel) (“Q. . . . Were there regular convoys among all the different bases in Iraq?

A. Yes, there were. Q. Okay. Was the frequency different than, for example, the frequency of

convoys that were available on the main supply route? A. We had daily movements between all

bases and on the main supply route.”).




                                               -85-
KBR SOF 41. “Relators allege that KBR submitted a false claim every time ‘KBR submitted an
invoice to the Government requesting payment’ for an item that could potentially have been
crossleveled, but was purchased instead. [KBR] Ex. 21, Hemphill Response to KBR Interrogatory
(‘ROG’) 1; [KBR] Ex. 22, Howard Response to KBR ROG 1; [KBR] Ex. 37, Gaukler Rep. at ¶¶
10-12, 140; see also Compl. ¶ 136. Utilizing a never been done before, non-peer reviewed
computer modeling system, Relators’ expert witness generated a list of allegedly ‘overordered’
items that he stated KBR could have cross-leveled based on the robotic application of a series of
logic rules to the model’s recreation of KBR’s ‘historical inventory balances.’ [KBR] Ex. 37,
Gaukler Rep. ¶¶ 76-151 (list of purchases generated through computer model, based on his model’s
application of logic rules to a reconstruction of “historical inventory balances”); [KBR] Ex. 38,
Gaukler Dep. (Apr. 1, 2022) at 99:24-100:2 (testifying that his model was not peer reviewed); id.
at 285:2-25 (testifying that he had not performed an ‘overordering’ analysis before, was not aware
of any other ‘overordering’ model in academic literature, and was not aware whether the approach
used for his analysis had ever been accepted in any peer-reviewed literature); id. at 287:2-16
(testifying that he was not aware of whether the government uses historical inventory balance
reconstruction to evaluate a contractor’s property management system or cross-leveling); id. at
98:5-11 (testifying that model code was not reviewed by anyone other than expert himself); id. at
107:22-108:7 (testifying that he is not an expert in government contracts, contract interpretation,
or the FAR); id. at 13:12-18 (testifying that he does not consider himself an expert witness on
damages).

Relators’ Response to KBR SOF 41.

       The statement of fact is disputed. Relators do not allege that each and every time an item

could potentially have been cross-leveled, but KBR instead purchased the item, that KBR’s request

for payment constituted a false claim. To the contrary, Relators’ allege that KBR submitted a false

claim each and every time it submitted an invoice to the Government requesting payment for an

item it purchased when KBR should have cross-leveled that item according to its own rules and

standards.

       KBR submitted claims for reimbursement to the Government for the inventory that KBR

purchased and received in performing LOGCAP III. See Ex. 131 (KBR 30(b)(6) (Jacobs) Dep.)

12:9-16 (“A. A cost-reimbursable program is one in which the government reimburses the

contractor for incurred costs. Q. . . . LOGCAP III was a cost-reimbursable contract for KBR; is

that right? A. Correct. Q. So the government reimbursed KBR for its costs on LOGCAP III; is

that correct? A. Correct.”), 21:11-13 (“Q. . . . Why did KBR submit public vouchers to the



                                               -86-
U.S. Government on LOGCAP III? A. For reimbursement of incurred costs.”), 21:20-22:3 (“Q.

. . . [T]he U.S. Government reimbursed KBR for the money that KBR spent procuring property

and materials on LOGCAP III, correct? [Objection.] A. The government reimbursed KBR for

materials and equipment received, therefore incurred, thus the government reimbursed KBR for

costs incurred for that period.”), 22:7-11 (“Q. The U.S. Government reimbursed KBR for the

money KBR spent procuring property and materials on LOGCAP III if those property and

materials were received by KBR; is that correct, sir? A. Correct.”), 24:9-14 (“Q. . . . Are you

aware sitting here today of any pieces of property and materials that KBR bought and received on

LOGCAP III that the government paid less than a hundred percent of what KBR spent buying the

property and material? A. I am not aware.”).

       All requests for reimbursement submitted by KBR to the Government were made via public

vouchers. See Ex. 84 (KBR Response to Interrogatory Number 10) (“[W]hen KBR incurred costs

on LOGCAP III, those costs were entered into its SAP accounting system. In accordance with

FAR 52.216-7, twice each month KBR extracted from its accounting system all allowable direct

costs, (such as those for property and materials) incurred on each cost reimbursable Task Order

and used that data to create invoices to the government, known as a ‘public vouchers.’ The public

vouchers listed all direct cost items plus allowable indirect costs (general and administrative

expenses) on the Task Order for that billing period. For any single voucher, there may be thousands

of individual transactions listed. In the public vouchers, KBR would provisionally bill the

government for a portion of its base fee of 1% of estimated costs. KBR would then submit the

public vouchers to the government for payment. See KBR-HOW-0042610 to -0044521.”); Ex. 131

(KBR 30(b)(6) (Jacobs) Dep.) 31:7-14 (“Q. . . . [A]s a general matter were KBR’s costs spent

procuring property and materials that KBR procured and received on LOGCAP III, did those costs




                                               -87-
ultimately end up on the public vouchers KBR submitted to the U.S. Government? A. In general

the costs incurred based on receipts of materials and equipment were included on a public voucher,

in general.”), 37:5-10 (“Q. . . . Is that [amount listed on a particular public voucher] the total

amount that KBR is asking the government to pay in response to this particular public voucher?

[Objection.] A. That’s the total cost incurred for the period in which KBR is billing to the

U.S. Government.”).

       The public vouchers submitted by KBR broke down the total dollar amount requested into

specific dollar amounts charged to particular contract line item numbers, or “CLINs.” See, e.g.,

KBR’s Ex. 18 (ECF No. 294-31, Public Voucher No. 32 for LOGCAP III Task Order 139) at ECF

Page 2 (requesting total amount of “$155,199,325.83” for KBR’s “Cost[s] for October &

November 2007” for Task Order 139), at ECF Pages 3-6 (identifying dollar amounts

“CURRENT[LY] BILLED” and dollar amounts “CUMULATIVE[LY] BILLED” for CLINs

4005, 4009, 4011, 5005, 5009, 5011, 6005, and 6009); KBR’s Ex. 19 (ECF No. 294-32, Public

Voucher No. 40 for LOGCAP III Task Order 159) at ECF Page 2 (requesting total amount of

“$97,021,332.00” for KBR’s “Cost[s] for April-May 2010” on Task Order 159), at ECF Page at

ECF Pages 3-4 (identifying dollar amounts “CURRENT[LY] BILLED” and dollar amounts

“CUMULATIVE[LY] BILLED” for CLINs 7005, 7009, 8005, 8009, 9005, 9009, 1005, 1009,

1105, 1109, 1205, 1209); Ex. 110 (PDF of Native Excel Spreadsheet Public Voucher No. 47 for

Task Order 139) at Tab “1034-Task 57” (requesting $145,074,262.22 in this public voucher for

Task Order 139 for “Cost for June-July 2008”), at Tab “1035-Task57” (listing CLINs 4005, 4009,

5005, 5009, 6005, 6009, and associated dollar values currently billed and cumulatively billed,

among other things), at e.g., Tab “Prior MonthYr1 Details 2008” (listing non-labor and labor costs

included in this public voucher, with associated object, cost elements, documents, vendor names,




                                              -88-
object amounts, item descriptions, and invoice identifications, among others). Every amount

charged by KBR to the Government during LOGCAP III was assigned to a particular CLIN. See,

e.g., KBR’s Exhibits 18 and 19; Exs. 111-113; 115 (public vouchers). Below is an excerpt of

KBR’s Public Voucher No. 40 for LOGCAP III Task Order 159, which KBR attached as KBR’s

Ex. 19 (ECF No. 294-32):




                                           -89-
-90-
As shown in this excerpt, KBR identified the specific dollar amounts it currently billed and

cumulatively billed for each particular CLIN. KBR’s Ex. 19 (ECF No. 294-32) at ECF Page 3.

       The LOGCAP III base contract specified that “For Cost-Reimbursable Contract line Item

Numbers (CLINs) only supplies and materials necessary for performance under this contract

will be reimbursed as stated in each individual Task Order’s Scope of Work (SOW) and Federal

Acquisition Regulation (FAR) § 31.205-26.” Ex. 95 (LOGCAP III Base Contract and Statement

of Work) at ‘0006 (emphasis added).

       The LOGCAP III Task Orders defined the CLINs and provided funding for the CLINs,

which could be increased. Ex. 131 (KBR 30(b)(6) (Jacobs) Dep.) 38:2-20 (“Q. This is listing

certain CLIN or CLIN numbers; is that right, sir? A. Correct. Q. And those are contract line item

numbers; is that right? A. That is correct. Q. And I found the eight different CLIN numbers

reflected in this public voucher to be 4005, 4009, 5005, 5009, 6005, 6009, 4011 and 5011. Do you

know what those CLIN numbers mean, sir? A. I would need the contract mod to tell you exactly

what those CLIN numbers mean. Q. And so when you say the contract mod is that the form task

order modification for Task Order 139? A. Yes. Yes. Q. And so it’s your testimony that those form

task order modifications for Task Order 139 will define what these CLIN numbers represent?

A. Yes, sir.”); Ex. 148 (Wade Dep.) 18:9-20 (describing funding as “the government . . . put[ting]

funds on the contract to pay for the performance [KBR] w[as] doing,” which would entail “seeing

if there were sufficient funds obligated on the contract to cover [KBR’s] costs and if they weren’t,

[KBR would] notify the government that additional funds would be required”). For example, Task

Order 139 defines CLINs and provides funding for those CLINs:




                                               -91-
                 ITEM NO      SUPPLIES/SERVICES …           AMOUNT
                 4005AA       NOT TO EXCEED COST            $ 388,349,600.00
                 …            …                             …
                 4009AA       BASE FEE                      $ 3,883,496.00
                 …            …                             …
                 4011AA       AWARD FEE POOL                $ 7,766,904.00


Ex. 100 (Aug. 21, 2006 Task Order 139) at ‘1486-493. For another example, Task Order 159

defines CLINs and provides funding for those CLINs:

                      Funding is provided for the POP [Period of Performance] of
                      01 September 08 to 31 August 2009 in the Amounts listed
                      below:

  CLIN       Title                                                         Amount
  7005AA     BLS NTE [Base Life Support Not To Exceed]                     $531,093,640.14
  7009AA     BLS Base Fee [Base Life Support 1% Base Fee]                  $ 5,310,936.40
  7011AA     BLS Award Fee Pool [Base Life Support 2% Award Fee Pool]      $ 10,621,752.46
  7005AB     Coalition NTE                                                 $ 19,417,480.00
  7009AB     Coalition Base Fee                                            $    194,174.80
  7011AB     Coalition Award Fee Pool                                      $    388,345.20
  7005AC     MEF NTE                                                       $ 46,753,408.34
  7009AC     MEF Base Fee                                                  $    467,534.08
  7011AC     MEF Award Fee Pool                                            $    935,057.58
  7005AD     Bucca ICO NTE                                                 $    253,202.97
  7009AD     Bucca ICO Base Fee                                            $      2,532.03
  7011AD     Bucca ICO Award Fee Pool                                      $      5,064.00
  7005AE     Cropper ICO NTE                                               $    573,994.30
  7009AE     Cropper ICO Base Fee                                          $      5,739.94
  7011AE     Cropper ICO Award Fee Pool                                    $     11,479.76
  7005ZZ     LOGCAP LSA NTE                                                $ 2,481,114.14
  7009ZZ     LOGCAP LSA Base Fee                                           $     24,811.14
  7011ZZ     LOGCAP LSA Award Fee Pool                                     $     49,621.72


Ex. 40 (Sept. 1, 2008 Task Order 159) at ‘5826.

       Thus, when KBR submitted Public Vouchers associated with Task Orders with billings

specific to cost-reimbursable CLINs authorized by the Task Orders, KBR was representing that




                                             -92-
those supplies and materials purchased were “necessary for performance.” Ex. 95 (LOGCAP III

Base Contract and Statement of Work) at ‘0006.

       Dr. Gary Gaukler identified 899 public vouchers associated with unnecessary costs

incurred because KBR purchased items despite existing excess material being available in theater.

For example, on July 14, 2008, KBR submitted Public Voucher No. 47 for Task Order 139. That

Public Voucher requested reimbursement for the cost of purchase order line (“POLINE”)

(#771983), on purchase order number (“PONUM”) #4750053582 for 15 1.5HP blower motors

ordered on July 1, 2008 (item number 1001331456), for a total cost of $7,725, despite the fact that

the 15 blower motors were all available in excess in other KBR storerooms. Ex. 120 (Expert

Rebuttal Report of G. Gaukler, Output 3); Ex. 118 (Expert Report of G. Gaukler, Output 1);

Ex. 114 (ZBILL20080714-044718-GC00GY) at Tab “ZBILL20080714-044718-GC00GY,” Row

1376 (identifying Object: “GCA8YM-BAD9D1602-5”; Cost Elem: “550451”; Document:

“1030466893”; Vendor Name: GOLDEN ARROW GENERAL TRADING C”; PostDate:

“20080701”; Ref Doc: “5000339056”; Trns Amt: “7,725.00”); Ex. 110 (PDF of Native Excel

Spreadsheet Public Voucher No. 47 for Task Order 139) at Tab “1034-Task 57,” at Tab “Yr 2

Detail 2008,” Row 128 (identifying Object: “GCA8YM-BAD9D1602-5”; Cost Elem: “550451”;

Document: “1030466893”; Vendor Name: “GOLDEN ARROW GENERAL TRADING C”;

PostDate: “20080701”; Ref Doc: “5000339056”; Obj Amt: “7,725.00”). Dr. Gaukler concluded

that on 73,530 separate purchase orders, KBR had purchased $341 million of excess inventory that

it never should have purchased if KBR had followed its own procedures and standards regarding

cross-leveling. On the occasions when KBR actually followed its cross-leveling procedures, and

the database showed cross-level was supportable, the underlying circumstances rarely led KBR to

deny a cross-level request. Moreover, Dr. Gaukler’s model incorporates KBR’s documented cross-




                                               -93-
level denials, and it reduces the value of KBR’s $341 million in over-ordering by a mere $800,000.

Ex. 96 (Expert Report of G. Gaukler) at 5; Ex. 105 (Expert Rebuttal Report of G. Gaukler)

¶¶ 132-135; Ex. 106 (Supplement to Expert Rebuttal Report of G. Gaukler) ¶ 4.

       Before purchasing materials for use on the LOGCAP III contract, KBR was required to

obtain approval from the Government Administrative Contracting Officer (“ACO”) if the purchase

would exceed a minimum dollar threshold. Ex. 99 (Jan. 31, 2006 Amendment P00015 to LOGCAP

III Base Contract) at ‘4058 (“For the purpose of purchasing supplies/non-durable goods, the

Contractor shall obtain approval from the on-site ACO/COR for each line item on the material

requisition exceeding the threshold of $25,000.00 on either a unit or cumulative effort.”); Ex. 49

(July 10, 2007 DCMA Memorandum) at ‘1658 (same). While the LOGCAP III contract set

baseline thresholds for approval of material requisitions, “individual Task Orders [could] require

more stringent approval thresholds.” Ex. 49 (July 10, 2007 DCMA Memorandum) at ‘1659.

       To obtain approval from the ACO, KBR was required to submit its proposed materials

requisition to the ACO and certify that it had attempted to fill the requisition through cross-leveling

before purchasing. Ex. 138 (McNamara Dep.) 416:10-20. KBR’s requisitions specified, among

other things, the items that KBR intended to purchase, their quantities, unit price, and total amount.

See, e.g., Ex. 2 (sample purchase requisition). KBR submitted the material requisitions together

with a cross-leveling certification, which was “always part of the contract.” Ex. 138 (McNamara

Dep.) 421:3-11. In the certifications, KBR was required to attest it had “checked for theater-wide

redistribution under cross-leveling process.” Ex. 138 (McNamara Dep.) 413:17-414:18; Ex. 2

(sample purchase requisition) at 3. The certification was a requirement for KBR to purchase the

property in question. Ex. 138 (McNamara Dep.) 414:19-415:6.




                                                 -94-
       KBR additionally certified that it had attempted to fill material requisitions through cross-

leveling via a “Commercial Purchase Justification,” which KBR was required to prepare for all

material requisitions that included a commercial item. Ex. 17 (Nov. 26, 2008 DCMA

Memorandum) at ‘6903-04; Ex. 126 (Haught Dep.) 58:5-13. The Commercial Purchase

Justification required KBR to represent that “Local Cross Level, DMC, and Theatre Inventory was

checked” for the items KBR in the requisition. Ex. 17 (Nov. 26, 2008 DCMA Memorandum) at

‘6905. Making clear the Government’s expectations, the Commercial Purchase Justification

advised KBR that “[t]he purpose of this form is to follow the priorities as listed in the SOW, and

show due diligence in verifying that items cannot be filled through existing stocks available.” Id.

The Government required KBR to include the Commercial Purchase Justification “in all MR

packets provided to the Administrative Contracting Officer (ACO) for approval.” Id. at ‘6903; Ex.

64 (reflecting ACO approval of MR with Commercial Purchase Justification).

       Following ACO approval of a material requisition, KBR incorporated the materials into a

purchase order. Ex. 96 (Expert Report of G. Gaukler) at 23. Once it had purchased the items, KBR

incorporated the cost of the purchased items into the public vouchers it presented to the

Government for payment. Id. at 22–23.

       The materials that KBR systemically overordered under the LOGCAP III contract appear

in tens of thousands of separate purchase requisitions. The MAXIMO/STEAM system records the

requisitions that KBR prepared, including the cost of the items in the requisition. Id. at 23.

Relators’ expert witness, Dr. Gary Gaukler, has compared the requisitions in MAXIMO/STEAM

to the lines of inventory that KBR overordered. Ex. 96 (Expert Report of G. Gaukler) at 39. From

the results of that comparison, Professor Gaukler assessed whether the requisitions that included

overordered lines of inventory had been subject to ACO approval, either because the material




                                               -95-
requisition went through WACOAPPR status in MAXIMO/STEAM or the requisition’s amount

exceeded the Government’s threshold for ACO approval. Id. at 39. Applying this analysis,

Professor Gaukler identified 10,468 requisitions that contained overordered items and that went

through WACOAPPR status, exceeded the threshold for ACO approval based on their cost

characteristics, or both. Id. at 40. Each of those requisitions falsely certified to the ACO that KBR

had “checked for theater-wide redistribution under cross-leveling process.”

       The process of returning unneeded, excess inventory to the Government was called the

Plant Clearance Automated Reutilization Screening System, or “PCARSS.” Ex. 127 (Hippert

Dep.) 156:6-24. “The intent of the PCARSS process is to demonstrate that all reasonable steps

possible have been taken to ensure that all of the items being sent to the PCARSS process have no

remaining use on the LOGCAP III project, that KBR has done everything possible to maximize

the usage of these items . . . .” Ex. 88 (containing June 18, 2009 internal KBR email) at ‘4356.

When returning items to the Government by declaring them as excess, KBR certified that “[i]t has

been determined that this property is excess to the contract and there is no further use in support

of the mission requirements,” “[t]he attached list of item(s) have been screened for cross level

requirements throughout the theater of operation,” and “[a]t this time, there are no foreseeable

requirements in support of the current mission.” Ex. 45 (PCARSS Form) at ‘4258. In other words,

when KBR sent items into PCARSS, it was representing to the Government that there was “no

longer [] a need for it.” Ex. 133 (KBR 30(b)(6) (Lust) (Sept. 29, 2021) Dep.) 88:25-89:17.

       Relators’ expert, Dr. Gaukler, analyzed KBR’s inventory and purchasing data to identify

specific cases when KBR over-ordered materials that it had available for cross-leveling under

KBR’s then-existing procedures. See Ex. 96 (Expert Report of G. Gaukler). Analyzing 34.5 million

transactions found in this data, Dr. Gaukler determined KBR’s inventory balances at every given




                                                -96-
point in time between May 28, 2007 and March 5, 2013. Id. § IV.A. Dr. Gaukler validated his

analysis of KBR’s inventory balances by using corroborating information in the transactions.

98.5% of the transactions were internally consistent, and Dr. Gaukler conservatively screened the

remaining 1.5% in order to block balance reconstruction when the transactions suggested any

uncertainty. Id. § IV.B. He also compared his conclusions to KBR’s ASL [authorized stock list]

reports, and found that they matched 98% of the time and that when there was a discrepancy his

model typically underestimated inventory balances. Ex. 105 (Expert Rebuttal Report of

G. Gaukler) § IV.E.

       Dr. Gaukler then applied KBR’s own procedures to the inventory levels in order to classify

KBR’s inventory as Stock, Non-Stock, or Special at any given point in time according to KBR’s

own procedures and standards. Ex. 96 (Expert Report of G. Gaukler) § IV.C. Under KBR’s

procedures, these classifications determine how much of an item’s inventory is available for cross-

leveling. Id. § IV.D.

       Dr. Gaukler then analyzed KBR’s purchase order data over the same period of time to

identify cases when KBR purchased something new even though the item being purchased was

available for cross-leveling according to KBR’s own procedures. Id. § IV.D. Dr. Gaukler applied

KBR’s procedures as KBR had defined them in its Rule 30(b)(6) testimony, including additional

“restrictions” on cross-leveling that do not appear in KBR’s procedures. Id. This means that

Dr. Gaukler’s analysis is highly conservative, as the restrictions he accepted included ones that the

Government did not know about and that the Government would have referred to DCAA had it

known. Ex. 143 (Sheridan Dep.) 155:5-156:13.

       Dr. Gaukler concluded that on 73,530 separate purchase orders, KBR had purchased

$341 million of excess inventory that should not have been purchased if KBR had followed its




                                                -97-
own procedures and standards regarding cross-leveling. Ex. 96 (Expert Report of G. Gaukler) at 5.

Dr. Gaukler later adjusted the total amount of excess purchases to $338 million (a reduction of less

than 1%) after applying corrections that he had identified in rebuttal of KBR’s expert

William Walter. Ex. 105 (Expert Rebuttal Report of G. Gaukler) § IV.C.viii.

       KBR submitted its costs to the Government for reimbursement. See Ex. 131 (KBR 30(b)(6)

(Jacobs) Dep.) at 31:7-14, 37:5-10; Ex. 84 (KBR Response to Interrogatory No. 10). Consequently,

the Government reimbursed KBR for the entire $341 million it had incurred unnecessarily. See

Ex. 131 (KBR 30(b)(6) (Jacobs) Dep.) 24:9-14 (“Q. . . . Are you aware sitting here today of any

pieces of property and materials that KBR bought and received on LOGCAP III that the

government paid less than a hundred percent of what KBR spent buying the property and material?

A. I am not aware.”), 31:7-14 (“Q. . . . [A]s a general matter were KBR’s costs spent procuring

property and materials that KBR procured and received on LOGCAP III, did those costs ultimately

end up on the public vouchers KBR submitted to the U.S. Government? A. In general the costs

incurred based on receipts of materials and equipment were included on a public voucher, in

general.”). Moreover, Dr. Gaukler was able to directly trace $226 million of the $341 million of

unnecessary purchased items to specific public vouchers. Ex. 96 (Expert Report of G. Gaukler)

at 39. Those public vouchers expressly represented that these $226 million of over-ordered

supplies were “necessary for performance” of LOGCAP III. SOF ¶¶ 151-157.

       Dr. Gary Gaukler identified 899 public vouchers associated with unnecessary costs

incurred because KBR purchased items despite existing excess material being available in theater.

For example, on July 14, 2008, KBR submitted Public Voucher No. 47 for Task Order 139. That

Public Voucher requested reimbursement for the cost of purchase order line (“POLINE”)

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                                               -98-
ordered on July 1, 2008 (item number 1001331456), for a total cost of $7,725, despite the fact that

the 15 blower motors were all available in excess in other KBR storerooms. Ex. 120 (Expert

Rebuttal Report of G. Gaukler, Output 3); Ex. 118 (Expert Report of G. Gaukler, Output 1);

Ex. 114 (ZBILL20080714-044718-GC00GY) at Tab “ZBILL20080714-044718-GC00GY,” Row

1376 (identifying Object: “GCA8YM-BAD9D1602-5”; Cost Elem: “550451”; Document:

“1030466893”; Vendor Name: GOLDEN ARROW GENERAL TRADING C”; PostDate:

“20080701”; Ref Doc: “5000339056”; Trns Amt: “7,725.00”); Ex. 110 (PDF of Native Excel

Spreadsheet Public Voucher No. 47 for Task Order 139) at Tab “1034-Task 57,” at Tab “Yr 2

Detail 2008,” Row 128 (identifying Object: “GCA8YM-BAD9D1602-5”; Cost Elem: “550451”;

Document: “1030466893”; Vendor Name: “GOLDEN ARROW GENERAL TRADING C”;

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the database showed cross-level was supportable, the underlying circumstances rarely led KBR to

deny a cross-level request. Moreover, Dr. Gaukler’s model incorporates KBR’s documented cross-

level denials, and it reduces the value of KBR’s $341 million in over-ordering by a mere $800,000.

Ex. 96 (Expert Report of G. Gaukler) at 5; Ex. 105 (Expert Rebuttal Report of G. Gaukler)

¶¶ 132-135; Ex. 106 (Supplement to Expert Rebuttal Report of G. Gaukler) ¶ 4.

       KBR’s attacks on Dr. Gaukler’s methodology are meritless. Far from being “never been

done before,” Dr. Gaukler’s model is a straightforward application of fundamental principles of

inventory management which are at the core of his expertise.




                                               -99-
       The first step of the model uses “transactional” data in MAXIMO/STEAM—time-stamped

records of inventory counts, issues, returns, transfers, and receipts—in order to conservatively

reconstruct how much inventory was sitting in KBR’s warehouses at various points during the

LOGCAP III contract. Gaukler Report § IV.A. MAXIMO/STEAM does not record the historical

balances themselves, but its transactional tables contain the information necessary to reconstruct

what those balances were. Id. Doing so is equivalent to determining someone’s past monthly bank

balances given a starting and ending balance and a list of debits and credits.

       MAXIMO/STEAM also contains corroborating information which allowed Dr. Gaukler,

in conjunction with KBR’s procedures, to objectively establish a very high degree of confidence

in the reconstruction results. Gaukler Report § IV.B; Gaukler Rebuttal Report § IV.E; Gaukler

Dep. § 114:14–115:11. This information allowed him to identify a small set of discrepant

transactions (less than 1.5% of the data set) which he handled conservatively. Gaukler Report

§ IV.B; Gaukler Dep. 75:19–76:1. Dr. Gaukler also compared his balance reconstructions to

KBR’s Authorized Stock List (“ASL”) reports, which are contemporaneous records generated by

KBR using the MAXIMO data that show KBR’s inventory balances on the date of the report.

Gaukler Rebuttal Report § IV.E. Dr. Gaukler’s model matched the ASL inventory balances over

98% of the time, and when there was a discrepancy, the modeled balance was lower than the

recorded ASL balance two thirds of the time. Id. These observations confirm both the model’s

accuracy and its conservativism.

       Dr. Gaukler’s reconstruction approach is “never before done” only insofar as it was being

done on KBR’s data, which would not be the subject of peer-reviewed research. Gaukler Dep.

99:24–100:2. The methods and concepts the model uses, on the other hand, are as old and familiar

as addition and subtraction. Gaukler Report § IV.A.1.iii.




                                               -100-
       The second step of the model is, if anything, even more straightforward than the first. It

consists of applying KBR’s stated cross-leveling procedures to the inventory balances

reconstructed in the first step, and evaluating KBR’s approved purchase orders based on those

procedures to see whether some or all of those purchase orders could have been fulfilled by

inventory which was available for cross-leveling at the time of the purchase. Gaukler Report

§ IV.D. He then determined the cost of those items and linked them to KBR’s purchase requisitions

and, where possible, to public vouchers, using KBR’s ZBILL data and a crosswalk which it

provided. Gaukler Report §§ V–VI. Here, again, Dr. Gaukler’s analysis is as simple as “make the

system do what the documents say should be done.”

       Dr. Gaukler is well-qualified to perform this analysis. He is a recognized expert in

inventory management and analyzes inventory data as part of his professional research, and he has

the programming skills necessary to apply that expertise to large data sets such as

MAXIMO/STEAM. Gaukler Report§ I. KBR’s complaints that the analysis has “never been done

before” and is “non-peer reviewed” entirely miss the mark. KBR’s LOGCAP III database is unique

and specific; it is unremarkable that an expert has not analyzed it before in litigation, and it is

unthinkable that it would have been the subject of peer-reviewed studies. Gaukler Dep. 99:24–

100:2. The methodology that Dr. Gaukler applies to the MAXIMO/STEAM database is not novel.

Gaukler Dep 107:16–17 (describing the analysis as “fairly straightforward”). He applies simple

arithmetic—addition and subtraction—to the voluminous records KBR produced and follows the

instructions set forth in KBR’s own procedures. Gaukler Report § IV.A.1.iii, § IV.D. Though

informed by his expertise in inventory management, Dr. Gaukler had no need to rely on outside

research to determine KBR’s inventory balances, apply its cross-leveling procedures, and assess

whether its purchases should have been cross-leveled according to those procedures, because he




                                              -101-
relied on KBR’s own data and documents. Gaukler Report § IV; Gaukler Rebuttal Report § IV.E

(analysis “process[es] each and every transaction . . . under the rules reflective of KBR’s policies

and procedures”); Gaukler Dep. 113:1–12 (analysis is based on “documentation from KBR”).




                                               -102-
KBR SOF 42. “None of the expert or fact witnesses in this case has identified objective standards
(nor even any concrete guidance) about cross-leveling from any of the agencies relevant to this
litigation—the Defense Contract Management Agency (‘DCMA’), the Defense Contract Audit
Agency (“DCAA”), and the Army. [KBR] Ex. 24, Goetz Rep. at 23-24 (‘In all of my 40+ years of
experience in dealing with Government property, I have not seen the term ‘cross leveling’ used.
That term is not used or defined in the FAR or the DFARS. It was not a term used in the DOD
Property Manual, nor is it used in the current DoD Contract Property Guidebook or the DCMA
Guidebook for Contract Property used today. [. . . ] I understand that cross-leveling is not defined
in the LOGCAP III base contract, modifications, or task orders. The Property faculty at [the Air
Force Institute of Technology/Defense Acquisition University] did not train [property
administrators] to perform analysis of cross-leveling and neither does the DOD Property Manual
require them to do so. I am aware of no objective, applicable criteria for assessing KBR’s
‘crossleveling’ on LOGCAP III. [. . . ] Accordingly, in my opinion, it is improper today to apply
a crossleveling standard to KBR’s performance on LOGCAP III that did not exist and was not
applied by [the Government] during the relevant time period.’); [KBR] Ex. 40, Rudolph Rep. at
43-46 (surveying Government and industry standards and identifying no objective standards
pertaining to crossleveling); [KBR] Ex. 42, Rudolph Rebuttal Rep. at 2 (identifying no objective
standards pertaining to cross-leveling).”

Relators’ Response to KBR SOF 42.

       The statement of fact is disputed.

       Cross-leveling describes a basic and fundamental concept of inventory management—if

you have more items on hand than needed, use those available items before ordering more. Put

simply, it is the process of filling a need for items at one site with excess from another site. See

Ex. 136 (Lust Dep.) 28:19-22 22: (Q. Can you explain what cross-leveling is? A. When a

requirement is generated at one location, . . . material from another location is used to satisfy the

requirement at the first location.”); Ex. 132 (KBR 30(b)(6) (Lust) (Sept. 28, 2021) Dep.) 23:18-

24:4: (“Cross leveling is when you move an item from one site to another site to satisfy a demand

at the second site . . . . without going to the procurement system to get an item.”); Ex. 142 (Rock

Dep.) 52:20-53:4: (“My familiarity with cross-leveling is that when various bases had material that

they weren’t using that another based had obligation for due to projects by the government,

et cetera, and that base could allow them to use that material, we cross-level it from one base to

another.”); Ex. 94 (Expert Report of M. Rudolph) at 43-47.



                                               -103-
        Cross-leveling is a fundamental and standard part of inventory management in both public

and private sectors, and especially in the Department of Defense. Ex. 94 (Expert Report of

M. Rudolph) at 4-5 (“Cross-leveling is not unique to LOGCAP III – it is a practice employed

across the private and public sectors (especially within DoD) for effectively and efficiently

managing enterprise inventories and operations of the magnitude, breadth, depth, and geographic

dispersion required by LOGCAP III.”), at 43 (“Cross-leveling is an industry concept and standard

for fulfilling demands and, balancing/rebalancing enterprise inventories across multiple and

disparate site locations to fulfill emerging demands on the system without buying inventory from

external sources when it already exists in an excess posture within the enterprise.”) (emphasis in

original).

        In addition to being a standard and expected inventory management practice, under the

LOGCAP III contract and in connection with its duties to manage inventory on LOGCAP III, KBR

was required to check for available material and use it before buying more, and to only buy supplies

and materials necessary for performance under the contract, as both KBR and the Government

agreed. Ex. 138 (McNamara Dep.) 279:7-280:2 (“Q. . . . [D]id you have a view on . . . whether

KBR was appropriately cross-leveling property in the 2007 to 2012 time period? [Objection.]

A. . . . They needed to have been doing it . . . because it was part of . . . their property procedure.

It was part of what was required of them as a prudent contractor.”), 590:13-19 (“If you are

purchasing something and you know that you have a large operation, then as a prudent contractor,

you would be required to screen through your system to see if there is any availability of . . . these

items or property that you’re currently trying to buy . . . .”), 597:20-598:9 (“Q. Do you know . . .

when KBR was required to certify that it had attempted to cross-level before making purchase?

A. There was a modification to the contract. I don’t remember exactly when. It was sometime




                                                -104-
after 2006. I don’t know if it was 2007 or 2008. . . . [I]t is part of the contract.”); Ex. 136 (Lust

Dep.) 30:13-17 (“Q. . . . [W]ere you aware that the obligation to cross-level was a contractual

requirement in KBR’s contract with the United States Government? [Objection.] A. Yes.”);

Ex. 132 (KBR 30(b)(6) (Lust) (Sept. 28, 2021) Dep.) 38:22-39:8 (“Q. . . . Any other generally

applicable instructions from the U.S. Government concerning KBR cross leveling between task

orders other than those that you just referenced? [Objection.] A. . . . Mary Wade, who was the

contract administrator for the LOGCAP III contract in Houston, had said that we were to make

maximum use of cross leveling where possible. She understood you couldn’t do it all the time but

where possible.”); Ex. 135 (LaBoa Dep.) 70:24-71:21 (agreeing cross-leveling was part of KBR’s

property control procedures); Ex. 127 (Hippert Dep.) 162:24-163:20 (agreeing his “view at the

time” was that cross-leveling was expected); Ex. 134 (King Dep.) 16:21-17:2 (“Q. . . . With respect

to KBR’s work on LOGCAP-III, was KBR supposed to try to cross-level materials and property

before purchasing new materials and property? [Objection.] A. Yes.”); Ex. 142 (Rock Dep.)

520:17-22 (“Q. And it was KBR’s obligation under LOGCAP III to cross level property [and

materials]; is that right, sir? [Objection.] A. I think . . . where possible, yes.”); Ex. 141 (Ritondale

Dep.) 105:22-106:5 (“Q. . . . [I]s it your understanding that KBR was supposed to try to cross-

level property and materials at some point in the procurement process? [Objection.] A. My

understanding is at some point in time the cross-leveling was something that was supposed to

occur.”); Ex. 95 (LOGCAP III Base Contract and Statement of Work) at ‘0006 (“For

Cost-Reimbursable Contract Line Item Numbers (CLINs) only supplies and materials necessary

for performance under this contract will be reimbursed as stated in each individual Task Order’s

Scope of Work (SOW) and Federal Acquisition Regulation (FAR) 31.205-26.”), ‘0037-38

(incorporating FAR 52.216-7, FAR 52.232-20, FAR 52.232-22); FAR 52.216-7; FAR 52.232-20;




                                                 -105-
FAR 52.232-22; Ex. 48 (Task Order 139 Statement Of Work Change 6) at ‘5609

(“3.0 CONTRACTOR ACQUIRED OR GOVERNMENT FURNISHED EQUIPMENT AND

PROPERTY. Prior to procurement of equipment to support all efforts described in this task order,

the contractor shall exercise due diligence in verifying and certify that the required items cannot

be satisfied from existing stock available from other sites covered by this task order. This

certification shall be provided to the [government] ACO [Administrative Contracting

Officer]. . . . 3.1.1. The Contractor shall adhere to the requirement priorities listed in

TABLE 3.1.1. to the maximum extent possible. For purchases that cannot be obtained through

cross leveling or from the Host Country sources, the contractor shall make maximum use of the

Federal Supply System (FSS). REQUIREMENTS PRIORITIES 1 USG military unit, organic,

green suit[;] 2 Cross level within LOGCAP Task Order[;] 3 Other Task Orders within

LOGCAP[;] 4 Host Country sources[;] 5 FSS[;] 6 Commercial.”) (emphasis in original); Ex. 41

(Task Order 159 Statement Of Work) at ‘5488-89 (same, without emphasis); Ex. 1 (KBR’s

Government-Approved Property Control Procedures, dated Sept. 21, 2006) at ‘5992 (“All

property, whether government furnished or KBR acquired, must be: . . . Reasonable quantities,

commensurate with the work to be accomplished.”), at ‘5993 (“Consuming: Quantities of

material/supplies produced or procured for incorporation into an end item or otherwise consumed

will . . . Be reasonable when compared to the work/job at hand and Material Requisitions . . . Be

promptly returned to stock and recorded when determined to be excess.”), at ‘5994 (“Government

property will be disposed of by: . . . Screening items against existing and anticipated needs . . .

Promptly reporting excess items . . . .Receiving property authority from the Government . . . prior

to disposal.”), at ‘6015 (“Requisitions for all property, whether government furnished or KBR

acquired, must: . . . Be contractually authorized and necessary for performance of the prime




                                              -106-
contract . . . Be for the quantities required for said performance . . . .”), at ‘6017-021 (“Warehouse

personnel will first attempt to fill requisitions from stock on-hand. . . . If suitable property is

available for issue, warehouse personnel will [take specific steps] . . . Property may not be

available, or there may not be sufficient stock on-hand to fill the entire quantity. When this

happens, Material Control takes action to obtain the property for the requester. . . . Material

Control – Processing Requisitions for cross leveling or Purchasing. . . . Upon return Materials

Control will first check the theater inventory to determine if the requisition can be filled from

existing stock. If suitable material is located, materials control will forward a copy of the approved

Materials Requisitions. . . . If suitable material/equipment can not be located in the Theater

Inventory, Material Control processes the approved MR [material requisition], establishes a

manual record file by MR [material requisition] number and forwards to Procurement for purchase

action.”); Ex. 89 (KBR’s Government-Approved Property Control Procedures, dated July 15,

2008) at ‘6168 (“All property, whether government furnished or KBR acquired, must be: . . .

Reasonable quantities, commensurate with the work to be accomplished.”), at ‘6169 (“Consuming:

Quantities of material/supplies produced or procured for incorporation into an end item or

otherwise consumed will be: . . . reasonable when compared to the work/job at hand and Material

Requisitions. . . . promptly returned to stock and recorded when determined to be excess.”), at

‘6170 (“Government property will be disposed of by: . . . Screening items against existing and

anticipated needs. . . . Promptly reporting excess items. . . . Receiving property authority from the

Government . . . prior to disposal.”), at ‘6227 (“Requisitions for all property, whether government

furnished or KBR acquired, must: . . . Be contractually authorized and necessary for performance

of the prime contract; . . . Be for the quantities required for said performance . . . .”), at ‘6230-32

(“Material Control personnel will first attempt to fill the requisitions from stock on-hand and will




                                                -107-
also check the Automated Inventory Control System for Theater wide availability of the item(s)

being requested. . . . If suitable property is available for issue, from on hand stock, warehouse

personnel will [take specific steps]. . . . If suitable property is found at another site, the Material

Manager or designee will . . . Verify via the owning Site Material Manager that the requested

item(s) are excess to that site’s need and is available for cross utilization [and take specific steps]

. . . . Property may not be available, or there may not be sufficient stock on-hand to fill the entire

quantity. When this happens, Material Control takes action to obtain the property for the requester.

. . . All requisitions must be coordinated with cost control and approvals obtained from project

management, government LOTD’S, and contract modifications, before submitting for

procurement action. . . . Upon return Materials Control processes the approved MR [material

requisitions], establish a manual record file by MR [material requisition] number and forwards to

Procurement for purchase action.”), at ‘6313 (“Consumption of Government property shall be

reasonable when compared to requirements. . . . Quantities of property produced or procured for

incorporation into an end item or otherwise consumed will . . . Be reasonable when compared to

Material Requisitions. On hand stocks in the Materials warehouses will be maintained in

reasonable quantities to support contractual requirements and in accordance with specific project

policies or replenishment lead time. Stock levels will be based on equipment density, population

to be supported, recurring demands or the history of a previous project with like property. . . .

Unused Materials from trades on hand stock, special projects, ACL’s LOTD’s etc must be returned

to the Material Warehouse within a reasonable period of time after the work is completed or no

demands. Material Control department will ensure returned unused materials are posted to the

automated inventory system with appropriate documentation within 48 hrs. Materials determined

to be excess must be disposed of in accordance with Disposition Tab.”); Ex. 91 (“KBR Distribution




                                                -108-
of Government Property DESKTOP OPERATING PROCEDURE,” dated Aug. 23, 2008) at ‘0251

(“The DMC (Distribution Management Center) will be responsible for screening all requests for

procurement action for possible Cross Level support. . . . All requisitions for procurement action

will flow through the DMC and be screened for availability within theater prior to purchase.”)

(emphasis in original), at ‘0256 (“If a site foresees a need for an item(s), it is contractually

obligated to attempt to obtain the items through cross utilization within its project (group of

sites).”); Ex. 101 (Nov. 2, 2007 DCMA Letter of Technical Directive to KBR) at ‘6706 (“All

equipment MRs [material requisitions] shall be initially submitted to the site ACO. . . . All

equipment MRs [material requisitions] shall contain the following information: . . . (3) Has KBR

checked for theater-wide re-distribution under the cross-leveling process?”); Ex. 24 (July 1, 2009

KBR Technical Direction Bulletin re: PCARSS) at ‘4270 (“KBR has a responsibility to cross level

before purchase.”); Ex. 34 (containing June 4, 2011 email from KBR’s Head of the DMC,

C. O’Muirgheasa) at ‘3826 (“It is a contractual requirement on LOGCAP III to cross level items

in order to reduce spending, eliminate excess, and, nowadays just as importantly, get available

material to other[] sites ASAP.”); Ex. 44 (June 30, 2011 internal KBR email from T. Hippert to

M. Wade) at ‘0608 (“LOGCAP III . . . is reporting cost avoidance on material that is excess in one

camp and moved to another, we call that cross-leveling. These slides are being briefed to the

Government and I don’t think it’s a true cost avoidance. My concern is that the government paid

for the material and we are expected to be good stewards and properly manage the inventory. So

c[ross]-level is expected.”); Ex. 71 (July 2, 2009 Analysis by KBR’s Head of the DMC) at ‘1369

(“Our mission is to cross level materials from locations where there is redistributable material to

locations where there is a need for those materials.”); Ex. 94 (Expert Report of M. Rudolph) at 19

(“KBR was obligated to cross level property and materials on LOGCAP III.”) (citing sources).




                                              -109-
KBR SOF 46. “The U.S. Army Audit Agency (‘AAA’) conducted a series of audits to ‘address
the visibility, management, and use of property in the possession of contractors’ under
LOGCAP III. [KBR] Ex. 14, AAA Rep. at KBR-HOW-8650674 (Sept. 28, 2010). One of the audit
reports said that KBR ‘sometimes didn’t follow its processes and procedures to cross-level’ even
though the ‘LOGCAP contract requires the contractor to fill requirements with existing stock.’ Id.
at KBR-HOW-8650683. The audit report further noted that although AAA’s review was limited
in terms of time and location, ‘similar results could occur at other [KBR] locations within theater.’
Id. at KBR-HOW-8650675. The AAA issued no formal warning or guidance to KBR about its
crossleveling as a result of this audit. Id. at KBR-HOW-8650683—KBR-HOW-865068684
(issuing recommendations for DCMA ‘to improve government oversight and management of
existing stock available at sites covered by the task order’) (emphasis added).”

Relators’ Response to KBR SOF 46.

       This statement of fact is disputed. The AAA is charged with auditing the Government, not

contractors like KBR. Further, this statement is disputed to the extent that through it KBR implies

that it did not systemically fail to cross-level, or that the Government was aware of KBR’s systemic

failures in that regard. The AAA made no finding of the key fact in this case: that each time KBR

ordered new supplies it knew it had hundreds of millions of dollars’ worth of supplies in its

warehouses it had improperly placed off-limits from cross-leveling. The AAA makes no findings

of manipulation of KBR’s inventory management system, a cover-up by KBR, or that the scope

of KBR’s failure might have cost the Government hundreds of millions of dollars in unjustified

reimbursement. In short, the AAA discovered merely that “sometimes” KBR “didn’t follow its

own procedures when cross-leveling.” In addition, KBR’s failures to cross level were not isolated

incidents but were pervasive and systemic. See, e.g., Ex. 66 (Feb. 28, 2010 internal KBR email

from KBR’s Head of the DMC, C. O’Muirgheasa) at ‘4132 (“In 2009, 65% of Requisitions] were

put into MATCON, representing 51% of the dollars. So, 35% of the Req[uisitions] bypassed us

[KBR’s DMC], representing almost 50% of the dollars.”) (emphasis added); Ex. 67 (KBR data)

at ‘4133 (quantifying that in 2007, out of 65,372 Material Requisitions valued at

$1,237,891,670.75, a total of 52,488 (80.3%) of those Material Requisitions valued at

$949,886,655.51 (76.7% of the dollars) were not checked for cross-leveling; in 2008, out of 90,025


                                               -110-
Material Requisitions valued at $1,171,737,717.95, a total of 49,683 (55.2%) of those Material

Requisitions valued at $647,308,265.68 (55.2% of the dollars) were not checked for cross-leveling;

and in 2009, out of 65,526 Material Requisitions valued at $ 812,554,107.70, a total of 23,124

(35.3%) of the Material Requisitions valued at $401,484,184.06 (49.4% of the dollars) did not go

to the DMC for the cross-leveling check); Ex. 3 (Internal KBR email containing Dec. 29, 2008

email from KBR’s Head of the DMC, B. Simmons) at ‘4448 (“The three major factors impeding

the DMC’s ability to Cross Level under utilized materials are as follows: 1) Categorization of

ASL/Inventory Lines (i.e. reflecting [STK] when demands indicates [SP] or [NS] category)[;]

2) Unresponsive Sites/Projects to Tasking leading to Denials[;] 3) Sites/Projects resistant to place

Material Requisitions in MATCON Status; consequently, sending the Majority (if not All) directly

through Procurement Channels.”); Ex. 81 (Mar. 20, 2010 email from KBR Deputy Program

manager – Support, R. Kaye, to KBR Deputy Principal Program Manager, Larry Lust) at ‘9112

(“Last year, fully 35% of all requisitions (with an extended value of $401M[illion]) by-passed

the cross-leveling check. As we start to turn over more and more materials to GOI [Government

of Iraq], we are facing an increasing risk of being Formed 1 for buying items we just declared

excess and gave away. … [A]s of yesterday, we [had] 43,801 lines across Iraq being carried

as STK that have 2 or fewer demands in the past 360 days. We did a trial run on three sites and

determined that 80% of their STK lines had RO [Requisition Objectives] and ROP [Reorder

Points] set above what it should be based upon demand history. … We’ve got $71M[illion] in

reserved stock of which less than 50% is legitimate. The rest is against cancelled ACLs,

completed ACLs, or just plain ‘hidden’ from cross-leveling. TREC storerooms is going to be

my biggest challenge….we’ve currently got $331M[illion] in them as of yesterday. I’ve told

Guy [LaBoa, KBR Principal Program Manager] this is the Mother of all Forms 1.”) (emphasis




                                               -111-
added); Ex. 82 (Apr. 1, 2010 internal KBR email from KBR Deputy Program Manager – Support,

R. Kaye, to KBR Principal program Manager, G. LaBoa) at ‘7417 (“The deeper I dig, the more

uncomfortable I become that we really do know what’s going on. We’ve got continuing issues

with RO [Requisition Objective], ROP [Reorder Point], Stk vs Non-Stk, reservations and

TRECs.”) (emphasis added); Ex. 82 (June 2009 email from KBR employee) at ECF Page 4 (“He

said they are placing everything on reserve so DMC won’t ask for it CL [cross-level].”)

(emphasis added); Ex. 8 (Internal KBR email containing Feb. 25, 2010 email from KBR’s Deputy

Program Manager – Support, R. Kaye) at ‘0062 (“We are purchasing $5 M per day when we’ve

got $1.2 B i[n] excess on hand. At some point, the DCAA is going to put KBR out of business if

we keep doing this.”); Ex. 96 (Expert Report of G. Gaukler) at 5 (concluding that on 73,530

separate purchase orders, KBR had purchased $341 million of excess inventory that it never should

have purchased if KBR had followed its own procedures and standards regarding cross-leveling);

see also, e.g., SOF ¶¶ 52-86.

       Second, the Government was not aware of the fact that KBR’s failure to cross-level was

pervasive and systemic. Indeed, KBR took steps to hide its failures to cross-level from the

Government. See, e.g., Ex. 26 (May 4, 2009 internal KBR email containing May 4, 2009 email

from J. Haught) at ECF Page 2 (“I don’t think we should be showing underutilized on anything

that can be seen by USG”); Ex. 43 (internal KBR email) at ‘6463 (June 18, 2008 email from KBR’s

Director of Supply Management, T. Hippert, to KBR Senior Vice President, Bill Walter, and

others, stating “I’m not providing the Internal audit and I explained that to DCMA . . . .

Maria [McNamara of DCMA] wants the actual Audit’s (sic) that we perform, I told her we can not

provide them.”), ‘6464 (email from Michael Mayo) (“We approach the SMART reports the same

as the Procurement Compliance reports and corrective action plans. Those are not released from




                                             -112-
the Project to [the] USG.”); Ex. 19 (June 2008 internal KBR email) at ‘4711-12 (KBR’s Head of

its SMART Audit Team, Jim King, stating “I need copies of all the site(s) corrective

actions/milestones of all the reviews that have been conducted by the SMART team. The

Government is asking for these and we agree to provide them but we will not provide a copy of

the actual Review/checklist.”), at ‘4711 (KBR’s Director of Supply Management, Ty Hippert,

stating “I explained that we can not release any internal reviews at this point, but I see no harm in

releasing corrective action reports.”); Ex. 54 (Internal KBR email containing Mar. 19, 2009 email

from KBR’s Senior Manager – Government Compliance, John Webb) at ‘0916 (“[T]here were

some concerns with the details in the report Reggie [KBR SMART Audit Team member] prepared.

It was very well written, but Compliance wants more of a summary with a positive spin because

corrective actions have been taken. Attached are the original reports that Reggie [KBR SMART

Audit Team member] prepared and a revision prepared by Compliance.”). KBR’s head of its

SMART Audit Team, Jim King, did not agree with what Government Compliance did, stating that

it “tried to soften the report too much” and that the rewritten report was “too vague in what was

found during the [KBR SMART Audit] review,” but ultimately decided not to make any changes

to the Compliance group’s version of the report. Id. at ‘0915; see also Ex. 134 (King Dep.) 255:22-

256:22 (describing report ultimately given to the Government as a “more watered down version”;

“[n]ot hiding anything, but not enough detail either.”). KBR’s Director of Supply Management,

Ty Hippert, described Government Compliance’s “softening” of the report as “turn[ing] Chicken

crap into Chicken soup…” Ex. 54 (internal email) at ‘0914; Ex. 134 (King Dep.) 272:1-10 (“Q. . . .

Turning chicken crap into chicken soup means taking something that’s in fact something bad and

trying to turn it into something good, that’s what that means? A. Yes. [Objection.] Q. You write




                                               -113-
at the top: [‘]Bingo HAAAAA.[’] So you [a]greed with Mr. Hippert’s assessment regarding

chicken soup, correct? A. That’s correct.”); see also SOF ¶¶ 87-136.




                                             -114-
KBR SOF 48. “The DCAA Audit Manuals used by DCAA during the relevant time period do not
contain or define the term ‘cross-leveling,’ and do not set any objective criteria or standards for
assessing KBR’s cross-leveling of materials. See generally DCAA Contract Audit Manual –
Archives, https://bit.ly/3AfKhEb (accessed Aug. 21, 2022).”

Relators’ Response to KBR SOF 48.

       This statement of fact is disputed. The archives KBR cites to contains 20 different versions,

published between 2005 and 2018, of purported “DCAA Contract Audit Manuals.” It is not clear

which version or versions KBR is citing. Moreover, contrary to KBR’s assertion, the manuals

provide that all contractor audits will emphasize determining “the overall acceptability of the

contractor’s claimed costs with respect to: (1) the reasonableness of nature and amount … ” See

DCAA Contract Audit Manual July 2009, Volume 1, at 6-102.2.




                                              -115-
KBR SOF 50. “In April 2011, DCAA published the results of an audit regarding the ‘efficiency
and reasonableness’ of KBR’s cross-levelling in Iraq in response to the military’s troop drawdown
under LOGCAP III Task Order 159. [KBR] Ex. 15, DCAA Rep. at DCAA-HOWARD-00019194
(Apr. 10, 2011). In its report, DCAA stated that (1) KBR ‘has a process to use cross leveling on
equipment,’ and ‘(2) based on a review of 47 procurement files,” KBR failed to attempt to
crosslevel before making 1 out of 47 purchases. Id. DCAA concluded that it would ‘close [the]
audit assignment ‘as a NO GO.’ Id. at DCAA-HOWARD-00019195.”


Relators’ Response to KBR SOF 50.

       This statement is disputed. While this statement reflects what the language of the DCAA

report states, what the DCAA observed and reported was based on the limited information that

KBR provided to it, and the DCAA was not aware of KBR’s efforts to keep its systemic failures

hidden from discovery. See SOF ¶¶ 87-136.




                                             -116-
III.    DISPUTED IMMATERIAL FACTS

        The following facts from KBR’s SOF are both immaterial and disputed, for the following

reasons.

KBR SOF 1. “The relevant time period in this case is January 2007 to January 2012. [KBR] Ex.
20, Relators’ First Set of Requests for Production (“RFP”) at 1 (Oct. 22, 2015).”

Relators’ Response to KBR SOF 1.

        The statement of fact is immaterial. The definition of the relevant time period does not

“bear directly on the legal issue raised by the motion.” See Local Civil Rule 7.1(D)(1)(b). KBR’s

motion concerns the elements of falsity and scienter. The definition of the relevant time period

does not “bear directly” on the issues of falsity or scienter raised by KBR’s motion.

        The statement of fact is disputed. As an initial matter, KBR’s statement of fact is not

supported with citation to evidence in the record as required by Fed. R. Civ. P. 56(c). The only

material KBR cites is Relators’ First Set of Requests for Production to KBR. However, those

document requests for discovery merely define the term “Relevant Time Period” for purposes of

the document requests themselves. See KBR Ex. 20 (Relators’ First Set of Requests for Production,

dated Oct. 22, 2015) at 1 (“As used herein, the terms listed below are defined as follows: . . . The

term ‘Relevant Time Period’ means January 1, 2007 to January 1, 2012.”) (Emphasis added). The

definition of “Relevant Time Period” for purposes of Relators’ document requests did not purport

to, nor did it, limit the relevant time period in this case.

        Furthermore, events and documents that pre-date January 1, 2007, and that post-date

January 1, 2012, are relevant to this case. For example, the LOGCAP III “base contract” is dated

December 14, 2001. See Ex. 95 (LOGCAP III Base Contract and Statement of Work) at ‘0001

(“Date Signed 12/14/01” and “14 Dec. 2001”). For another example, KBR submitted public

vouchers (KBR’s invoices to the Government) under LOGCAP III after January 1, 2012. See



                                                  -117-
Ex. 112 (PDF of Native Excel Spreadsheet KBR-HOW-9031407 KBR Public Voucher #89 for

Task Order 159) at ‘1407, Tab “1034-Task 159” (“DATE VOUCHER PREPARED 2/28/12”;

“Cost for Jan – Feb 12”) (emphasis in original).

       KBR’s Statements of Fact 3, 4, 9, 12, 13, 14, 20, 21, 26, 34, 38, 44, and 48 also use the

uncapitalized phrase “relevant time period.” Relators dispute KBR’s use of the phrase “relevant

time period” in those Statements of Fact for the same reason described here. For the Court’s

convenience, Relators do not repeat their same response every time KBR used the phrase “relevant

time period.”




                                             -118-
KBR SOF 20. “During the relevant time period, PMSAs and PCSAs assessed KBR’s compliance
with the property functions of the FAR, as detailed in DOD 4161.2-M, DOD Manual for the
Performance of Contract Property Administration (“the DOD Property Manual”). [KBR] Ex. 16,
DOD Property Manual, Chs. 3 & 4; [KBR] Ex. 24, Goetz Rep. at 21-23; [KBR] Ex. 35, McNamara
Dep. (Nov. 13, 2019) at 86:8-87:6.”

Relators’ Response to KBR SOF 20.

       The statement of fact is immaterial. The PMSAs and PCSAs do not “bear directly on the

legal issue raised by the motion.” See Local Civil Rule 7.1(D)(1)(b). KBR’s motion concerns the

elements of falsity and scienter. Whether or not PMSAs or PCSAs assessed KBR’s compliance

with the property functions of the FAR do not “bear directly” on the issues of falsity or scienter

raised by KBR’s motion. Irrespective of such PMCAs or PCSAs, KBR knowingly submitted

claims for payment that were false, particularly insofar as KBR systemically failed to cross-level,

including bypassing the cross-leveling process half the time and manipulating inventory to

artificially decrease items available to cross-level. See, e.g., Ex. 66 (Feb. 28, 2010 internal KBR

email from KBR’s Head of the DMC, C. O’Muirgheasa) at ‘4132 (“In 2009, 65% of Requisitions]

were put into MATCON, representing 51% of the dollars. So, 35% of the Req[uisitions]

bypassed us [KBR’s DMC], representing almost 50% of the dollars.”) (emphasis added); Ex.

67(KBR data) at ‘4133 (quantifying that in 2007, out of 65,372 Material Requisitions valued at

$1,237,891,670.75, a total of 52,488 (80.3%) of those Material Requisitions valued at

$949,886,655.51 (76.7% of the dollars) were not checked for cross-leveling; in 2008, out of 90,025

Material Requisitions valued at $1,171,737,717.95, a total of 49,683 (55.2%) of those Material

Requisitions valued at $647,308,265.68 (55.2% of the dollars) were not checked for cross-leveling;

and in 2009, out of 65,526 Material Requisitions valued at $ 812,554,107.70, a total of 23,124

(35.3%) of the Material Requisitions valued at $401,484,184.06 (49.4% of the dollars) did not go

to the DMC for the cross-leveling check); Ex. 3 (Internal KBR email containing Dec. 29, 2008

email from KBR’s Head of the DMC, B. Simmons) at ‘4448 (“The three major factors impeding


                                              -119-
the DMC’s ability to Cross Level under utilized materials are as follows: 1) Categorization of

ASL/Inventory Lines (i.e. reflecting [STK] when demands indicates [SP] or [NS] category)[;]

2) Unresponsive Sites/Projects to Tasking leading to Denials[;] 3) Sites/Projects resistant to place

Material Requisitions in MATCON Status; consequently, sending the Majority (if not All) directly

through Procurement Channels.”); Ex. 81 (Mar. 20, 2010 email from KBR Deputy Program

manager – Support, R. Kaye, to KBR Deputy Principal Program Manager, Larry Lust) at ‘9112

(“Last year, fully 35% of all requisitions (with an extended value of $401M[illion]) by-passed

the cross-leveling check. As we start to turn over more and more materials to GOI [Government

of Iraq], we are facing an increasing risk of being Formed 1 for buying items we just declared

excess and gave away. … [A]s of yesterday, we [had] 43,801 lines across Iraq being carried

as STK that have 2 or fewer demands in the past 360 days. We did a trial run on three sites and

determined that 80% of their STK lines had RO [Requisition Objectives] and ROP [Reorder

Points] set above what it should be based upon demand history. … We’ve got $71M[illion] in

reserved stock of which less than 50% is legitimate. The rest is against cancelled ACLs,

completed ACLs, or just plain ‘hidden’ from cross-leveling. TREC storerooms is going to be

my biggest challenge….we’ve currently got $331M[illion] in them as of yesterday. I’ve told

Guy [LaBoa, KBR Principal Program Manager] this is the Mother of all Forms 1.”) (emphasis

added); Ex. 82 (Apr. 1, 2010 internal KBR email from KBR Deputy Program Manager – Support,

R. Kaye, to KBR Principal program Manager, G. LaBoa) at ‘7417 (“The deeper I dig, the more

uncomfortable I become that we really do know what’s going on. We’ve got continuing issues

with RO [Requisition Objective], ROP [Reorder Point], Stk vs Non-Stk, reservations and

TRECs.”) (emphasis added); Ex. 7 (June 2009 email from KBR employee) at ECF Page 4 (“He

said they are placing everything on reserve so DMC won’t ask for it CL [cross-level].”)




                                               -120-
(emphasis added); Ex. 8 (Internal KBR email containing Feb. 25, 2010 email from KBR’s Deputy

Program Manager – Support, R. Kaye) at ‘0062 (“We are purchasing $5 M per day when we’ve

got $1.2 B i[n] excess on hand. At some point, the DCAA is going to put KBR out of business if

we keep doing this.”); Ex. 96 (Expert Report of G. Gaukler) at 5 (concluding that on 73,530

separate purchase orders, KBR had purchased $341 million of excess inventory that it never should

have purchased if KBR had followed its own procedures and standards regarding cross-leveling);

see also, e.g., SOF ¶¶ 52-86.

       The statement of fact is also disputed.

       First, the purported DOD 4161.2-M, DOD Manual for the Performance of Contract

Property Administration, which KBR has attached as KBR Exhibit 16, does not control the

inventory management function, which KBR was required to perform under LOGCAP III and task

orders. Ex. 125 (Goetz Dep.) 7:22-8:3 (“Q. You understand that one of KBR’s functions under

LOGCAP III, which is the subject of this lawsuit, is KBR’s responsibility to manage inventory;

correct? A. Yes, sir.”).

       Second, KBR’s expert, Dr. Douglas Goetz, has never been responsible for managing

inventory and therefore lacks personal or expert knowledge of, and would have no basis to write a

manual governing, the inventory management function. Ex. 125 (Goetz Dep.) 7:18-8:3 (“Q. Have

you ever been responsible for directly managing inventory? A. No, sir. Q. You understand that

one of KBR’s functions under LOGCAP III, which is the subject of this lawsuit, is KBR’s

responsibility to manage inventory; correct? A. Yes, sir.”).

       Third, the purported DOD 4161.2-M, DOD Manual for the Performance of Contract

Property Administration that KBR has attached as KBR Exhibit 16 itself identifies that the relevant




                                                 -121-
yardstick for evaluating the contractor’s application and/or compliance is the contractor’s written

property control procedures:

       The property control system established and maintained by the contractor normally
       consists of written property control procedures, and the application and/or
       compliance with those procedures. It is normal industry practice to provide for the
       control of property by means of written procedures that communicate company
       standards, techniques, and instructions to operational personnel. These procedures
       provide the PA [Property Administrator] with the yardstick by which the
       contractor’s application and/or compliance shall be evaluated. The PA [Property
       Administrator] shall evaluate the contractor’s written procedures and the
       application and/or compliance thereof.

KBR Ex. 16 (“DoD Manual for the Performance of Contract Property Administration,” “December

1991”) at 4-1. This conflicts with the statement of KBR’s expert, Dr. Goetz, that “the relevant

yardstick ultimately for a PMSA was not whether KBR was following its own procedures, but

whether it was adequately meeting the obligations imposed by the FAR Government property

clause.” See KBR Ex. 24 (Goetz Rep.) at 7.

       Finally, Relators dispute KBR’s assertion that the “PMSAs and PCSAs assessed KBR’s

compliance with the property functions of the FAR . . . .” Substantial evidence shows that KBR

hid its failures from the Government and that the Government did not have complete information.

See, e.g., Ex. 26 (May 4, 2009 internal KBR email containing May 4, 2009 email from J. Haught)

at ECF Page 2 (“I don’t think we should be showing underutilized on anything that can be seen by

USG”); Ex. 43 (internal KBR email) at ‘6463 (June 18, 2008 email from KBR’s Director of Supply

Management, T. Hippert, to KBR Senior Vice President, Bill Walter, and others, stating “I’m not

providing the Internal audit and I explained that to DCMA . . . . Maria [McNamara of DCMA]

wants the actual Audit’s (sic) that we perform, I told her we can not provide them.”), ‘6464 (email

from Michael Mayo) (“We approach the SMART reports the same as the Procurement Compliance

reports and corrective action plans. Those are not released from the Project to [the] USG.”); Ex. 19

(June 2008 internal KBR email) at ‘4711-12 (KBR’s Head of its SMART Audit Team, Jim King,


                                               -122-
stating “I need copies of all the site(s) corrective actions/milestones of all the reviews that have

been conducted by the SMART team. The Government is asking for these and we agree to provide

them but we will not provide a copy of the actual Review/checklist.”), at ‘4711 (KBR’s Director

of Supply Management, Ty Hippert, stating “I explained that we can not release any internal

reviews at this point, but I see no harm in releasing corrective action reports.”); Ex. 54 (Internal

KBR email containing Mar. 19, 2009 email from KBR’s Senior Manager – Government

Compliance, John Webb) at ‘0916 (“[T]here were some concerns with the details in the report

Reggie [KBR SMART Audit Team member] prepared. It was very well written, but Compliance

wants more of a summary with a positive spin because corrective actions have been taken.

Attached are the original reports that Reggie [KBR SMART Audit Team member] prepared and a

revision prepared by Compliance.”). KBR’s head of its SMART Audit Team, Jim King, did not

agree with what Government Compliance did, stating that it “tried to soften the report too much”

and that the rewritten report was “too vague in what was found during the [KBR SMART Audit]

review,” but ultimately decided not to make any changes to the Compliance group’s version of the

report. Id. at ‘0915; see also Ex. 134 (King Dep.) 255:22-256:22 (describing report ultimately

given to the Government as a “more watered down version”; “[n]ot hiding anything, but not

enough detail either.”). KBR’s Director of Supply Management, Ty Hippert, described

Government Compliance’s “softening” of the report as “turn[ing] Chicken crap into Chicken

soup…” Ex. 54 at ‘0914; Ex. 134 (King Dep.) 272:1-10 (“Q. . . . Turning chicken crap into chicken

soup means taking something that’s in fact something bad and trying to turn it into something

good, that’s what that means? A.        Yes. [Objection.] Q.     You write at the top: [‘]Bingo

HAAAAA.[’] So you [a]greed with Mr. Hippert’s assessment regarding chicken soup, correct?

A. That’s correct.”); see also SOF ¶¶ 87-136.




                                                -123-
       Furthermore, KBR also did its best to clean-up any site that it knew the Government was

going to examine before the Government could get there; it received a list of sites that the DCMA

was going to audit, in advance of those audits, and sent its own internal audit team to those sites

before the DCMA got there, in order to fix any problems before the Government auditors saw

them. Ex. 126 (Haught Dep.) 73:23-76:24 (“Q. . . . [W]as that a typical practice at KBR, that if

the Government was going to go out and do a site audit that you would try to get your internal

SMART team out there ahead of time? [Objection.] A. They were either scheduled or they would

have said yes, we need to get out there early. Sometimes they were scheduled already. Q. The

SMART team? A. SMART teams. . . . Q. . . . [I]sn’t the reason you want [the SMART teams]

out there ahead of the Government so that problems can be fixed by the sites before the

Government auditor get[s] there? [Objection.] A. Generally, that would be a correct answer.”),

79:1-14 (“I would think that we had some notification that that they were going to go do it

[Government audits to inspect KBR’s property system], so yes, I would say yes. Q. And you had

those conversations with others at KBR? A. With the people on those sites.”), 81:6-19 (“Q. . . .

And you were going to assist [the sites] to get ready for . . . the Government audits? . . . A. Yes,

yes. I’m sorry. Yes. . . . Q. And what concrete steps did you want KBR to take to assist those

sites? A. We would have . . . put our trainers . . . . we would have gone out and conducted

inventories. We would have helped the sites get ready in some way by providing support that the

sites needed.”), 84:18-24 (“Q. . . . So you send this to [Jim Luchsinger, KBR’s Project Manager

in Afghanistan,] and you say, ‘DCMA has pretty much given us their blueprint.’ What did you

mean by that? A. The locations. Q. Locations where the audit was going to happen? A. Yes.”),

86:1-25 (“Q. . . . So you’re trying to figure out how to get help out to all these places in advance

of the audit. Right? A. Yeah. Q. You say, ‘I have another call added tonight at 8:00 p.m. on




                                               -124-
[MAXIMO/]STEAM, which I thought I had nothing to do with, but guess again. I wonder if I can

get people to understand the significance of the comments from DCMA.’ So you were trying to

give people kind of a wake-up call DCMA has really got us in the cross-hairs here. Right?

[Objection.] A. Yes.”); Ex. 19 (June 2008 internal KBR email) at ‘4711-12 (KBR’s Head of its

SMART Audit Team, Jim King, listing the sites where the Government will “conduct a PCSA

[Property Control System Analysis] starting July 26, 2008”; “as you know it is extremely urgent

that we [KBR’s SMART Audit Team] get to these sites ASAP before this [Government] audit and

ensure that they are ready for this [Government] PCSA [Property Control System Analysis], if we

get an unsatisfactory rating they will disapprove our Property system.”), at ‘4711 (James Haught,

stating “DCMA has pretty much given us the[ir] blueprint. Salerno and Bagram will be the sites

they will attack. The areas to be analyzed are listed in the email train. The review will occur

between 26 Jul and 4 Aug.”); Ex. 134 (King Dep.) 34:15-35:8 (“Q. . . . How did KBR determine

which site the SMART team would audit when? A. That was my call with the headquarters and

senior leadership as to their priorities. The headquarters had more direct information from the

government property administrators as to when they were going to conduct their property control

system analysis. So I would coordinate with them to see what sites are going to be audited by the

government, and I would try and get my team in front of that to do a review before the government

did. Q. And why would you try and get your teams to do a SMART review before the government

performed its audit on a particular site? A. For the obvious reason . . . if there’s any deficiencies

or issues on site, try to get them corrected. Q. Before the government got there? A. Yes.”).

       Finally, Relators’ expert, Dr. Zakheim, opined and testified that the DCMA was

understaffed and DCMA personnel were still getting up to speed. Ex. 98 (Expert Rebuttal Report

of D. Zakheim) at 1 (“It is my opinion that the fact that DCMA … had approved KBR’s property




                                               -125-
management system is no indication that KBR was actually in compliance with its contractual

obligations to the United States Government or entitled to reimbursement for all the materials it

had purchased.”), at 7 (“DCMA’s Williams’ testimony essentially explained why not all contractor

practices were visible to the government. He pointed out that LOGCAP III covered ‘a multitude

of countries’ as well as a ‘variety of contract functions’ previously described as service support.

He acknowledged that ‘with the DCMA mission traditionally framed in industrial plant operations,

our LOGCAP learning curve has been steep.’ Yet he was stating this in 2009, seven years after

LOGCAP III had been awarded.”) (Footnote omitted, citing Testimony of Charlie Williams,

Director DCMA, before the Commission on Wartime Contracting in Iraq and Afghanistan (May 4,

2009) (Williams Testimony), p. 42.); at 7-8 (“One reason for the challenge that DCMA faced was

that the agency had unfilled personnel requirements. Williams noted that there were unfilled

requirements for 335 CORs in Iraq and 362 CORs in Afghanistan, yet these were Parson’s ‘eyes

and ears’ for contract oversight. Clearly, the DCMA could not cope with the demands of

monitoring the massive contract. The agency could therefore easily overlook activities that for

whatever reason that the contractor did not report. Thus the assertion that ‘the Government through

DCMA’s Property Management System Analysis (PMSAs) was satisfied with KBR’s performance

managing government property,’ only holds true insofar as DCMA had the wherewithal to evaluate

the system. As Charlie Williams indicated before the Commission, however, his agency was both

understaffed and not fully capable of addressing the complexities that were inherent in

LOGCAP III.”) (Footnotes omitted, citing Testimony of Charlie Williams, Director DCMA,

before the Commission on Wartime Contracting in Iraq and Afghanistan (May 4, 2009) (Williams

Testimony), p. 42; citing Report of KBR’s proffered Expert Dr. Goetz at 7), at 8 (“[T]he ACO

needed visibility into what the contractor already possessed in its storeroom, and this was not




                                              -126-
necessarily the case.”); Ex. 98 (Zakheim Dep.) 262:2-15 (“Q. Have you concluded that DCMA

did not have the wherewithal to evaluate KBR’s property management system? A. Yes. Q. And

you can say that even though you’ve never looked at any of the PMSAs that were actually done?

A. They were short of people. Not only were they short of people, Charlie Williams also pointed

out they were still on a steep learning curve, which meant that even if they had looked at these

systems, it doesn’t necessarily mean they would have fully understood them or fully understood

how to deal with them. So yes, I stand by my conclusion.”), 266:7-18 (“Simply because they were

short-staffed, number one. Number two, as I said, they were on the steep learning curve, so you

would have to assume that they had all the people that they needed for PMSAs and that’s not clear

that they did. There is no evidence they did. Nor is there evidence that everybody who worked on

these analyses was up to snuff. … I stand open to any information clarifying that, but to my

knowledge they didn’t have the personnel or the trained personnel to work these.”).




                                             -127-
KBR SOF 22. “Neither the FAR nor the DOD Property Manual called for DCMA to impose a
100% accuracy level for any of the DOD property functions. Ex. 16, DOD Property Manual, Chs.
3 & 4; [KBR] Ex. 24, Goetz Rep. at 23. Rather, DCMA’s evaluation was based on its assessment
of KBR’s ‘performance/conformance across the board,’ the magnitude and frequency of
deficiencies, and the implementation (or lack thereof) of corrective action. See generally [KBR]
Ex. 16, DOD Property Manual at Chs. 3 & 4; see also [KBR] Ex. 24, Goetz Rep. at 16-17, 19-23;
[KBR] Ex. 25, Goetz Dep. (May 19, 2022) at 19:11-21:16, 59:14-60:3, 67:4-68:13, 262:7-11.”

Relators’ Response to KBR SOF 22.

       The statement of fact is immaterial. Whether “the FAR” or “the DOD Property Manual

called for DCMA to impose a 100% accuracy level for any of the DOD property functions,” and

whether DCMA’s evaluation was based on its assessment of KBR’s ‘performance/conformance

across the board,’ the magnitude and frequency of deficiencies, and the implementation (or lack

thereof) of corrective action,” does not “bear directly on the legal issue raised by the motion.” See

Local Civil Rule 7.1(D)(1)(b). KBR’s motion concerns the elements of falsity and scienter and

these assertions do not “bear directly” on those issues. Irrespective of whether the FAR or the

DOD Property manual called for DCMA to impose a 100% accuracy level, and irrespective of

DCMA’s evaluations, KBR knowingly submitted claims for payment that were false, particularly

insofar as KBR systemically failed to cross-level, including bypassing the cross-leveling process

half the time and manipulating inventory to artificially decrease items available to cross-level. See,

e.g., Ex. 66 (Feb. 28, 2010 internal KBR email from KBR’s Head of the DMC, C. O’Muirgheasa)

at ‘4132 (“In 2009, 65% of Requisitions] were put into MATCON, representing 51% of the dollars.

So, 35% of the Req[uisitions] bypassed us [KBR’s DMC], representing almost 50% of the

dollars.”) (emphasis added); Ex. 67 ( KBR data) at ‘4133 (quantifying that in 2007, out of 65,372

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in 2008, out of 90,025 Material Requisitions valued at $1,171,737,717.95, a total of 49,683

(55.2%) of those Material Requisitions valued at $647,308,265.68 (55.2% of the dollars) were not


                                                -128-
checked for cross-leveling; and in 2009, out of 65,526 Material Requisitions valued at

$812,554,107.70, a total of 23,124 (35.3%) of the Material Requisitions valued at $401,484,184.06

(49.4% of the dollars) did not go to the DMC for the cross-leveling check); Ex. 3 (Internal KBR

email containing Dec. 29, 2008 email from KBR’s Head of the DMC, B. Simmons) at ‘4448 (“The

three major factors impeding the DMC’s ability to Cross Level under utilized materials are as

follows: 1) Categorization of ASL/Inventory Lines (i.e. reflecting [STK] when demands indicates

[SP] or [NS] category)[;] 2) Unresponsive Sites/Projects to Tasking leading to Denials[;]

3) Sites/Projects resistant to place Material Requisitions in MATCON Status; consequently,

sending the Majority (if not All) directly through Procurement Channels.”); Ex. 81 (Mar. 20, 2010

email from KBR Deputy Program manager – Support, R. Kaye, to KBR Deputy Principal Program

Manager, Larry Lust) at ‘9112 (“Last year, fully 35% of all requisitions (with an extended value

of $401M[illion]) by-passed the cross-leveling check. As we start to turn over more and more

materials to GOI [Government of Iraq], we are facing an increasing risk of being Formed 1 for

buying items we just declared excess and gave away. … [A]s of yesterday, we [had] 43,801

lines across Iraq being carried as STK that have 2 or fewer demands in the past 360 days.

We did a trial run on three sites and determined that 80% of their STK lines had RO [Requisition

Objectives] and ROP [Reorder Points] set above what it should be based upon demand history. …

We’ve got $71M[illion] in reserved stock of which less than 50% is legitimate. The rest is

against cancelled ACLs, completed ACLs, or just plain ‘hidden’ from cross-leveling. TREC

storerooms is going to be my biggest challenge….we’ve currently got $331M[illion] in them

as of yesterday. I’ve told Guy [LaBoa, KBR Principal Program Manager] this is the Mother of

all Forms 1.”) (emphasis added); Ex. 82 (Apr. 1, 2010 internal KBR email from KBR Deputy

Program Manager – Support, R. Kaye, to KBR Principal program Manager, G. LaBoa) at ‘7417




                                             -129-
(“The deeper I dig, the more uncomfortable I become that we really do know what’s going on.

We’ve got continuing issues with RO [Requisition Objective], ROP [Reorder Point], Stk vs

Non-Stk, reservations and TRECs.”) (emphasis added); Ex. 7 (June 2009 email from KBR

employee) at ECF Page 4 (“He said they are placing everything on reserve so DMC won’t ask

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email from KBR’s Deputy Program Manager – Support, R. Kaye) at ‘0062 (“We are purchasing

$5 M per day when we’ve got $1.2 B i[n] excess on hand. At some point, the DCAA is going to

put KBR out of business if we keep doing this.”); Ex. 96 (Expert Report of G. Gaukler) at 5

(concluding that on 73,530 separate purchase orders, KBR had purchased $341 million of excess

inventory that it never should have purchased if KBR had followed its own procedures and

standards regarding cross-leveling); see also, e.g., SOF ¶¶ 52-86.

       The statement of fact is also disputed. First, under the FAR, “A cost is allowable only when

the cost complies with all of the following requirements: (1) Reasonableness[;] (2) Allocability[;]

(3) Standards promulgated by the CAS Board, if applicable, otherwise, generally accepted

accounting principles and practices appropriate to the circumstances[;] (4) Terms of the contract[;

and] (5) Any limitations set forth in this subpart. FAR § 31.201-2 (emphasis added). “A cost is

reasonable if, in its nature and amount, it does not exceed that which would be incurred by a

prudent person in the conduct of competitive business. . . . No presumption of reasonableness

shall be attached to the incurrence of costs by a contractor. If an initial review of the facts results

in a challenge of a specific cost by the contracting officer or the contracting officer’s

representative, the burden of proof shall be upon the contractor to establish that such cost is

reasonable.” FAR § 31.201-3.




                                                -130-
        Second, under the LOGCAP III contract, the supplies and materials KBR purchased had to

be (1) “necessary for performance” of the contract, (2) cross-leveled to the “maximum extent

possible” per the contract’s Statements of Work (as KBR concedes, KBR Br. at 2), and in the case

of larger purchases, (3) expressly certified to have been cross-leveled. These requirements

objectively require KBR to check for available material and use it before buying more, and to only

buy supplies and materials necessary for performance under the contract, as both KBR and the

Government agreed. Ex. 138 (McNamara Dep.) 279:7-280:2 (“Q. . . . [D]id you have a view on

. . . whether KBR was appropriately cross-leveling property in the 2007 to 2012 time period?

[Objection.] A. . . . They needed to have been doing it . . . because it was part of . . . their property

procedure. It was part of what was required of them as a prudent contractor.”), 590:13-19 (“If you

are purchasing something and you know that you have a large operation, then as a prudent

contractor, you would be required to screen through your system to see if there is any availability

of . . . these items or property that you’re currently trying to buy . . . .”); Ex. 136 (Lust Dep.) 30:13-

17 (“Q. . . . [W]ere you aware that the obligation to cross-level was a contractual requirement in

KBR’s contract with the United States Government? [Objection.] A. Yes.”); Ex. 135 (LaBoa Dep.)

70:24-71:21 (agreeing cross-leveling was part of KBR’s property control procedures); Ex. 127

(Hippert Dep.) 162:24-163:20 (agreeing his “view at the time” was that cross-leveling was

expected); Ex. 134 (King Dep.) 16:21-17:2 (“Q. . . . With respect to KBR’s work on LOGCAP-

III, was KBR supposed to try to cross-level materials and property before purchasing new materials

and property? [Objection.] A. Yes.”); Ex. 142 (Rock Dep.) 520:17-22 (“Q. And it was KBR’s

obligation under LOGCAP III to cross level property [and materials]; is that right, sir? [Objection.]

A. I think . . . where possible, yes.”); Ex. 141 (Ritondale Dep.) 105:22-106:5 (“Q. . . . [I]s it your

understanding that KBR was supposed to try to cross-level property and materials at some point




                                                  -131-
in the procurement process? [Objection.] A. My understanding is at some point in time the cross-

leveling was something that was supposed to occur.”); Ex. 95 (LOGCAP III Base Contract and

Statement of Work) at ‘0006 (“For Cost-Reimbursable Contract Line Item Numbers (CLINs) only

supplies and materials necessary for performance under this contract will be reimbursed as stated

in each individual Task Order’s Scope of Work (SOW) and Federal Acquisition Regulation (FAR)

31.205-26.”), ‘0037-38 (incorporating FAR 52.216-7, FAR 52.232-20, FAR 52.232-22);

FAR 52.216-7; FAR 52.232-20; FAR 52.232-22; Ex. 48 (Task Order 139 Statement Of Work

Change 6) at ‘5609 (“3.0 CONTRACTOR ACQUIRED OR GOVERNMENT FURNISHED

EQUIPMENT AND PROPERTY. Prior to procurement of equipment to support all efforts

described in this task order, the contractor shall exercise due diligence in verifying and certify

that the required items cannot be satisfied from existing stock available from other sites covered

by this task order. This certification shall be provided to the [government] ACO

[Administrative Contracting Officer].         . . . 3.1.1. The Contractor shall adhere to the

requirement priorities listed in TABLE 3.1.1. to the maximum extent possible. For purchases

that cannot be obtained through cross leveling or from the Host Country sources, the contractor

shall make maximum use of the Federal Supply System (FSS). REQUIREMENTS

PRIORITIES 1 USG military unit, organic, green suit[;] 2 Cross level within LOGCAP Task

Order[;] 3 Other Task Orders within LOGCAP[;] 4 Host Country sources[;] 5 FSS[;]

6 Commercial.”) (emphasis in original); Ex. 41 (Task Order 159 Statement Of Work) at ‘5488-

89 (same, without emphasis); Ex. 101 (Nov. 2, 2007 DCMA Letter of Technical Directive to KBR)

at ‘6706 (“All equipment MRs [material requisitions] shall be initially submitted to the site ACO.

. . . All equipment MRs [material requisitions] shall contain the following information: . . . (3) Has

KBR checked for theater-wide re-distribution under the cross-leveling process?”); Ex. 24 (July 1,




                                                -132-
2009 KBR Technical Direction Bulletin re: PCARSS) at ‘4270 (“KBR has a responsibility to cross

level before purchase.”); Ex. 34 (containing June 4, 2011 email from KBR’s Head of the DMC,

C. O’Muirgheasa) at ‘3826 (“It is a contractual requirement on LOGCAP III to cross level items

in order to reduce spending, eliminate excess, and, nowadays just as importantly, get available

material to other[] sites ASAP.”); Ex. 44 (June 30, 2011 internal KBR email from T. Hippert to

M. Wade) at ‘0608 (“LOGCAP III . . . is reporting cost avoidance on material that is excess in one

camp and moved to another, we call that cross-leveling. These slides are being briefed to the

Government and I don’t think it’s a true cost avoidance. My concern is that the government paid

for the material and we are expected to be good stewards and properly manage the inventory. So

c[ross]-level is expected.”); Ex. 71 (July 2, 2009 Analysis by KBR’s Head of the DMC) at ‘1369

(“Our mission is to cross level materials from locations where there is redistributable material to

locations where there is a need for those materials.”); Ex. 94 (Expert Report of M. Rudolph) at 19

(“KBR was obligated to cross level property and materials on LOGCAP III.”) (citing sources); see

also Ex. 104 (Expert Report of E. Branch) at 8 (“LOGCAP III required KBRSI to make its ‘best

efforts’ to perform its obligated work, which included its obligation to exercise due diligence in

verifying that required items could not be satisfied from existing, available stock.”); KBR SOF 46

(U.S. Army Audit Agency report: “LOGCAP contract requires the contractor to fill requirements

with existing stock.”); Ex. 121 (Branch Dep.) at 70:12-71:10 (KBR’s proffered expert defining

standard as “the good faith maximum effort that could be given in any stated context.”).

       Finally, the purported DOD 4161.2-M, DOD Manual for the Performance of Contract

Property Administration that KBR has attached as KBR Exhibit 16 itself identifies that the relevant

yardstick for evaluating the contractor’s application and/or compliance is the contractor’s written

property control procedures:




                                              -133-
       The property control system established and maintained by the contractor normally
       consists of written property control procedures, and the application and/or
       compliance with those procedures. It is normal industry practice to provide for the
       control of property by means of written procedures that communicate company
       standards, techniques, and instructions to operational personnel. These procedures
       provide the PA [Property Administrator] with the yardstick by which the
       contractor’s application and/or compliance shall be evaluated. The PA [Property
       Administrator] shall evaluate the contractor’s written procedures and the
       application and/or compliance thereof.

       KBR Ex. 16 (“DoD Manual for the Performance of Contract Property Administration,”

“December 1991”) at 4-1. This conflicts with the statement of KBR’s expert, Dr. Goetz, that “the

relevant yardstick ultimately for a PMSA was not whether KBR was following its own procedures,

but whether it was adequately meeting the obligations imposed by the FAR Government property

clause.” See KBR Ex. 24 (Goetz Rep.) at 7.




                                             -134-
KBR SOF 26. “The majority of the LOGCAP III task order statements of work in effect in the
relevant time period do not even include the term ‘cross-level.’ [KBR] Ex. 1, Booth Decl. ¶ 6.
While there are some task order statements of work that discuss the concept of trying to fill needs
through existing stock rather than making a purchase, there are many task order statements of work
that do not mention this at all. Id. at ¶¶ 6-7.; [KBR] Ex. 26, Branch Rep. at 36 (‘[S]everal of the
smaller task orders did not contain the terms related to cross-leveling at all, including [task orders]
130 (US Embassy Baghdad, Iraq), 138 and 161 (Afghanistan and Iraq), and 131
(Kuwait/Afghanistan/Iraq)’. Further, the language in the task order statements of work relating to
cross-leveling changed over time and among different task order statements of work. [KBR] Ex. 1,
Booth Decl. ¶ 6.”

Relators’ Response to KBR SOF 26.

       The statement that “there are some task order statements of work that discuss the concept

of trying to fill need through existing stock rather than making a purchase” is disputed and material.

The remainder of this statement of fact is disputed and immaterial. Whether task order statements

of work contain the term “cross-leveling,” or whether “language in the task order statements of

work relating to cross-leveling changed over time and among different statements of work” do not

“bear directly on the legal issue raised by the motion.” See Local Civil Rule 7.1(D)(1)(b). KBR’s

motion concerns the elements of falsity and scienter and whether the statements of work contain

the term “cross-leveling,” or had language regarding cross-leveling that changed over time, do not

“bear directly” on those issues. Irrespective of whether the statements of work contain the term

“cross-leveling” or changed over time with respect to cross-leveling, KBR was required under

LOGCAP III to check to see if it had a particular material on hand and available before ordering

more. See SOF ¶¶ 14-23. Indeed, KBR’s own experts concede that KBR had a contractual

obligation to check for such availability, using, at a minimum, “best efforts” to do so. Ex. 104

(Expert Report of E. Branch) at 8 (“LOGCAP III required KBRSI to make its ‘best efforts’ to

perform its obligated work, which included its obligation to exercise due diligence in verifying

that required items could not be satisfied from existing, available stock.”). Further, it is immaterial

that any “task order statements of work [] do not mention [cross-leveling] at all,” since some task



                                                -135-
orders have nothing to do with supply or inventory management. See, e.g., Ex. 84 (KBR Response

to Interrogatory Number 4) (“KBR objects to this Interrogatory as overly broad and burdensome

to the extent that it requests information about Task Orders during the Relevant Time Period that

do not relate to the issues in this case, in that they did not require procurement of property or

materials that would have been subject to transfer, cross-leveling, or cross-utilization in theater.”)

(emphasis added). Further, the two main task orders under which KBR completed the great bulk

of work under LOGCAP III both contain standards for evaluating KBR’s cross-leveling

performance, and specifically that KBR cross-level “to the maximum extent possible.” KBR Ex. 6

(Apr. 22, 2008 Task Order 139 SOW Change 6) at ‘5609 (“3.1.1 The contractor shall adhere to

the requirement priorities listed in TABLE 3.1.1. to the maximum extent possible. For

purchases that cannot be obtained through cross leveling or from the Host County sources, the

contractor shall make maximum use of the Federal Supply System (FSS). [TABLE 3.1.1.]

REQUIREMENTS PRIORITIES 1. USG military unit, organic, green suit 2. Cross level

within LOGCAP Task Order 3. Other Task Orders within LOGCAP 4. Host County sources

5. FSS 6. Commercial.”) (emphasis in original); KBR Ex. 7 (Aug. 25, 2008 Task Order 159 SOW,

KBR-HOW-0039632-9782) at ‘641 (same, without emphasis).




                                                -136-
KBR SOF 43. “DCMA regularly audited KBR’s property management system through PMSAs
and PCSAs. [KBR] Ex. 16, DOD Property Manual at 3-16 through 3-17, 4-10 to 4-23; [KBR] Ex.
33, Vollmecke Dep. (Oct. 23, 2020) at 54:4-22.”

Relators’ Response to KBR SOF 43.

       The statement of fact is immaterial. The PMSAs and PCSAs do not “bear directly on the

legal issue raised by the motion.” See Local Civil Rule 7.1(D)(1)(b). KBR’s motion concerns the

elements of falsity and scienter. Whether or not PMSAs or PCSAs assessed KBR’s compliance

with the property functions of the FAR do not “bear directly” on the issues of falsity or scienter

raised by KBR’s motion. Irrespective of such PMCAs or PCSAs, KBR knowingly submitted

claims for payment that were false, particularly insofar as KBR systemically failed to cross-level,

including bypassing the cross-leveling process half the time and manipulating inventory to

artificially decrease items available to cross-level.




                                                -137-
KBR SOF 44. “The DOD Property Manual used by DCMA to audit KBR during the relevant time
period does not contain or define the term ‘cross-leveling,’ nor do similar documents used by
DCMA at the time Dr. Goetz issued his report (the current DOD Contract Property Guidebook and
the DCMA Guidebook for Contract Property). [KBR] Ex. 24, Goetz Rep. at 23; [KBR] Ex. 16,
DOD Property Manual; [KBR] Ex. 45, Guidebook for Contract Prop. Admin., DOD (Dec. 2014);
[KBR] Ex. 46, DCMA Guidebook for Govt. Prop. Admin., Rev. 1, Def. Contract Mgmt. Agency
(Oct. 2020); [KBR] Ex. 47, DCMA Guidebook for Govt. Prop. Admin., Rev. 2, Def. Contract
Mgmt. Agency (Aug. 2022).”


Relators’ Response to KBR SOF 44.

       The statement is immaterial. The “DOD Property Manual” is irrelevant to inventory

management; instead, it pertains to property management. Ex. 97 (Rebuttal Report of M. Rudolph)

at 18-19 (“Mr. Goetz relies solely on what he misrepresents and mistates as the ‘DoD Property

Manual.’ It is actually titled: ‘DoD Manual for Performance of Contract Property Administration.’

It does not govern DoD inventory management. It only addresses contract ‘property

administration,’ not the significant inventory management that LOGCAP III required.”) Thus, the

DOD Property Manual does not “bear directly on the legal issue raised by the motion.” See Local

Civil Rule 7.1(D)(1)(b). KBR’s motion concerns the elements of falsity and scienter. Whether the

DOD Property Manual contains the term “cross-leveling” does not “bear directly” on the issues of

falsity or scienter raised by KBR’s motion.

       The statement of fact is disputed. Contrary to KBR’s assertion, multiple DCMA documents

used “at the time” of LOGCAP III dealt with cross-leveling. For instance, before purchasing

materials for use on the LOGCAP III contract, KBR was required to obtain approval from the

ACO if the purchase would exceed a minimum dollar threshold. Amendment P00015 to Contract

DAAA09-02-D-0007, dated January 31, 2006, DCAA-HOWARD-00004057, -58 (“For the

purpose of purchasing supplies/non-durable goods, the Contractor shall obtain approval from the

on-site ACO/COR for each line item on the material requisition exceeding the threshold of

$25,000.00 on either a unit or cumulative effort.”); Deposition Exhibit 353 (July 10, 2007 DCMA


                                              -138-
Memorandum) at ‘658 (same). While the LOGCAP III contract set baseline thresholds for

approval of MRs, “individual Task Orders [could] require more stringent approval thresholds.”

Deposition Exhibit 353 (July 10, 2007 DCMA Memorandum) at ‘659.

       To obtain approval from the ACO, KBR was required to submit its proposed materials

requisition (“MR”) to the ACO and certify that it had attempted to fill the requisition through

cross-leveling. McNamara Dep. 416:10–20. The MR (also known as a Purchase Requisition, or

“PR”) specified, among other things, the items that KBR intended to purchase, their quantities,

unit price, and total amount. See, e.g., Deposition Exhibit 77 (sample Purchase Requisition). KBR

submitted the MRs together with a cross-leveling certification, which was “always part of the

contract.” McNamara Dep. 421:3–11. In the certifications, KBR was required to attest it had

“checked for theater-wide redistribution under cross-leveling process.” McNamara Dep. 413:17–

414:18; Deposition Exhibit 77 (sample Purchase Requisition) at 3. The certification was a

requirement for KBR to purchase the property in question. McNamara Dep. 414:19–415:6.

       KBR additionally certified that it had attempted to fill MRs through cross-leveling via a

“Commercial Purchase Justification,” which KBR was contractually required to prepare for all

MRs that included a commercial item. Deposition Exhibit 126 (November 26, 2008 DCMA

Memorandum) at ‘903–04; Haught Dep. 58:5-13. The Commercial Purchase Justification required

KBR to represent that “Local Cross Level, DMC, and Theatre Inventory was checked” for the

items KBR in the requisition. Deposition Exhibit 126 (November 26, 2008 DCMA Memorandum)

at ‘905. Making clear the Government’s expectations, the Commercial Purchase Justification

advised KBR that “[t]he purpose of this form is to follow the priorities as listed in the SOW, and

show due diligence in verifying that items cannot be filled through existing stocks available.” Id.

The Government required KBR to include the Commercial Purchase Justification “in all




                                              -139-
MR packets provided to the Administrative Contracting Officer (ACO) for approval.” Id. at ‘903;

KBR-HOW-8467960–75 (reflecting ACO approval of MR with Commercial Purchase

Justification).

        Further, before a site declared an item of inventory to be unnecessary and returned it to the

Government, KBR had to perform a check and verify that it was not needed elsewhere in the

theater. See, e.g., McNamara Dep. 73:22-74:10.

        The process of returning unneeded, excess inventory to the Government was called the

Plant Clearance Automated Reutilization Screening System, or “PCARSS.” Ex. 127 (Hippert

Dep.) 156:6-24. “The intent of the PCARSS process is to demonstrate that all reasonable steps

possible have been taken to ensure that all of the items being sent to the PCARSS process have no

reaming use on the LOGCAP III project, that KBR has done everything possible to maximize the

usage of these items[.]” Indeed, beginning in 2009, when returning items declared as excess to the

Government, KBR certified to the Government that “The attached list of item(s) have been

screened for cross level requirements throughout the theater of operation. At this time, there are

no foreseeable requirements in support of the current mission.” Ex. 45 (PCARSS Form) at ‘4258.

In other words, when KBR sent items into PCARSS, it was saying to the Government that “we no

longer had a need for it[.]” KBR 30(b)(6) (Lust) (Sept. 29, 2021) Dep. 88:25-89:17.




                                               -140-
IV.    UNDISPUTED IMMATERIAL FACTS

       The following facts from KBR’s SOF are undisputed, but are immaterial for the following

reasons.

KBR SOF 19. “DCMA evaluated the adequacy of KBR’s property management system through
Property Management Systems Analyses (‘PMSAs’) and Property Control Systems Analyses
(‘PCSAs’) performed at KBR sites in theater and at KBR corporate headquarters. [KBR] Ex. 24,
Goetz Rep. at 16-17; [KBR] Ex. 33, Vollmecke Dep. (Oct. 23, 2020) at 24:11-19; [KBR] Ex. 35,
McNamara Dep. (Nov. 13, 2019) at 48:1-50:11l, 51:16-70:20.”

Relators’ Response to KBR SOF 19.

       The statement of fact is immaterial. Whether or not DCMA evaluated KBR’s property

management system through Property Management Systems Analyses (“PMSAs”) or Property

Control Systems Analyses (“PCSAs”) does not “bear directly on the legal issue raised by the

motion.” See Local Civil Rule 7.1(D)(1)(b). KBR’s motion concerns the elements of falsity and

scienter and whether or not DCMA evaluated KBR’s property management system through

PMSAs or PCSAs does not “bear directly” on those issues. Irrespective of whether the DCMA

performed any such evaluations of KBR’s property management system, KBR knowingly

submitted claims for payment that were false, particularly insofar as KBR systemically failed to

cross-level, including bypassing the cross-leveling process half the time and manipulating

inventory to artificially decrease items available to cross-level. See, e.g., Ex. 66 (Feb. 28, 2010

internal KBR email from KBR’s Head of the DMC, C. O’Muirgheasa) at ‘4132 (“In 2009, 65% of

Requisitions] were put into MATCON, representing 51% of the dollars. So, 35% of the

Req[uisitions] bypassed us [KBR’s DMC], representing almost 50% of the dollars.”)

(emphasis added); Ex. 67 (KBR data) at ‘4133 (quantifying that in 2007, out of 65,372 Material

Requisitions valued at $1,237,891,670.75, a total of 52,488 (80.3%) of those Material Requisitions

valued at $949,886,655.51 (76.7% of the dollars) were not checked for cross-leveling; in 2008, out

of 90,025 Material Requisitions valued at $1,171,737,717.95, a total of 49,683 (55.2%) of those


                                              -141-
Material Requisitions valued at $647,308,265.68 (55.2% of the dollars) were not checked for

cross-leveling; and in 2009, out of 65,526 Material Requisitions valued at $ 812,554,107.70, a

total of 23,124 (35.3%) of the Material Requisitions valued at $401,484,184.06 (49.4% of the

dollars) did not go to the DMC for the cross-leveling check); Ex. 3 (Internal KBR email containing

Dec. 29, 2008 email from KBR’s Head of the DMC, B. Simmons) at ‘4448 (“The three major

factors impeding the DMC’s ability to Cross Level under utilized materials are as follows:

1) Categorization of ASL/Inventory Lines (i.e. reflecting [STK] when demands indicates [SP] or

[NS] category)[;] 2) Unresponsive Sites/Projects to Tasking leading to Denials[;] 3) Sites/Projects

resistant to place Material Requisitions in MATCON Status; consequently, sending the Majority

(if not All) directly through Procurement Channels.”); Ex. 81 (Mar. 20, 2010 email from KBR

Deputy Program manager – Support, R. Kaye, to KBR Deputy Principal Program Manager,

Larry Lust) at ‘9112 (“Last year, fully 35% of all requisitions (with an extended value of

$401M[illion]) by-passed the cross-leveling check. As we start to turn over more and more

materials to GOI [Government of Iraq], we are facing an increasing risk of being Formed 1 for

buying items we just declared excess and gave away. … [A]s of yesterday, we [had] 43,801

lines across Iraq being carried as STK that have 2 or fewer demands in the past 360 days.

We did a trial run on three sites and determined that 80% of their STK lines had RO [Requisition

Objectives] and ROP [Reorder Points] set above what it should be based upon demand history. …

We’ve got $71M[illion] in reserved stock of which less than 50% is legitimate. The rest is

against cancelled ACLs, completed ACLs, or just plain ‘hidden’ from cross-leveling. TREC

storerooms is going to be my biggest challenge….we’ve currently got $331M[illion] in them

as of yesterday. I’ve told Guy [LaBoa, KBR Principal Program Manager] this is the Mother of

all Forms 1.”) (emphasis added); Ex. 82 (Apr. 1, 2010 internal KBR email from KBR Deputy




                                              -142-
Program Manager – Support, R. Kaye, to KBR Principal program Manager, G. LaBoa) at ‘7417

(“The deeper I dig, the more uncomfortable I become that we really do know what’s going on.

We’ve got continuing issues with RO [Requisition Objective], ROP [Reorder Point], Stk vs

Non-Stk, reservations and TRECs.”) (emphasis added); Ex. 7 (June 2009 email from KBR

employee) at ECF Page 4 (“He said they are placing everything on reserve so DMC won’t ask

for it CL [cross-level].”) (emphasis added); Ex. 8 (Internal KBR email containing Feb. 25, 2010

email from KBR’s Deputy Program Manager – Support, R. Kaye) at ‘0062 (“We are purchasing

$5 M per day when we’ve got $1.2 B i[n] excess on hand. At some point, the DCAA is going to

put KBR out of business if we keep doing this.”); Ex. 96 (Expert Report of G. Gaukler) at 5

(concluding that on 73,530 separate purchase orders, KBR had purchased $341 million of excess

inventory that it never should have purchased if KBR had followed its own procedures and

standards regarding cross-leveling); see also, e.g., SOF ¶¶ 52-86.




                                              -143-
KBR SOF 21. “At the request of the Office of Undersecretary of Defense Industrial Operations,
KBR expert Dr. Douglas N. Goetz, Certified Professional Property Manager (CPPM), Consulting
Fellow (CF), chaired a committee that wrote the DOD Property Manual that DCMA auditors used
in conducting property audits during the relevant time period. [KBR] Ex. 24, Goetz Rep. at 4-5.
Dr. Goetz also served as special counsel in the rewrite effort for the Government property clause
that resulted in the issuance of FAR 52.245-1 (2007), and trained Government employees in the
oversight of contractors’ property management systems. Id.

Relators’ Response to KBR SOF 21.

       This statement of fact is immaterial.

       The purported experience, certifications, and positions of KBR’s proffered expert,

Dr. Goetz, does not “bear directly on the legal issue raised by the motion.” See Local Civil

Rule 7.1(D)(1)(b). KBR’s motion concerns the elements of falsity and scienter and neither

Dr. Goetz’s experience, nor his certifications, nor his positions “bear directly” on those issues.

Irrespective of Dr. Goetz’s experience, certifications, or positions, KBR knowingly submitted

claims for payment that were false, particularly insofar as KBR systemically failed to cross-level,

including bypassing the cross-leveling process half the time and manipulating inventory to

artificially decrease items available to cross-level. See, e.g., Ex. 66 (Feb. 28, 2010 internal KBR

email from KBR’s Head of the DMC, C. O’Muirgheasa) at ‘4132 (“In 2009, 65% of Requisitions]

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bypassed us [KBR’s DMC], representing almost 50% of the dollars.”) (emphasis added);

Ex. 67 (KBR data) at ‘4133 (quantifying that in 2007, out of 65,372 Material Requisitions valued

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$949,886,655.51 (76.7% of the dollars) were not checked for cross-leveling; in 2008, out of 90,025

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                                               -144-
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the DMC’s ability to Cross Level under utilized materials are as follows: 1) Categorization of

ASL/Inventory Lines (i.e. reflecting [STK] when demands indicates [SP] or [NS] category)[;]

2) Unresponsive Sites/Projects to Tasking leading to Denials[;] 3) Sites/Projects resistant to place

Material Requisitions in MATCON Status; consequently, sending the Majority (if not All) directly

through Procurement Channels.”); Ex. 81 (Mar. 20, 2010 email from KBR Deputy Program

manager – Support, R. Kaye, to KBR Deputy Principal Program Manager, Larry Lust) at ‘9112

(“Last year, fully 35% of all requisitions (with an extended value of $401M[illion]) by-passed

the cross-leveling check. As we start to turn over more and more materials to GOI [Government

of Iraq], we are facing an increasing risk of being Formed 1 for buying items we just declared

excess and gave away. … [A]s of yesterday, we [had] 43,801 lines across Iraq being carried as

STK that have 2 or fewer demands in the past 360 days. We did a trial run on three sites and

determined that 80% of their STK lines had RO [Requisition Objectives] and ROP [Reorder

Points] set above what it should be based upon demand history. … We’ve got $71M[illion] in

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Guy [LaBoa, KBR Principal Program Manager] this is the Mother of all Forms 1.”) (emphasis

added); Ex. 82 (Apr. 1, 2010 internal KBR email from KBR Deputy Program Manager – Support,

R. Kaye, to KBR Principal program Manager, G. LaBoa) at ‘7417 (“The deeper I dig, the more

uncomfortable I become that we really do know what’s going on. We’ve got continuing issues

with RO [Requisition Objective], ROP [Reorder Point], Stk vs Non-Stk, reservations and




                                               -145-
TRECs.”) (emphasis added); Ex. 7 (June 2009 email from KBR employee) at ECF Page 4 (“He

said they are placing everything on reserve so DMC won’t ask for it CL [cross-level].”)

(emphasis added); Ex. 8 (Internal KBR email containing Feb. 25, 2010 email from KBR’s Deputy

Program Manager – Support, R. Kaye) at ‘0062 (“We are purchasing $5 M per day when we’ve

got $1.2 B i[n] excess on hand. At some point, the DCAA is going to put KBR out of business if

we keep doing this.”); Ex. 96 (Expert Report of G. Gaukler) at 5 (concluding that on 73,530

separate purchase orders, KBR had purchased $341 million of excess inventory that it never should

have purchased if KBR had followed its own procedures and standards regarding cross-leveling);

see also, e.g., SOF ¶¶ 52-86.

       Furthermore, Dr. Goetz has never been responsible for managing inventory and therefore

lacks personal or expert knowledge of, and would have no basis to write a manual governing, the

inventory management function. Ex. 125 (Goetz Dep.) 7:18-8:3 (“Q. Have you ever been

responsible for directly managing inventory? A. No, sir. Q. You understand that one of KBR’s

functions under LOGCAP III, which is the subject of this lawsuit, is KBR’s responsibility to

manage inventory; correct? A. Yes, sir.”); see also id. 205:12-206:6 (“Q. Does this memorandum

affect your view as to whether or not the DCMA found it material as to whether KBR was cross-

leveling items before purchasing them? A. . . . [T]his is directed to the ACO. I have no

responsibility or concerns or control over ACOs. And as I explained a number of times now, cross-

leveling was not in the purview of a property administrator. So I would have no knowledge of

what the ACO did to address this review. And I’m just looking at it. It’s talking about the pricing

reference guide. Not in my wheelhouse there. ACOs will estimate the estimated price, not in my

wheelhouse, sir.”). Indeed, none of KBR’s proffered experts has any direct experience as an

inventory manager. See Ex. 97 (Expert Rebuttal Report of M. Rudolph) at 2 (“By their own




                                              -146-
admission, none of KBR’s four expert witnesses (Mr. Brennan, Mr. Goetz, LTG Vines,

Mr. Branch) ha[s] ever been responsible for inventory management, none of them have any

relevant experience in inventory management, nor do any of them have any credible ability to

opine on the decision processes for analyzing inventory posture and the choice to cross-level or

purchase new.”); Ex. 133 (Brennan Dep.) 46:9-16 (“Q. And to be clear, you are not a logistician;

is that correct? A. That is correct. Q. And you’ve never been responsible for managing inventory

during the war time mission or even during peace time; correct? A That’s correct.”); Ex. 125(Goetz

Dep.) 7:18-21 (“Q. Have you ever been responsible for directly managing inventory? A. No, sir.”);

Ex. 145(Vines Dep.) 8:13-18 (“Q. General Vines, have you ever been directly responsible for

managing inventory of government property? A. I’ve had inventory managers under my command.

But I have not personally managed it.”); Ex. 121 (Branch Dep.) 50:4-7 (“Q. . . . Have you had

experience managing inventory? A. I would -- I would say ‘no’ to that question.”).




                                              -147-
KBR SOF 23. “The FAR Government property clause does not contain or define the term “cross-
leveling.” [KBR] Ex. 25, Goetz Dep. (May 19, 2022) at 8:14-9:18, 10:13-22, 77:11-19; [KBR]
Ex. 34, Larkin Dep. (Nov. 5, 2020) at 104:1-105:8.

Relators’ Response to KBR SOF 23.

       The statement of fact is immaterial. Whether the FAR Government property clause

contains or defines the term “cross-leveling” does not “bear directly on the legal issue raised by

the motion.” See Local Civil Rule 7.1(D)(1)(b). KBR’s motion concerns the elements of falsity

and scienter and whether the FAR Government property clause contains or defines the term “cross-

leveling” does not “bear directly” on those issues. Irrespective of whether the FAR Government

property clause contains or defines the term “cross-leveling,” KBR was required under

LOGCAP III to check to see if it had a particular material on hand and available before ordering

more. Under the LOGCAP III contract, the supplies and materials KBR purchased had to be

(1) “necessary for performance” of the contract, (2) cross-leveled to the “maximum extent

possible” per the contract’s Statements of Work (as KBR concedes, KBR Br. at 2), and in the case

of larger purchases, (3) expressly certified to have been cross-leveled. These additional

requirements may be viewed either as providing more specific meaning to “best efforts” or as the

variety of considerations and circumstances used to determine reasonableness. Taken together or

individually, these requirements objectively require KBR to check for available material and use

it before buying more, and to only buy supplies and materials necessary for performance under the

contract, as both KBR and the Government agreed. Ex. 138 (McNamara Dep.) 279:7-280:2

(“Q. . . . [D]id you have a view on . . . whether KBR was appropriately cross-leveling property in

the 2007 to 2012 time period? [Objection.] A. . . . They needed to have been doing it . . . because

it was part of . . . their property procedure. It was part of what was required of them as a prudent

contractor.”), 590:13-19 (“If you are purchasing something and you know that you have a large

operation, then as a prudent contractor, you would be required to screen through your system to


                                               -148-
see if there is any availability of . . . these items or property that you’re currently trying to buy . . .

.”), 597:20-598:9 (“Q. Do you know . . . when KBR was required to certify that it had attempted

to cross-level before making purchase? A. There was a modification to the contract. I don’t

remember exactly when. It was sometime after 2006. I don’t know if it was 2007 or 2008. . . . [I]t

is part of the contract.”); Ex. 136 (Lust Dep.) 30:13-17 (“Q. . . . [W]ere you aware that the

obligation to cross-level was a contractual requirement in KBR’s contract with the United States

Government? [Objection.] A. Yes.”); Ex. 132 (KBR 30(b)(6) (Lust) (Sept. 28, 2021) Dep.) 38:22-

39:8 (“Q. . . . Any other generally applicable instructions from the U.S. Government concerning

KBR cross leveling between task orders other than those that you just referenced? [Objection.]

A. . . . Mary Wade, who was the contract administrator for the LOGCAP III contract in Houston,

had said that we were to make maximum use of cross leveling where possible. She understood you

couldn’t do it all the time but where possible.”); Ex. 135 (LaBoa Dep.) 70:24-71:21 (agreeing

cross-leveling was part of KBR’s property control procedures); Ex. 127 (Hippert Dep.) 162:24-

163:20 (agreeing his “view at the time” was that cross-leveling was expected); Ex. 134 (King Dep.)

16:21-17:2 (“Q. . . . With respect to KBR’s work on LOGCAP-III, was KBR supposed to try to

cross-level materials and property before purchasing new materials and property? [Objection.]

A. Yes.”); Ex. 142 (Rock Dep.) 520:17-22 (“Q. And it was KBR’s obligation under LOGCAP III

to cross level property [and materials]; is that right, sir? [Objection.] A. I think . . . where possible,

yes.”); Ex. 141 (Ritondale Dep.) 105:22-106:5 (“Q. . . . [I]s it your understanding that KBR was

supposed to try to cross-level property and materials at some point in the procurement process?

[Objection.] A. My understanding is at some point in time the cross-leveling was something that

was supposed to occur.”); Ex. 95 (LOGCAP III Base Contract and Statement of Work) at ‘0006

(“For Cost-Reimbursable Contract Line Item Numbers (CLINs) only supplies and materials




                                                  -149-
necessary for performance under this contract will be reimbursed as stated in each individual Task

Order’s Scope of Work (SOW) and Federal Acquisition Regulation (FAR) 31.205-26.”), ‘0037-

38 (incorporating FAR 52.216-7, FAR 52.232-20, FAR 52.232-22); FAR 52.216-7; FAR 52.232-

20; FAR 52.232-22; Ex. 48 (Task Order 139 Statement Of Work Change 6) at ‘5609

(“3.0 CONTRACTOR ACQUIRED OR GOVERNMENT FURNISHED EQUIPMENT AND

PROPERTY. Prior to procurement of equipment to support all efforts described in this task order,

the contractor shall exercise due diligence in verifying and certify that the required items cannot

be satisfied from existing stock available from other sites covered by this task order. This

certification shall be provided to the [government] ACO [Administrative Contracting

Officer]. . . . 3.1.1. The Contractor shall adhere to the requirement priorities listed in TABLE

3.1.1. to the maximum extent possible. For purchases that cannot be obtained through cross

leveling or from the Host Country sources, the contractor shall make maximum use of the Federal

Supply System (FSS). REQUIREMENTS PRIORITIES 1 USG military unit, organic, green

suit[;] 2 Cross level within LOGCAP Task Order[;] 3 Other Task Orders within LOGCAP[;]

4 Host Country sources[;] 5 FSS[;] 6 Commercial.”) (emphasis in original); Ex. 41 (Task Order

159 Statement Of Work) at ‘5488-89 (same, without emphasis); Ex. 101 (Nov. 2, 2007 DCMA

Letter of Technical Directive to KBR) at ‘6706 (“All equipment MRs [material requisitions] shall

be initially submitted to the site ACO. . . . All equipment MRs [material requisitions] shall contain

the following information: . . . (3) Has KBR checked for theater-wide re-distribution under the

cross-leveling process?”); E Ex. 24 (July 1, 2009 KBR Technical Direction Bulletin re: PCARSS)

at ‘4270 (“KBR has a responsibility to cross level before purchase.”); Ex. 34 (containing June 4,

2011 email from KBR’s Head of the DMC, C. O’Muirgheasa) at ‘3826 (“It is a contractual

requirement on LOGCAP III to cross level items in order to reduce spending, eliminate excess,




                                               -150-
and, nowadays just as importantly, get available material to other[] sites ASAP.”); Ex. 44 (June 30,

2011 internal KBR email from T. Hippert to M. Wade) at ‘0608 (“LOGCAP III . . . is reporting

cost avoidance on material that is excess in one camp and moved to another, we call that cross-

leveling. These slides are being briefed to the Government and I don’t think it’s a true cost

avoidance. My concern is that the government paid for the material and we are expected to be good

stewards and properly manage the inventory. So c[ross]-level is expected.”); Ex. 71 (July 2, 2009

Analysis by KBR’s Head of the DMC) at ‘1369 (“Our mission is to cross level materials from

locations where there is redistributable material to locations where there is a need for those

materials.”); Ex. 94 (Expert Report of M. Rudolph) at 19 (“KBR was obligated to cross level

property and materials on LOGCAP III.”) (citing sources); see also Ex. 104 (Expert Report of

E. Branch) at 8 (“LOGCAP III required KBRSI to make its ‘best efforts’ to perform its obligated

work, which included its obligation to exercise due diligence in verifying that required items could

not be satisfied from existing, available stock.”); KBR SOF 46 (U.S. Army Audit Agency report:

“LOGCAP contract requires the contractor to fill requirements with existing stock.”); Ex. 121

(Branch Dep.) at 70:12-71:10 (KBR’s proffered expert defining standard as “the good faith

maximum effort that could be given in any stated context.”).

       Furthermore, KBR developed and was required to follow specific procedures for acquiring

and managing inventory, including cross-leveling. KBR understood its contractual requirement to

cross-level supplies, incorporating the requirement into a Government-approved set of Property

Control Procedures, and into detailed “Desktop Operating Procedures” and “Technical Directives”

for its personnel. Ex. 1 (KBR’s Government-Approved Property Control Procedures, dated

Sept. 21, 2006) at ‘5992 (“All property, whether government furnished or KBR acquired, must be:

. . . Reasonable quantities, commensurate with the work to be accomplished.”), at ‘5993




                                               -151-
(“Consuming: Quantities of material/supplies produced or procured for incorporation into an end

item or otherwise consumed will . . . Be reasonable when compared to the work/job at hand and

Material Requisitions . . . Be promptly returned to stock and recorded when determined to be

excess.”), at ‘5994 (“Government property will be disposed of by: . . . Screening items against

existing and anticipated needs . . . Promptly reporting excess items . . . .Receiving property

authority from the Government . . . prior to disposal.”), at ‘6015 (“Requisitions for all property,

whether government furnished or KBR acquired, must: . . . Be contractually authorized and

necessary for performance of the prime contract . . . Be for the quantities required for said

performance . . . .”), at ‘6017-021 (“Warehouse personnel will first attempt to fill requisitions from

stock on-hand. . . . If suitable property is available for issue, warehouse personnel will [take

specific steps] . . . Property may not be available, or there may not be sufficient stock on-hand to

fill the entire quantity. When this happens, Material Control takes action to obtain the property for

the requester. . . . Material Control – Processing Requisitions for cross leveling or Purchasing.

. . . Upon return Materials Control will first check the theater inventory to determine if the

requisition can be filled from existing stock. If suitable material is located, materials control will

forward a copy of the approved Materials Requisitions. . . . If suitable material/equipment can not

be located in the Theater Inventory, Material Control processes the approved MR [material

requisition], establishes a manual record file by MR [material requisition] number and forwards to

Procurement for purchase action.” ); Ex. 89 (KBR’s Government-Approved Property Control

Procedures, dated July 15, 2008) at ‘6168 (“All property, whether government furnished or KBR

acquired, must be: . . . Reasonable quantities, commensurate with the work to be accomplished.”),

at ‘6169 (“Consuming: Quantities of material/supplies produced or procured for incorporation into

an end item or otherwise consumed will be: . . . reasonable when compared to the work/job at hand




                                                -152-
and Material Requisitions. . . . promptly returned to stock and recorded when determined to be

excess.”), at ‘6170 (“Government property will be disposed of by: . . . Screening items against

existing and anticipated needs. . . . Promptly reporting excess items. . . . Receiving property

authority from the Government . . . prior to disposal.”), at ‘6227 (“Requisitions for all property,

whether government furnished or KBR acquired, must: . . . Be contractually authorized and

necessary for performance of the prime contract; . . . Be for the quantities required for said

performance . . . .”), at ‘6230-32 (“Material Control personnel will first attempt to fill the

requisitions from stock on-hand and will also check the Automated Inventory Control System for

Theater wide availability of the item(s) being requested. . . . If suitable property is available for

issue, from on hand stock, warehouse personnel will [take specific steps]. . . . If suitable property

is found at another site, the Material Manager or designee will . . . Verify via the owning Site

Material Manager that the requested item(s) are excess to that site’s need and is available for cross

utilization [and take specific steps] . . . . Property may not be available, or there may not be

sufficient stock on-hand to fill the entire quantity. When this happens, Material Control takes

action to obtain the property for the requester. . . . All requisitions must be coordinated with cost

control and approvals obtained from project management, government LOTD’S, and contract

modifications, before submitting for procurement action. . . . Upon return Materials Control

processes the approved MR [material requisitions], establish a manual record file by MR [material

requisition] number and forwards to Procurement for purchase action.”), at ‘6313 (“Consumption

of Government property shall be reasonable when compared to requirements. . . . Quantities of

property produced or procured for incorporation into an end item or otherwise consumed will . . .

Be reasonable when compared to Material Requisitions. On hand stocks in the Materials

warehouses will be maintained in reasonable quantities to support contractual requirements and in




                                               -153-
accordance with specific project policies or replenishment lead time. Stock levels will be based on

equipment density, population to be supported, recurring demands or the history of a previous

project with like property. . . . Unused Materials from trades on hand stock, special projects,

ACL’s LOTD’s etc must be returned to the Material Warehouse within a reasonable period of time

after the work is completed or no demands. Material Control department will ensure returned

unused materials are posted to the automated inventory system with appropriate documentation

within 48 hrs. Materials determined to be excess must be disposed of in accordance with

Disposition Tab.”); Ex. 103 (July 2006 KBR “Desktop Procedures: Redistribution of Government

Property and Materiel to include FOB/Base Closures”) at ‘9114 (“After a Materiel Requisition has

been approved but prior to being turned over to procurement for purchase, Materiel Control will

check the Theater Wide inventory and the Redistribution cell to determine if a requisition can be

filled from existing stock. Every effort to fill requisitions within the theater shall be taken utilizing

inventories on the KBR portal. If items are found within these inventories every reasonable effort

shall be taken to redistribute these items.”) (Emphasis added); Ex. 132 (KBR 30(b)(6) (Lust)

(Sept. 28, 2021) Dep.) 34:3-14 (“Q. . . . [C]an you describe what the instructions were in that

particular desktop operating procedure you just referenced? A. . . . I can sum it up that every effort

to fill requisition[s] within the theater shall be taken to utilize the inventory that is in KBR’s

portal.”) (Emphasis added); Ex. 90 (KBR “Desktop Procedures: Redistribution of Government

Property and Materiel to include FOB/Base Closures,” revised June 2007) at ‘0992 (“Cross Level

Requisitioning Process. Upon receipt of a material requisition Materiel Control will check the

theater-wide inventory through STEAM [KBR’s inventory management program, also referred to

as MAXIMO] to determine if items can be filled from excess stock. Found items will be cross

leveled through the procedures in 5.1 and 5.2. “) (Emphasis in original); Ex. 132 (KBR 30(b)(6)




                                                 -154-
(Lust) (Sept. 28, 2021) Dep.) 34:3-14 (“Q. . . . [C]an you describe what the instructions were in

that particular desktop operating procedure you just referenced? A. . . . I can sum it up that every

effort to fill requisition[s] within the theater shall be taken to utilize the inventory that is in KBR’s

portal. . . . And then in June of ’07, we did a revision which added STEAM – MAXIMO/STEAM

to this process.”); Ex. 91 (“KBR Distribution of Government Property DESKTOP OPERATING

PROCEDURE,” dated Aug. 23, 2008) at ‘0251 (“The DMC (Distribution Management Center)

will be responsible for screening all requests for procurement action for possible Cross Level

support. . . . All requisitions for procurement action will flow through the DMC and be screened

for availability within theater prior to purchase.”) (Emphasis in original), at ‘0256 (“If a site

foresees a need for an item(s), it is contractually obligated to attempt to obtain the items through

cross utilization within its project (group of sites).”).

        Indeed, KBR’s own experts concede that KBR had a contractual obligation to check for

such availability, using, at a minimum, “best efforts” to do so. Ex. 104 (Expert Report of

E. Branch) at 8 (“LOGCAP III required KBRSI to make its ‘best efforts’ to perform its obligated

work, which included its obligation to exercise due diligence in verifying that required items could

not be satisfied from existing, available stock.”).




                                                 -155-
KBR SOF 24. “The Defense Federal Acquisition Regulation Supplement (‘DFARS’), which is
the DOD’s regulation implementing the FAR, does not contain or define the term ‘cross-leveling.’
Ex. 24, Goetz Rep. at 23; Ex. 25, Goetz Dep. (May 19, 2022) at 77:11-19.

Relators’ Response to KBR SOF 24.

        The statement of fact is immaterial. Whether the Defense Federal Acquisition Regulation

Supplement (“DFARS”) contains or defines the term “cross-leveling” does not “bear directly on

the legal issue raised by the motion.” See Local Civil Rule 7.1(D)(1)(b). KBR’s motion concerns

the elements of falsity and scienter and whether the DFARS contains or defines the term “cross-

leveling” does not “bear directly” on those issues. Irrespective of whether the DFARS contains or

defines the term “cross-leveling,” KBR was required under LOGCAP III to check to see if it had

a particular material on hand and available before ordering more. Under the LOGCAP III contract,

the supplies and materials KBR purchased had to be (1) “necessary for performance” of the

contract, (2) cross-leveled to the “maximum extent possible” per the contract’s Statements of Work

(as KBR concedes, KBR Br. at 2), and in the case of larger purchases, (3) expressly certified to

have been cross-leveled. These additional requirements may be viewed either as providing more

specific meaning to “best efforts” or as the variety of considerations and circumstances used to

determine reasonableness. Taken together or individually, these requirements objectively require

KBR to check for available material and use it before buying more, and to only buy supplies and

materials necessary for performance under the contract, as both KBR and the Government agreed.

Ex. 138 (McNamara Dep.) 279:7-280:2 (“Q. . . . [D]id you have a view on . . . whether KBR was

appropriately cross-leveling property in the 2007 to 2012 time period? [Objection.] A. . . . They

needed to have been doing it . . . because it was part of . . . their property procedure. It was part of

what was required of them as a prudent contractor.”), 590:13-19 (“If you are purchasing something

and you know that you have a large operation, then as a prudent contractor, you would be required

to screen through your system to see if there is any availability of . . . these items or property that


                                                 -156-
you’re currently trying to buy . . . .”), 597:20-598:9 (“Q. Do you know . . . when KBR was required

to certify that it had attempted to cross-level before making purchase? A. There was a modification

to the contract. I don’t remember exactly when. It was sometime after 2006. I don’t know if it was

2007 or 2008. . . . [I]t is part of the contract.”); Ex. 136 (Lust Dep.) 30:13-17 (“Q. . . . [W]ere you

aware that the obligation to cross-level was a contractual requirement in KBR’s contract with the

United States Government? [Objection.] A. Yes.”); Ex. 132 (KBR 30(b)(6) (Lust) (Sept. 28, 2021)

Dep.) 38:22-39:8 (“Q. . . . Any other generally applicable instructions from the U.S. Government

concerning KBR cross leveling between task orders other than those that you just referenced?

[Objection.] A. . . . Mary Wade, who was the contract administrator for the LOGCAP III contract

in Houston, had said that we were to make maximum use of cross leveling where possible. She

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property? [Objection.] A. Yes.”); Ex. 142 (Rock Dep.) 520:17-22 (“Q. And it was KBR’s

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understanding that KBR was supposed to try to cross-level property and materials at some point

in the procurement process? [Objection.] A. My understanding is at some point in time the cross-

leveling was something that was supposed to occur.”); Ex. 95 (LOGCAP III Base Contract and

Statement of Work) at ‘0006 (“For Cost-Reimbursable Contract Line Item Numbers (CLINs) only

supplies and materials necessary for performance under this contract will be reimbursed as stated




                                                -157-
in each individual Task Order’s Scope of Work (SOW) and Federal Acquisition Regulation (FAR)

31.205-26.”), ‘0037-38 (incorporating FAR 52.216-7, FAR 52.232-20, FAR 52.232-22);

FAR 52.216-7; FAR 52.232-20; FAR 52.232-22; Ex. 48 (Task Order 139 Statement Of Work

Change 6) at ‘5609 (“3.0 CONTRACTOR ACQUIRED OR GOVERNMENT FURNISHED

EQUIPMENT AND PROPERTY. Prior to procurement of equipment to support all efforts

described in this task order, the contractor shall exercise due diligence in verifying and certify

that the required items cannot be satisfied from existing stock available from other sites covered

by this task order. This certification shall be provided to the [government] ACO

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requirement priorities listed in TABLE 3.1.1. to the maximum extent possible. For purchases

that cannot be obtained through cross leveling or from the Host Country sources, the contractor

shall make maximum use of the Federal Supply System (FSS). REQUIREMENTS

PRIORITIES 1 USG military unit, organic, green suit[;] 2 Cross level within LOGCAP Task

Order[;] 3 Other Task Orders within LOGCAP[;] 4 Host Country sources[;] 5 FSS[;]

6 Commercial.”) (emphasis in original); Ex. 41 (Task Order 159 Statement Of Work) at ‘5488-

89 (same, without emphasis); Ex. 101 (Nov. 2, 2007 DCMA Letter of Technical Directive to KBR)

at ‘6706 (“All equipment MRs [material requisitions] shall be initially submitted to the site ACO.

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KBR checked for theater-wide re-distribution under the cross-leveling process?”); Ex. 24 (July 1,

2009 KBR Technical Direction Bulletin re: PCARSS) at ‘4270 (“KBR has a responsibility to cross

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C. O’Muirgheasa) at ‘3826 (“It is a contractual requirement on LOGCAP III to cross level items

in order to reduce spending, eliminate excess, and, nowadays just as importantly, get available




                                                -158-
material to other[] sites ASAP.”); Ex. 44 (June 30, 2011 internal KBR email from T. Hippert to

M. Wade) at ‘0608 (“LOGCAP III . . . is reporting cost avoidance on material that is excess in one

camp and moved to another, we call that cross-leveling. These slides are being briefed to the

Government and I don’t think it’s a true cost avoidance. My concern is that the government paid

for the material and we are expected to be good stewards and properly manage the inventory. So

c[ross]-level is expected.”); Ex. 71 (July 2, 2009 Analysis by KBR’s Head of the DMC) at ‘1369

(“Our mission is to cross level materials from locations where there is redistributable material to

locations where there is a need for those materials.”); Ex. 94 (Expert Report of M. Rudolph) at 19

(“KBR was obligated to cross level property and materials on LOGCAP III.”) (citing sources); see

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efforts’ to perform its obligated work, which included its obligation to exercise due diligence in

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(U.S. Army Audit Agency report: “LOGCAP contract requires the contractor to fill requirements

with existing stock.”); Ex. 121 (Branch Dep.) at 70:12-71:10 (KBR’s proffered expert defining

standard as “the good faith maximum effort that could be given in any stated context.”).

       Furthermore, KBR developed and was required to follow specific procedures for acquiring

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Control Procedures, and into detailed “Desktop Operating Procedures” and “Technical Directives”

for its personnel. Ex. 1 (KBR’s Government-Approved Property Control Procedures, dated

Sept. 21, 2006) at ‘5992 (“All property, whether government furnished or KBR acquired, must be:

. . . Reasonable quantities, commensurate with the work to be accomplished.”), at ‘5993

(“Consuming: Quantities of material/supplies produced or procured for incorporation into an end




                                              -159-
item or otherwise consumed will . . . Be reasonable when compared to the work/job at hand and

Material Requisitions . . . Be promptly returned to stock and recorded when determined to be

excess.”), at ‘5994 (“Government property will be disposed of by: . . . Screening items against

existing and anticipated needs . . . Promptly reporting excess items . . . .Receiving property

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fill the entire quantity. When this happens, Material Control takes action to obtain the property for

the requester. . . . Material Control – Processing Requisitions for cross leveling or Purchasing. . .

. Upon return Materials Control will first check the theater inventory to determine if the requisition

can be filled from existing stock. If suitable material is located, materials control will forward a

copy of the approved Materials Requisitions. . . . If suitable material/equipment can not be located

in the Theater Inventory, Material Control processes the approved MR [material requisition],

establishes a manual record file by MR [material requisition] number and forwards to Procurement

for purchase action.” ); Ex. 89 (KBR’s Government-Approved Property Control Procedures, dated

July 15, 2008) at ‘6168 (“All property, whether government furnished or KBR acquired, must be:

. . . Reasonable quantities, commensurate with the work to be accomplished.”), at ‘6169

(“Consuming: Quantities of material/supplies produced or procured for incorporation into an end

item or otherwise consumed will be: . . . reasonable when compared to the work/job at hand and

Material Requisitions. . . . promptly returned to stock and recorded when determined to be




                                                -160-
excess.”), at ‘6170 (“Government property will be disposed of by: . . . Screening items against

existing and anticipated needs. . . . Promptly reporting excess items. . . . Receiving property

authority from the Government . . . prior to disposal.”), at ‘6227 (“Requisitions for all property,

whether government furnished or KBR acquired, must: . . . Be contractually authorized and

necessary for performance of the prime contract; . . . Be for the quantities required for said

performance . . . .”), at ‘6230-32 (“Material Control personnel will first attempt to fill the

requisitions from stock on-hand and will also check the Automated Inventory Control System for

Theater wide availability of the item(s) being requested. . . . If suitable property is available for

issue, from on hand stock, warehouse personnel will [take specific steps]. . . . If suitable property

is found at another site, the Material Manager or designee will . . . Verify via the owning Site

Material Manager that the requested item(s) are excess to that site’s need and is available for cross

utilization [and take specific steps] . . . . Property may not be available, or there may not be

sufficient stock on-hand to fill the entire quantity. When this happens, Material Control takes

action to obtain the property for the requester. . . . All requisitions must be coordinated with cost

control and approvals obtained from project management, government LOTD’S, and contract

modifications, before submitting for procurement action. . . . Upon return Materials Control

processes the approved MR [material requisitions], establish a manual record file by MR [material

requisition] number and forwards to Procurement for purchase action.”), at ‘6313 (“Consumption

of Government property shall be reasonable when compared to requirements. . . . Quantities of

property produced or procured for incorporation into an end item or otherwise consumed will . . .

Be reasonable when compared to Material Requisitions. On hand stocks in the Materials

warehouses will be maintained in reasonable quantities to support contractual requirements and in

accordance with specific project policies or replenishment lead time. Stock levels will be based on




                                               -161-
equipment density, population to be supported, recurring demands or the history of a previous

project with like property. . . . Unused Materials from trades on hand stock, special projects,

ACL’s LOTD’s etc must be returned to the Material Warehouse within a reasonable period of time

after the work is completed or no demands. Material Control department will ensure returned

unused materials are posted to the automated inventory system with appropriate documentation

within 48 hrs. Materials determined to be excess must be disposed of in accordance with

Disposition Tab.”); Ex. 103 (July 2006 KBR “Desktop Procedures: Redistribution of Government

Property and Materiel to include FOB/Base Closures”) at ‘9114 (“After a Materiel Requisition has

been approved but prior to being turned over to procurement for purchase, Materiel Control will

check the Theater Wide inventory and the Redistribution cell to determine if a requisition can be

filled from existing stock. Every effort to fill requisitions within the theater shall be taken utilizing

inventories on the KBR portal. If items are found within these inventories every reasonable effort

shall be taken to redistribute these items.”) (Emphasis added); Ex. 132 (KBR 30(b)(6) (Lust)

(Sept. 28, 2021) Dep.) 34:3-14 (“Q. . . . [C]an you describe what the instructions were in that

particular desktop operating procedure you just referenced? A. . . . I can sum it up that every effort

to fill requisition[s] within the theater shall be taken to utilize the inventory that is in KBR’s

portal.”) (Emphasis added); Ex. 90 (KBR “Desktop Procedures: Redistribution of Government

Property and Materiel to include FOB/Base Closures,” revised June 2007) at ‘0992 (“Cross Level

Requisitioning Process. Upon receipt of a material requisition Materiel Control will check the

theater-wide inventory through STEAM [KBR’s inventory management program, also referred to

as MAXIMO] to determine if items can be filled from excess stock. Found items will be cross

leveled through the procedures in 5.1 and 5.2. “) (Emphasis in original); Ex. 132 (KBR 30(b)(6)

(Lust) (Sept. 28, 2021) Dep.) 34:3-14 (“Q. . . . [C]an you describe what the instructions were in




                                                 -162-
that particular desktop operating procedure you just referenced? A. . . . I can sum it up that every

effort to fill requisition[s] within the theater shall be taken to utilize the inventory that is in KBR’s

portal. . . . And then in June of ’07, we did a revision which added STEAM – MAXIMO/STEAM

to this process.”); Ex. 91 (“KBR Distribution of Government Property DESKTOP OPERATING

PROCEDURE,” dated Aug. 23, 2008) at ‘0251 (“The DMC (Distribution Management Center)

will be responsible for screening all requests for procurement action for possible Cross Level

support. . . . All requisitions for procurement action will flow through the DMC and be screened

for availability within theater prior to purchase.”) (Emphasis in original), at ‘0256 (“If a site

foresees a need for an item(s), it is contractually obligated to attempt to obtain the items through

cross utilization within its project (group of sites).”).

        Indeed, KBR’s own experts concede that KBR had a contractual obligation to check for

such availability, using, at a minimum, “best efforts” to do so. Ex. 104 (Expert Report of

E. Branch) at 8 (“LOGCAP III required KBRSI to make its ‘best efforts’ to perform its obligated

work, which included its obligation to exercise due diligence in verifying that required items could

not be satisfied from existing, available stock.”)




                                                 -163-
KBR SOF 29. “The task orders and statements of work do not define the term ‘due diligence.’
Ex. 1, Booth Decl. ¶ 10; see, e.g., Exs.3-8 (SOWs); Ex. 27, Branch Dep. (Jun. 24, 2022) at 127:11-
16; 138:24-139:10.”

Relators’ Response to KBR SOF 29.

       This statement of fact is immaterial. Whether the task orders or SOWs define the term

“due diligence” does not bear directly on the legal issue raised by the motion.” See Local Civil

Rule 7.1(D)(1)(b). KBR’s motion concerns the elements of falsity and scienter and whether the

task orders or SOWs define the term “due diligence” does not “bear directly” on those issues.

Irrespective of whether the task orders or SOWs define the term “due diligence,” KBR was

required under LOGCAP III to exercise due diligence including to check to see if it had a particular

material on hand and available before ordering more. See, e.g. SOF ¶¶ 10, 23. Indeed, KBR’s own

experts concede that KBR’s “contractual requirement under LOGCAP III task orders was to

exercise ‘due diligence’ in verifying that required items could not be satisfied from existing,

available stock. Ex. 104 (Expert Report of E. Branch) at 8.




                                               -164-
KBR SOF 30. “The task orders and statements of work do not define when an item is ‘available’
for cross-level. Ex. 1, Booth Decl. ¶ 11; see, e.g. Exs. 3-8 (SOWs); Ex. 26, Branch Rep. at 39 (‘In
other words, the LOGCAP III Task Orders specified that [KBR] exercise reasonable care and
attention in a given situation. And while whether an item existed at another site was an objective
determination, whether the item was excess and available for transfer was a subjective
determination. The task orders did not tell [KBR] how to make that subjective determination.’).”

Relators’ Response to KBR SOF 30.

       This statement of fact is immaterial. Whether the task orders or SOWs define the term

“available” does not bear directly on the legal issue raised by the motion.” See Local Civil

Rule 7.1(D)(1)(b). KBR’s motion concerns the elements of falsity and scienter and whether the

task orders or SOWs define the term “available” does not “bear directly” on those issues.

Irrespective of whether the task orders and SOWs contains or defines the term “available,” KBR

was required under LOGCAP III to check to see if it had a particular material on hand and available

before ordering more. See SOF ¶ 10. Indeed, KBR’s own experts concede that KBR had a

contractual obligation to check for such availability, using, at a minimum, “best efforts” to do so.

Ex. 104 (Expert Report of E. Branch) at 8 (“LOGCAP III required KBRSI to make its ‘best efforts’

to perform its obligated work, which included its obligation to exercise due diligence in verifying

that required items could not be satisfied from existing, available stock.”).

       Furthermore, KBR’s Government-approved PCPs and DOPs provided objective standards

for when an item was available and KBR’s procedures/standards/criteria for when an item was

available. KBR’s PCPs required KBR to order inventory in “[r]easonable quantities,

commensurate with the work to be accomplished.” Ex. 1 (KBR’s Government-Approved Property

Control Procedures, dated Sept. 21, 2006) at ‘5992; Ex. 89 (KBR’s Government-Approved

Property Control Procedures, dated July 15, 2008) at ‘6168. They similarly required KBR to order

inventory that was “contractually authorized and necessary for performance of the prime contract”

and “for the quantities required for said performance.” Ex. 1 (KBR’s Government-Approved



                                               -165-
Property Control Procedures, dated Sept. 21, 2006) at ‘6015; Ex. 89 (KBR’s Government-

Approved Property Control Procedures, dated July 15, 2008) at ‘6227. KBR’s PCPs required KBR

to dispose of excess, unneeded inventory only after “[s]creening items against existing and

anticipated needs,” “[p]romply reporting excess items,” and receiving Government approval. Ex. 1

(KBR’s Government-Approved Property Control Procedures, dated Sept. 21, 2006) at ‘5994;

Ex. 89 (KBR’s Government-Approved Property Control Procedures, dated July 15, 2008)

at ‘6170. KBR’s PCPs required that when filling a requisition, KBR “personnel will first attempt

to fill requisitions from stock on-hand.” Ex. 1 (KBR’s Government-Approved Property Control

Procedures, dated Sept. 21, 2006) at ‘6017; Ex. 89 (KBR’s Government-Approved Property

Control Procedures, dated July 15, 2008) at ‘6230. KBR’s PCPs required checking theater-wide

inventory as well when filling a requisition. Ex. 1 (KBR’s Government-Approved Property

Control Procedures, dated Sept. 21, 2006) at ‘6019 (“Material Control – Processing Requisitions

for cross leveling or Purchasing . . . Upon return Materials Control will first check the theater

inventory to determine if the requisition can be filled from existing stock.”); Ex. 89 (KBR’s

Government-Approved Property Control Procedures, dated July 15, 2008) at ‘6230-31 (“Material

Control personnel . . . will also check the Automated Inventory Control System for Theater wide

availability of the item(s) being requested. . . . Material Control – Filling Requisitions from Theater

Stock. . . . If suitable property is found at another site, the Material Manager or designee will: . . .

Verify via the owning Site Material manager that the requested item(s) are excess to that’s need

and is available for cross utilization.”). Thus, KBR’s PCP expressly required KBR to screen

requisitions against its existing inventory and to fill the requisitions through cross-leveling when

it had supplies available in the theater. As an example of a DOP setting forth KBR’s cross-leveling

obligations with specific criteria and procedures for KBR to follow, in July 2006, KBR’s




                                                 -166-
Redistribution of Government Property DOP required KBR to make “every effort” to cross-level

with existing inventory before purchasing new items. Ex. 103 (July 2006 KBR “Desktop

Procedures: Redistribution of Government Property and Materiel to include FOB/Base Closures”)

at ‘9114 (“After a Materiel Requisition has been approved but prior to being turned over to

procurement for purchase, Materiel Control will check the Theater Wide inventory and the

Redistribution cell to determine if a requisition can be filled from existing stock. Every effort to

fill requisitions within the theater shall be taken utilizing inventories on the KBR portal. If items

are found within these inventories every reasonable effort shall be taken to redistribute these

items.”); Ex. 132 (KBR 30(b)(6) (Lust) (Sept. 28, 2021) Dep.) 34:3-14 (“Q. . . . [C]an you describe

what the instructions were in that particular desktop operating procedure you just referenced?

A. . . . I can sum it up that every effort to fill requisition[s] within the theater shall be taken to

utilize the inventory that is in KBR’s portal.”).




                                                -167-
KBR SOF 32. “The task orders and statements of work do not define when cross-leveling is
‘possible,’ particularly while operating in a war time theater. Ex.1, Booth Decl. ¶ 13; see, e.g.,
Exs. 3-8 (SOWs).”

Relators’ Response to KBR SOF 32.

       This statement of fact is immaterial. Whether the task orders or SOWs define the term

“available” does not bear directly on the legal issue raised by the motion.” See Local Civil

Rule 7.1(D)(1)(b). KBR’s motion concerns the elements of falsity and scienter and whether the

task orders or SOWs define when cross-leveling is “possible” does not “bear directly” on those

issues. Irrespective of whether the task orders and SOWs contains or defines when cross-leveling

is “possible,” KBR was required under LOGCAP III to check to see if it had a particular material

on hand and available before ordering more. See SOF ¶ 10. Indeed, KBR’s own experts concede

that KBR had a contractual obligation to check for such availability, using, at a minimum, “best

efforts” to do so. Ex. 104 (Expert Report of E. Branch) at 8 (“LOGCAP III required KBRSI to

make its ‘best efforts’ to perform its obligated work, which included its obligation to exercise due

diligence in verifying that required items could not be satisfied from existing, available stock.”).

       Furthermore, KBR’s Government-approved PCPs and DOPs provided objective standards

for when an item was available and KBR’s procedures/standards/criteria for when an item was

available, and therefore when cross-leveling was possible. KBR’s PCPs required KBR to order

inventory in “[r]easonable quantities, commensurate with the work to be accomplished.” Ex. 1

(KBR’s Government-Approved Property Control Procedures, dated Sept. 21, 2006) at ‘5992;

Ex. 89 (KBR’s Government-Approved Property Control Procedures, dated July 15, 2008) at

‘6168. They similarly required KBR to order inventory that was “contractually authorized and

necessary for performance of the prime contract” and “for the quantities required for said

performance.” Ex. 1 (KBR’s Government-Approved Property Control Procedures, dated Sept. 21,

2006) at ‘6015; Ex. 89 (KBR’s Government-Approved Property Control Procedures, dated


                                               -168-
July 15, 2008) at ‘6227. KBR’s PCPs required KBR to dispose of excess, unneeded inventory only

after “[s]creening items against existing and anticipated needs,” “[p]romply reporting excess

items,” and receiving Government approval. Ex. 1 (KBR’s Government-Approved Property

Control Procedures, dated Sept. 21, 2006) at ‘5994; Ex. 89 (KBR’s Government-Approved

Property Control Procedures, dated July 15, 2008) at ‘6170. KBR’s PCPs required that when filling

a requisition, KBR “personnel will first attempt to fill requisitions from stock on-hand.” Ex. 1

(KBR’s Government-Approved Property Control Procedures, dated Sept. 21, 2006) at ‘6017;

Ex. 89 (KBR’s Government-Approved Property Control Procedures, dated July 15, 2008)

at ‘6230. KBR’s PCPs required checking theater-wide inventory as well when filling a requisition.

Ex. 1 (KBR’s Government-Approved Property Control Procedures, dated Sept. 21, 2006) at ‘6019

(“Material Control – Processing Requisitions for cross leveling or Purchasing . . . Upon return

Materials Control will first check the theater inventory to determine if the requisition can be filled

from existing stock.”); Ex. 89 (KBR’s Government-Approved Property Control Procedures, dated

July 15, 2008) at ‘6230-31 (“Material Control personnel . . . will also check the Automated

Inventory Control System for Theater wide availability of the item(s) being requested. . . . Material

Control – Filling Requisitions from Theater Stock. . . . If suitable property is found at another site,

the Material Manager or designee will: . . . Verify via the owning Site Material manager that the

requested item(s) are excess to that’s need and is available for cross utilization.”). Thus, KBR’s

PCP expressly required KBR to screen requisitions against its existing inventory and to fill the

requisitions through cross-leveling when it had supplies available in the theater. As an example of

a DOP setting forth KBR’s cross-leveling obligations with specific criteria and procedures for

KBR to follow, in July 2006, KBR’s Redistribution of Government Property DOP required KBR

to make “every effort” to cross-level with existing inventory before purchasing new items. Ex. 103




                                                -169-
(July 2006 KBR “Desktop Procedures: Redistribution of Government Property and Materiel to

include FOB/Base Closures”) at ‘9114 (“After a Materiel Requisition has been approved but prior

to being turned over to procurement for purchase, Materiel Control will check the Theater Wide

inventory and the Redistribution cell to determine if a requisition can be filled from existing stock.

Every effort to fill requisitions within the theater shall be taken utilizing inventories on the KBR

portal. If items are found within these inventories every reasonable effort shall be taken to

redistribute these items.”); Ex. 132 (KBR 30(b)(6) (Lust) (Sept. 28, 2021) Dep.) 34:3-14 (“Q. . . .

[C]an you describe what the instructions were in that particular desktop operating procedure you

just referenced? A. . . . I can sum it up that every effort to fill requisition[s] within the theater shall

be taken to utilize the inventory that is in KBR’s portal.”).




                                                  -170-
KBR SOF 45. “Although DCMA’s audit reports sometimes include information on the amount of
cross-leveling KBR did in the period reviewed, DCMA did not apply any objective standard or
metric when commenting on KBR’s cross-level performance. Ex. 16, DOD Property Manual,
Chs. 3 & 4; see, e.g., Ex. 12 at KBR-HOW-3585727 (Aug. 18, 2009 PCSA stating that ‘[m]aterial
transfers between contracts are being documented and $2,350,890.26 worth of material has been
cross leveled over the past six months’ at Bagram, an Afghanistan-based KBR site); Ex. 13 at
DCMA-HOWARD-00012729 (Sept. 2, 2009 DCMA PCSA noting that ‘$372,189.54 worth of
material has been cross leveled over the past six months’ at Salerno, an Afghanistan-based KBR
site).”

Relators’ Response to KBR SOF 45.

       The Statement of facts is undisputed but immaterial. The dollar amount of cross leveling

performed by KBR, in isolation, does not prove that KBR was fulfilling its contractual obligations.

Further, the dollar amount of cross-leveling performed by KBR does not bear directly on the legal

issue raised by the motion.” See Local Civil Rule 7.1(D)(1)(b). KBR’s motion concerns the

elements of falsity and scienter and the dollar amount that KBR cross-leveled does not “bear

directly” on those issues.




                                              -171-
                              ADDITIONAL MATERIAL FACTS

I.     KBR Had a Financial Incentive to Over-Order Supplies on LOGCAP III

       1.      Through LOGCAP III, the United States Government (the “Government”) hired

KBR, a private contractor, to be the Army’s inventory manager, and to order, store, and distribute

materials efficiently for use in its operations, primarily in Iraq and Afghanistan.1

       2.      LOGCAP III was a “cost plus award fee” contract which reimbursed KBR for all

of its allowable costs, plus 1% of the “definitized” costs as a “base fee,” and up to an additional

2% of the “definitized” costs as an “award fee” based on certain performance criteria.2

       3.      KBR prepared proposals of all cost elements for the work that the Government

requested that it perform under LOGCAP III, including labor, material, equipment, subcontracts,

and other direct costs.3 To develop these estimates, including on Task Order 139 and Task


1
        See Ex. 135 (LaBoa Dep.) 24:23-25:10 (agreeing “logistics functions under LOGCAP III
included ordering materials that needed to be used at the various sites,” “storing and distributing
those materials,” and “controlling the cost of those materials that needed to be ordered . . . so that
they were ordered in an efficient and cost effective way”), 37:7-25; Ex. 95 (LOGCAP III Base
Contract and Statement of Work) at ‘0068 (“The Contractor will plan to provide equipment,
ancillary supplies, personnel, administration, and management required to perform supply services
necessary to requisition, receive, store, account, issue and manage Class I (Rations and Water),
Class II (Organizational Clothing and Equipment and Administrative Supplies), Class III
(Petroleum, Oil and Lubricants – both Bulk and Package), Class IV (Construction Materials), Class
V (Ammunition – to include Ammunition Supply Point Operations), Class VI ( Personal Demand
Items), Class VII (Major Items), Class VIII (Medical Supplies), and Class IX (Repair Partners) in
accordance with Army supply policy and doctrine.”).
2
        Ex. 131 (KBR 30(b)(6) (Jacobs) Dep.) 12:6-16 (agreeing LOGCAP III was a
“cost-reimbursable contract,” which “is one in which the government reimburses the contractor
for incurred costs”; agreeing “the government reimbursed KBR for its costs on LOGCAP III”),
16:20-17:12 (agreeing under LOGCAP III “KBR also received a base fee” of “[o]ne percent of the
definitized cost of a task order”; agreeing under LOGCAP III KBR may have also received “award
fees”), 58:7-59:12 (testifying KBR’s “award fee was . . . potentially two percent of the definitized
amount. . . . The government has an award fee board which evaluates the contractor’s performance
for the period based on criteria in the contract.”); Ex. 83 (Sept. 27, 2007 Walter Decl.), ¶¶ 7-10.
3
       Ex. 130 (KBR 30(b)(6) (Ferrazas) Dep.) 17:17-19 (agreeing “KBR developed cost
proposals in connection with LOGCAP III”), 20:17-21:2 (“Basis of estimate is a document that


                                                -172-
Order 159, KBR used “material burn rates,” whereby it looked to past performance, usage of

materials, and actual historical costs, to estimate future needs and costs.3a

       4.      Once a KBR cost estimate was finalized and agreed upon by the Government, the

proposal became the “definitized amount,” and that proposal became part of the contract.4 Further,

if KBR’s costs increased, the definitized amount could be modified and increased.4a Thus, by


would list out the requirements necessary in order to perform the provided scope of work for the
requested proposal. . . . It would include requirements for all cost elements, labor, material,
equipment, subcontracts and other direct costs.”).
3a
         Ex. 130 (KBR 30(b)(6) (Ferrazas) Dep.) 14:1-10 (testifying “material burn rates” involves
“[u]tilizing historical cost, actual cost for materials utilized to develop future cost in the KBR
proposals”; agreeing KBR used material burn rates for Task Orders 139 and 159), 27:23-28:6
(testifying the “source data” for analyzing the material burn rate “is the actual material cost that
was incurred for that period”), 44:24-45:11 (agreeing that for Task Orders 139 and 159, “the
amount of money KBR previously spent performing similar work [wa]s used as an input when
KBR [wa]s developing its cost proposals for future work”); Ex. 93 (“KBR Government and
Infrastructure Estimating Manual”) at ‘7789 (“The estimating system receives data from three
business system modules: 1. SAP Project System Module: Provides incurred (actual) cost in
[Work Breakdown Structure] format by cost element. This is used for historical pricing data (i.e.
for similar work previously executed by the company) and for proposals which include incurred
cost as part of the proposal. 2. SAP Procurement Module: Provides price history data for
purchase orders and subcontracts.”); Ex. 92 (identifying “Materials burn rate” used for Task Orders
139 and 159). Thus, by spending more money on materials in a current period, KBR could use that
spending to increase the value of the contract in future periods.
4
         Ex. 130 (KBR 30(b)(6) (Ferrazas) Dep.) 20:9-16 (“Q. . . . What is definitization or
definitized amount? [Objection.] A. Once a proposal was negotiated and agreed upon, that cost,
that proposal was put on modification and made part of the contract.”). Regardless of what the
definitized amount was, KBR was reimbursed for its costs up to the funding cap. See, e.g., Ex. 131
(KBR 30(b)(6) (Jacobs) Dep.) 22:4-11 (agreeing that “The U.S. Government reimbursed KBR for
the money KBR spent procuring property and materials on LOGCAP III if those property and
materials were received by KBR”), 58:2-6 (“Q. . . . And if the funding went up then KBR’s costs
would be reimbursed up to that funding cap, whatever that funding cap is; is that fair to say?
A. KBR’s cost if it was approved, KBR’s cost would be reimbursed, that’s it, cost, not fee but
cost.”).
4a
         See Ex. 148 (Wade Dep.) 18:9-20 (describing funding as “the government . . . put[ting]
funds on the contract to pay for the performance [KBR] w[as] doing,” which would entail “seeing
if there were sufficient funds obligated on the contract to cover [KBR’s] costs and if they weren’t,
[KBR would] notify the government that additional funds would be required”), 48:25-49:12
(agreeing Sept. 15, 2010 modification to Task Order 159 “indicate[d] that the . . . total task order


                                                -173-
over-spending in the current period, KBR could use that over-spending to increase the value of the

contract in future periods.

           5.   KBR received its 1% base fee of the total definitized amount, which consisted of

profit for KBR, regardless of whether or not it actually incurred all of the definitized costs; the

base fee was fixed at 1% of the total definitized amount, regardless of what KBR actually spent.

The higher the definitized amount, the higher KBR’s guaranteed, 1% base fee.5

           6.   How much of the 2% “award fee” KBR received from the Government was based

on the Government’s evaluation of KBR’s performance under LOGCAP III.6 Thus, KBR was

incentivized to make its performance appear as good as possible to the Government, in order to

maximize the award fee that it would receive.

           7.   KBR employees believed that by spending more money, KBR could increase its

profits:

                       Backlog of materials – I’ve raised my red flag over this
                       time-and-time again with HQ due to this problem being
                       systemic to how KBR does business in Afghanistan. This is
                       due to the position of some that KBR is here to make money,


funding for Task Order 159 had increased by $67,500,000”); see also, e.g., Ex. 42 (Sept. 15, 2010
Modification to Task Order 159) at ‘1235 (“Total task order #0159 funding increased by
$67,500,000.00 from $7,549,311,059.00 to $7,616,811,059.00”).
5
        Ex. 131 (KBR 30(b)(6) (Jacobs) Dep.) 55:8-56:11 (“[T]he base fee is a fixed fee which is
calculated based on a definitized amount . . . With that definitized amount KBR then is entitled to
one percent of that definitized amount as fee or its profit.”).
6
        Ex. 131 (KBR 30(b)(6) (Jacobs) Dep.) 58:7-59:12 (“[T]hat award fee was limited to . . .
potentially two percent of the definitized amount. . . . The government has an award fee board
which evaluates the contractor’s performance for the period based on criteria in the contract. One
criterion contained in the LOGCAP III contract was cost management . . . . KBR would submit its
performance, self-assessment of this performance for the period. The award fee board would
evaluate it and have their own evaluations and render an award fee score. Based on that award fee
score they would then submit a contract modification with the amount awarded which will then be
billed to the U.S. Government by KBR.”).



                                                -174-
                        which we are. The more money we spend… the more
                        profit we turn over under a cost + contract.7

II.     The Government Hired KBR to be the Army’s Inventory Manager, and Inventory
        Managers Have to Cross-Level

        8.       Cross-leveling describes a basic and fundamental concept of inventory

management—if you have more items on hand than needed, use those available items before

ordering more. Put simply, it is the process of filling a need for items at one site with excess from

another site.8

        9.       Cross-leveling is a fundamental and standard part of inventory management in both

public and private sectors, and especially in the Department of Defense.9




7
        Ex. 18 (containing July 9, 2008 internal KBR email from E. Denton to J. Haught) at ‘0584
(emphasis added); see also Ex. 22 (Apr. 12, 2008 internal KBR email from P. Powell to J. Haught)
at ‘4011 (“I am not aware that the government has ever allowed us to stockpile anything for many
reasons . . . . This reminds me of every time we get new funding, [KBR] Project Controls advises
all departments to spend their burn rate or we will loose [sic] the money; hence, one reason why
we have all the excess in the theater.”).
8
        See Ex. 136 (Lust Dep.) 28:19-22 (“Q. Can you explain what cross-leveling is? A. When
a requirement is generated at one location, . . . material from another location is used to satisfy the
requirement at the first location.”); Ex. 132 (KBR 30(b)(6) (Lust) (Sept. 28, 2021) Dep.) 23:18-
24:4 (“Cross leveling is when you move an item from one site to another site to satisfy a demand
at the second site . . . without going to the procurement system to get an item.”); Ex. 142 (Rock
Dep.) 52:22-53:4 (“My familiarity with cross-leveling is that when various bases had material that
they weren’t using that another based had obligation for due to projects by the government, et
cetera, and that base could allow them to use that material, we cross-level it from one base to
another.”); Ex. 94 (Expert Report of M. Rudolph) at 43-47.
9
        Ex. 94 (Expert Report of M. Rudolph) at 4-5 (“Cross-leveling is not unique to LOGCAP III
– it is a practice employed across the private and public sectors (especially within DoD) for
effectively and efficiently managing enterprise inventories and operations of the magnitude,
breadth, depth, and geographic dispersion required by LOGCAP III.”), at 43 (“Cross-leveling is
an industry concept and standard for fulfilling demands and, balancing/rebalancing enterprise
inventories across multiple and disparate site locations to fulfill emerging demands on the system
without buying inventory from external sources when it already exists in an excess posture within
the enterprise.”) (emphasis in original).



                                                -175-
       10.     In addition to being a standard and expected inventory management practice, under

the LOGCAP III contract and in connection with its duties to manage inventory on LOGCAP III,

KBR was required to check for available material and use it before buying more, and to only buy

supplies and materials necessary for performance under the contract, as both KBR and the

Government agreed.10



10
         Ex. 138 (McNamara Dep.) 279:7-280:2 (“Q. . . . [D]id you have a view on . . . whether
KBR was appropriately cross-leveling property in the 2007 to 2012 time period? [Objection.]
A. . . . They needed to have been doing it . . . because it was part of . . . their property procedure.
It was part of what was required of them as a prudent contractor.”), 590:13-18 (“If you are
purchasing something and you know that you have a large operation, then as a prudent contractor,
you would be required to screen through your system to see if there is any availability of . . . these
items or property that you’re currently trying to buy . . . .”), 597:20-598:9 (“Q. Do you know . . .
when KBR was required to certify that it had attempted to cross-level before making purchase? A.
There was a modification to the contract. I don’t remember exactly when. It was sometime after
2006. I don’t know if it was 2007 or 2008. . . . [I]t is part of the contract.”); Ex. 136 (Lust Dep.)
30:13-17 (“Q. . . . [W]ere you aware that the obligation to cross-level was a contractual
requirement in KBR’s contract with the United States Government? [Objection.] A. Yes.”);
Ex. 132 (KBR 30(b)(6) (Lust) (Sept. 28, 2021) Dep.) 38:22-39:8 (“Q. . . . Any other generally
applicable instructions from the U.S. Government concerning KBR cross leveling between task
orders other than those that you just referenced? [Objection.] A. . . . Mary Wade, who was the
contract administrator for the LOGCAP III contract in Houston, had said that we were to make
maximum use of cross leveling where possible. She understood you couldn’t do it all the time but
where possible.”); Ex. 135 (LaBoa Dep.) 70:24-71:21 (agreeing cross-leveling was part of KBR’s
property control procedures); Ex.127 (Hippert Dep. 162:24-163:20 (agreeing his “view at the
time” was that cross-leveling was expected); Ex. 134 (King Dep.) 16:21-17:2 (“Q. . . . With respect
to KBR’s work on LOGCAP-III, was KBR supposed to try to cross-level material and property
before purchasing new materials and property? [Objection.] … A. Yes.”); Ex. 142 (Rock Dep.)
520:17-22 (“Q. And it was KBR’s obligation under LOGCAP III to cross level property [and
materials]; is that right, sir? [Objection.] A. I think . . . where possible, yes.”); Ex. 141 (Ritondale
Dep.) 105:23-106:6 (“Q. . . . [I]s it your understanding that KBR was supposed to try to cross-
level property and materials at some point in the procurement process? [Objection.] A. My
understanding is at some point in time the cross-leveling was something that was supposed to
occur.”); Ex. 95 (LOGCAP III Base Contract and Statement of Work) at ‘0006 (“For Cost-
Reimbursable Contract Line Item Numbers (CLINs) only supplies and materials necessary for
performance under this contract will be reimbursed as stated in each individual Task Order’s Scope
of Work (SOW) and Federal Acquisition Regulation (FAR) 31.205-26.”), ‘0037-38 (incorporating
FAR 52.216-7, FAR 52.232-20, FAR 52.232-22); FAR 52.216-7 (“Allowable Cost and
Payment”); FAR 52.232-20 (“Limitation of Cost”); FAR 52.232-22 (“Limitation of Funds”);
Ex. 48 (Task Order 139 Statement Of Work Change 6) at ‘5609 (“3.0. CONTRACTOR
ACQUIRED OR GOVERNMENT FURNISHED EQUIPMENT AND PROPERTY. Prior to


                                                 -176-
procurement of equipment to support all efforts described in this task order, the contractor shall
exercise due diligence in verifying and certify that the required items cannot be satisfied from
existing stock available from other sites covered by this task order. This certification shall be
provided to the [government] ACO [Administrative Contracting Officer]. . . . 3.1.1. The
Contractor shall adhere to the requirement priorities listed in TABLE 3.1.1. to the maximum
extent possible. For purchases that cannot be obtained through cross leveling or from the Host
Country sources, the contractor shall make maximum use of the Federal Supply System (FSS).
REQUIREMENTS PRIORITIES 1 USG military unit, organic, green suit[;] 2 Cross level
within LOGCAP Task Order[;] 3 Other Task Orders within LOGCAP[;] 4 Host Country
sources[;] 5 FSS[;] 6 Commercial.”) (emphasis in original); Ex. 41 (Task Order 159 Statement
Of Work) at ‘5488-89 (same, without emphasis); Ex. 1 (KBR’s Government-Approved Property
Control Procedures, dated Sept. 21, 2006) at ‘5992 (“All property, whether government furnished
or KBR acquired, must be: . . . Reasonable quantities, commensurate with the work to be
accomplished.”), at ‘5993 (“Consuming: Quantities of material/supplies produced or procured for
incorporation into an end item or otherwise consumed will . . . Be reasonable when compared to
the work/job at hand and Material Requisitions . . . Be promptly returned to stock and recorded
when determined to be excess.”), at ‘5994 (“Government property will be disposed of by: . . .
Screening items against existing and anticipated needs . . . Promptly reporting excess items . . .
.Receiving property authority from the Government . . . prior to disposal.”), at ‘6015 (“Requisitions
for all property, whether government furnished or KBR acquired, must: . . . Be contractually
authorized and necessary for performance of the prime contract . . . Be for the quantities required
for said performance . . . .”), at ‘6017-021 (“Warehouse personnel will first attempt to fill
requisitions from stock on-hand. . . . If suitable property is available for issue, warehouse
personnel will [take specific steps] . . . Property may not be available, or there may not be sufficient
stock on-hand to fill the entire quantity. When this happens, Material Control takes action to obtain
the property for the requester. . . . Material Control – Processing Requisitions for cross leveling
or Purchasing. . . . Upon return Materials Control will first check the theater inventory to determine
if the requisition can be filled from existing stock. If suitable material is located, materials control
will forward a copy of the approved Materials Requisitions. . . . If suitable material/equipment
can not be located in the Theater Inventory, Material Control processes the approved MR [material
requisition], establishes a manual record file by MR [material requisition] number and forwards to
Procurement for purchase action.”); Ex. 89 (KBR’s Government-Approved Property Control
Procedures, dated July 15, 2008) at ‘6168 (“All property, whether government furnished or KBR
acquired, must be: . . . Reasonable quantities, commensurate with the work to be accomplished.”),
at ‘6169 (“Consuming: Quantities of material/supplies produced or procured for incorporation into
an end item or otherwise consumed will be: . . . reasonable when compared to the work/job at hand
and Material Requisitions. . . . promptly returned to stock and recorded when determined to be
excess.”), at ‘6170 (“Government property will be disposed of by: . . . Screening items against
existing and anticipated needs. . . . Promptly reporting excess items. . . . Receiving property
authority from the Government . . . prior to disposal.”), at ‘6227 (“Requisitions for all property,
whether government furnished or KBR acquired, must: . . . Be contractually authorized and
necessary for performance of the prime contract; . . . Be for the quantities required for said
performance . . . .”), at ‘6230-32 (“Material Control personnel will first attempt to fill the
requisitions from stock on-hand and will also check the Automated Inventory Control System for
Theater wide availability of the item(s) being requested. . . . If suitable property is available for

                                                 -177-
issue, from on hand stock, warehouse personnel will [take specific steps]. . . . If suitable property
is found at another site, the Material Manager or designee will . . . Verify via the owning Site
Material Manager that the requested item(s) are excess to that site’s need and is available for cross
utilization [and take specific steps] . . . . Property may not be available, or there may not be
sufficient stock on-hand to fill the entire quantity. When this happens, Material Control takes
action to obtain the property for the requester. . . . All requisitions must be coordinated with cost
control and approvals obtained from project management, government LOTD’S, and contract
modifications, before submitting for procurement action. . . . Upon return Materials Control
processes the approved MR [material requisitions], establish a manual record file by MR [material
requisition] number and forwards to Procurement for purchase action.”), at ‘6313 (“Consumption
of Government property shall be reasonable when compared to requirements. . . . Quantities of
property produced or procured for incorporation into an end item or otherwise consumed will . . .
Be reasonable when compared to Material Requisitions. On hand stocks in the Materials
warehouses will be maintained in reasonable quantities to support contractual requirements and in
accordance with specific project policies or replenishment lead time. Stock levels will be based on
equipment density, population to be supported, recurring demands or the history of a previous
project with like property. . . . Unused Materials from trades on hand stock, special projects,
ACL’s LOTD’s etc must be returned to the Material Warehouse within a reasonable period of time
after the work is completed or no demands. Material Control department will ensure returned
unused materials are posted to the automated inventory system with appropriate documentation
within 48 hrs. Materials determined to be excess must be disposed of in accordance with
Disposition Tab.”); Ex. 91 (“KBR Distribution of Government Property DESKTOP OPERATING
PROCEDURE,” dated Aug. 23, 2008) ‘0251 (“The DMC (Distribution Management Center) will
be responsible for screening all requests for procurement action for possible Cross Level support.
. . . All requisitions for procurement action will flow through the DMC and be screened for
availability within theater prior to purchase.”) (emphasis in original), at ‘0256 (“If a site foresees
a need for an item(s), it is contractually obligated to attempt to obtain the items through cross
utilization within its project (group of sites).”); Ex. 101 (Nov. 2, 2007 DCMA Letter of Technical
Directive to KBR) at ‘6706 (“All equipment MRs [material requisitions] shall be initially
submitted to the site ACO. . . . All equipment MRs [material requisitions] shall contain the
following information: . . . (3) Has KBR checked for theater-wide re-distribution under the cross-
leveling process?”); Ex. 24 (July 1, 2009 KBR Technical Direction Bulletin re: PCARSS Process)
at ‘4270 (“KBR has a responsibility to cross level before purchase.”); Ex. 34 (containing June 4,
2011 email from KBR’s Head of the DMC, C. O’Muirgheasa) at ‘3826 (“It is a contractual
requirement on LOGCAP III to cross level items in order to reduce spending, eliminate excess,
and, nowadays just as importantly, get available material to other[] sites ASAP.”); Ex. 44 (June
30, 2011 internal KBR email from T. Hippert to M. Wade) at ‘0608 (“LOGCAP III . . . is reporting
cost avoidance on material that is excess in one camp and moved to another, we call that cross-
leveling. These slides are being briefed to the Government and I don’t think it’s a true cost
avoidance. My concern is that the government paid for the material and we are expected to be good
stewards and properly manage the inventory. So c[ross]-level is expected.”); Ex. 71 (July 2, 2009
Analysis by KBR’s Head of the DMC) at ‘1369 (“Our mission is to cross level materials from
locations where there is redistributable material to locations where there is a need for those
materials.”); Ex. 94 (Expert Report of M. Rudolph) at 19 (“KBR was obligated to cross level
property and materials on LOGCAP III.”) (citing sources).



                                                -178-
        11.     It is “common sense” for an inventory manager to cross-level where possible.11

        12.     Cross-leveling saved KBR and the Government both time and money, as

transferring existing inventory to where it was needed was faster than bringing new inventory into

the theater, and it reduced costs by using existing, excess inventory rather than purchasing new

items.12


11
        Ex. 127 (Hippert Dep.) 101:14-104:21 (“Q. . . . Why was the requirement of cross-leveling
part of the property control procedures? [Objection.] A. Just, . . . it’s common sense.”).
12
         See, e.g., Ex. 127 (Hippert Dep.) 103:5-104:21 (“Q. And the reason it’s common sense to
check to see if you have it from other sources is because it’s cheaper to get it from your other
sources, when you’ve already purchased it, than to go out and purchase it again, right? [Objection.]
A. Correct. It just makes sense. . . . [Y]ou wouldn’t expend anything that you don’t need to. . . .
[I]t’s equally as important is, it’s faster. If it’s immediately available, you get it a lot faster than if
you have to requisition it.”); Ex. 134 (King Dep.) 15:12-16:3 (“Q. . . . What are the benefits of
cross-leveling? A. There’s many benefits. You know, cost savings would be one major one.
A quicker method of getting materials to a site at a given time would be the next crucial thing.”);
Ex. 142 (Rock Dep.) 60:18-61:24 (“[T]he benefits of cross-leveling, primarily, number one, is the
cost savings it gives the government. Now we don’t have to purchase any new material, we can
use the material we have already purchased, it can be cross leveled to a project. . . . [T]he number
two is that we can immediately begin a project because the material is available and there’s no
delay”; “Q. . . . [A]re you saying in general . . . one of the benefits of cross-leveling was that the
location that needed the item would receive it faster via cross level than via new procurement?
[Objection.] A. Yes.”); Ex. 126 (Haught Dep.) 41:15-24 (“Q. . . . As a general rule, was it true
that it was faster to get the material through cross-leveling if it was available than it was to buy it
new? [Objection.] A. Yes. Q. And did it save the Government money in general to get things
through cross-leveling if they were available? A. It could, yes.”); Ex. 144 (Sullivan Dep.) 45:10-
24 (“Most of the vendors either came from Kuwait or Dubai and the travel time for goods from
Kuwait or Dubai was several weeks. So, if we could cross-level internally, it would have been
quicker. It would have been more efficient and we could have used materials instead of ordering”;
“Q. So one of the reasons you cross-level is because it could be quicker, right? A. Quicker and it
saved money. Q. And it saved money because you’re using what you already have on-hand instead
of buying something else, right? A. Yes.”); Ex. 136 (Lust Dep.) 30:18-24 (“The purpose of cross-
leveling is . . . you get material to the site who needed it the quickest way possible. In the process
if you could . . . you would save money and not have to buy a second time.”), 33:18-22 (“Q. So if
there were supplies that were excess, would it save money to cross-level those excess supplies
instead of purchasing those same supplies anew? A. Yes. [Objection.]”), 34:1-34:5 (“Q. [Was
s]aving money an important objective under LOGCAP III? [Objection.] A. Yes.”); Ex. 71 (July 2,
2009 Analysis by KBR’s Head of the DMC, C. O’Muirgheasa) at ‘1368 (“[C]ross leveling
provides materials to the end user much faster than if the materials are purchased. The average
time for cross leveling is in the range of 16 – 20 days, whereas for purchasing the average time is
90 – 120 days”); Ex. 39 (Mar. 3, 2008 email containing draft KBR “Distribution Management


                                                  -179-
       13.     There were not any additional security concerns with cross-leveling as opposed to

procuring new items, as cross-leveling used the same supply road network that all supplies were

transported on, traveling via truck convoys.13

       A.      KBR Knew That the Government Would Not Pay for Unnecessary Purchases
               of Inventory

       14.     An improper failure to cross-level leads to costs that are not reimbursable under the

terms of LOGCAP III. In order to be reimbursable, KBR’s costs under LOGCAP III had to be

“allowable” in accordance with FAR Subpart 31.2.14




Center Proof of Principle – CJOA” presentation) at ‘0733 (“Not only will [the DMC’s cross-
leveling] speed the requisition cycle time, but will also reduce the delivery lead time as well.
Benefits • Reduction of excess material across theatre. Reduction of delivery lead time for
materials. • Immediate and emergent requirements (P1) will be filled immediately. . . . • Shorter
handling time for the requisitions with new process.”).
13
        Ex. 138 (McNamara Dep.) 106:8-9 (“All of the property moved from camp to camp under
a convoy that the military were in charge of.”), 411:10-15 (“Q. . . . [I]f one of the bases wants to
buy some new material, how does that get to them? [Objection.] A. It . . . gets there by convoy.
Everything gets there by convoy.”); Ex. 140 (Pagonis Dep.) 92:12-93:12 (“I never – I never
separated the two [transporting new inventory versus transporting existing inventory]. It was all
one system.”); Ex. 142 (Rock Dep.) 92:10-16 (“Q. . . . [W]hat kind of support did the U.S. Military
provide [for the trucks when they were moving property and materials between sites]? A. Armed
escort. Q. And was that each and every time a KBR truck moved from site to site to transport
property and materials? A. Yes.”), 94:17-95:10 (“Each location or each base cluster had a [KBR
Theater Transportation Mission] operations site. And at each one of those locations, every day
convoys moved to various locations throughout the Theater. . . . [I]t was on a regular schedule
that [KBR] moved materials and equipment from sites to sites. Q. . . . [I]rrespective of whether
the item was purchased new or whether it was cross-leveled, it would travel by truck and by convoy
to the receiving site; is that correct? A. To the best of my knowledge, now, yes.”), 410:13-20
(questioning by KBR’s counsel) (“Q. . . . Were there regular convoys among all the different bases
in Iraq? A. Yes, there were. Q. Okay. Was the frequency different than, for example, the frequency
of convoys that were available on the main supply route? A. We had daily movements between
all bases and on the main supply route.”).
14
       Ex. 95 (LOGCAP III Base Contract and Statement of Work) at ‘0037 (incorporating FAR
52.216-7); FAR 52.216-7 (“Allowable cost and payment”); see also Ex. 95 (LOGCAP III Base
Contract and Statement of Work) at ‘0006 (“For Cost-Reimbursable Contract Line Item Numbers
(CLINs) only supplies and materials necessary for performance under this contract will be


                                                 -180-
       15.    Subpart 31.2 of the FAR details that to be “allowable,” a cost must be “reasonable.”

FAR 31.201-2 (“Determining Allowability”). Subpart 31.2 provides additional information about

what “reasonable” means:

                      (a) A cost is reasonable if, in its nature and amount, it does
                      not exceed that which would be incurred by a prudent person
                      in the conduct of competitive business…. No presumption
                      of reasonableness shall be attached to the incurrence of costs
                      by a contractor. If an initial review of the facts results in a
                      challenge of a specific cost by the contracting officer or the
                      contracting officer’s representative, the burden of proof shall
                      be upon the contractor to establish that such cost is
                      reasonable.

                      (b) What is reasonable depends upon a variety of
                      considerations and circumstances, including (1) Whether it
                      is the type of cost generally recognized as ordinary and
                      necessary for the conduct of the contractor’s business or the
                      contract performance; (2) Generally accepted sound
                      business practices, arm’s-length bargaining, and Federal and
                      State laws and regulations; (3) The contractor’s
                      responsibilities to the Government, other customers, the
                      owners of the business, employees, and the public at large;
                      and (4) Any significant deviations from the contractor’s
                      established practices.

FAR 31.201-3 (“Determining Reasonableness”). KBR’s expert agreed that significant deviations

from the contractor’s own established practices are a component of determining whether a cost is

“reasonable.”15

       16.    Ordering new supplies when KBR already had excess amounts of that same supply

on hand was not “reasonable,” and thus such expenses were not “allowable” under LOGCAP III.16



reimbursed as stated in each individual Task Order’s Scope of Work (SOW) and Federal
Acquisition Regulation (FAR) 31.205-26.”).
15
       Ex. 121 (Branch Dep.) 233:15-21.
16
      FAR 52.216-7 (“Allowable Cost and Payment”); FAR 31.201-3 (“Determining
Reasonableness”).



                                              -181-
       17.     Rich Kaye, a member of KBR’s Senior Leadership Team on LOGCAP III, knew

that the Government would not pay KBR for purchasing new items if the item was already in stock:

                       If C-Sites has an item(s) that can fill a [material requisition]
                       ....and you are the only place it can come from ....and we
                       don't cross-level it, we're going to create a [purchase order]
                       (and expend $$) for items that have on hand. Sure as we’re
                       having this conversation, the DCAA is going to audit our
                       excess disposition process. To have something on hand
                       and to not use it in lieu of purchasing more is a recipe for
                       the DCAA to find fault with us and collect back what we
                       paid for the item via a Form 1.17

       18.     In addition to being “allowable,” LOGCAP III specified that KBR would be

reimbursed only for those items purchased which were “necessary for performance” of KBR’s

duties under the contract.18

       19.     According to Maria McNamara, the Defense Contract Management Agency’s

(“DCMA’s”) Prime Property Administrator assigned to KBR from 1997 to 2014, if a contractor

does not cross-level, and buys new materials rather than use existing and already purchased excess

materials, the contractor has purchased items “that may not be necessary for – for the contract,”

and has increased the Government’s costs.19




17
        Ex. 70 (Mar. 3, 2010 internal KBR email from KBR’s Deputy Program Manager, R. Kaye)
at '2915 (emphasis added); Ex. 129 (Kaye Dep.) 24:11-25:8 (agreeing R. Kaye was member of
KBR’s “Senior Leadership Team” and directly reported to KBR’s Principal Program Manager,
G. LaBoa). The DCAA is the Defense Contract Audit Agency. See Ex. 138 (McNamara Dep.)
109:14-15. A “Form 1” is a letter “issued by the government for potentially unallowable costs”
after review by the DCAA. Ex. 131 (KBR 30(b)(6) (Jacobs) Dep. ) at 18:3-17.
18
        Ex. 95 (LOGCAP III Base Contract and Statement of Work) at ‘0006 (“For
Cost-Reimbursable Contract line Item Numbers (CLINs) only supplies and materials necessary
for performance under this contract will be reimbursed as stated in each individual Task Order’s
Scope of Work (SOW) and Federal Acquisition Regulation (FAR) § 31.205-26.”).
19
       Ex. 138 (McNamara Dep.) 23:12-18, 582:3-11.



                                                -182-
       B.      The Task Orders Issued by the Government Required KBR to Cross Level

       20.     To initiate work under LOGCAP III, the Government issued task orders to KBR.20

       21.     When performing a task order, KBR has specific responsibilities under the

LOGCAP III base contract in addition to the specific responsibilities articulated in the statement

of work for each task order.21

       22.     The Statements of Work (“SOW”) were another part of the LOGCAP III contract.22




20
        Ex. 132 (KBR 30(b)(6) (Lust) (Sept. 28, 2021) Dep.) 20:20-21:13 (“Task orders were the
document[s] issued from the government to KBR that told us what we were supposed to do, the
time frame we were supposed to do it in and the amount of money we had to do it with.”). Task
orders were incorporated into the LOGCAP III contract. Ex. 148 (Wade Dep.) 26:23-25.
21
        See, e.g., Ex. 95 (LOGCAP III Base Contract and Statement of Work) at ‘0006 (“For
Cost-Reimbursable Contract Line Item Numbers (CLINs) only supplies and materials necessary
for performance under this contract will be reimbursed as stated in each individual Task Order’s
Scope of Work (SOW) and Federal Acquisition Regulation (FAR) 31.205-26.”); Ex. 62 (July 22,
2004 Amendment P00008 to LOGCAP III Base Contract) at ‘3166 (“The purpose of this
modification is to incorporate Task Order Cross Utilization of Government Property into the basic
contract and is applicable to all current and future task orders awarded under this contract. . . .
Definition: Cross Utilized Property is government property purchased against one task order which
is subsequently loaned to another task order on a temporary basis. Cross-utilized property shall
remain accountable to the task order against which it was purchased, unless it has been duly
transferred to another task order, in which case it will remain accountable to the task order to which
it has been transferred.”); Ex. 100 (Task Order 139) at ‘1481 (“[A]ll other clauses, terms and
conditions set forth in the Basic LOGCAP contract DAAA09-02-D-0007 apply.”); Ex. 48 (Task
Order 139 Statement Of Work Change 6) at ‘5606 (“The contractor shall provide all resources and
management necessary to perform the mission in accordance with basic Contract No. DAAA09-
02-D-0007 and the Task Order (TO) Statement of Work (SOW) described herein.”); Ex. 40
(Sept. 1, 2008 Task Order 159 Statement Of Work) at ‘5828 (“All clauses and terms and conditions
set forth in the Basic LOGCAP contract DAAA09-02-D-0007 apply.”); Ex. 41 (Aug. 25, 2008
Task Order 159) at ‘5486 (“The contractor shall provide all resources and management necessary
to perform the mission in accordance with basic Contract No. DAAA09-02-D-0007 and the Task
Order (TO) Statement of Work (SOW) described herein.”).
22
        Ex. 142 (Rock Dep.) 179:9-11 (“They [Statements of Work, or SOWs] were part of the
contract. It stated the exact things we were supposed to do, required to do.”). An SOW is a more
specific articulation of KBR’s responsibilities under a task order. Ex. 148 (Wade Dep.) 32:19-22.



                                                -183-
       23.     The two main task orders in this case, Task Order 139 and Task Order 159, both

had accompanying SOWs that required KBR to cross-level.23

       C.      KBR Developed and Was Required to Follow Specific Procedures for
               Acquiring and Managing Inventory, Including Cross-Leveling

       24.     KBR understood its contractual requirement to cross-level supplies, incorporating

the requirement into a Government-approved set of Property Control Procedures (“PCP”), and into

detailed “Desktop Operating Procedures” (“DOPs”) and “Technical Directives” (“TDs”) for its

personnel. LOGCAP III required that KBR implement and maintain a PCP, which the Government

reviewed and approved.24




23
        See, e.g., Ex. 48 (Task Order 139 Statement of Work Change 6) at ‘5609
("3.0. CONTRACTOR ACQUIRED OR GOVERNMENT FURNISHED EQUIPMENT AND
PROPERTY. Prior to procurement of equipment to support all efforts described in this task order,
the contractor shall exercise due diligence in verifying and certify that the required items cannot
be satisfied from existing stock available from other sites covered by this task order. This
certification shall be provided to the [government] ACO [Administrative Contracting
Officer]. . . . The contractor shall adhere to the requirement priorities listed in TABLE 3.1.1.
to the maximum extent possible. For purchases that cannot be obtained through cross leveling
or from the Host Country sources, the contractor shall make maximum use of the Federal Supply
System (FSS). REQUIREMENTS PRIORITIES 1 USG military unit, organic, green suit[;]
2 Cross level within LOGCAP Task Order[;] 3 Other Task Orders within LOGCAP[;] 4
Host Country sources[;] 5 FSS[;] 6 Commercial … ”) (emphasis in original); Ex. 41 (Task Order
159 Statement of Work) at ‘5488-89 (same, without emphasis).
24
       See Ex. 95 (LOGCAP III Base Contract and Statement of Work) at ‘0039 (incorporating
FAR 52.245-1); FAR 52.245-1 (“Government Property”); Ex. 142 (Rock Dep.) 84:4-13 (“Q. . . .
[W]hat were the PCPs? A. . . . [T]he property control procedures were a process by which [KBR]
accounted for our property . . . on our sites. Q. And were the PCPs approved by the government?
[Objection.] A. Yes.”); Ex. 134 (King Dep.) 21:18-22:2 (“Q. What are the PCPs? A. It’s a
government-approved document that’s a -- property control document . . . -- we write what we’re
going to do to protect and -- from A to Z . . . from cradle to grave as we call it, on all procedures
for handling U.S. government property. And that document is reviewed by the government, the
corporate government property administrator for her review, and she signs off on it concurring
with everything we’re going to do.”); Ex. 1 (KBR’s Government-Approved Property Control
Procedures, dated Sept. 21, 2006) at ‘5978; Ex. 89 (KBR’s Government-Approved Property
Control Procedures, dated July 15, 2008) at ‘6157.



                                               -184-
       25.     KBR’s PCPs required KBR to cross-level, and included specific cross-leveling

procedures KBR was to follow. This point was understood at the highest levels of KBR and by the

DCMA.25

       26.     KBR’s PCPs required KBR to order inventory in “[r]easonable quantities,

commensurate with the work to be accomplished.”26

       27.     KBR’s PCPs required KBR to dispose of excess, unneeded inventory only after

“[s]creening items against existing and anticipated needs,” “[p]romply reporting excess items,”

and receiving Government approval.27

       28.     KBR’s PCPs required that when filling a requisition, KBR “personnel will first

attempt to fill requisitions from stock on-hand.”28


25
       See Ex. 135 (LaBoa Dep.) 70:24-71:21 (agreeing cross-leveling was part of KBR’s
property control procedures); Ex. 138 (McNamara Dep.) 279:7-280:2 (“Q. . . . [D]id you have a
view on . . . whether KBR was appropriately cross-leveling property in the 2007 to 2012 time
period? [Objection.] A. . . . They needed to have been doing it . . . because it was part of . . . their
property procedure. It was part of what was required of them as a prudent contractor.”); Ex. 76
(containing Feb. 23, 2010 email from KBR’s Deputy Program Manager – Support, R. Kaye) at
‘3447 (“Going forward, and in accordance with the PCP, not issuing something because you are
‘under inventory’ is not acceptable. We can not continue to order in material that we know to
already be here in country.”).
26
        Ex. 1 (KBR’s Government-Approved Property Control Procedures, dated Sept. 21, 2006)
at ‘5992; Ex. 89 (KBR’s Government-Approved Property Control Procedures, dated July 15, 2008)
at ‘6168. They similarly required KBR to order inventory that was “contractually authorized and
necessary for performance of the prime contract” and “for the quantities required for said
performance.” Ex. 1 (KBR’s Government-Approved Property Control Procedures, dated Sept. 21,
2006) at ‘6015; Ex. 89 (KBR’s Government-Approved Property Control Procedures, dated July
15, 2008) at ‘6227.
27
        Ex. 1 (KBR’s Government-Approved Property Control Procedures, dated Sept. 21, 2006)
at ‘5994; Ex. 89 (KBR’s Government-Approved Property Control Procedures, dated July 15, 2008)
at ‘6170.
28
        Ex. 1 (KBR’s Government-Approved Property Control Procedures, dated Sept. 21, 2006)
at ‘6017; Ex. 89 (KBR’s Government-Approved Property Control Procedures, dated July 15, 2008)
at ‘6230.



                                                 -185-
        29.       KBR’s PCPs required checking theater-wide inventory as well when filling a

requisition.29 In sum, KBR’s PCP expressly required KBR to screen requisitions against its

existing inventory and to fill the requisitions through cross-leveling when it had supplies available

in the theater.

        30.       In performing its duties under LOGCAP III, KBR issued formal written documents

for use by its employees to standardize processes across its sites DOPs.30

        31.       As an example of a DOP setting forth KBR’s cross-leveling obligations with

specific criteria and procedures for KBR to follow, in July 2006, KBR’s Redistribution of

Government Property DOP required KBR to make “every effort” to cross-level with existing

inventory before purchasing new items.31




29
         Ex. 1 (KBR’s Government-Approved Property Control Procedures, dated Sept. 21, 2006)
at ‘6019 (“Material Control – Processing Requisitions for cross leveling or Purchasing . . . Upon
return Materials Control will first check the theater inventory to determine if the requisition can
be filled from existing stock.”); Ex. 89 (KBR’s Government-Approved Property Control
Procedures, dated July 15, 2008) at ‘6230-31 (“Material Control personnel . . . will also check the
Automated Inventory Control System for Theater wide availability of the item(s) being requested.
. . . Material Control – Filling Requisitions from Theater Stock. . . . If suitable property is found at
another site, the Material Manager or designee will: . . . Verify via the owning Site Material
manager that the requested item(s) are excess to that’s need and is available for cross utilization.”).
30
     See Ex. 133 (KBR 30(b)(6) (Lust) (Sept. 29, 2021) Dep.) 193:22-194:8. The DOPs told
KBR employees how to do their jobs correctly. Id.
31
        Ex. 103 (July 2006 KBR “Desktop Procedures: Redistribution of Government Property
and Materiel to include FOB/Base Closures”) at ‘9114 (“After a Materiel Requisition has been
approved but prior to being turned over to procurement for purchase, Materiel Control will check
the Theater Wide inventory and the Redistribution cell to determine if a requisition can be filled
from existing stock. Every effort to fill requisitions within the theater shall be taken utilizing
inventories on the KBR portal. If items are found within these inventories every reasonable effort
shall be taken to redistribute these items.”); Ex. 132 (KBR 30(b)(6) (Lust) (Sept. 28, 2021) Dep.)
34:3-24 (“Q. . . . [C]an you describe what the instructions were in that particular desktop operating
procedure you just referenced? A. . . . I can sum it up that every effort to fill requisition[s] within
the theater shall be taken to utilize the inventory that is in KBR’s portal.”).



                                                 -186-
       32.     As another example, KBR’s “Desktop Procedures: Redistribution of Government

Property and Materiel to include FOB/Base Closures,” revised June 2007, stated:

                       Cross Level Requisitioning Process. Upon receipt of a
                       material requisition Materiel Control will check the theater-
                       wide inventory through STEAM [KBR’s inventory
                       management program, also referred to as MAXIMO] to
                       determine if items can be filled from excess stock. Found
                       items will be cross leveled through the procedures in 5.1 and
                       5.2.32

       33.     As another example, KBR’s “Distribution of Government Property DESKTOP

OPERATING PROCEDURE,” dated August 23, 2008, stated:

                       The DMC (Distribution Management Center) will be
                       responsible for screening all requests for procurement action
                       for possible Cross Level support. . . .

                       All requisitions for procurement action will flow through the
                       DMC and be screened for availability within theater prior to
                       purchase. . . .

                       If a site foresees a need for an item(s), it is contractually
                       obligated to attempt to obtain the items through cross
                       utilization within its project (group of sites). . . .33

       D.      Overview of KBR’s Process for Cross-Leveling

       34.     Initially, KBR did not have an integrated inventory management system; instead of

keeping track of inventory in a centralized system, each site maintained its own “property book,”




32
        Ex. 90 (KBR “Desktop Procedures: Redistribution of Government Property and Materiel
to include FOB/Base Closures,” revised June 2007) at ‘0992 (emphasis in original); Ex. 132 (KBR
30(b)(6) (Lust) (Sept. 28, 2021) Dep.) 34:3-23 (“Q. . . . [C]an you describe what the instructions
were in that particular desktop operating procedure you just referenced? A. . . . I can sum it up
that every effort to fill requisition[s] within the theater shall be taken to utilize the inventory that
is in KBR’s portal. . . . And then in June of ’07, we did a revision which added STEAM –
MAXIMO/STEAM to this process.”).
33
     Ex. 91 (“KBR Distribution of Government Property DESKTOP OPERATING
PROCEDURE,” dated Aug. 23, 2008) ‘0251, ‘0256 (emphasis in original).



                                                 -187-
typically an Excel spreadsheet. These ad-hoc systems—one per KBR site—were maintained by

KBR personnel at the site, and one site did not have visibility into another site’s inventory.34

       35.     Cross-leveling is very difficult, if not impossible, without an integrated inventory

management system.35

       36.     Under KBR’s ad-hoc, non-centralized system, cross-leveling was laborious,

tedious, and largely unsuccessful. There was no centralized, standard process; instead, if a site had

a need for an item, and wanted to see if it was available elsewhere within the theater, someone

would pick up the phone and call another site or send an email to another site, to see if that site

had the needed item in excess.36

       37.     In October 2005, KBR requested and received approval to implement an integrated

inventory management system, called MAXIMO/STEAM, for use in LOGCAP III. “The purpose

of [MAXIMO/]STEAM was to get everybody on the same system so that [KBR] would see across




34
       Ex. 127 (Hippert Dep.) 19:21-20:25. Ex. 128 (Hurd Dep.) 15:19-24.
35
         Ex. 94 (Expert Report of M. Rudolph) at 5 (“Cross-leveling is extremely difficult to
accomplish without the use of an integrated inventory management system. Without near real-time
visibility of enterprise inventory requirements and levels, cross-leveling is very difficult, if not
impossible, to do.”).
36
          Ex. 127 (Hippert Dep.) 71:8-72:2 (“Q. . . . [W]hat you were saying is, prior to the
Maximo[/STEAM] automation, the cross-leveling process could only occur at sort of an informal,
ad hoc basis. Is that correct? [Objection.] A. To the best of my knowledge. I can’t recall anything
early on that we had electronically that they could go in and search -- or especially if we’re talking
. . . toilet paper, or . . . cleaning powder and stuff. No. . . . I think the majority of it would have
been manual, yes.”); Ex. 144 (Sullivan Dep.) 86:10-15 (“Q. . . . Prior to the implementation of
Maximo[/STEAM], it was much more difficult to cross-level, correct? [Objection.] A. Prior to
Maximo[/STEAM], it would have been a word of mouth.”); Ex. 132 (KBR 30(b)(6) (Lust)
Sept. 28, 2021) at 24:13-26:8 (“Before MAXIMO[/STEAM], it was all run by spreadsheets, so . . .
this would have to be done by either E-mail or phone call . . . .”); Ex. 94 (Expert Report of
M. Rudolph) at 51 (“[Manual implementation] options are cumbersome at best and are extremely
labor intensive”; identifying multiple problems with manual implementations).



                                                -188-
the entire theater, Afghanistan and Kuwait included, what everybody had, not just look at

13 different databases and see what everybody had in 13 different places.”37

       38.     KBR classified its inventory in MAXIMO/STEAM as either “Stock” (or “STK”),

“Non-stock” (or “NS”), or “Special Order Items” (or “SP”).38

       39.     “Stock” or STK items were “demand-supported item[s],” or items with a certain

“recurring demand,” that KBR replenished when used or consumed. For an item of inventory to

qualify as “Stock,” there had to be at least nine demands for that item in the previous 360 days.39

       40.     When a KBR site could replenish STK items and how much it could order depended

on three metrics: the “Requisition Objective” (or “RO”), the “Reorder Point” (or “ROP”), and the

“Safety Stock Level” (or “SSL”). The RO was the maximum quantity of the piece of inventory

that was authorized to be on hand at a site at any given time. The ROP was the level of inventory

that would trigger a reordering of the STK item; once a STK item hit its ROP, it would be

reordered. The SSL was the amount of the item’s inventory expected to be on hand when the



37
       Ex. 20 (Sept. 14, 2007 Memorandum by KBR Principal Program Manager, Michael Mayo)
at ‘0550 (“The decentralized approach used Excel, Access and other local spreadsheets and
databases to capture receipts and issues of inventories. In October 2005 a decision was made and
funded to use MAXIMO/STEAM . . . to provide total Project visibility of property and materials.”).

Ex. 122 (Brannen Dep.) 38:9-16. MAXIMO/STEAM was initially implemented in connection
with Task Order 139 in September 2006. Ex. 20 (Sept. 14, 2007 Memorandum by KBR Principal
Program Manager, Michael Mayo) at ‘0550-51 (“In September, Task Order 139 sites began using
the service order module. In September and October 2006, property inventories were loaded into
the system; and in October and November, the materials were loaded.”).
38
       Ex. 102 (KBR Materials Stock Plan Desktop Operating Procedure Rev. #0) at ‘4398-99;
Ex. 56 (KBR Materials Stock Plan Desktop Operating Procedure Rev. #2) at ‘0599-0601; Ex. 57
(KBR Materials Stock Plan Desktop Operating Procedure Rev. 03) at ‘5066-70.
39
       Ex. 102 (KBR Materials Stock Plan Desktop Operating Procedure Rev. #0) at ‘4398;
Ex. 56 (KBR Materials Stock Plan Desktop Operating Procedure Rev. #2) at ‘0599; Ex. 57 (KBR
Materials Stock Plan Desktop OPERATING Procedure Rev. 03) at ‘5066.



                                               -189-
reorder arrived. The SSL was intended to ensure there was a minimum amount of the STK

inventory on hand in case of a delay in resupply or a sudden increase in demand.40

        41.     KBR’s procedures identified specific objective criteria for when items classified as

STK could be cross-leveled. For example, when a request to cross level is received and the

shipping site can fill the request out of inventory above the safety level, "then the cross leveling

request will be filled."41

        42.      “Non-stock” or NS items were “non-demand supported” items that were not

replenished when used. If an item of inventory received three or fewer demands in the previous

360 days, it was “Non-stock.”42




40
       Ex. 102 (KBR Materials Stock Plan Desktop Operating Procedure Rev. #0) at ‘4399-4400;
Ex. 56 (KBR Materials Stock Plan Desktop Operating Procedure Rev. #2) at ‘0604-05; Ex. 57
(KBR Materials Stock Plan Desktop Operating Procedure Rev. 03) at ‘5072; see also, e.g., Ex. 126
(Haught Dep.) 206:9-13.
41
         See, e.g., Ex. 90 (KBR “Desktop Procedures: Redistribution of Government Property and
Materiel to include FOB/Base Closures,” revised June 2007) at ‘0993 (“All sites are required to
support cross leveling requirements. When a request to cross level is received and the shipping site
can fill the request out of inventory above the safety level then the cross leveling request will be
filled.”); Ex. 47 (KBR Desktop Operating Procedures: Distribution of Government Property, dated
June 2008) at ‘2887 (“The Safety Stock Level (SSL) is the determining factor when filling cross
level material requests. The shipping site must fill request if the requested item is above the SSL
in [MAXIMO/]STEAM.”); Ex. 16 (KBR Distribution of Government Property Desktop Operating
Procedure, Rev. #01, dated Aug. 23, 2008) at ‘9179 (“The Safety Stock Level (SSL) is the
determining factor when filling Cross Level material requests;” cross-level requests must be filed
“if the requested item is above the SSL in [MAXIMO/]STEAM.”). (emphasis added)
42
       Ex. 102 (KBR Materials Stock Plan Desktop Operating Procedure Rev. #0) at ‘4399;
Ex. 56 (KBR Materials Stock Plan Desktop Operating Procedure Rev. #2) at ‘0599-0600; Ex. 57
(KBR Materials Stock Plan Desktop Operating Procedure Rev. 03) at ’5069-070.



                                               -190-
       43.     KBR’s procedures identified specific objective criteria for when items classified as

NS could be cross-leveled; items classified as “non-stock” could be cross-leveled and sent to sites

that needed the item, regardless of the quantity of the item that the site had on hand.43

       44.     In addition to the STK and NS classifications, KBR could classify an item of

inventory as “reserved” if it met certain criteria. Under KBR’s procedures, items that were

“reserved” could not be cross-leveled.44

       45.     When an item of inventory was in transit from one place to another, that inventory

could be placed in a temporary, virtual storeroom called a “TREC” in KBR’s inventory

management program.45


43
       Ex. 65 (containing Sept. 11, 2009 email from L. Lust, Deputy Principal Program Manager)
at ‘4478 (directing cross-level requests to be filled from “non-stock lines down to zero”).
44
        Ex. 33 (internal KBR email containing May 19, 2011 email from KBR Theater Manager
PSM-Supply, E. Faris) at ‘9202 (“You must have a valid ACL [Authorized Change Letter] to
reserve items . . . .”); Ex. 124 (Faris Dep.) 160:11-161:2 (“A. Having a valid ACL [Authorized
Change Letter]. That means their ACL came through, they had an ACL. That ACL might have
gotten closed out. They didn’t go in there and close it out. They have left it in there. Q. And again,
the ACL . . . is like a work order. If you put material under that category of an ACL, it’s not
available for any purpose other than to work on that ACL until you close that out? A. Correct.”);
see also Ex. 30 (internal KBR email containing June 18, 2009 email from KBR Material Control
Supervisor, T. Hayes) at ‘2483 (“He said they are placing everything on reserve so DMC won’t
ask for it CL [cross-leveled].”).
45
         Ex. 144 (Sullivan Dep.) 88:11-18 (testifying a TREC is “a temporary receiving storeroom”;
“TRECs were created because they were meant to be used as a virtual reminder of material that
was in transit.”); 93:6-10 (agreeing “TRECs were created to show that it was somewhere in the
possession of KBR but not at the actual site where its ultimate destination was”), 97:12-98:1
(“Q. Ideally, once the material in question arrived at its final destination at a particular site, you
would want to move it from a TREC into the storeroom electronically in Maximo as quickly as
possible, right? [Objection.] A. You would want to . . . put it on the shelf physically. You would
want to perform in Maximo the transfer or the receipt as quickly as you could after you had placed
it on the shelf. Q. Because that’s the way people know that . . . the material is actually there at the
site, right, they can see it in Maximo? A. Yes. [Objection.]”). KBR’s proper accounting of TRECs
was of critical importance; according to a KBR Technical Directive Bulletin issued in May 2009,
“The integrity of the TRECs is the cornerstone of a valid receiving and inventory control system.”
Ex. 11 (May 2009 KBR Technical Direction Bulletin re: TRECs) at ECF Page 1.



                                                -191-
        46.     Under KBR’s procedures, upon physical receipt of an item and within 48 hours

from receipt, KBR personnel were required to change the inventory data to reflect that the item

was no longer in the TREC, but in the storeroom where the item was physically located.46

        47.     While inventory remained in TRECs, it could not be cross-leveled because the

system regarded it as unavailable.47

        48.     In 2008, KBR established a Distribution Management Center (“DMC”) and gave it

explicit responsibility for cross-leveling before purchasing any new material. The DMC was

responsible for screening all requests for material procurement to determine if the requested

material was available in theater.48


46
       Ex. 11 (May 2009 KBR Technical Direction Bulletin re: TRECs) at ECF Page 1 (“Material
must be received within 24 hours and entered into STEAM within 48 hours in accordance with the
KBR PCP. . . . Material should be received in the TREC and when physically accounted for on
the Daily Dock Report, be transferred to the appropriate storeroom and managed by Warehouse
personnel.”).
47
          Ex. 139 (O’Muirgheasa Dep.) 166:24-167:5 (“Q. . . . [I]f something was in a TREC, your
understanding was you weren’t allowed to Cross Level it or weren’t able to Cross Level it, I should
say? [Objection.] A. That is my understanding, yes.”); Ex. 124 (Faris Dep.) 207:11-18 (“Q. . . .
[Y]ou’re aware that if a site . . . wanted some material and that material was in the TREC and it
was plenty of material there . . . that the . . . site would not be able to see that material was available
for cross-leveling? [Objection.] A. Correct.”); Ex. 126 (Haught Dep.) 233:15-234:3 (“A. A TREC
is a temporary receiving place and the only time that it should stay in there for any length of time
is if it’s taking a while to move from physically one site to another site. But once it’s received, it
should be received and annotated in a storeroom at the receiving location. Q. . . . [L]et’s say some
material doesn’t get . . . electronically moved into the correct storeroom in STEAM. . . . Can that
material be seen if the DMC wants to cross-level it? A. To my understanding, if it’s in a TREC,
they wouldn’t necessarily be able to see it.”); Ex. 127 (Hippert Dep.) 145:1-5 (“Q. . . . [W]hile a
piece of property would be designated in a TREC, it was not available for cross-leveling, correct?
A. Well, that’s correct because . . . it was not physically on ground, right.”).
48
        Ex. 139 (O’Muirgheasa Dep.) 29:20-23 (agreeing DMC was started in the time frame of
February/March, 2008); Ex. 128 (Hurd Dep.) 55:2-58:4 (“Distribution management center was a
project by senior leadership with the view of redistribution office being directly involved with
tasking sites to cross-level by direction material or property with the visibility in
[MAXIMO/]STEAM on a line-by-line item. . . . [T]hey directed me . . . to get it set up in Kuwait
early ’08.”), 62:11-15 (agreeing DMC office in Kuwait opened after April 1, 2008); Ex. 16 (KBR
Distribution of Government Property Desktop Operating Procedure, Rev #01, dated Aug. 23,


                                                  -192-
        49.     Among other required steps in the cross-leveling process, a site requesting an item

of inventory had to place the request in “MATCON” status in [MAXIMO/]STEAM. If the request

was not put in MATCON status, it was not checked for cross-leveling.49




2008) (“The DMC (Distribution Management Center) will be responsible for screening all requests
for procurement action for possible Cross Level support.”) (Emphasis in original); Ex. 39 (Mar. 3,
2008 email containing draft KBR “Distribution Management Center Proof of Principle – CJOA”
presentation) at ‘0732 (“What is the Distribution management center Proof of Principle? It’s
an augmentation of the Theatre Redistribution group. DMC will screen all requisitions submitted
by CJOA for cross leveling potential. To fill line items from available stock in Theater and cancel
the requested line items. . . . When will this take place? 2nd week of March.”), at ‘0733 (“Purpose
The Distribution Management Center Initiative will check item availability on all requisitions and
cross level when possible, thereby reducing the amount of redistributable material. Not only will
this initiative speed the requisition cycle time, but will also reduce the delivery lead time as well.”).
The purpose of the DMC was to centralize the cross-leveling function and make it more efficient;
by having a central office handle cross-leveling, it would be easier to compel sites to cross-level,
and monitor their performance in doing so. Ex. 63 (internal KBR email containing Aug. 2, 2010
email from KBR’s Head of the DMC, C. O’Muirgheasa) at ‘0042 (“The DMC was created to
perform cross leveling theater-wide in order to compel sites to perform cross levels for material
requisitions . . . .”); Ex. 139 (O’Muirgheasa Dep.) 30:10-31:6; Ex. 39 (Mar. 3, 2008 email
containing draft KBR “Distribution Management Center Proof of Principle – CJOA” presentation)
at ‘0733 (Benefits of DMC include, “Supports the site in thoroughly checking theater for request.
Visibility of material across theatre. Material Management center will be accountable for tracking
cross leveled material with assistance from Log Cell. Shorter handling time for the requisitions
with new process.”).
49
        Ex. 16 (KBR Distribution of Government Property Desktop Operating Procedure,
Rev. #01, dated Aug. 23, 2008) at ‘9181. “Once coded ‘MATCON’ the DMC will screen the
requisition and task applicable sites to fill line items found available in theater.” Id.; see also
Ex. 132 (KBR 30(b)(6) (Lust) Sept. 28, 2021 Dep.) 30:4-32:3 (“The DMC would then get it, once
it was coded into MATCON, and take in that requisition, check across . . . the entire inventory we
had within LOGCAP III to see if . . . that demand could be satisfied.”). In other words, placing a
requisition in MATCON status was a code to signify to the DMC to attempt to cross-level and fill
the request with excess inventory already on hand. See Ex. 126 (Haught Dep.) 52:15-53:12
(“Q. . . . MATCON, does that stand for material control? A. I believe so. Q. . . . Was that . . .
kind of the flag to the DMC that an item should be checked for cross-leveling if they . . . saw that
in the system? [Objection.] A. I believe that’s correct.”; agreeing KBR’s policy was for DMC to
screen all requisitions for cross-level opportunity), 145:16-20 (“Q.             . . . [S]o the
[MAXIMO/]STEAM system, if you put it in MATCON, that’s a flag to the DMC to try to cross-
level. Right? [Objection.] A. I believe that’s correct.”).



                                                 -193-
        50.      Further, before a site declared an item of inventory to be unnecessary and return it

to the Government, KBR had to perform a check and verify that it was not needed elsewhere in

the theater.50

        51.      The process of returning unneeded, excess inventory to the Government was called

the Plant Clearance Automated Reutilization Screening System, or “PCARSS.” “The intent of the

PCARSS process is to demonstrate that all reasonable steps possible have been taken to ensure

that all of the items being sent to the PCARSS process have no remaining use on the LOGCAP III

project, that KBR has done everything possible to maximize the usage of these items . . . .”51

III.    KBR Systematically Failed to Make Use of Existing, Excess Inventory

        A.       KBR Inexplicably Operated for Years without an Integrated Inventory
                 Management System, and Its Transition to an Integrated Inventory
                 Management System Was Fraught with Delays and Problems

        52.      Integrated inventory management systems have been available since at least 2000.52


50
        See, e.g., Ex. 138 (McNamara Dep.) 73:22-74:13 (“Q. . . . What’s your understanding of
what happens once an item is declared excess? [Objection.] A. Then it goes into the disposal
action. There are things that the contractor has to do. If it’s declared excess, [the contractor] must
screen first to see if [the contractor] needs it anywhere else. That’s [the contractor’s] first
requirement. And then if there are no takers or . . . there’s nothing that . . . it’s needed for, it is
truly excess, and [the contractor] has to schedule it. And [the contractor] has a time period to get
that out.”).
51
        Ex. 127 (Hippert Dep.) 156:6-24.

Ex. 88 (containing June 18, 2009 internal KBR email) at ‘4356. Indeed, beginning in 2009, when
returning items declared as excess to the Government, KBR certified to the Government that “The
attached list of item(s) have been screened for cross level requirements throughout the theater of
operation. At this time, there are no foreseeable requirements in support of the current mission.”
Ex. 45 (PCARSS Form) at ‘4258. In other words, when KBR sent items into PCARSS, it was
representing to the Government that there was “no longer [] a need for it.” Ex. 133 (KBR 30(b)(6)
(Lust) (Sept. 29, 2021) Dep.) 88:20-89:17.
52
       Ex. 97 (Expert Rebuttal Report of M. Rudolph) at 8 (“Integrated inventory management
systems were abundant and available for use years prior to 2000 or 2001.”), at 16 (“Integrated
Inventory Management Systems were readily available and standard practice even for projects
much smaller in scope, complexity, and challenges than the LOGCAP III contract, even as that


                                                -194-
       53.     Any reasonable inventory manager operating multiple sites across a region and

managing hundreds of thousands of line items would have used an integrated inventory

management system.53

       54.     Though MAXIMO/STEAM was first authorized and approved in October 2005,

KBR’s transition to MAXIMO/STEAM took years; in October 2007, KBR was still in the process

of upgrading its legacy systems to the centralized STEAM, and still facing resistance from KBR

employees at various sites.54

       55.     The effects of KBR’s mismanagement of inventory, and failure to properly

cross-level without a centralized inventory management program, caused hundreds of millions of

dollars of excess inventory to build up in its warehouses. By May 2008, KBR had “nearly

900 million dollars worth of materials… we need to cross level instead of purchase.”55

       B.      Overview of KBR’s Systemic Failures

       56.     Even with MAXIMO/STEAM, KBR’s cross-leveling efforts did not improve. An

internal KBR report from July 2008 examining and analyzing inventory usage at several sites




contract may have been originally conceived leading up to award in 2001. For example, inventory
management systems from Oracle, SAP, IBM, and other major providers were available and being
used prior to 2001 when LOGCAP III was put in place.”).
53
       Ex. 94 (Expert Report of M. Rudolph) at 5, 51-54.
54
         Ex. 122 (Brannen Dep.) 38:17-39:3 (testifying that as of September 2007, KBR was “still
in the process of uploading [its] legacy systems” to STEAM); Ex. 55 (containing Oct. 16, 2007
internal KBR emails) at ‘5121 (“Our HQ response to the CAR [Corrective Action Request] on
materials indicated that we would be off all legacy systems by the end of September. . . . DCMA
visited a site and found the HVAC operation still using a legacy system (spreadsheet).”), at ‘5120
(“I just had my Material and Property Managers go to each site and we STILL have legacy systems
in place.”).
55
       Ex. 58 (May 24, 2008 email from KBR Business Segment Manager Responsible for
Operation of KBR’s Integrated Inventory Management System, L. Sullivan).



                                              -195-
found staggering proportions of underutilized and unused inventory in the following percentages:

63% of the total inventory at “A Sites JBB,” 81% of the total inventory at “A Sites Ashraf,” 63%

of the total inventory at the “B Sites,” 55% of the total inventory at the “C Sites,” 53% of the total

inventory at the “Taji” sites, 51% of the total inventory at the “D and F” sites, 45% of the total

inventory at the “G Sites,” 60% of the total inventory at the “H Sites,” 77% of the total inventory

at the “Kuwait” sites, 89% of the total inventory at the “T Sites,” 77% of the total inventory at the

Bucca site, 31% of the total inventory at the “USMI” sites, 69% of the total inventory at the “TTM”

sites, and 56% of the total inventory at the “CLSS” sites.56

       57.     In fact, KBR’s systemic failures to use available inventory on hand culminated in

over $1 billion of excess inventory on its shelves while, at the same time, KBR was ordering

millions of dollars of new material—every day as noted by KBR's Deputy Program Manager,

Rich Kaye:

                       We are purchasing $5 M per day when we’ve got $1.2B
                       i[n] excess on hand. At some point, the DCAA [Defense




56
        Ex. 85 (July 27, 2008 internal KBR email from KBR’s Theater PSM Manager-Supply,
J. Haught) at report reproduced on pp. 3-18; Ex. 147 (Vujic Dep.) 57:11-60:9. An internal KBR
“inventory analysis” from August 2008 found that across all of KBR’s sites, fully 63% of the total
inventory was underutilized. Ex. 86 (Aug. 17, 2008 email from T. Sellars) at “Site Roll Up” tab
(p. 3); Ex. 147 (Vujic Dep. 73:1-79:21. An internal KBR report from May 2009 showed that the
sites in Afghanistan had a 60% inventory underutilization rate. Ex. 87 (May 4, 2009 email from
J. Haught attaching inventory analysis) at ‘3905; Ex. 147 (Vujic Dep.) 80:2-86:20. An internal
KBR examination and “Analysis of Excess Inventory” of just the B sites’ inventory in November
2009 found that 70% of its total inventory, totaling $70,309,058 in value, was “EXCESS.” Ex. 72
(Nov. 6, 2009 internal KBR email from KBR’s Head of the DMC, C. O’Muirgheasa, attaching
“Analysis of Excess Inventory at B Sites”) at ‘8710 (of $100,353,959 of “TOTAL INVENTORY,”
$70,309,058” was “TOTAL EXCESS”), at ‘8708 (“Of the over $100,000,000 of materials in
inventory at B Sites, my analysis of the ASL report is that about $70,000,000 is Excess and
$30,000,000 is Stock.”).



                                                -196-
                        Contract Audit Agency] is going to put KBR out of
                        business if we keep doing this.57

       58.     This incredible buildup of unused, excess inventory caused one KBR employee to

observe: “We should build another warehouse to stock all the unnecessary material.”58

       59.     In June 2009, KBR’s head of LOGCAP III, Principal Program Manager

Guy LaBoa, was aware of, and communicated to other senior KBR managers about, the

problematic excess of unused inventory (which he describes as “non-demand supported material”)

and its implications:

                        Fellows, this is going to cause a significant wrinkle for us
                        with someone. I would like to talk you all on this before
                        we start this train wreck … The initial report for
                        OPSDIR [Operations Directive] Removal of Non-
                        Demand Supported Material yielded 130,000 lines, with
                        4.6 million items and an estimated value of $146
                        million.59

       60.     In 2008, Brandon Simmons, the manager of the DMC—the KBR group responsible

for cross-leveling—identified and internally reported three systemic problems that “imped[ed]”

KBR’s cross-leveling efforts: (1) misclassifying NS items (which could be freely cross-leveled) as

STK items (which could only be cross-leveled in certain situations); (2) sites simply ignoring


57
     Ex. 8 (Internal KBR email containing Feb. 25, 2010 email from KBR’s Deputy Program
Manager – Support, R. Kaye) (emphasis added).
58
        Ex. 30 (Internal KBR email containing June 18, 2009 emails from KBR Material Control
Supervisor, T. Hayes) at ‘2483; see also id. (“He said they are placing everything on reserve so
DMC won’t ask for it CL [cross-leveled] . . . . Some MRN [material reference numbers], there are
no issues in the last year and they are ordering material and we have stock available. Numerous
items are way above reorder points and they are ordering more . . . . The above example is just one
of many I have found. I have learned to not say anything as you will get demoted, sent away, or
sent home.”), at ‘2482 (“I am tired of seeing the abuse and waste going on here – I can no longer
be a part of this . . . .”).
59
        Ex. 28 (internal KBR email containing June 11, 2009 email from G. LaBoa) (emphasis in
original).



                                               -197-
requests to send their unused materials to other sites for cross-leveling; and (3) sites not putting

requisitions into MATCON status, thereby skipping the DMC and the cross-level system

altogether. In Mr. Simmons’ words:

                       The three major factors impeding the DMC’s ability to Cross
                       Level under utilized materials are as follows:

                              1) Categorization of ASL/Inventory Lines (i.e.
                                 reflecting [STK] when demands indicates [SP] or
                                 [NS] category)
                              2) Unresponsive Sites/Projects to Tasking leading
                                 to Denials
                              3) Sites/Projects resistant to place Material
                                 Requisitions in MATCON Status; consequently,
                                 sending the Majority (if not All) directly through
                                 Procurement Channels60

       61.     In March 2010, in an email to KBR Deputy Principal Program Manager, Larry Lust,

discussing cross-leveling problems, KBR Deputy Program Manager – Support, Rich Kaye,

confirmed that many of these same systemic problems continued and worsened:

                       I have decide[d] to take over the management of materials
                       since no one else here has a clue how that ought to be done .
                       . . . Last year, fully 35% of all requisitions (with an
                       extended value of $401M[illion]) by-passed the cross-
                       leveling check. As we start to turn over more and more
                       materials to GOI [Government of Iraq], we are facing an
                       increasing risk of being Formed 1 for buying items we
                       just declared excess and gave away.

                       Tomorrow, I’m going in through the back door and
                       enforcing the STK vs NS rules ….as of yesterday, we [had]
                       43,801 lines across Iraq being carried as STK that have
                       2 or fewer demands in the past 360 days. Then, we are
                       going to automatically calculate RO and ROP. We did a trial
                       run on three sites and determined that 80% of their STK



60
      Ex. 3 (Internal KBR email containing Dec. 29, 2008 email from KBR’s Head of the DMC,
B. Simmons) at ‘4448. Id.; see also Ex. 79 (Internal KBR email containing Dec. 27, 2008 email
from KBR’s Head of the DMC, B. Simmons) at ‘3202 (same).



                                               -198-
                       lines had RO and ROP set above what it should be based
                       upon demand history.

                       Simultaneously, we are unreserving all reserved stock that
                       does not have an active work order or ACL against it. We’ve
                       got $71M[illion] in reserved stock of which less than 50%
                       is legitimate. The rest is against cancelled ACLs, completed
                       ACLs, or just plain “hidden” from cross-leveling.

                       TREC storerooms is going to be my biggest challenge
                       ….we’ve currently got $331M[illion] in them as of
                       yesterday. I’ve told Guy [LaBoa, KBR Principal Program
                       Manager] this is the Mother of all Forms 1. As you know,
                       someone at a primary receiving site (Dubai, Kuwait or
                       Houston) had to enter it into [MAXIMO/]STEAM. The
                       causative research will be brutal.

These same problems were reflected and quantified in other documents as well.61

       62.     In April 2010, in an email to KBR Principal Program Manager, Guy LaBoa,

discussing cross-leveling problems, KBR Deputy Program Manager – Support, Rich Kaye, again

confirmed that many of these same systemic problems continued and worsened:

                       The deeper I dig, the more uncomfortable I become that we
                       really do know what’s going on. We’ve got continuing
                       issues with RO, ROP, Stk vs Non-Stk, reservations and
                       TRECs.




61
        Ex. 81 (Mar. 20, 2010 email from KBR Deputy Program manager – Support, R. Kaye, to
KBR Deputy Principal Program Manager, L. Lust) at ‘9112 (emphasis added). See also Ex. 46
(March 13, 2010 KBR “Supply Discipline PSM Supply - Areas of Opportunity”) at ‘6110
(“Currently, there are 22,832 line items in the amount of $93,768,841.05 that are in reserve. Of
3,553 total line items, only 15% in the amount of $83,852,852.63 that [] are justified by an ACL.”),
at ‘6111 (“There are several items that are in the TREC storerooms that have not been transferred
to the end destination storerooms. As a result, there is a lack of accountability of the items,
inaccurate current balances, and unnecessary IARs [Inventory Adjustment Reports] reviewed and
signed by the PM and the Client.”), at ‘6112 (identifying “43,653 [STK] lines that should be
updated to NS. This reflects as an inventory error as the STK category is improperly categorized.
… Changing the item category to NS will depict a true picture of the actual excess items available
for cross level.”), at ‘6116 (“[T]rades areas have materials/equipment that could be excess to their
area based on the demand history.”).



                                               -199-
LaBoa made clear that the people who reported to him were straight shooters and did not

exaggerate.62

       C.       KBR Did Not Even Check Its Existing Inventory Before Making New
                Purchases

       63.      In 2009, KBR spent over $401 million—representing half of the value of all

material requisitions for that year—without even checking its existing inventory to see if it already

had an excessive amount of a needed item in theater before purchasing that item new. This problem

was discussed internally among KBR's senior leadership team who were in possession of the

quantitative analysis of the problem.63

       64.      Even higher percentages of KBR’s material requisitions and of the value of the

requisitions bypassed the cross-level check in 2007 and 2008. In 2007, out of 65,372 Material

Requisitions valued at $1,237,891,670.75, a total of 52,488 (80.3%) of those Material Requisitions

valued at $949,886,655.51 (76.7% of the dollars) were not checked for cross-leveling. In 2008,

out of 90,025 Material Requisitions valued at $1,171,737,717.95, a total of 49,683 (55.2%) of




62
       Ex. 82 (Apr. 1, 2010 internal KBR email from KBR Deputy Program Manager – Support,
R. Kaye, to KBR Principal Program Manager, G. LaBoa) (emphasis added); Ex. 135 (LaBoa Dep.)
16:11-17:7.
63
        Ex. 38 (Mar. 5, 2010 internal KBR email from KBR Deputy Program Manager – Support,
R. Kaye, to KBR Principal Program Manager, G. LaBoa, and others) at ‘4744 (“The objective of
this directive is to ensure that 100% of all requisitions are screened against in theater excess before
being released to either the DOD wholesale system . . . or commercial purchase. In 2009, 35% of
all requisitions (having an extended cost of $401M[illion] bypassed this review.”); Ex. 66 (Feb. 28,
2010 internal KBR email from KBR’s Head of the DMC, C. O’Muirgheasa) at ‘4132 (“In 2009,
65% of [Requisitions] were put into MATCON, representing 51% of the dollars. So, 35% of the
[Requisitions] bypassed us [KBR’s DMC], representing almost 50% of the dollars.”); Ex. 67 (KBR
data) at ‘4133 (quantifying that in 2009, out of 65,526 Material Requisitions valued at
$812,554,107.70, a total of 23,124 (35.3%) of the Material Requisitions valued at $401,484,184.06
(49.4% of the dollars) did not go to the DMC for the cross-leveling check).


                                                -200-
those Material Requisitions valued at $647,308,265.68 (55.2% of the dollars) were not checked

for cross-leveling.64

          65.    The problem of skipping the cross-level check was so pervasive that in March 2010,

KBR issued a Technical Directive to address it. In that directive, KBR admitted that in 2009 it did

not even try to cross-level 35% of the time (representing approximately 50% of the dollar volume

of purchases), which could result in purchasing new items that it already had in excess:

                        The use of Material Control (MATCON) status in
                        MAXIMO is being bypassed 35% of the time. When
                        MATCON is bypassed, requisitions move directly from
                        Awaiting Approval (WAPPR) to Approved (APPR) without
                        giving the Distribution Management Center (DMC) the
                        opportunity to screen for asset availability and to cross-
                        level stocks within Iraq Joint Operations Area (IJOA).
                        Bypassing MATCON potentially results in purchasing
                        property and material items that are excess elsewhere in
                        the IJOA.65

          66.    KBR’s internal audit team, the “SMART” team, found repeated instances of sites

abjectly failing to cross-level.66 As noted below at paragraphs 87-90, KBR refused to provide


64
          Ex. 67 (KBR data) at ‘4133.
65
          Ex. 4 (KBR Mar. 2010 Materials Control Technical Directive), at ECF Page 1 (emphasis
added).
66
        See, e.g., Ex. 50 (Internal KBR email attaching 2008 SMART Reports) at ‘3901 (for site
B1: “Based on the amount of excess material in the lay down yard and throughout the site to
include the crafts, and that is not recorded in [MAXIMO/]Steam, there is no indication that
Requisitions are screened internally or Theater wide.”), at ‘3969 (for site B6: “Inspection and
review found multiple items in materials possession, as well as (Trades) tool rooms found to have
increased stock levels with no procedures in place to cross level excess property.”), at ‘4017 (for
site B9: same); Ex. 51 (Internal KBR email attaching 2008 SMART Report for site B3) at ‘4809
(“According to the material requisitions reviewed, indication shown that they have been screened
against the Theater and Warehouse stock. However, based on the amount of excess items
throughout the Site and Central Materials Yard, this process is not being completed sufficiently”),
at ‘4823 (“Multiple assets in Materials possession . . . were found to have increased stock levels
with no procedures in place to cross level excess property properly-not in STEAM”); Ex. 134
(King Dep.) 150:19-151:12 (referencing 2008 SMART Report for site D5) (“Q. . . . [O]ne of [the
observations the SMART team found] is requisitions not being screened through warehouse or

                                               -201-
copies of these SMART and other internal audit reports to the Government despite requests to do

so.

       67.     KBR continued to buy new property and materials while failing to attempt to

cross-level; as of February 2010, “approximately five million dollars worth of materials and



theater-wide, is that right? A. That’s correct. . . . Q. And of the 78 material requisition samples
pulled, only 1 passed and 77 failed, is that correct? A. Right. Q. Is that a good result, sir? A: Not
-- [Objection]. [A.] No, it’s not.”), 153:25-154:6 (referencing 2008 SMART Report for site G3)
(“Q. So of the 100 material requisitions . . . samples pulled by the SMART team for this audit,
only 7 passed and 93 failed, is that correct? A. That’s correct, according to their report. Q. Is that
a good result, sir? [Objection]. [A.] No, sir.”), 156:21-157:8 (referencing 2008 SMART Report
for site C1) (“Q. . . . [O]ne of the key observations the SMART team made in connection with this
audit of site C1 was numerous material requisition files did not indicate if internal screening of
local and theater stock were conducted prior to submission for approval, is that correct? A. I
believe it is. Q. And that means prior to submission of the material requisition for approval for
procurement, is that right? [Objection]. [A.] I believe so.”), 160:1-13 (referencing email
concerning SMART audits and results for site C7) (“Q. . . . [O]ne of the deficiencies that you’re
reporting to senior management here for site C7 was that the site wasn’t screening inhouse or
theater-wide prior to submitting material requisitions for purchase, is that correct? [Objection].
[A.] That’s correct.”), 164:3-21 (referencing 2008 SMART Report for site F3-3) (“Q. The fourth
bullet down [on page 027] says: 22 of the 45 . . . material requisition files reviewed did not reflect
stock or other theater locations had been screened for cross-leveling prior to submittal for purchase.
Do you see that, sir? . . . A. I did see it. Q. So these 45 material requisition samples that would
be looked at are new material requisition samples that the SMART team is looking at in connection
with this relook, is that correct? A. That’s correct. Q. And even on this relook, is it correct that
22 of those 45 material requisition files did not reflect that the items had been cross-leveled prior
to submitting for purchase? [Objection]. [A.] Correct, but I don’t know . . . was that an admin
issue or something more.”), 174:22-175:13 (referencing internal KBR email concerning SMART
audits) (“Q. And if you go down to the fourth bullet, it says: Stores reflecting materials that have
not had any issues in some cases over 2 years. Do you see that? A. I do. Q. What does that mean
for materials not to have an issue in over 2 years? A. The items have been sitting in a bin and no
movement. Q. Meaning nobody’s asked to make use of it or use it? A. Exactly. Q. . . . And why
is that an issue? Why is that a problem? A. It should have been declared excess and should have
been turned in or attempted to cross-level to someone.”), 181:8-22 (referencing internal KBR email
chain) (“Q. So you’re reporting here that you can see that some of these material requisitions were
not screened for cross level prior to submitting the material requisition for procurement action, is
that what that means, sir? A. Yes, it does. Q. And you say: This is a major area that I will be
addressing to you and senior management when I get back to Baghdad early this month. Do you
see that? A. I do. Q. Why was this a major area for you to address? A. I’m going to get -- the
thing is still not being screened is number 1. And it -- why that’s not happening this is causing all
kind of problems still . . . .”).



                                                -202-
supplies are ordered each day” by KBR, but “[o]nly minimal review is exercised at the regional or

theater level to [e]nsure that all possible cross-levels are performed and the consequence of weak

management is a growing excess.”67

       D.      KBR Sites Ignored Efforts to Use Existing Inventory to Avoid Making New
               Purchases, Instead Hoarding Inventory

       68.     In February 2009, Mark Brannen, KBR’s Deputy Program Manager – Support and

a member of its Senior Leadership Team, described to numerous KBR employees, including its

senior managers, the systemic problem of sites ignoring cross-leveling requests from the DMC on

behalf of other sites, thus frustrating all attempts to use excess inventory:

                       The DMC was established to speed the process of cross-
                       leveling across Theater, while also reducing our stockage of
                       materials prior to transitioning to LCIV [LOGCAP IV].
                       Although we have made progress, we have taken some steps
                       backward in the past few months… That evolution has led
                       us to the point where Sites are ignoring DMC requests and
                       allowing the action to be cancelled through neglect, rather
                       than through formal denials approved by the SLT [KBR’s
                       Senior Leadership Team].68

       69.     Sites also ignored cross-leveling obligations by hiding inventory from other sites.

A 2009 SMART Audit Report of Site C7 noted “There are containers in different storage areas

throughout the camp . . . that have material that should have been returned to Materials for

proper accountability. The reason given for not turning the material in is because they do

not want Materials to cross level the assets to other sites.”69


67
       Ex. 69 (Feb. 20, 2010 internal KBR email) at ‘4446.
68
      Ex. 5 (Internal KBR email containing Feb. 2, 2009 email from KBR’s Deputy Program
Manager – Support and a member of its Senior Leadership Team, M. Brannen, to numerous KBR
employees, including its senior managers) at ECF Page 1 (emphasis added).
69
       Ex. 52 (Aug. 24, 2009 internal KBR email attaching SMART Audit Report of Site C7)
at ‘9046 (emphasis in original).



                                                -203-
         70.    In August 2009, James Haught, then KBR’s Theater PSM Manager-Supply, wrote

of the SMART Audit Report of Site C7 that “[t]he most troubling aspect of this report is the site

attempt to hide material to prevent it from being cross leveled. I believe that is close to a COBC

[Code of Business Conduct] violation and I may request an investigation.” In a separate email,

Haught wrote:

                       I am very concerned about comments that indicate the site
                       is hiding material to prevent it from being cross-leveled.
                       That kind of activity takes more than one person to pull off
                       and that smacks of unethical behavior and collusion and may
                       justify a COBC investigation.70

         71.    Similarly, in August 2009, KBR’s Deputy Principal Program Manager, Larry Lust,

wrote:

                       The deficiencies within the SMART report concern me;
                       however, none more so than the comments that indicate the
                       site is hiding material to prevent it from being cross-
                       leveled.71

         72.    In May 2009, another KBR employee wrote about hoarding of materials at another

site:

                       Someone must be responsible for the hording [sic] of
                       equipment that is taking place in that upstairs warehouse.
                       They are not even using [MAXIMO/]STEAM I don’t know
                       how this was able to happen; this is not the kind of publicity
                       USMI needs right now. It must be rectified. I encourage the
                       materials dept. leaders to work with IT folks to get them in

70
        Ex. 21 (Aug. 23, 2009 internal KBR email from KBR’s Theater PSM Manager-Supply,
J. Haught, to KBR’s Deputy Principal Program Manager, L. Lust, copying KBR’s Chief of Staff,
J. Rock) (emphasis added); see also Ex. 31 (Aug. 23, 2009 internal KBR email from J. Haught)
at ‘6990-1 (“The most troubling aspect of this report is the site attempt to hide material to prevent
it from being cross leveled. I believe that is close to a COBC [Code of Business Conduct] violation
and I may request an investigation. Collusion which is unethical at best is the only way that kind
of activity can occur.”).
71
       Ex. 60 (Aug. 24, 2009 internal email from KBR’s Deputy Principal Program Manager,
L. Lust) (emphasis added).



                                               -204-
                       compliance. That place is a disaster waiting to be
                       discovered.72

       E.      KBR Misclassified Its Inventory, Causing It to Unnecessarily Purchase New
               Inventory Instead of Using Existing Inventory

       73.     KBR misclassified inventory as “reserved,” which improperly prevented tens of

millions of dollars of excess inventory from being cross-leveled. As an example, in March 2010,

KBR’s Deputy Program Manager – Support, Rich Kaye, reported to KBR’s Deputy Principal

Program Manager, Larry Lust:

                       We’ve got $71M[illion] in reserved stock of which less than
                       50% is legitimate. The rest is against cancelled ACLs,
                       completed ACLs, or just plain “hidden” from cross-leveling.

This problem was quantified in other documents as well.73

       74.     In June 2009, a KBR employee wrote about misclassification problems and

expressed fear of retribution for speaking out about it:

                       The ordering at TMP is a mess . . . I called Ernie and asked
                       him what was up with the orders that were being placed. He
                       said they are placing everything on reserve so DMC won't
                       ask for it CL [cross-level]. . . . . Some MRN [material
                       reference number], there are no issues in the last year and
                       they are ordering material and we have stock available.
                       Numerous items are way above reorder points and they are
                       ordering more. . . . The above example is just one of many



72
        Ex. 27 (May 10, 2009 internal KBR email) at '3629 (emphasis added); see also Ex. 78
(Feb. 26, 2010 internal KBR email) at ‘5864 (“It still looks like people are trying to ‘hide’ things
so they don’t get cross leveled.”).
73
       Ex. 81 (Mar. 20, 2010 email from KBR Deputy Program Manager – Support, R. Kaye, to
KBR Deputy Principal Program Manager, L. Lust) at ‘9112. See also Ex. 46 (Supply Discipline,
PSM Supply – Areas of Opportunity) at ‘110 (“Currently, there are 22,832 line items in the amount
of $93,768,841.05 that are in reserve. Of 3,553 total line items, only 15% in the amount of
$83,852,852.63 that that are justified by an ACL. … The reserved items are subtracted from the
current balance therefore reducing the possibility of being cross leveled and increases
MR [material requisition] requests for the items in need.”).



                                               -205-
                       I have found. I have learned to not say anything as you will
                       get demoted, sent away or sent home.74

       75.     KBR sites also misclassified items that should have been “Non-stock” as “Stock,”

thereby limiting their ability to be cross-leveled. For instance, in November 2009, KBR’s Head of

the DMC, Conor O’Muirgheasa, prepared a slide deck that highlighted this problem:

                       Slide 2 of 3 shows the number of MRNs in theater – 56,810
                       – that are currently classified as STK but that should be
                       classified as NS. The new slide shows the dollar impact of
                       this misclassification – over $80,000,000 of inventory
                       unavailable for cross leveling…. The fact that those STK
                       items should really be classified as NS is causing us to not
                       be able to cross level over $50,000,000 of inventory.”75

Similarly, a KBR report stated the problem as follows:

                       To date, there are 43,653 lines [classified as STK] that
                       should be updated to NS. This reflects as an inventory error
                       as the STK category is improperly categorized. . . . Changing
                       the item category to NS will depict a true picture of the actual
                       excess items available for cross level.75a

       76.     KBR sites also would set safety stock levels for certain items artificially high,

thereby preventing that item from appearing available for cross-leveling, even though great

amounts of it were sitting unused. For instance, in July 2008, KBR’s Theatre Materials Manager

reported internally that Site C7 had in its possession enough of a certain type of cable to last it

over 800 months, a second type of cable to last 378 months, and a third type of cable to last

90 months.76


74
       Ex. 7 (June 18, 2009 email from KBR’s T. Hays) at ECF Page 4 (emphasis added).
75
       Ex. 6 (Nov. 4, 2009 internal KBR email from C. O’Muirgheasa) at ‘2532 (emphasis added).
75a
       Ex. 46 (Supply Discipline, PSM Supply – Areas of Opportunity) at ‘6112.
76
        Ex. 9 (July 14, 2008 internal KBR email containing July 14, 2008 email from KBR Theatre
Materials Manager S. Hurd) at ‘5653. Yet the site was never even asked to send its excess cable
to other sites that needed it, because “their reorder points and safety stock levels are drastically


                                                -206-
       F.      KBR Misused TRECs To Hide Its Abundance of Inventory

       77.     An internal KBR memorandum, titled “TREC CRIPPLER,” documented how KBR

exploited the fact that items in TRECs could not be cross-leveled, and described how “Personnel

utilizing the TREC to conceal inventory qty’s from DMC for cross level” was one of the systemic

problems that “haunt” KBR, despite “[n]umerous attempts throughout the YRS” to fix it.77

       78.     In February 2010, KBR’s PSM Manager-Supply, Elias Faris, wrote about KBR

exploiting this feature of TRECs to prevent items from being cross-leveled:

                      In looking into the system, it has been discovered that you
                      are utilizing the TRECs storerooms as a storage location. . .
                      Utilization of TREC as a storage facility to hide product
                      will not be tolerated. This is a misrepresentation of the
                      inventory quantity which relates to funds.78

       79.     In “2007 alone,” there were “over $93,000,000.00 . . . in the TRECs,” which KBR’s

Deputy STEAM/MAXIMO Manager, Shon Shannon, said in 2010 “would be considerably outside

of any ‘reasonable’ window.” Shon Shannon continued by stating “2008 has $145,000,000 plus




high.” Id. at ‘5646. As a result, KBR personnel concluded that Site C7 had been “hording this
cable[.]” Id. at ‘5652. See also Ex. 53 (Mar. 22, 2010 internal KBR email from KBR’s Head of
KBR’s SMART Audit Team, J. King, attaching 2010 SMART Audit Report of Site F2) at ‘9155-
56 (“Economic ordering practices are not being properly applied. Materials and End Users are
ordering material that is currently on the project. The information provided below is based on
demands within the D & F Sites,” showing requisitions for one item despite having “32.9” “Years
of Supply in D&F [Sites],” for another item despite having “15.6” “Years of Supply in D&F
[Sites],” for another item despite having “13.0” “Years of Supply in D&F [Sites],” and for another
item despite having “12.7” “Years of Supply in D&F [Sites].”).
77
         Ex. 10 (Oct. 7, 2011 internal KBR email attaching Business Case for Process Design
Initiative, TREC CRIPPLER) at ‘9580.
78
       Ex. 77 (Feb. 18, 2010 internal KBR email) at ‘7433 (emphasis added).



                                              -207-
and 2009 has $68,000,000 plus [in the TRECs]. I don’t think we can justifiably explain doing a

ROD [Report of Discrepancy] this late in the game on any of that material.”79

       80.     KBR records show that in January 2010, over $340 million worth of property and

materials had been in TRECs for more than 60 days.80

       81.     In February 2010, KBR had $350 million worth of inventory had been in TRECs

for over 90 days, a problem which KBR recognized internally.81

       82.     KBR’s Theater PSM Manager-Supply, James Haught, wrote the following in

May 2009 concerning KBR’s TRECs and KBR’s management of materials:

                       We are not fulfilling our roles and responsibilities for the
                       management of material for this Project. A recent review
                       showed over 174,000 items recorded in TREC’s. . . . Some
                       of these items have been in TREC’s for over 60 days.
                       That is unacceptable. As Material Managers, it is your
                       duty to conduct business in a professional manner that
                       means using good business practices and ethical behavior.
                       The lack of attention to detail suggests we are not using
                       good business practices and have become complacent. The


79
       Ex. 14 (Internal KBR email re: TREC transactions) at ‘5547.
80
       Ex. 15 (Feb. 21, 2010 internal KBR email attaching analysis of KBR’s “Theater Temporary
Receiving (TREC) Storeroom Inventory”) at ‘0109 (p.8) (calculating across multiple sites
“67,381” line items valued at “$342,381,068.37” “IN TREC OVER 60 DAYS”); Ex. 68 (Jan. 23,
2010 internal KBR email attaching analysis of TRECs) at ‘0866 (same); Ex. 147 (Vujic Dep.)
129:14-19 (“Q. . . . [D]oes this chart show that KBR had, at this time, $342,381,068.37 worth of
property and materials recorded in the TRECs [in] MAXIMO for more than 60 days? [Objection.]
A. According to the report, yes.”).
81
          Ex. 73 (Feb. 21, 2010 internal KBR email) at ‘5540 (“We currently have about 350 million
dollars in our TREC’s. I strongly believe about 80% of the items left aging over 90 days inside our
TRECS are pending IAR’s [Inventory Adjustment Reports]. The problem is, no one wants to take
accountability of taking care of their TREC’s . . . .”); Ex. 144 (Sullivan Dep.) 106:18-107:12 (“Q.
. . . [I]n this February 21st, 2010 e-mail chain, it’s ultimately being reported to you that there is
about $350 million in TREC, correct? A. That is what the e-mail says. . . . Q. And [a KBR
employee] is indicating that he believed about 80 percent of the items were left aging over 90 days
in the TREC, correct? A. That’s what he says in the e-mail. Q. And did you have any reason to
dispute that? A. I did not dispute it.”).



                                               -208-
                      TREC example [is] only symptomatic of the systemic
                      issues I have seen in the last couple of weeks.82

       83.     In March 2010, KBR’s Deputy Program Manager – Support, Rich Kaye, wrote to

KBR’s Deputy Principal Program Manager, Larry Lust, about KBR’s TRECs:

                      TREC storerooms is going to be my biggest challenge. ….
                      we’ve currently got $331 M[illion] in them as of yesterday.
                      I’ve told Guy [LaBoa, KBR’s Principal Program Manager]
                      this is the Mother of all Forms 1. As you know, someone at
                      a primary receiving site (Dubai, Kuwait or Houston) had to
                      enter it into [MAXIMO/]STEAM. The causative research
                      will be brutal.83

       G.      KBR Knew That the Government Would Have Demanded Funds Back Via
               Forms 1 Had the Government Known of KBR’s Systemic Inventory
               Management Failures

       84.     As LOGCAP III was winding down, on March 2, 2010, KBR’s Deputy Program

Manager – Support, Rich Kaye, summarized to KBR’s Deputy Principal Program Manager,

Larry Lust, how the effects of KBR’s systemic failures in managing the Government’s property

had only gotten worse over time, and how they were culminating, including the Government

potentially issuing Forms 1 for potentially unallowable costs:

                      This place is getting wackier and wackier as we start to wind
                      down… My greatest frustration is that no one other
                      tha[n] a select few are committed to doing this right …
                      too many simply won’t change, six time returnees to
                      LOGCAP who just want to “get er done” without any regard
                      to the long term consequences. Every day we get more and
                      more objective evidence from the various audit agencies that
                      short cuts and expediencies taken years ago are now
                      coming home to roost in the form of Form 1s. At times,
                      the auditors are young, inexperienced and clueless … but
                      other times, they get it right and we don’t have a rationale
                      (sic) defense. And then we let go the only people trying to

82
       Ex. 25 (internal May 19, 2009 KBR email) at ‘7111-12 (emphasis added).
83
      Ex. 81 (Mar. 20, 2010 internal KBR email from KBR Deputy Program Manager – Support,
R. Kaye to KBR Deputy Principal Program Manager, L. Lust) at ‘9112 (emphasis added).



                                              -209-
                       mount a defense. I suppose the old maxim applies, “If you
                       want it bad, you’ll get it bad.”

Lust agreed with Kaye's assessment.84

       85.     This is not the only time that KBR acknowledged that had the Government known

of KBR’s systemic failures, it would have demanded funds back via Forms 1, or “put KBR out of

business”. This point was acknowledged repeatedly by KBR's senior leadership team:

                       We are purchasing $5 M per day when we’ve got $1.2B
                       i[n] excess on hand. At some point, the DCAA [Defense
                       Contract Audit Agency] is going to put KBR out of
                       business if we keep doing this.85

                                                   ***

                       Last year, fully 35% of all requisitions (with an extended
                       value of $401M[illion]) by-passed the cross-leveling
                       check. As we start to turn over more and more materials to
                       GOI [Government of Iraq], we are facing an increasing
                       risk of being Formed 1 for buying items we just declared
                       excess and gave away.

                                                   ***

                       TREC storerooms is going to be my biggest challenge
                       ….we’ve currently got $331M[illion] in them as of
                       yesterday. I’ve told Guy [LaBoa, KBR Principal Program
                       Manager] this is the Mother of all Forms 1.85a



84
         Ex. 80 (Mar. 2010 internal KBR email chain between L. Lust and R. Kaye) at ‘5534
(emphasis added). See also id. (KBR Deputy Principal Program Manager L. Lust agreeing with
R. Kaye’s assessment: “I believe your assessment of the workforce and what is to come to be on
target. In reference to audits and investigations, I see things getting much tougher before they get
better, and I do not see them getting better for a couple three years[.]”); Ex. 131 (KBR 30(b)(6)
(Jacobs) at 18:3-17 (defining a “Form 1” as a letter “issued by the government for potentially
unallowable costs” after review by the DCAA”).
85
     Ex. 8 (Internal KBR email containing Feb. 25, 2010 email from KBR’s Deputy Program
Manager – Support, R. Kaye) (emphasis added).
85a
     Ex. 81 (Mar. 20, 2010 email from KBR Deputy Program manager – Support, R. Kaye, to
KBR Deputy Principal Program Manager, Larry Lust) at ‘9112 (emphasis added).



                                               -210-
                                                  ***

                      We need to insure [sic] we are not buying something that can
                      be cross leveled. If we give away one item and order
                      something as a back fill will surly [sic] be a Form-1 against
                      KBR.85b

                                                  ***

                      To have something on hand and to not use it in lieu of
                      purchasing more is a recipe for the DCAA to find fault with
                      us and collect back what we paid for the item via a Form 1.85c

                                                  ***

                      Point and case is that Taji looked good on the surface but
                      this was due to an extensive cover up versus fixing what
                      was broken. Keep in mind the magnitude of hiding two
                      warehouses full of parts/tools and illegally procured
                      items to keep in good standing with auditors instead of
                      getting the items out to someone that can use them... There
                      are more PCP and FAR violations in those two
                      warehouses than I care to mention and it is no wonder we
                      have a billion in stock lying around unused in theater...

                      …

                      The problems in Maintenance we are finding are very
                      disturbing and leave this company open to a high level of
                      Risk.85d

       86.    Relators’ expert, Dr. Dov S. Zakheim, former Department of Defense Under

Secretary of Defense (Comptroller) and Chief Financial Officer, opined:

                      KBR’s own internal emails indicate that its practices likely
                      would have generated a DCAA Form 1. It would appear,
                      therefore, that DCAA did not issue a Form 1 in this regard
                      only due to the fact that it was unaware of KBR’s cross-
                      leveling issues…. In addition to disallowing the costs of

85b
       Ex. 32 (containing Feb. 16, 2010 email from HQ-PSM Manager-Supply, E. Faris) at ‘5280.
85c
       Ex. 70 (Mar. 3, 2010 internal KBR email from KBR’s Deputy Program Manager, R. Kaye).
85d
      Ex. 59 (internal KBR email) at ‘3832-33 (June 6 and 23, 2008 emails from KBR’s Business
Segment Manager for Theater Maintenance, B. McGarry) (emphasis added).



                                              -211-
                       duplicative materiel, had DCAA been aware of KBR’s
                       management practices, DCAA could have imposed
                       additional penalties on KBR. Such penalties could have
                       included suspension or disbarment from LOGCAP IV.86

IV.    KBR Hid Its Failures From the Government

       A.      KBR Controlled the Information Provided to the Government in Order to
               Hide What It Did Not Want the Government to See

       87.     KBR took special care to avoid giving the Government information that would tip

it off to KBR’s systemic inventory management problems, such as the excessive amount of

inventory that sat unused, or “underutilized,” on its shelves. An internal KBR report from

July 2008 examining inventory usage at several sites found that underutilization was as high as

89% of the total inventory at KBR’s T Sites.87 Yet when it came time to provide information to

the Government, including potentially a similar report showing that 60% of inventory sat

“underutilized” at five sites, James Haught was quick to ensure the Government never saw it:

                       I don’t think we should be showing underutilized on
                       anything that can be seen by USG.87a

       88.     KBR also strove to keep its internal audits and analyses—often showing systemic

cross-leveling failures—from the Government, refusing to share its internal audits despite the




86
       Ex. 98 (Expert Rebuttal Report of D. Zakheim) at 5.
87
        Ex. 85 (July 27, 2008 email from J. Haught) at report reproduced on pp. 3-18; Ex. 147
(Vujic Dep.) 57:11-60:9; see also SOF ¶ 56. KBR knew that such information was a useful metric;
KBR’s Theater PSM Manager-Supply, James Haught, wanted to share the underutilization report
internally among KBR personnel, reasoning that “It is very telling – look at the underutilization of
stock at T sites as an example.” Ex. 85 (July 27, 2008 internal KBR email from J. Haught) at ‘3925.
At his deposition, James Haught commented that “This report would have drawn attention.”
Ex. 126 (Haught Dep.) 251:11.
87a
      Ex. 26 (May 5, 2009 internal KBR email containing May 4, 2009 email from J. Haught) at
ECF Page 2.



                                               -212-
DCMA’s Prime Property Administrator assigned to KBR, Maria McNamara, asking for them in

June 2008.88

       89.     When it did provide results of its internal audits to the Government, KBR

manipulated certain reports. For instance, KBR’s Government Compliance group intervened

before KBR employees sent the Government a report summarizing KBR’s internal SMART audits,

and KBR’s Government Compliance group rewrote the report because “Compliance wants more

of a summary with a positive spin[.]”89 KBR’s Head of its SMART Audit Team, Jim King, did not

agree with what Government Compliance did, stating that it “tried to soften the report too much”

and that the rewritten report was “too vague in what was found during the [KBR SMART Audit]

review,” but ultimately decided not to make any changes to the Compliance group’s version of the




88
        Ex. 43 (internal KBR email) at ‘6463 (June 18, 2008 email from KBR’s Director of Supply
Management, T. Hippert, to KBR Senior Vice President, Bill Walter, and others, stating “I’m not
providing the Internal audit and I explained that to DCMA . . . . Maria [McNamara of DCMA]
wants the actual Audit’s (sic) that we perform, I told her we can not provide them.”), ‘6464 (email
from KBR’s Principal Program Manager, Michael Mayo) (“We approach the SMART reports the
same as the Procurement Compliance reports and corrective action plans. Those are not released
from the Project [to the] USG.”); Ex. 19 (June 2018 internal KBR email) at ‘4711-12 (KBR’s Head
of its SMART Audit Team, Jim King, stating “I need copies of all the site(s) corrective
actions/milestones of all the reviews that have been conducted by the SMART team. The
Government is asking for these and we agree to provide them but we will not provide a copy of
the actual Review/checklist.”), at ‘4711 (KBR’s Director of Supply Management, Ty Hippert,
stating “I explained that we can not release any internal reviews at this point, but I see no harm in
releasing corrective action reports.”).
89
        Ex. 54 (Internal KBR email containing Mar. 19, 2009 email from KBR’s Senior Manager
– Government Compliance, John Webb) at ‘0916 (“[T]here were some concerns with the details
in the report Reggie [KBR SMART Audit Team member] prepared. It was very well written, but
Compliance wants more of a summary with a positive spin because corrective actions have been
taken. Attached are the original reports that Reggie [KBR SMART Audit Team member] prepared
and a revision prepared by Compliance.”).


                                               -213-
report. Another senior leadership team member, Ty Hippert, described the report submitted to the

government as “[t]urning chicken crap into chicken soup”.89a

       90.     KBR also framed the narrative by doing its best to clean-up any site that it knew

the Government was going to examine before the Government could get there; it received a list of

sites that the DCMA was going to audit, in advance of those audits, and sent its own internal audit

team to those sites before the DCMA got there, in order to fix any problems before the Government

auditors saw them.90


89a
        Ex. 54 (Mar. 2009 internal KBR email) at ‘0915; see also Ex. 134 (King Dep.) 255:19-
257:5 (describing report ultimately given to the Government as a “more watered down version”;
“[n]ot hiding anything, but not enough detail either”). KBR’s Director of Supply Management, Ty
Hippert, described Government Compliance’s “softening” of the report as “turn[ing] Chicken crap
into Chicken soup…” Ex. 54 (Mar. 2009 internal KBR email) at ‘0914; Ex. 134 (King Dep.) 272:1-
10 (“Q. . . . Turning chicken crap into chicken soup means taking something that’s in fact
something bad and trying to turn it into something good, that’s what that means? A. Yes.
[Objection.] Q. You write at the top: [‘]Bingo HAAAAA.[’] So you [a]greed with Mr. Hippert’s
assessment regarding chicken soup, correct? A. That’s correct.”).
90
        Ex. 126 (Haught Dep.) 74:20-76:24 (“Q. . . . [W]as that a typical practice at KBR, that if
the Government was going to go out and do a site audit that you would try to get your internal
SMART team out there ahead of time? [Objection.] A. They were either scheduled or they would
have said yes, we need to get out there early. Sometimes they were scheduled already. Q. The
SMART team? A. SMART teams. . . . Q. . . . [I]sn’t the reason you want [the SMART teams]
out there ahead of the Government so that problems can be fixed by the sites before the
Government auditor get[s] there? [Objection.] A. Generally, that would be a correct answer.”),
79:1-14 (“I would think that we had some notification that that they were going to go do it
[Government audits to inspect KBR’s property system], so yes, I would say yes. Q. And you had
those conversations with others at KBR? A. With the people on those sites.”), 81:6-19 (“Q. . . .
And you were going to assist [the sites] to get ready for . . . the Government audits? . . . A. Yes,
yes. I’m sorry. Yes. . . . Q. And what concrete steps did you want KBR to take to assist those
sites? A. We would have . . . put our trainers . . . . we would have gone out and conducted
inventories. We would have helped the sites get ready in some way by providing support that the
sites needed.”), 84:18-24 (“Q. . . . So you send this to [Jim Luchsinger, KBR’s Project Manager
in Afghanistan,] and you say, ‘DCMA has pretty much given us their blueprint.’ What did you
mean by that? A. The locations. Q. Locations where the audit was going to happen? A. Yes.”),
86:13-25 (“Q. . . . So you’re trying to figure out how to get help out to all these places in advance
of the audit. Right? A. Yeah. Q. You say, ‘I have another call added tonight at 8:00 p.m. on
[MAXIMO/]STEAM, which I thought I had nothing to do with, but guess again. I wonder if I can
get people to understand the significance of the comments from DCMA.’ So you were trying to
give people kind of a wake-up call DCMA has really got us in the cross-hairs here. Right?


                                               -214-
        B.         KBR Hid That It Had Misused TRECs for Years

        91.        In 2010, KBR had approximately $350 million dollars of materials remaining

improperly in TRECs. KBR knew that this was improper, and it wanted to do something to correct

the situation.91

        92.        KBR’s Business Planning Manager responsible for KBR’s Integrated Inventory

Management System, Lynellen Sullivan, made very clear in February 2010 that whatever KBR

did to “fix” the TRECs, it must be careful not to use “IARs,” or inventory adjustment reports, as

those would draw the attention and audits of the Government, and KBR did not want the

Government focusing on TRECs for fear it would uncover KBR’s malfeasance:




[Objection.] A. Yes.”); Ex. 19 (June 2018 internal KBR email) at ‘4711-12 (KBR’s Head of its
SMART Audit Team, Jim King, listing the sites where the Government will “conduct a PCSA
[Property Control System Analysis] starting July 26, 2008”; “as you know it is extremely urgent
that we [KBR’s SMART Audit Team] get to these sites ASAP before this [Government] audit and
ensure that they are ready for this [Government] PCSA [Property Control System Analysis], if we
get an unsatisfactory rating they will disapprove our Property system.”), at ‘4711 (James Haught,
stating “DCMA has pretty much given us the[ir] blueprint. Salerno and Bagram will be the sites
they will attack. The areas to be analyzed are listed in the email train. The review will occur
between 26 Jul and 4 Aug.”); Ex. 134 (King Dep.) 34:15-35:8 (“Q. . . . How did KBR determine
which site the SMART team would audit when? A. That was my call with the headquarters and
senior leadership as to their priorities. The headquarters had more direct information from the
government property administrators as to when they were going to conduct their property control
system analysis. So I would coordinate with them to see what sites are going to be audited by the
government, and I would try and get my team in front of that to do a review before the government
did. Q. And why would you try and get your teams to do a SMART review before the government
performed its audit on a particular site? A. For the obvious reason . . . if there’s any deficiencies
or issues on site, try to get them corrected. Q. Before the government got there? A. Yes.”).
91
        See Ex. 13 (internal KBR email) at ‘0265 (KBR’s Business Planning Manager Responsible
for KBR’s Integrated Inventory management System, L. Sullivan, stating, “I would like to discuss
TREC transactions . . . We must take a firm stand with no exceptions and no transactions except
receipts and transfers is the best way to avoid DCMA reviews of TREC’s.”), at ‘0264 (KBR
employee stating “We currently have about 350 million dollars in our TREC’s. I strongly believe
about 80% of the items left aging over 90 days inside our TRECS are pending IAR’s [Inventory
Adjustment Reports]. The problem is, no one wants to take accountability of taking care of their
TREC’s”; referencing “over 50,000 lines [of inventory] aging inside our TREC’s”).



                                               -215-
                      We want to avoid audits in TREC’s.

                      …

                      If we take IAR’s in a TREC we open the TREC’s up to audit.
                      I don’t want that … I do[n’t] want DCMA examining the
                      TREC’s … do you?

                      …

                      We must take a firm stand with no exceptions and no
                      transactions except receipts and transfers is the best way to
                      avoid DCMA reviews of TREC’s.92

In a separate email, Sullivan further explained the risk of drawing the Government’s attention to

the TRECs:

                      We have to [do] an IAR [Inventory Adjustment Report] and
                      I don't want IAR's in a TREC because I do not want DCMA
                      looking at the TREC's. I like Shon's suggestion of
                      transferring it all to the main storeroom if they don't know
                      the storeroom and taking the IAR's there. No blanket IAR's.
                      I know this is a lot of work, but we have no option if we
                      expect to get it past the [Government] ACO
                      [Administrative Contracting Officer].92a

Sullivan feared that if the Government found out about KBR’s issues in the TRECs, it would issue

a “corrective action request,” or “CAR”: “I think performing an IAR in a TREC is begging for a

CAR and DCMA oversight of the TRECs…”92b




92
       See Ex. 13 (internal KBR email) at ‘’0262-63, ‘0265; Ex. 144 (Sullivan Dep.) at 31:13-17.
An “IAR” is an inventory adjustment report, and it is a report created when the inventory
physically on the shelves does not match what is shown in the computer system. See, e.g., Ex. 140
(Pagonis Dep.) 462:13-463:22.
92a
       Ex. 12 (February 21, 2010 internal KBR email from L. Sullivan) at ‘5543 (emphasis
added). The “ACO” is the Administrative Contracting Officer, and is a DCMA employee. Ex. 138
(McNamara Dep.) 22:3-5; Ex. 146 (Vollmecke Dep.) 41:8-23.
92b
       Ex. 14 (Feb. 21, 2010 internal KBR email from L. Sullivan) at ‘5547.



                                             -216-
       93.    In October 2009, KBR’s PSM Manager-Supply, Elias Faris, reported to KBR’s

Deputy Program Manager – Support, Rich Kaye, concerns with inventory adjustments done to

keep the Government in the dark, in an internal KBR email chain with the subjects of “Avoiding

Positive IARs” and “G-Sites system violations!!”:

                      I am recommending this be turned over for investigation.

                      This was brought to my attention and a major issue as it
                      undermines processes we have in place and a direct
                      violation of the [Government-approved] PCP [Property
                      Control Procedures]. Please note the email starting with
                      a Sr. MCS [Material Control Specialist] and then a
                      second Sr. MCS [Material Control Specialist] provided
                      guidance on how to manipulate the system. There is also
                      a BPA’s [Business Process Analysts], supervisors and
                      managers on the email traffic with no one coming back
                      and contradicting the process with almost 3 hours
                      between first and second email.

                      This is a root cause of problems theatre wide with our
                      inventories. The process mentioned below takes the
                      Project Manager and Government GPA out of the process
                      resulting in a[n] undocumented adjustment to the
                      system. This is considered fraud as adjustments are being
                      made without any accountability or a gain or loss by line
                      item or dollar value which has to be reported in accordance
                      to PCP and FAR requirements. This process only changes
                      number[s] in the system and not a true reflection of
                      accurately accounting for gains or losses which could
                      balance out over time if done correctly. They are using
                      a WO [Work Order] to return items if they have a gain
                      or issue the times out if they have a shortage. This
                      inflates or decreases the values against that WO [Work
                      Order] which is not even related to the items being
                      adjusted.

                      …




                                             -217-
                       The information I am getting tells me that this is a very
                       systemic problem at the G-Sites with increased data
                       manipulation prior to year end close out.93

       94.     In May 2010, KBR’s Lynellen Sullivan continued to stress that KBR’s improper

use of TRECs must be kept from the Government:

                       We created [two storerooms] to avoid taking inventory
                       adjustments in a TREC. We can do the same for every site.
                       I really don’t want to have TREC audits occur especially not
                       right now.

                       I advise against inventory adjustments in a TREC.94

That same day, Sullivan twice more warned her KBR colleagues what would happen if KBR was

not careful about how it went about cleaning up the TRECs:

                       Decide what you will, but know that we risk TREC audits if
                       we begin consciously taking adjustments in TREC
                       storerooms.94a

                       An IAR is a transaction. . . . If you begin performing other
                       transactions the TREC becomes liable for auditing. Do you
                       want DCMA auditing your TREC?94b

                       I am very concerned about the potential for auditing a place
                       not currently audited…I know you understand…




93
         Ex. 61 (Oct. 21, 2009 internal KBR email) at ‘5491-95 (bolding and underlining in original;
italics added).
94
       Ex. 36 (May 28, 2010 internal KBR emails from L. Sullivan) at ECF Pages 1-2.
94a
       Ex. 35 (May 28, 2010 email from L. Sullivan) at ECF Page 1.
94b
       Ex. 37 (May 28, 2010 emails from L. Sullivan) at ‘1506.



                                               -218-
       95.     The next year, Sullivan wrote about KBR’s efforts to clean up TRECs in a way that

improperly avoided IARs, and candidly admitted to herself in writing: “They are committing

fraud…”95

       C.      KBR Hid That It Discovered an “Extensive Cover Up” regarding
               Two Warehouses Full of Unused Inventory at One of Its Sites When It Had
               $1 Billion of Inventory “Lying Around Unused”

       96.     In June 2008, a KBR Theater Maintenance Business Segment Manager, who

KBR’s Chief of Staff described as “very thorough, detailed, professional… excellent,” uncovered

an extensive cover up related to improper over-ordering practices, resulting in two warehouses full

of “illegally procured items”:

                      This is the Taji write up and it is intended for SLT [Senior
                      Leadership Team] only. Point and case is that Taji looked
                      good on the surface but this was due to an extensive cover
                      up versus fixing what was broken. Keep in mind the
                      magnitude of hiding two warehouses full of parts/tools
                      and illegally procured items to keep in good standing with
                      auditors instead of getting the items out to someone that can
                      use them... There are more PCP and FAR violations in
                      those two warehouses than I care to mention and it is no
                      wonder we have a billion in stock lying around unused in
                      theater...

                      …

                      The problems in Maintenance we are finding are very
                      disturbing and leave this company open to a high level of
                      Risk.

                      Summary of Failures . . .

                      • Accountability: Maintenance Managers not held
                      accountable for SOP/PCP violations, systemic failures, and




95
        Ex. 74 (Feb. 9, 2011 email from L. Sullivan to herself) at ‘8542 (emphasis added); see also
Ex. 75 (internal KBR email) at ‘8559 (Feb. 9, 2011 email from L. Sullivan stating, “I wonder if
they realize they are committing fraud…”) (emphasis added).



                                              -219-
                        high risks caused from neglect and improper management of
                        the Maintenance Department.

                        • Multiple FAR, PCP, SOP and SOW violations that can
                        still cause KBR to be issued multiple CARs, or have
                        adverse PEB/AFEB affects (or both)

                        • Risks and core failures have been covered up at the
                        maintenance department level.96

        D.      KBR Concealed That the Form It Provided to the Government When
                Returning Unused Inventory Was Full of False Statements

        97.     As part of the PCARSS process, before KBR declared an item of inventory to be

unnecessary and return it to the Government, KBR had to first make sure that it was not needed

elsewhere in the theater.97

        98.     An internal KBR email, dated June 18, 2009, stated the following concerning

KBR’s PCARSS process:

                        The intent of the PCARSS process is to demonstrate that all
                        reasonable steps possible have been taken to ensure that all
                        of the items being sent to the PCARSS process have no
                        remaining use on the LOGCAP III project, that KBR has
                        done everything possible to maximize the usage of these
                        items – currently the way the system has been set up it is not
                        being done with the due diligence.98




96
        Ex. 59 (internal KBR email) at ‘3832-33 (June 23, 2008 emails from KBR’s Business
Segment Manager for Theater Maintenance, B. McGarry) (emphasis added); Ex. 142 (Rock Dep.)
at 174:8-21.
97
         See, e.g., Ex. 138 (McNamara Dep.) 73:22-74:13 (“Q. . . . What’s your understanding of
what happens once an item is declared excess? [Objection.] . . . A. Then it goes into the disposal
action. There are things a contractor has to do. If it’s declared excess, [the contractor] must screen
first to see if [the contractor] needs it anywhere else. That’s [the contractor’s] first requirement.
And then if there are no takers or . . . there’s nothing that . . . it’s needed for, it is truly excess, and
[the contractor] has to schedule it. And [the contractor] has a time period to get that out.”); see also
SOF ¶¶ 50-51.
98
        Ex. 88 (containing June 18, 2009 internal KBR email) at ‘4356 (emphasis added).



                                                  -220-
       99.     Later in June 2009, KBR’s Head of the DMC, Conor O’Muirgheasa, documented

three concerns he had with KBR’s PCARSS form that KBR submitted to the Government when

returning excess inventory to the Government. He noted in an internal email: “When I read the

new proposed wording for future PCARSS schedules, unless you propose to design some other

PCARSS screening process of which I am unaware, there are three statements contained in it that

concern me.” First, the form attested:

                      It has been determined that this property is excess to the
                      contract and there is no further use in support of the mission
                      requirements.

O’Muirgheasa knew this to be a false statement, writing:

                       Given the current process, that statement will only be true
                      for the particular site, and it is highly unlikely to be true for
                      the entire theater.

Second, the PCARSS form attested:

                      The attached list of item(s) have been screened for cross
                      level requirements throughout the theater of operation.

O’Muirgheasa knew this second statement to be false like the first, writing:

                      Given the current process, that step will not be done for this
                      item, it is not a true statement.

Third, the PCARSS form attested:

                      At this time, there are no foreseeable requirements in support
                      of the current mission.

O’Muirgheasa knew this third statement was false, writing:

                      Given the current process, this is not a true statement.99

After documenting his concerns, Mr. O’Muirgheasa stated: “[t]he proposed action is not in

accordance with Jim Haught’s direction to me, which was to ensure that all steps reasonable had


99
       Ex. 23 (June 24, 2009 internal KBR email) at ‘4817. Id. at ‘4817 (emphasis added).



                                               -221-
been taken to ensure that there was absolutely no further need for items anywhere in theater before

sending them to PCARSS. I strongly urge reconsideration of the steps about to be taken.” Id.

Mr. O’Muirgheasa concluded: “[t]here, I have assuaged my conscience by doing this.” Id. In a

separate email to Relator Howard, Mr. O’Muirgheasa remarked that reporting internally these

fundamental flaws and misrepresentations in KBR’s systems “will probably get me in a lot of

trouble. Still, I felt that it was the right thing to do.”99a

        100.    In response to a request from KBR’s Elias Faris as to the current processes,

Conor O’Muirgheasa further detailed the “issues with [KBR’s] process”:

                         1. By running the ASL [authorized stock list] report for only
                         the storeroom (rather than for the MRN [material reference
                         number] across the entire theater), we missed the fact that
                         there can be demand for that exact same MRN in other
                         storerooms in theater, even though there is no demand for
                         that MRN in that particular storeroom … Thus we could be
                         sending items for PCARSS from one storeroom, while those
                         same items were being consumed every day at another
                         storeroom.

                         2. The DMC screening process did not actually screen all of
                         the MRs [material requisitions] placed in MATCON status
                         over the last 30 days. Instead, it screened all of the MRNs
                         that were STILL IN MATCON status after 30 days, which
                         is a far smaller number. I did not realize at the time that this
                         was going on. When I did realize it, I stopped signing the
                         PCARSS schedules, because I could not truthfully validate
                         what I was signing …

                         3. We started to see materials on PCARSS schedules that we
                         KNEW was being consumed regularly in theater. We could
                         not justify this …




99a
        Ex. 29 (June 24, 2009 email from C. O’Muirgheasa, to Relator Howard) at ‘4786.



                                                   -222-
                       In the end, I became convinced that the entire process that I
                       had helped to design was badly flawed, and needed to be
                       revamped.100

       101.    Elias Faris responded to Mr. O’Muirgheasa that same day: “It has already been

discussed with Tracy [Townsend] and agreed to by Sr. Management for the path forward which

we are taking.”101

       102.    The “path forward” referenced by Elias Faris was articulated that same day,

June 24, 2009, when KBR circulated its “new memo for PCARSS,” stating “[i]t is no longer a

requirement to send to the DMC.”102

V.     KBR Never Disclosed Its Systemic Problems With Purchasing New Inventory When
       It Had Excess Inventory Available

       103.    As described in detail below, a host of KBR employees were aware, both generally,

and specifically; qualitatively and quantitatively, the systemic cross-leveling failures. But no one

disclosed these failures to the government. KBR’s Principal Program Manager—the person

responsible for overseeing all of KBR’s operations in theater—Guy LaBoa testified that he would

expect a contractor to tell the Government if the contractor felt it received money from the

Government that it was not entitled to, but, tellingly, he testified that he doubts that the contractor



100
       Ex. 23 (June 24, 2009 internal KBR email) at ‘4815-16.
101
       Ex. 23 (June 24, 2009 internal KBR email) at ‘4814.
102
        Ex. 45 (containing June 24, 2009 email from J. Vujic) at ‘4256. KBR’s “new memo”
contained the same three statements that Conor O’Muirgheasa reported internally were “not [] true
statement[s].” Ex. 23 (June 24, 2009 internal KBR email) at ‘4817; Ex. 45 (containing June 24,
2009 email from J. Vujic) at ‘4258. See also Ex. 24 (July 1, 2009 KBR Technical Direction
Bulletin re: PCARSS Process) at ‘4270 (“Cross level of PCARSS has been a concern and although
the effort has been performed by site warehouse staff to prepare the materials for PCARSS KBR
has a responsibility to cross level before purchase. The below serves as clarification of the Non
Demand Supported Stock Removal OPSDIR [Operation Directive]. . . . The attached supporting
memo is a change from what was previously used.”).



                                                -223-
would ever do so. Indeed, LaBoa never suggested to the Government that KBR should not be

reimbursed for some of the inventory that it ordered because it did not do an adequate job following

its Government-approved PCP.103

       104.    Similarly, according to KBR’s Director of Supply Management, Ty Hippert, KBR

admitted that he would not correct the Government if the Government thought KBR’s performance

was better than it actually was.104

       105.    Not only is KBR’s Deputy Principal Program Manager—the person second in

command over KBR’s operations—Larry Lust unaware of anyone at KBR telling the Government

that KBR bypassed MATCON status 35% of the time, but he would not have disclosed that to the

Government, and he does not think anyone at KBR should have told the Government. 105 Likewise,

Guy LaBoa does not remember ever disclosing to the Government that 35% of all requisitions in

2009 bypassed MATCON and the cross-leveling step (as referenced in a March 5, 2010 email).105a

KBR’s Head of the DMC, Conor O’Muirgheasa, did not recall anyone at KBR saying that KBR

should disclose to the Government that it bypassed the DMC 35% of the time.105b

       106.    Guy LaBoa saw no reason to send KBR’s internal audit reports to the

Government.106




103
       Ex. 135 (LaBoa Dep.) 214:14-22. Ex. 135 (LaBoa Dep.) 135:20-136:1.
104
       Ex. 127 (Hippert Dep.) 89:21-91:2.
105
       Ex. 136 (Lust Dep.) 98:8-99:12.
105a
       Ex. 135 (LaBoa Dep.) 83:6-13.
105b
       Ex. 139 (O’Muirgheasa Dep.) 251:5-17.
106
       Ex. 135 (LaBoa Dep.) 85:24-86:7.



                                               -224-
       107.   Guy LaBoa never discussed any of KBR’s TREC issues with the Government, nor

did he ever direct anyone at KBR to discuss TREC issues with the Government.107

       108.   Guy LaBoa did not disclose to the Government that he reprimanded an employee

who ordered millions of dollars of materials that KBR concluded were unneeded.108

       109.   KBR’s Senior Contracts Manager, Mary Wade, never told the Government about

any compliance issues related to KBR’s property control procedures (PCPs).109

       110.   Mary Wade never told the Government that she believed KBR had an issue with

purchasing more inventory than what was needed under the LOGCAP III contract.110

       111.   Mary Wade attended award fee presentations KBR made to the Government, but is

not aware of any disclosure ever made by KBR at those presentations to the Government that KBR

had problems with its PCP, with cross-leveling, or TRECs.111

       112.   Ty Hippert did not acknowledge that KBR had any systemic issues with

over-ordering inventory, and did not disclose any systemic problems with KBR’s inventory

management to Maria McNamara.112




107
       Ex. 135 (LaBoa Dep.) 94:5-18.
108
        Ex. 135 (LaBoa Dep.) 89:15-90:7; see also Ex. 30 (May 4, 2010 internal KBR email
attaching Letter of Reprimand from G. LaBoa) at ‘2477.
109
       Ex. 148 (Wade Dep.) 26:9-12.
110
       Ex. 148 (Wade Dep.) 73:5-15.
111
       Ex. 148 (Wade Dep.) 122:16-19, 124:24-125:3, 128:7-129:8, 130:14-131:24.
112
       Ex. 127 (Hippert Dep.) 25:3-9, 108:8-109:14.



                                            -225-
       113.    Ty Hippert never disclosed to the Government any calculation or analysis of the

value of property that KBR ordered new, that could have otherwise been acquired through a

cross-leveling process.113

       114.    KBR’s Business Segment Manager Responsible for Operation of KBR’s Integrated

Inventory Management System, Lynellen Sullivan, never told the DCMA about issues that KBR

was having with TRECs.114

       115.    Lynellen Sullivan was unaware of anyone at KBR suggesting that KBR should tell

the DCMA about issues that KBR was having with TRECs.115

       116.    Lynellen Sullivan never disclosed to the Government the amount of over ordering

that resulted from problems with MAXIMO.116

       117.    KBR did not disclose its inventory underutilization to the Government because,

according to KBR’s Theater PSM Manager-Supply, James Haught, “It wasn’t a requirement” to

do so.117

       118.    KBR’s Chief of Staff, Jeff Rock, was unaware of anyone at KBR ever disclosing

to the Government that KBR used work orders to avoid inventory adjustment reports and the

attention of the Government.118




113
       Ex. 127 (Hippert Dep.) 139:3-11.
114
       Ex. 144 (Sullivan Dep.) 120:2-5.
115
       Ex. 144 (Sullivan Dep.) 140:22-141:6.
116
       Ex. 144 (Sullivan Dep.) 265:14-267:22.
117
       Ex. 126 (Haught Dep.) 255:18-24, 259:9-15.
118
       Ex. 142 (Rock Dep.) 260:6-17.



                                            -226-
       119.    Jeff Rock did not disclose, and was unaware of anyone else at KBR disclosing, to

the Government that sites or individuals were improperly reserving inventory to keep inventory

from being cross-leveled, testifying that “it wasn’t the government’s business.”119

       120.    Jeff Rock did not disclose, and was unaware of anyone else at KBR disclosing, to

the Government that KBR had found an instance of $1 million of excess supplies being ordered.120

       121.    KBR’s Deputy Program Manager – Support and a member of KBR’s Senior

Leadership Team, Rich Kaye, was unaware of KBR ever disclosing to the Government that KBR

bypassed MATCON status, improperly characterized non-stock inventory as stock, reserved items

without justification, or had materials sitting in TRECs for extended periods of time.121

VI.    The Government Did Not Know About KBR’s Systemic Inventory Management
       Failures

       122.    As a result of KBR's failure to disclose material and systemic failures with

over-ordering new material, the government was not aware of the nature of the problems.

Mary Sheridan, who at times served as DCMA’s Theater Administrative Contracting Officer

during LOGCAP III and was the senior-most DCMA person in the field responsible for

administering the LOGCAP III contract on behalf of DCMA (Ex. 143 (Sheridan Dep.) at 21:21-

25), testified that she was not aware that in February 2010, KBR was purchasing $5 million of

material daily even though it had $1.2 billion in excess, and that it “[a]bsolutely” concerned her:

                       [T]his is government money, taxpayer money that is being
                       spent and it is – it’s being spent and then it’s excessively,
                       if you will, if I’m looking at this documentation and I believe
                       the facts that I’m reading here then – they’re not operating


119
       Ex. 142 (Rock Dep.) 330:21-332:10.
120
       Ex. 142 (Rock Dep.) 313:13-314:4.
121
       Ex. 129 (Kaye Dep.) 229:1-15.



                                               -227-
                       in the best interest of the government or within the
                       contract of what they signed up to do, in my opinion.122

       123.    Maria McNamara, the DCMA’s Prime Property Administrator assigned to KBR

from 1997 to 2014, testified (1) that she was “not aware” that in February 2010, KBR was

purchasing $5 million of material daily even though it had $1.2 billion in excess; (2) that she would

have taken action to correct this practice if she had been aware; and (3) the fact that KBR was

doing this caused her concern.123

       124.    Maria McNamara did not know KBR was resisting placing material requisitions in

MATCON status and sending the majority of requisitions directly through the procurement

channels without going through the cross-level process, but if she had found out about it, “that

would have caused a red flag to go up, and we would have – our audits would have been

earmarking more intense coverage of – of these things.”124

       125.    Maria McNamara was not aware of the concerns expressed by KBR’s Head of the

DMC, Conor O’Muirgheasa, regarding KBR’s three false statements on the PCARSS form, but

had she been aware, it would have concerned her and caused her to implement a corrective action

and “elevating the situation if it were not” fixed.125 If Ms. McNamara had found out that KBR had

systematically failed to screen items for need before returning them, she would have declared their

system to be “noncompliant.”125a




122
       Ex. 143 (Sheridan Dep.) at 166:18-168:15 (emphasis added).
123
       Ex. 138 (McNamara Dep.) 555:3-17.
124
       Ex. 138 (McNamara Dep.) 518:11-519:15.
125
       Ex. 138 (McNamara Dep.) 556:7-561:1.
125a
       Ex. 138 (McNamara Dep.) 407:11-408:5.



                                               -228-
       126.    Mary Sheridan was not aware of the concerns expressed by KBR’s Head of the

DMC, Conor O’Muirgheasa, regarding KBR’s three false statements on the PCARSS form, but if

she had been made aware, she would have brought it to the attention of DCMA leadership and

informed the DCAA.126

       127.    Maria McNamara testified that she was not aware that KBR was using TRECs to

conceal inventory from cross-leveling, but that had she known, “something would have had to

have been corrected by following the DCMA process” and it would have caused her concern.

Ms. McNamara also did not know there was $342 million worth of property sitting in TRECs for

more than 60 days, but if she did know, it would have concerned her and caused her to issue a

corrective action.127

       128.    Mary Sheridan also was not aware of KBR’s misuse of TRECs, and if she had been

aware, she “would have had a conversation with the PCO, the PMO, theater personnel, DCAA,

property, corporate office, and this is something . . . I most likely would have had a conversation

with CID [Criminal Investigation Division] about.”128

       129.    Colonel Kirk Vollmecke, the DCMA Commander who “was responsible as the

senior contracting official for contract administration in theater,” was also not aware of KBR’s



126
        Ex. 143 (Sheridan Dep.) 170:6-172:11 (“Based on this email traffic, . . . I would have
brought this to the PCO’s attention, the program offices’ attention, as well as DCMA leadership,
definitely property and plant clearance because PCARSS is a part of the plant clearance process
for excess property. Q. And CID [Criminal Investigation Division]? . . . [Objection.] A. I would
have brought it to DCAA’s attention. I would have had a discussion with everyone I just
mentioned. . . . [A]nd based [on] whatever would have come from that discussion, I would have
made that decision at that time.”).
127
       Ex. 138 (McNamara Dep.) 569:4-18. Ex. 138 (McNamara Dep.) 580:13-581:4.
128
        Ex. 143 (Sheridan Dep.) 179:7-180:21, 165:24-166:5 (defining “CID” as Criminal
investigation Division).



                                              -229-
misuse of TRECs or that KBR personnel were concealing inventory from the DMC for

cross-leveling, and if he had been aware, he “would have immediately conducted an audit on the

fundamental deficiencies[.]”129

        130.    Mary Sheridan did not recall seeing the internal KBR document identifying issues

KBR uncovered at its Taji site, but if she had seen it, she would have contacted the Department of

Defense’s Inspector General because of “[e]xactly what the document said[, t]hat they hid two

warehouses of equipment and it was violations to the FAR,” and she would have called the DCAA

auditors “because they also had the right to audit what’s being procured on the contract because

it’s [a] cost type contract.”130

        131.    Maria McNamara did not recall seeing the internal KBR document identifying

issues KBR uncovered at its Taji site and was not aware of the issues at Taji, but if she had been

aware, she “would have been very concerned.”131

        132.    Colonel Kirk Vollmecke was not aware of the issues KBR uncovered at its Taji site,

but if he had been, he “would have then turned [his] property administrators onto it first so we

could go back in and forensically understand everything…”132

        133.    Maria McNamara did not know that KBR was misclassifying “Non-stock” items as

“Stock” with an impact of over $80,000,000 of inventory unavailable for cross-leveling, and did

not know that this misclassification, along with KBR’s rule against cross-leveling Stock items for

priority 3 requests, was causing KBR to not be able to cross-level over $50,000,000 of inventory,


129
        Ex. 146 (Vollmecke Dep.) 21:20-22:4, 367:1-15.
130
        Ex. 143 (Sheridan Dep.) 141:3-143:13.
131
        Ex. 138 (McNamara Dep.) 509:4-510:16.
132
        Ex. 146 (Vollmecke Dep.) 320:1-323:20.



                                              -230-
but had Ms. McNamara known, she would have been concerned and “a corrective action . . . would

have taken place of some sort.”133

       134.    Maria McNamara was not aware that KBR employees put items on reserve so that

they could not be cross-leveled, and was not aware that a KBR location was ordering material

despite having stock available, but had Ms. McNamara known, it would have concerned her and

she would have started the process to have the issue corrected.134

       135.    Maria McNamara was not aware that KBR had up to 70 years of cable in inventory,

but if Ms. McNamara had been aware of that and that no request had been sent out by the DMC to

cross-level this cable, it would have concerned her and caused her to take corrective action.135

       136.    When asked about her reaction to the various internal KBR documents shown to

her during the deposition, Mary Sheridan testified that she was “appalled.” Based on certain

documents that KBR made available to the DCAA auditors, the DCAA was under the false

impression that KBR's cross-level rate was 46 out of 47.136




133
       Ex. 138 (McNamara Dep.) 547:2-549:10.
134
       Ex. 138 (McNamara Dep.) 551:11-553:16.
135
       Ex. 138 (McNamara Dep.) 561:4-565:3.
136
       Ex. 143 (Sheridan Dep.) 308:21-309:15 (“Q. What was your reaction to seeing the other
emails that I showed you about KBR putting $80 million off limits by misclassifying nonstock
items as stock and some of those other things, how about the impact that those documents had on
your view? [Objection.] A. I was appalled, I was appalled…. Q. Can you explain why you were
appalled by what you saw today compared to what you had previously been seeing? A. When you
compile it all together, the impact is what appalls me as a taxpayer.”); see also KBR SOF, ¶ 50.


                                               -231-
VII.   KBR’s Statements to the Government Falsely Represented Compliance with Its
       Cross-Leveling Obligations

       A.      KBR’s Statements to the Government on Public Vouchers Falsely
               Represented Compliance with Its Cross-Leveling Obligations

       137.    KBR submitted claims for reimbursement to the Government for the inventory that

KBR purchased and received in performing LOGCAP III.137

       138.    All requests for reimbursement submitted by KBR to the Government were made

via a form known as "public vouchers".138




137
       See Ex. 131 (KBR 30(b)(6) (Jacobs) Dep.) 12:9-16 (“A. A cost-reimbursable program is
one in which the government reimburses the contractor for incurred costs. Q. . . . LOGCAP III
was a cost-reimbursable contract for KBR; is that right? A. Correct. Q. So the government
reimbursed KBR for its costs on LOGCAP III; is that correct? A. Correct.”), 21:11-13 (“Q. . . .
Why did KBR submit public vouchers to the U.S. Government on LOGCAP III? A. For
reimbursement of incurred costs.”), 21:20-22:3 (“Q. . . . [T]he U.S. Government reimbursed KBR
for the money that KBR spent procuring property and materials on LOGCAP III, correct?
[Objection.] A. The government reimbursed KBR for materials and equipment received, therefore
incurred, thus the government reimbursed KBR for costs incurred for that period.”), 22:4-11
(“Q. The U.S. Government reimbursed KBR for the money KBR spent procuring property and
materials on LOGCAP III if those property and materials were received by KBR; is that correct,
sir? A. Correct.”), 24:9-14 (“Q. . . . Are you aware sitting here today of any pieces of property
and materials that KBR bought and received on LOGCAP III that the government paid less than a
hundred percent of what KBR spent buying the property and material? A. I am not aware.”).
138
        See Ex. 84 (KBR Response to Interrogatory Number 10) (“[W]hen KBR incurred costs on
LOGCAP III, those costs were entered into its SAP accounting system. In accordance with FAR
52.216-7, twice each month KBR extracted from its accounting system all allowable direct costs,
(such as those for property and materials) incurred on each cost reimbursable Task Order and used
that data to create invoices to the government, known as a ‘public vouchers.’ The public vouchers
listed all direct cost items plus allowable indirect costs (general and administrative expenses) on
the Task Order for that billing period. For any single voucher, there may be thousands of individual
transactions listed. In the public vouchers, KBR would provisionally bill the government for a
portion of its base fee of 1% of estimated costs. KBR would then submit the public vouchers to
the government for payment. See KBR-HOW-0042610 to -0044521.”); Ex. 131 (KBR 30(b)(6)
(Jacobs) Dep.) 31:7-14 (“Q. . . . [A]s a general matter were KBR’s costs spent procuring property
and materials that KBR procured and received on LOGCAP III, did those costs ultimately end up
on the public vouchers KBR submitted to the U.S. Government? A. In general the costs incurred
based on receipts of materials and equipment were included on a public voucher, in general.”),
37:3-10 (“Q. . . . Is that [amount listed on a particular public voucher] the total amount that KBR

                                               -232-
       139.    The public vouchers submitted by KBR broke down the total dollar amount

requested into specific dollar amounts charged to particular contract line item numbers, or

“CLINs.”139




is asking the government to pay in response to this particular public voucher? [Objection.]
A. That’s the total cost incurred for the period in which KBR is billing to the U.S. Government.”).
139
        See, e.g., KBR’s Exhibit 18 (ECF No. 294-31, Public Voucher No. 32 for LOGCAP III
Task Order 139) at ECF Page 2 (requesting total amount of “$155,199,325.83” for KBR’s “Cost[s]
for October & November 2007” for Task Order 139), at ECF Pages 3-6 (identifying dollar amounts
“CURRENT[LY] BILLED” and dollar amounts “CUMULATIVE[LY] BILLED” for CLINs
4005, 4009, 4011, 5005, 5009, 5011, 6005, and 6009); KBR’s Exhibit 19 (ECF No. 294-32, Public
Voucher No. 40 for LOGCAP III Task Order 159) at ECF Page 2 (requesting total amount of
“$97,021,332.00” for KBR’s “Cost[s] for April-May 2010” on Task Order 159), at ECF Pages 3-4
(identifying dollar amounts “CURRENT[LY] BILLED” and dollar amounts
“CUMULATIVE[LY] BILLED” for CLINs 7005, 7009, 8005, 8009, 9005, 9009, 1005, 1009,
1105, 1109, 1205, 1209); Ex. 110 (PDF of Native Excel Spreadsheet Public Voucher No. 47 for
Task Order 139) at Tab “1034-Task 57” (requesting $145,074,262.22 in this public voucher for
Task Order 139 for “Cost for June-July 2008”), at Tab “1035-Task57” (listing CLINs 4005, 4009,
5005, 5009, 6005, 6009, and associated dollar values currently billed and cumulatively billed,
among other things), at e.g., Tab “Prior MonthYr1 Details 2008” (listing non-labor and labor costs
included in this public voucher, with associated object, cost elements, documents, vendor names,
object amounts, item descriptions, and invoice identifications, among others). Every amount
charged by KBR to the Government during LOGCAP III was assigned to a particular CLIN. See,
e.g., KBR’s Exhibits 18 and 19; Ex. 110 (PDF of Native Excel Spreadsheet Public Voucher No. 47
for Task Order 139) at Tab “1034-Task 57.” Below is an excerpt of KBR’s Public Voucher No. 40
for LOGCAP III Task Order 159, which KBR attached as KBR’s Exhibit 19 (ECF No. 294-32):




                                              -233-
-234-
As shown in this excerpt, KBR identified the specific dollar amounts it currently billed and

cumulatively billed for each particular CLIN.139a

         140.   The LOGCAP III base contract specified that “For Cost-Reimbursable Contract

line Item Numbers (CLINs) only supplies and materials necessary for performance under this

contract will be reimbursed as stated in each individual Task Order’s Scope of Work (SOW) and

Federal Acquisition Regulation (FAR) § 31.205-26.”140

         141.   The LOGCAP III Task Orders defined the CLINs and provided funding for the

CLINs, which could be increased.141 For example, Task Order 139 defines CLINs and provides

funding for those CLINs:

                   ITEM NO      SUPPLIES/SERVICES …            AMOUNT
                   4005AA       NOT TO EXCEED COST             $ 388,349,600.00
                   …            …                              …
                   4009AA       BASE FEE                       $ 3,883,496.00
                   …            …                              …
                   4011AA       AWARD FEE POOL                 $ 7,766,904.00
141a
       For another example, Task Order 159 defines CLINs and provides funding for those CLINs:


139a
         KBR’s Exhibit 19 (ECF No. 294-32) at ECF Page 3.
140
         Ex. 95 (LOGCAP III Base Contract and Statement of Work) at ‘0006 (emphasis added).
141
        Ex. 131 (KBR 30(b)(6) (Jacobs) Dep.) 38:2-20 (“Q. This is listing certain CLIN or CLIN
numbers; is that right, sir? A. Correct. Q. And those are contract line item numbers; is that right?
A. That is correct. Q. And I found the eight different CLIN numbers reflected in this public voucher
to be 4005, 4009, 5005, 5009, 6005, 6009, 4011 and 5011. Do you know what those CLIN numbers
mean, sir? A. I would need the contract mod to tell you exactly what those CLIN numbers mean.
Q. And so when you say the contract mod is that the form task order modification for Task Order
139? A. Yes. Yes. Q. And so it's your testimony that those form task order modifications for Task
Order 139 will define what these CLIN numbers represent? A. Yes, sir.”); Ex. 148 (Wade Dep.)
18:9-20 (describing funding as “the government . . . put[ting] funds on the contract to pay for the
performance [KBR] w[as] doing,” which would entail “seeing if there were sufficient funds
obligated on the contract to cover [KBR’s] costs and if they weren’t, [KBR would] notify the
government that additional funds would be required”).
141a
         Ex. 100 (Aug. 21, 2006 Task Order 139) at ‘1486-493.



                                               -235-
                      Funding is provided for the POP [Period of Performance] of
                      01 September 08 to 31 August 2009 in the Amounts listed
                      below:

  CLIN        Title                                                          Amount
  7005AA      BLS NTE [Base Life Support Not To Exceed]                      $531,093,640.14
  7009AA      BLS Base Fee [Base Life Support 1% Base Fee]                   $ 5,310,936.40
  7011AA      BLS Award Fee Pool [Base Life Support 2% Award Fee Pool]       $ 10,621,752.46
  7005AB      Coalition NTE                                                  $ 19,417,480.00
  7009AB      Coalition Base Fee                                             $    194,174.80
  7011AB      Coalition Award Fee Pool                                       $    388,345.20
  7005AC      MEF NTE                                                        $ 46,753,408.34
  7009AC      MEF Base Fee                                                   $    467,534.08
  7011AC      MEF Award Fee Pool                                             $    935,057.58
  7005AD      Bucca ICO NTE                                                  $    253,202.97
  7009AD      Bucca ICO Base Fee                                             $      2,532.03
  7011AD      Bucca ICO Award Fee Pool                                       $      5,064.00
  7005AE      Cropper ICO NTE                                                $    573,994.30
  7009AE      Cropper ICO Base Fee                                           $      5,739.94
  7011AE      Cropper ICO Award Fee Pool                                     $     11,479.76
  7005ZZ      LOGCAP LSA NTE                                                 $ 2,481,114.14
  7009ZZ      LOGCAP LSA Base Fee                                            $     24,811.14
  7011ZZ      LOGCAP LSA Award Fee Pool                                      $     49,621.72
141b


       142.    Thus, when KBR submitted Public Vouchers associated with Task Orders with

billings specific to cost-reimbursable CLINs authorized by the Task Orders, KBR was representing

that those supplies and materials purchased were “necessary for performance.”142

       143.    Relators’ expert Dr. Gary Gaukler identified 899 public vouchers associated with

unnecessary costs incurred because KBR purchased items despite existing excess material being

available in theater. For example, on July 14, 2008, KBR submitted Public Voucher No. 47 for

Task Order 139. That Public Voucher requested reimbursement for the cost of purchase order line


141b
       Ex. 40 (Sept. 1, 2008 Task Order 159) at ‘5826.
142
       Ex. 95 (LOGCAP III Base Contract and Statement of Work) at ‘0006. See also Ex. 119
(Supplemental Rebuttal Report of G. Gaukler, Output 2).



                                             -236-
(“POLINE”) (#771983), on purchase order number (“PONUM”) #4750053582 for 15 1.5HP

blower motors ordered on July 1, 2008 (item number 1001331456), for a total cost of $7,725,

despite the fact that the 15 blower motors were all available in excess in other KBR storerooms.143

       B.      KBR’s Statements to the Government on Materials Requisitions Falsely
               Represented Compliance with Its Cross-Leveling Obligations

       144.    Before purchasing materials for use on the LOGCAP III contract, KBR was

required to obtain approval from the Government Administrative Contracting Officer (“ACO”) if

the purchase would exceed a minimum dollar threshold.144 While the LOGCAP III contract set

baseline thresholds for approval of material requisitions, “individual Task Orders [could] require

more stringent approval thresholds.”144a

       145.    To obtain approval from the ACO, KBR was required to submit its proposed

materials requisition to the ACO and certify that it had attempted to fill the requisition through




143
       Ex. 120 (Expert Rebuttal Report of G. Gaukler, Output 3); Ex. 118 (Expert Report of
G. Gaukler, Output 1); Ex. 114 (ZBILL20080714-044718-GC00GY) at Tab “ZBILL20080714-
044718-GC00GY,” Row 1376 (identifying Object: “GCA8YM-BAD9D1602-5”; Cost Elem:
“550451”; Document: “1030466893”; Vendor Name: GOLDEN ARROW GENERAL TRADING
C”; PostDate: “20080701”; Ref Doc: “5000339056”; Trns Amt: “7,725.00”); Ex. 110 (PDF of
Native Excel Spreadsheet Public Voucher No. 47 for Task Order 139) at Tab “1034-Task 57,” at
Tab “Yr 2 Detail 2008,” Row 128 (identifying Object: “GCA8YM-BAD9D1602-5”; Cost Elem:
“550451”; Document: “1030466893”; Vendor Name: “GOLDEN ARROW GENERAL
TRADING C”; PostDate: “20080701”; Ref Doc: “5000339056”; Obj Amt: “7,725.00”).
144
        Ex. 99 (Jan. 31, 2006 Amendment to LOGCAP III Base Contract) at ‘4058 (“For the
purpose of purchasing supplies/non-durable goods, the Contractor shall obtain approval from the
on-site ACO/COR for each line item on the material requisition exceeding the threshold of
$25,000.00 on either a unit or cumulative effort.”); Ex. 49 (July 10, 2007 DCMA Memorandum)
at ‘1658 (same).
144a
       Ex. 49 (July 10, 2007 DCMA Memorandum) at ‘1659.



                                              -237-
cross-leveling before purchasing.145 KBR submitted the material requisitions together with a cross-

leveling certification, which was “always part of the contract.”145a In the certifications, KBR was

required to attest it had “checked for theater-wide redistribution under cross-leveling process.”145b

The certification was a requirement for KBR to purchase the property in question.145c

       146.    KBR additionally certified that it had attempted to fill material requisitions through

cross-leveling via a “Commercial Purchase Justification,” which KBR was required to prepare for

all material requisitions that included a commercial item.146 The Commercial Purchase

Justification required KBR to represent that “Local Cross Level, DMC, and Theatre Inventory was

checked” for the items KBR in the requisition.146a Making clear the Government’s expectations,

the Commercial Purchase Justification advised KBR that “[t]he purpose of this form is to follow

the priorities as listed in the SOW, and show due diligence in verifying that items cannot be filled

through existing stocks available.” Id. The Government required KBR to include the Commercial

Purchase Justification “in all MR packets provided to the Administrative Contracting Officer

(ACO) for approval.”146b



145
        Ex. 138 (McNamara Dep.) 416:10-20. KBR’s requisitions specified, among other things,
the items that KBR intended to purchase, their quantities, unit price, and total amount. See, e.g.,
Ex. 2 (sample purchase requisition).
145a
       Ex. 138 (McNamara Dep.) 421:3-11.
145b
       Ex. 138 (McNamara Dep.) 413:17-414:18; Ex. 2 (sample purchase requisition) at 3.
145c
       Ex. 138 (McNamara Dep.) 414:19-415:6.
146
       Ex. 17 (Nov. 26, 2008 DCMA Memorandum) at ‘6903-04; Ex; Ex. 126 (Haught Dep.)
58:5-13.
146a
       Ex. 17 (Nov. 26, 2008 DCMA Memorandum) at ‘6905.
146b
        Id. at ‘6903; Ex. 64 (reflecting ACO approval of MR with Commercial Purchase
Justification).



                                               -238-
       147.    Following ACO approval of a material requisition, KBR incorporated the materials

into a purchase order.147 Once it had purchased the items, KBR incorporated the cost of the

purchased items into the public vouchers it presented to the Government for payment. Id. at 22–

23.

       148.    The materials that KBR systemically overordered under the LOGCAP III contract

appear in tens of thousands of separate purchase requisitions. The MAXIMO/STEAM system

records the requisitions that KBR prepared, including the cost of the items in the requisition. Id.

at 23. Relators’ expert witness, Dr. Gary Gaukler, has compared the requisitions in

MAXIMO/STEAM to the lines of inventory that KBR overordered.148 From the results of that

comparison, Professor Gaukler assessed whether the requisitions that included overordered lines

of inventory had been subject to ACO approval, either because the material requisition went

through WACOAPPR status in MAXIMO/STEAM or the requisition’s amount exceeded the

Government’s threshold for ACO approval. Id. at 39. Applying this analysis, Professor Gaukler

identified 10,468 requisitions that contained overordered items and that went through

WACOAPPR status, exceeded the threshold for ACO approval based on their cost characteristics,

or both. Id. at 40. Each of those requisitions falsely certified to the ACO that KBR had “checked

for theater-wide redistribution under cross-leveling process.”

       C.      PCARSS

       149.    The process of returning unneeded, excess inventory to the Government was called

the Plant Clearance Automated Reutilization Screening System, or “PCARSS.”149 “The intent of


147
       Ex. 96 (Expert Report of G. Gaukler) at 23.
148
       Ex. 96 (Expert Report of G. Gaukler) at 39.
149
       Ex. 127 (Hippert Dep.) 156:6-24.



                                              -239-
the PCARSS process is to demonstrate that all reasonable steps possible have been taken to ensure

that all of the items being sent to the PCARSS process have no remaining use on the LOGCAP III

project, that KBR has done everything possible to maximize the usage of these items . . . .”149a

When returning items to the Government by declaring them as excess, KBR certified that “[i]t has

been determined that this property is excess to the contract and there is no further use in support

of the mission requirements,” “[t]he attached list of item(s) have been screened for cross level

requirements throughout the theater of operation,” and “[a]t this time, there are no foreseeable

requirements in support of the current mission.”149b In other words, when KBR sent items into

PCARSS, it was representing to the Government that there was “no longer [] a need for it.”149c

       D.      Award Fees

       150.    The LOGCAP III contract entitled KBR to periodically request an award fee based

on KBR’s performance for up to 2% of the definitized costs.150 To request the award, KBR made

presentations to award fee evaluation boards that contained specific affirmative representations

from KBR about its performance. These presentations included representations about the

efficiency with which KBR was managing inventory.150a As of December 2012, KBR had billed


149a
       Ex. 88 (containing June 18, 2009 internal KBR email) at ‘4356.
149b
       Ex. 45 (PCARSS Form) at ‘4258.
149c
       Ex. 133 (KBR 30(b)(6) (Lust) (Sept. 29, 2021) Dep.) 88:20-89:17.
150
       Ex. 131 (KBR 30(b)(6) (Jacobs) Dep.) 58:17-59:12 (testifying KBR’s “award fee was . . .
potentially two percent of the definitized amount. . . . The government has an award fee board
which evaluates the contractor’s performance for the period based on criteria in the contract”);
Ex. 83 (Sept. 27, 2007 Walter Decl.), ¶¶ 7-10
150a
       See, e.g., Ex. 108 (presentation to Award Fee Evaluation Board LOGCAP III – TO
139/159, for the period May 1, 2008 thru December 31, 2008) and Ex. 109 (presentation to Award
Fee Evaluation Board LOGCAP III – TO 118 – CJOA, for the period May 2, 2007 thru October 31,
2007).



                                              -240-
the Government $87.7 million for award fees on Task Order 139 alone.150b As of August 2014,

KBR had billed the Government $102.8 million for award fees on Task Order 159 alone.150c But

KBR’s representations about its performance were misleading “half-truths” because KBR failed

to disclose its systemic failures, often lamented internally, to check for excess material before

ordering new. Instead, KBR advised the Award Fee Evaluation Board that:

              Resources are optimally used to provide maximum benefit … Cross-leveled

               $2,275,563 worth of needed assets from other Task Orders;150d

              Assumed SSA mission by cross-leveling personnel and property … Reduced lead

               times for materials resulting in increased operational readiness.150e

VIII. Financial Impact of KBR’s Requests for Reimbursement of Items Purchased When
      It Already Had Excess Amounts of Inventory on Hand

       151.    Dr. Gaukler analyzed KBR’s inventory and purchasing data to identify specific

cases when KBR over-ordered materials that it had available for cross-leveling under KBR’s then-

existing procedures.151

       152.    KBR produced its inventory data in connection with this case.152




150b
       Ex. 111 (PDF of Native Excel produced at KBR-HOW-9030564) at Tab “Form 1035.”
150c
       Ex. 113 (PDF of Native Excel produced at KBR-HOW-9031445) at Tab “Form 1035.”
150d
        Ex. 109 (presentation to Award Fee Evaluation Board LOGCAP III – TO 118 – CJOA, for
the period May 2, 2007 thru October 31, 2007) at ‘8800.
150e
       Ex. 108 (presentation to Award Fee Evaluation Board LOGCAP III – TO 139/159, for the
period May 1, 2008 thru December 31, 2008) at ‘1764.
151
       See Ex. 96 (Expert Report of G. Gaukler).
152
       See Ex. 116 (MAXIMO/STEAM Database).



                                               -241-
       153.    Analyzing 34.5 million transactions found in this data, Dr. Gaukler determined

KBR’s inventory balances at every given point in time between May 28, 2007 and March 5,

2013.153 Dr. Gaukler validated his analysis of KBR’s inventory balances using corroborating

information in the transactions. 98.5% of the transactions were internally consistent, and

Dr. Gaukler conservatively screened the remaining 1.5% in order to block balance reconstruction

when the transactions suggested any uncertainty. Id. § IV.B. He also compared his conclusions to

KBR’s ASL [authorized stock list] reports, and found that they matched 98% of the time and that

when there was a discrepancy his model typically underestimated inventory balance. Ex. 105

(Expert Rebuttal Report of G. Gaukler) § IV.E.

       154.    Dr. Gaukler then applied KBR’s own procedures to the inventory levels in order to

classify KBR’s inventory as Stock, Non-Stock, or Special at any given point in time according to

KBR’s own procedures and standards.154 Under KBR’s procedures, these classifications determine

how much of an item’s inventory is available for cross-leveling. Id. § IV.D.

       155.    Dr. Gaukler then analyzed KBR’s purchase order data over the same period of time

to determine the number of times that KBR purchased something new when, at the same time, that

same item was available for cross-leveling, according to KBR’s own procedures.155 For sake of

caution, Dr. Gaukler applied KBR’s procedures as KBR had defined them in its Rule 30(b)(6)

testimony, including additional “restrictions” on cross-leveling that do not appear in KBR’s

procedures. Id. Dr. Gaukler’s analysis is highly conservative, as the restrictions he accepted




153
       Ex. 96 (Expert Report of G. Gaukler), § IV.A.
154
       Ex. 96 (Expert Report of G. Gaukler) § IV.C.
155
       Ex. 96 (Expert Report of G. Gaukler) § IV.D.



                                              -242-
included ones that the Government did not know about and that the Government would have

referred to DCAA had it known.155a

       156.    Dr. Gaukler identified 899 public vouchers associated with unnecessary costs

incurred because KBR purchased items despite the same items being available, in excess, in

theater. For example, on July 14, 2008, KBR submitted Public Voucher no. 47 for Task Order 139.

That Public Voucher requested reimbursement for the cost of purchase order line (“POLINE”)

(#771983) on purchase order number (“PONUM”) #4750053582 for 15 1.5HP blower motors

ordered on July 1, 2008 (item number 1001331456), for a total cost of $7,725, despite the fact that

the 15 blower motors were all available in excess in other KBR storerooms.156 Dr. Gaukler

concluded that on 73,530 separate purchase orders, KBR had purchased $341 million of excess

inventory that it never should have purchased if KBR had followed its own procedures and

standards regarding cross-leveling. On the occasions when KBR actually followed its cross-

leveling procedures, and the database showed cross-level was supportable, the underlying

circumstances rarely led KBR to deny a cross-level request. Moreover, Dr. Gaukler’s model

incorporates KBR’s documented cross-level denials, and it reduces the value of KBR’s




155a
       Ex. 143 (Sheridan Dep.) 155:5-156:13.
156
       Ex. 120 (Expert Rebuttal Report of G. Gaukler, Output #3); Ex. 110 (PDF of Native Excel
Spreadsheet Public Voucher No. 47 for Task Order 139) at Tab “1034-Task 57”; Ex. 118 (Expert
Report of G. Gaukler, Output #1); Ex. 114 (ZBILL20080714-044718-GC00GY) at
Tab “ZBILL20080714-044718-GC00GY,” Row 1376 (identifying Object: “GCA8YM-
BAD9D1602-5”; Cost Elem: “550451”; Document: “1030466893”; Vendor Name:
GOLDEN ARROW GENERAL TRADING C”; PostDate: “20080701”; Ref Doc: “5000339056”;
Trns Amt: “7,725.00”); Ex. 110 (PDF of Native Excel Spreadsheet Public Voucher No. 47 for
Task Order 139) at Tab “Yr 2 Detail 2008,” Row 128 (identifying Object: “GCA8YM-
BAD9D1602-5”; Cost Elem: “550451”; Document: “1030466893”; Vendor Name:
“GOLDEN ARROW GENERAL TRADING C”; PostDate: “20080701”; Ref Doc:
“5000339056”; Obj Amt: “7,725.00”).



                                              -243-
$341 million in over-ordering by a mere $800,000.156a Dr. Gaukler later adjusted the total amount

of excess purchases to $338 million (a reduction of less than 1%) after applying corrections that

he had identified in rebuttal of KBR’s expert William Walter. Ex. 96 (Expert Rebuttal Report of

G. Gaukler) § IV.C.viii.

       157.    The Government paid for the cost of property and materials that KBR acquired on

the LOGCAP III contract.157 Consequently, the Government paid for the entire $341 million that

KBR had incurred unnecessarily.157a Moreover, Dr. Gaukler was able to directly trace $226 million

of the $341 million of unnecessary purchases to specific public vouchers that KBR submitted to

the Government for reimbursement.157b As set forth above, those public vouchers in turn

represented that these $226 million of over-ordered supplies were “necessary for performance” of

LOGCAP III. SOF ¶¶ 10, 137-143. There is little doubt that the Government also paid for the

remaining $115 million in unnecessary purchases, given that every materials order under the

contract was subject to Government payment. See, supra, at ¶ 137.




156a
       Ex. 96 (Expert Report of G. Gaukler) at 5; Ex. 105 (Expert Rebuttal Report of G. Gaukler)
¶¶ 132-135; Ex. 106 (Supplement to Expert Rebuttal Report of G. Gaukler) ¶ 4.
157
        See Ex. 131 (KBR 30(b)(6) (Jacobs) Dep.) at 31:7-14, 37:3-10; Ex. 84 (KBR Response to
Interrogatory No. 10).
157a
        See Ex. 131 (KBR 30(b)(6) (Jacobs) Dep.) 24:9-14 (“Q. . . . Are you aware sitting here
today of any pieces of property and materials that KBR bought and received on LOGCAP III that
the government paid less than a hundred percent of what KBR spent buying the property and
material? A. I am not aware.”), 31:7-14 (“Q. . . . [A]s a general matter were KBR’s costs spent
procuring property and materials that KBR procured and received on LOGCAP III, did those costs
ultimately end up on the public vouchers KBR submitted to the U.S. Government? A. In general
the costs incurred based on receipts of materials and equipment were included on a public voucher,
in general.”)
157b
       Ex. 96 (Expert Report of G. Gaukler) at 39.



                                              -244-
                                      LEGAL STANDARDS

       In resolving a summary judgment motion, “[t]he court has one task and one task only: to

decide, based on the evidence of record, whether there is any material dispute of fact that requires

a trial.” McBride v. Barnes, No. 1:18-CV-1424, 2021 WL 4750570, at *3 (C.D. Ill. Oct. 12, 2021)

(Mihm, J.) (citation omitted). “The burden is upon the moving party to establish that no material

facts are in genuine dispute, and any doubt as to the existence of a genuine issue may be resolved

against the moving party.” Grossman v. Smart, 807 F. Supp. 1404, 1407 (C.D. Ill. 1992)

(Mihm, J.); Stewart v. Wexford Health Sources, Inc., 14 F.4th 757, 760 (7th Cir. 2021) (“We have

reminded judges that ‘no matter how tempting it might be on summary judgment to be distracted

by the sparkle of seemingly compelling facts, our assigned task is to take the facts in the light most

favorable to the non-moving party.’”) (citation omitted). Moreover, “summary judgment generally

is not an appropriate means of resolving questions of motive and intent.” Grossman, 807 F. Supp.

at 1407.




                                                -245-
                                          ARGUMENT

I.     KBR Submitted Thousands of False Claims for Payment

       KBR violated the FCA in three distinct ways. First, KBR submitted public vouchers to the

Government, falsely representing that the tens of thousands of newly purchased items that already

existed in excess in theater storerooms were “necessary for the performance under the contract.”

KBR argues that these vouchers “included no representations at all other than these were the costs

that KBR incurred.” Br. at 28. That is demonstrably false. All of the material at issue in this case

was charged to the Government on public vouchers, and the vouchers assigned each

reimbursement request to a specific billing code, known as a Contract Line Item Number

(“CLIN”). SOF 137-143. The LOGCAP III “Base Contract,” which applied to all work at issue in

this case, provides that “For Cost-Reimbursable Contract Line Item Numbers (CLINs) only

supplies and materials necessary for performance under this contract will be reimbursed ....”

SOF 140. By assigning each purchase of material to a cost-reimbursable CLIN, KBR’s vouchers

represented that materials associated with those CLINs were “necessary” for performance of

LOGCAP III.

       That representation was false because KBR failed even to check for excess materials at

least 50% of the time. SOF 63-67. Moreover, for the other half of its purchases KBR used the four

fraudulent practices identified above to misclassify hundreds of millions of dollars of material and

place it off limits to cross-leveling. SOF 52-83; 97-102. Using KBR’s inventory data, Relators’

expert identified more than 70,000 purchase orders placed by KBR worth over $341 million, when,

according to KBR’s own records, procedures, and criteria, excess inventory of the precise items

purchased was already available in KBR’s storerooms. SOF 151-157. Every one of those

unnecessary purchases was included in a public voucher reimbursement request that

misrepresented that the items were “necessary.” SOF 137-143; 151-157.


                                               -246-
       Second, under LOGCAP III, KBR was entitled to an “Award Fee” of up to 2% of the

definitized costs on the contract. SOF 2. To receive that fee, KBR made periodic presentations

about its performance to Government “Award Fee Boards.” SOF 6; 150. In those presentations,

KBR falsely represented its performance as an inventory manager, never revealing the systemic

failures that it had acknowledged internally. SOF 111; 150. It omitted this material information to

seek and receive higher Award Fees.

       Third, KBR made “false statements” to the Government to get false claims paid, in

violation of 31 U.S.C. § 3729(a)(1)(B). For purchases above a dollar threshold, KBR expressly

represented to the Government that it had checked supplies on hand and the item was not already

available. SOF 144-147. Relators’ expert identified 10,468 requisitions for which this specific

representation was false because the purchased items existed in excess in KBR’s storerooms.

SOF 148. In addition, in connection with “PCARSS” disposition of items, KBR expressly

represented to the Government that “[i]t ha[d] been determined that this equipment is excess

serviceable items to the contract and there is no further use for the property in support of the

mission requirements,” that “[t]he attached lists of item(s) ha[d] been screened for cross level

requirements throughout the theater of operations,” and that “[t]he items have been screened and

verified there [we]re no foreseeable requirements in support of the current mission at this time.”

SOF 149. As KBR’s head of the DMC reported internally, these were “not … true statement[s]”

and KBR knew it. SOF 99. This Court relied on the PCARSS misrepresentations in finding that

Relators properly stated an FCA claim. Dkt. 52, Order Denying MTD at 33-38, 52-53 (“Order”).

       A.      KBR Submitted Implied False Claims through Its Public Vouchers.

       KBR’s requests for payment for unnecessary items are paradigmatic implied false claims

under the Supreme Court’s holding in Escobar:




                                              -247-
               When, as here, a defendant makes representations in submitting a claim but
               omits its violations of statutory, regulatory, or contractual requirements,
               those omissions can be a basis for liability if they render the defendant’s
               representations misleading with respect to the goods or services provided.

579 U.S. at 187. Escobar reiterated “the rule that half-truths—representations that state the truth

only so far as it goes, while omitting critical qualifying information—can be actionable

misrepresentations.” Id. at 188. The representations in Escobar were “payment codes that

corresponded to specific counseling services” and “numbers corresponding to specific job titles.”

Id. at 189. The Escobar defendant submitted the codes “without disclosing [its] many violations

of basic [Medicaid] staff and licensing requirements.” Id. at 190. The Court termed the payment

codes “clearly misleading in context,” noting that anyone reading them “would probably—but

wrongly—conclude that the clinic had complied with core Massachusetts Medicaid

requirements ....” Id. (emphasis added).

       This case precisely parallels Escobar. KBR submitted reimbursement requests with billing

codes (CLINs) representing that the materials for which it sought reimbursement were “necessary”

for performance of the contract. But KBR omitted that it had failed at one of its core contractual

requirements—using the materials it already had in excess before ordering those same materials

again. Any Government bursar reviewing the reimbursement request would have “probably but

wrongly” concluded that it was “necessary” to purchase the items because KBR had first checked

to make sure the items were not available in excess elsewhere in the theater. As discussed above,

however, KBR systematically bypassed the cross-level process and fraudulently placed hundreds

of millions of dollars of material off limits when it did check for excess. SOF 52-83; 97-102. Not

even the most generous reading suggests that KBR was truthful in representing that its purchases

were “necessary for performance” of the contract.




                                              -248-
       The Seventh Circuit’s recent decision in United States v. Molina Healthcare of Ill., Inc.,

17 F.4th 732 (7th Cir. 2021), is also instructive. There, the defendant health plan contracted with

the Government to provide services that fell within various “rate cells,” including one

encompassing care at nursing facilities, but did not actually provide skilled nursing care. Id. at 743.

The court held that by submitting enrollment forms for patients in the nursing category, the

defendant “implicitly falsely certified that Nursing Facility enrollees had access to [skilled nursing

facility] services,” even though the forms did not explicitly represent that those services were

available. Id. As the Seventh Circuit explained, “[t]his is akin to the defendant’s actions in

Escobar, in which the court found that the defendant ‘misleadingly omit[ted] [the] critical facts’

that its care providers were not qualified to render services for which it nevertheless requested

payments.” Id. (quoting Escobar, 579 U.S. at 191).

       A number of other cases have invoked the Supreme Court’s “probably but wrongly”

reasoning when assessing whether a statement was a “half-truth.” See, e.g., United States v.

Triple Canopy, Inc., 857 F.3d 174, 178 (4th Cir. 2017), cert. dismissed, 138 S. Ct. 370 (2017)

(“Just as in [Escobar], anyone reviewing Triple Canopy’s invoices [for guards] ‘would probably—

but wrongly—conclude that [Triple Canopy] had complied with core [contract] requirements’ [for

marksmanship].”); United States ex rel. Campie v. Gilead Scis., Inc., 862 F.3d 890, 902-03

(9th Cir. 2017) (drug names which “necessarily refer to specific drugs under the FDA’s regulatory

regime” probably but wrongly imply proper manufacturing processes); United States ex rel.

Grubea v. Rosicki, Rosicki & Assocs., P.C., 318 F. Supp. 3d 680, 700-01 (S.D.N.Y. 2018)

(“Fannie Mae ‘would probably—but wrongly—conclude’ that the expenses were the actual

expenses incurred by [defendants], rather than the product of fraudulent mark-ups.”); United States

v. Academi Training Ctr., Inc., 220 F. Supp. 3d 676, 681 (E.D. Va. 2016) (“[A]nyone informed




                                                -249-
that [security guards] providing armed protection for governmental officials in a high-risk country

or warzone like Afghanistan would probably—but wrongly—conclude that [they] were qualified

to handle the very firearms they needed to protect those officials.”). These decisions, like Escobar

and Molina, make clear that KBR’s representation that its purchases were “necessary for

performance” of the contract was a misleading half-truth that supports implied false certification.1

       B.      KBR Submitted Implied False Claims through Its Award Fee Applications.

       KBR’s Award Fee applications provide an additional basis for the Court to reject its

motion. Like the public vouchers, these applications made affirmative statements but omitted

material information, making those statements misleading half-truths under Escobar.

       The LOGCAP III contract entitled KBR to periodically request an award fee based on

KBR’s performance for up to 2% of the definitized costs. SOF 2. To request the award, KBR made

presentations to award fee evaluation boards that contained specific affirmative representations

from KBR about its performance. SOF 6; 150. KBR billed the Government at least $87.7 million

in award fees on Task Order 139 and at least $102.8 million on Task Order 159. SOF 150. But

KBR’s representations about its performance were misleading “half-truths” because KBR failed

to disclose its systemic failures, often lamented internally, to check for excess material before


1
        KBR’s reliance on United States v. Sanford-Brown, Ltd., 840 F.3d 445 (7th Cir. 2016)
(Sanford-Brown II), is misplaced. As KBR itself notes, Sanford-Brown II rejected an implied false
certification claim because the relator “offered no evidence that defendant ... made any
representations at all in connection with its claims for payment, much less false or misleading
representations.” Id. at 447. That is not the case here, where KBR represented that purchases were
“necessary” through its use of CLINs. KBR also argues that public vouchers never contain
affirmative statements, citing other cases that discuss various aspects of the vouchers. But none of
KBR’s cases addressed CLINs, and none involved systemic purchases of excess materials.
Moreover, KBR cites only one “voucher” case that post-dates Escobar: United States ex rel. Barko
v. Halliburton Co., 241 F. Supp. 3d 37 (D.D.C. 2017). KBR tellingly omits Barko’s discussion of
implied certification, where the court agreed that “withholding information about noncompliance
with such laws or provisions may give rise to liability under a theory of implied false certification,”
but dismissed the case because “evidence of noncompliance d[id] not exist.” Id. at 60.



                                                -250-
ordering new. SOF 11; 52-136; 150. These award fee presentations contained misleading

half-truths sufficient for liability under Escobar.

       C.      Buying Material Without Checking for Excess on Hand Violates A Core
               Requirement of LOGCAP III, Like Guns That “Do Not Shoot.”

       Apart from the misleading half-truths in KBR’s public vouchers and Award Fee

applications, KBR is liable under Escobar’s implied false certification theory for another reason.

As noted above, many cases have noted that a key inquiry is whether the Government would

“probably but wrongly” presume that goods or services were of a certain character. The Escobar

Court offered the provision of guns that “do not shoot” as a situation where FCA liability would

plainly attach. 579 U.S. at 191. In other words, even the most general description of goods or

services can be a misleading half-truth where non-compliance goes to the heart of the bargain, like

an invoice simply for “firearms” when the firearms are inoperative.2 The Seventh Circuit

recognized this concept in Molina, explaining that the defendant health plan’s representations

about the services provided in various rate tiers—where the services dictated the associated

payment—were “essential if the capitation payments are to be actuarially sound.” 17 F.4th at 743.




2
        Contrary to KBR’s characterization, Escobar did not hold that a “specific representation”
of goods/services is required. The Court left open the question whether “all claims for payment
implicitly represent that the billing party is legally entitled to payment.” 579 U.S. at 188. Instead,
the Court held “that the implied certification theory can be a basis for liability, at least where
two conditions are satisfied: first, the claim does not merely request payment, but also makes
specific representations about the goods or services provided; and second, the defendant’s failure
to disclose noncompliance with material statutory, regulatory, or contractual requirements makes
those representations misleading half-truths.” Id. at 190 (emphasis added). KBR bowdlerizes this
quotation by removing “at least,” then inserting those words in its paraphrase in a manner that
entirely alters the Court’s meaning: “[i]implied false certification liability requires at least
two conditions ….” Br. at 27 (emphasis added). KBR’s sharp editing transforms language
intended to be illustrative (implied certification applies “at least” where two conditions are met)
into a suggestion that the Court resolved an issue it expressly left open (implied certification can
only arise where a specific representation is made).



                                                -251-
       This Court has already addressed this issue. In its 12(b)(6) motion, KBR argued that

Relators had failed to identify “what falsehood was actually presented to the Government.” Order

at 42. Foreshadowing Escobar, this Court rejected that contention, holding that “the fraudulent

claim in this case is premised upon the allegation that the invoices (i.e. requests or demands for

payment) KBR submitted to the Government were themselves false because they contained

unallowable and unreasonable costs.” Id. at 46-47.

       The Court got it right. KBR did not violate some arbitrary regulatory requirement

untethered to its obligations or the Government’s payments—it violated the core contractual

requirement to check for existing excess materials before buying new. SOF 8-33. Managing and

tracking inventory was a primary reason the Government hired KBR in the first place and KBR’s

failures went to the essence of that bargain. SOF 1; 14-19; 57, 84-86; Ex. 70 at ‘2915 (KBR Senior

Manager: “To have something on hand and to not use it in lieu of purchasing more is a recipe for

the DCAA to … collect back what we paid for the item via a Form 1.”); Ex. 8 at ‘0062 (KBR

Senior Manager: “We are purchasing $5M per day when we’ve got $1.2 B i[n] excess on hand. At

some point, the DCAA is going to put KBR out of business ….”). Like a gun-maker billing for

guns that do not shoot, or a health plan seeking capitation payments despite not offering certain

mandated services, KBR submitted false claims when it requested Government reimbursement for

purchases of unnecessary items while not bothering to check for excess on hand.

       D.      As This Court Previously Held, KBR Violated Objective Requirements, and
               Falsity Does Not Require A Quantitatively Measurable Performance
               Standard.

       The binding decisions in Escobar and Molina foreclose KBR’s falsity argument. With no

options remaining, KBR implores this Court to adopt a position with no support in controlling

law—a position which this Court and the Federal Circuit have already rejected. KBR contends it

is impossible, as a matter of law, for KBR to face liability under the FCA because KBR had to use


                                              -252-
only its “maximum best efforts” to comply with LOGCAP III and such a standard is “too

amorphous a concept to be objectively measured.” Br. at 32. KBR is wrong.3

       This is not the first time that KBR has argued that the LOGCAP III requirements are not

sufficiently “objective” to support FCA liability. This Court properly rejected that argument as

applied to the cost reasonableness requirement. Order at 46 (“[T]here is no reason that KBR’s

representations concerning the reasonableness of the prices listed in the invoices submitted to the

Government cannot be deemed objectively false.”). KBR’s excuse to ask the Court to revisit its

prior decision—Escobar—is unpersuasive because that case never discussed “objective

falsehood.” This Court should not reverse its ruling simply because KBR has recast its “objective

falsehood” argument as lack of “measurability.” Indeed, the Court now has even greater reason to

reject KBR’s contention, because Relators have identified additional, more specific contract

requirements that the Court did not previously evaluate. See SOF 14-19.

       Moreover, the Federal Circuit has rejected KBR’s assertion that “best efforts” is effectively

a blank check for non-performance. In Kellogg Brown & Root Services, Inc. v. United States,

728 F.3d 1348 (Fed. Cir. 2013) (“KBRSI”), KBR contended that “cost-reimbursement contracts

require only that the contractor gives its ‘best efforts’ when performing, and its costs are payable

absent gross misconduct” or “absent arbitrary action or a clear abuse of discretion.” Id. at 1359.




3
         KBR’s expert defines the controlling standard as “the good faith maximum effort that could
be given in any stated context.” Ex. 121 (Branch Dep.) at 71:8-10. Contradicting its expert, KBR
suggests that the FAR’s “best efforts” clause may be unenforceable, citing Specialty Earth Scis.,
LLC v. Carus Corp., No. 15-CV-06133, 2021 WL 4804076 (N.D. Ill. Oct. 14, 2021). That case
actually explains that the term “best efforts” is enforceable when, as here, there are “criteria by
which to judge whether the proper effort has been made.” Id. at *13. KBR simply pretends such
criteria did not exist, ignoring the wealth of evidence showing that KBR knew what, when, why,
and how it had to cross-level. SOF 34-51.



                                               -253-
The Federal Circuit soundly rejected KBR’s argument that “best efforts” is a vague standard that

relaxes the requirement of cost reasonableness:

               KBR’s suggested standard of review finds no support in the text of
               section 31.201-3 or our precedent. Section 31.201-3 of the FAR affords the
               reviewing officer or court considerable flexibility in assessing the
               reasonableness of costs…. Although evidence of willful misconduct, gross
               negligence, or arbitrary conduct could well provide a basis for a contracting
               officer or court to disallow costs under the regulation, such evidence is not
               required.

Id. at 1359. The Federal Circuit explained the well-defined process for determining whether costs

are reasonable, including whether they are “ordinary and necessary,” “result from generally

accepted sound business practices,” or involve “significant deviations from the contractor’s

established practices.” Id. (citing FAR § 31.201-3(b)). This Court previously pointed to these very

FAR provisions in rejecting KBR’s “objective falsity” arguments and finding that Relators had

stated a claim under the FCA. Order at 44-45.

       KBR also mischaracterizes Relators’ argument as disagreement over whether KBR was

“efficient” enough. Br. at 24, 31, 33. Not so. Purchased material must be (1) “necessary for

performance” of the contract (based on CLINs, discussed above), (2) cross-leveled to the

“maximum extent possible” per the contract’s Statements of Work (as KBR concedes, Br. at 2),

and in the case of larger purchases, (3) expressly certified to have been cross-leveled. See

SOF 137-148. These additional requirements may be viewed either as providing more specific

meaning to “best efforts,” or as the “variety of considerations and circumstances” used to

determine “reasonableness.” KBRSI, 728 F.3d at 1359. Taken together or individually, they

objectively require that KBR check for available excess before purchasing any new material, as

even KBR’s own expert concedes. See KBR Ex. 26 (Branch Report) at 8 (“LOGCAP III required

KBRSI to make its ‘best efforts’ to perform its obligated work, which included its obligation to

exercise due diligence in verifying that required items could not be satisfied from existing,


                                                -254-
available stock.”); see also KBR SOF 46 (U.S. Army Audit Agency report: “LOGCAP contract

requires the contractor to fill requirements with existing stock.”). Deliberate and systemic

bypassing of required procedures and intentional manipulation of material descriptions is not

“inefficiency,” it is fraud, as this Court previously determined. Purchase of new material cannot

truthfully be called “necessary” to the contract, or “reasonable,” or the result of “maximum best

efforts,” when KBR systemically bypassed and manipulated the process established to look for

excess inventory. These are not matters of subjective belief, but objective facts.

       Finally, none of the hodgepodge of cases that KBR cites, many of which it previously cited

in its failed motion to dismiss, stand for the radical “measurability” proposition KBR advocates.

For example, KBR again relies on United States ex rel. Yannacopoulos v. General Dynamics,

652 F.3d 818 (7th Cir. 2011), for its “objective falsity” argument. Br. at 24. But this Court properly

found that Relators pled an objective falsehood, Order at 46, and Yannacopoulos says nothing

about “measurability.” Moreover, the Yannacopoulos relator’s case did not fail because of an

absence of “objective falsity”; it failed because, among other things, the relator lacked proof to

support his allegations. Id. at 837.4

       The same is true of KBR’s renewed reliance on United States ex rel. Wilson v. KBR,

525 F.3d 370 (4th Cir. 2008), which this Court previously found unpersuasive. In Wilson, the claim

failed because relators alleged only that KBR had violated “several general and relatively vague

maintenance provisions, such as keeping vehicles ‘in a safe operating condition and good

appearance.’” Id. at 377. Here, in contrast, KBR’s obligation to check for material availability


4
        Yannacopoulos was decided when the Seventh Circuit rejected the implied certification
theory later adopted by Escobar. The court nonetheless made clear, as did this Court, that the
violation of a contract can, in fact, be a predicate for FCA liability when coupled with
misrepresentations to the Government about “compliance with that contract,” id. at 827, exactly
the case here.



                                                -255-
prior to submitting purchases was set forth explicitly in multiple specific contract requirements.

See SOF 8-3. Moreover, KBR specifically and repeatedly represented to the Government on both

its PCARSS forms and larger material requisitions that it had attempted to cross-level.

SOF 144-149. These are “objective falsehoods.”

       Other cases cited by KBR support Relators. For example, the only FCA case KBR cites

that even mentions a “best efforts” contract is United States v. Northrop Grumman Systems

Corporation, 9 CV 7306, 2015 WL 5916871 (N.D. Ill. 2015). But that case rejects KBR’s

argument. There, the defendant originally moved to dismiss the case, arguing (like KBR) that the

relator had “failed to allege an objective falsehood because ‘best efforts’ was an imprecise

contractual term.” Id. at *3. The court disagreed and therefore denied that motion. Id. The court

later granted summary judgment only because the relator ultimately failed to prove that best efforts

had the meaning that the relator posited. Id. at *7 (“[Relator] cannot show that his interpretation

of the contract . . . was either correct or shared by both DHS and Northrop Grumman”). Here, there

is no such failure of proof.

       United States v. AseraCare, Inc., 938 F.3d 1278 (11th Cir. 2019), similarly supports

Relators and implicitly rejects KBR’s argument that the FCA reaches only falsehoods about

“objectively measurable” requirements. AseraCare held that a physician’s clinical judgment can

be “objectively” false where the physician “did not, in fact, subjectively believe” his or her clinical

judgment; where “no reasonable physician” could have made the relevant judgment; or where the

physician “fails to review the patient’s medical records” or “familiarize himself with the patient’s

condition” before making the judgment. 938 F.3d at 1297. These circumstances are precisely

analogous to KBR’s predominant practice of ordering new material without even looking for

available excess.




                                                -256-
       KBR’s other cases, none of which based dismissal on lack of an “objective falsehood” or

announced a “measurability” requirement, are inapposite. See United States ex rel. Lisitza v.

Par Pharm. Cos., Inc., 276 F. Supp. 3d 799, 800-01 (N.D. Ill. 2017) (dismissing claims under

Escobar because alleged regulatory violations did “not go to the truth or falsity of the

representations on the claim form itself”); United States ex rel. Garzione v. PAE Gov’t Servs., Inc.,

164 F. Supp. 3d 806, 813-16 (E.D. Va. 2016) (finding no violation of “reasonable” price

requirement because claim premised solely on failure to offer the cheapest price, where non-price

factors were obviously relevant to defendant’s decision).

       In sum, the obligation to look for excess before ordering new material is an objective

requirement and none of KBR’s cases contradicts this conclusion or imposes a “measurability”

rule. This Court previously rejected these arguments and the Court’s reasoning aligns with the

Federal Circuit—a key authority on Government contract law.

II.    The Evidence of Scienter Is Overwhelming, and SuperValu Does Not Preclude The
       Court from Considering That Evidence.

       As discussed above, KBR expressly acknowledges that it was required to attempt to

cross-level before making new purchases. And KBR tacitly acknowledges the crushing volume of

evidence showing that: (1) KBR knowingly, indeed intentionally bypassed and manipulated the

cross-leveling procedures that KBR itself established and the Government approved, and

(2) understood the financial consequences of such conduct and, therefore, hid it from the

Government.

       Conceding that “some employees believed KBR fell short,” a risible understatement, KBR

urges the Court to apply United States ex rel. Schutte v. SuperValu Inc., 9 F.4th 455 (7th Cir.

2021), and ignore all evidence of KBR’s acknowledgment of such failures as “subjective.” See

Br. at 38. But SuperValu provides no safe harbor for deliberate fraudsters like KBR.



                                               -257-
       First, SuperValu is irrelevant because it applies only to reasonable interpretations of

ambiguous statutes and regulations. 9 F.4th at 464-66, 468 n.7. KBR’s contractual obligations

were unambiguously detailed in the contract, the task orders, the statements of work, and the

Government-approved property control procedures. SOF 14-33. Moreover, even assuming this

obligation were ambiguous at the margins, no reasonable interpretation of KBR’s duties—not even

the “best efforts” standard that KBR advocates—would justify KBR’s routine practice of not even

looking for excess material befo+re it ordered that same material new, and manipulating categories

of materials to avoid the cross-level requirements.

       Second, SuperValu’s doctrine that a defendant whose conduct falls within a “reasonable

interpretation” of an ambiguous “statute or regulation” is entirely inapplicable because this case

involves the application of contract provisions. At its core, interpreting an allegedly ambiguous

contract requires examination of the contemporaneous course of dealing of the parties, including

contemporaneous statements, to determine which party’s interpretation is reasonable. But

SuperValu disallows consideration of such evidence, making it unworkable and inapplicable to a

contract provision.

       A.      There Is Overwhelming Evidence of Scienter.

       It is axiomatic that scienter is particularly ill-suited to summary adjudication. See, e.g.,

Grossman, 807 F. Supp. at 1412 (“Summary judgment is not an appropriate means of resolving

questions of motive and intent. Questions going to [defendant’s] mental state are questions of

fact.”). In most cases, as in this one, a jury is best equipped to hear and evaluate all facts and

circumstances to determine whether a defendant acted knowingly. Moreover, the FCA has a

particularly expansive scienter standard encompassing three broadly articulated states of mind:

(1) “actual knowledge” of falsity; (2) “deliberate ignorance of the truth or falsity of the




                                              -258-
information;” or (3) “reckless disregard of the truth or falsity of the information.” 31 U.S.C.

§ 3729(b)(1). It requires “no proof of specific intent to defraud” Id.

       As discussed above, the record amply demonstrates that KBR “knowingly” submitted false

claims to the Government. By failing even to attempt to cross-level half the time, hiding hundreds

of millions of dollars of material from cross-leveling, acknowledging the Government would seek

refunds or “put KBR out of business,” and consciously concealing its conduct from the

Government, KBR acted at the very least with reckless disregard and willful blindness when

seeking payment for new, purportedly “necessary” purchases. See SOF 52-102.

       Faced with this overwhelming evidence of its subjective intent, KBR cannot win an FCA

scienter motion. KBR’s solution is to force this case into SuperValu’s framework to prevent the

Court from even considering the evidence. But SuperValu does not support KBR’s position.

       B.      SuperValu Does Not Apply Because The Parties Do Not Dispute The Meaning
               of Legal Terms; The Parties Dispute Whether KBR’s Performance Satisfied
               The Legal Requirements of The Contract.

       SuperValu does not apply here because there is no dispute over the “meaning” of legal

terms, either regulatory or contractual. Unlike the SuperValu and Safeway defendants, KBR never

offers a “reasonable interpretation” of its legal obligations for the Court to choose over Relators’

preferred construction. When KBR argues that its “interpretation” is reasonable, it really means

that its conduct is reasonable. KBR offers excuses about why it was unable to cross-level more

often, e.g., because it was operating in a war zone or because in isolated instances it could have

been faster to buy new material than to cross-level, both of which are contradicted by the evidence.

See SOF 12-13. Because these disputes plainly highlight that a jury must decide whether KBR’s

performance met its clear contractual obligations, KBR imports SuperValu to an inapposite

context.




                                                -259-
          SuperValu and Safeway both illustrate the distinction. In those cases the parties disagreed

over the interpretation of the term “usual and customary” prices. The defendant in each case argued

that certain discounts were excluded from the regulatory term. SuperValu, 9 F.4th at 469;

United States ex rel. Proctor v. Safeway, 30 F.4th 649, 659 (7th Cir. 2022). While the cases were

pending, a court resolved the definitional dispute against the defendants. SuperValu, 9 F.4th

at 460-61. But the defendants argued that their contrary interpretations, albeit wrong, had been

“reasonable,” and the SuperValu and Safeway majorities agreed. Id. at 470; Safeway, 30 F.4th

at 659.

          Here, there is no comparable dispute over the meaning of a legal term. KBR offers

rhetorical questions instead of reasonable interpretations—“Was KBR required to cross-level

one-hundred percent of the time before purchasing? Some lesser percentage, and, if so, what?”

Br. at 41—and asserts that it need make no showing that its performance satisfies any

interpretation, let alone a reasonable one. KBR does concede that it had a contractual duty to use

its “best efforts” to “cross level” to the “maximum extent possible,” but simply points to the

purported aggregate value of its cross-leveling as irrefutable evidence that it complied. See, e.g.,

Br. at 2-3. This case does not present any disagreement over the meaning of “maximum best

efforts,” “necessary for performance” or “cost reasonableness,” because KBR makes no attempt

to define any of these terms. This case is simply a dispute over whether a course of conduct satisfies

contract requirements or constitutes fraud. A jury must resolve that dispute, and SuperValu simply

does not apply.

          C.     SuperValu Does Not Apply to “Reasonable Interpretations” of Contract
                 Terms.

          SuperValu is inapposite here for another reason. KBR argues that under SuperValu, “the

internal KBR emails … are irrelevant and cannot defeat summary judgment if KBR followed an



                                                -260-
objectively reasonable interpretation of the purported contractual cross-leveling requirement.”

Br. at 35 (emphasis added). But SuperValu analyzed a reasonable interpretation of “statutes and

regulations,” not “contractual” terms. This is not mere formalism. Expanding SuperValu to

contract interpretation would distort and greatly expand its scienter defense in a manner

inconsistent with the language of the case as well as decades of settled contract law.

       If a statute or regulation is subject to two or more reasonable interpretations, a court can

determine whether the defendant’s interpretation was “reasonable” without reference to that

defendant’s actual belief. A court need not understand what a party “believed” the statute meant,

because courts can interpret ambiguous statutes without extrinsic evidence from private parties.

Contracts are another story. If a contract provision is ambiguous, courts do not resolve the

ambiguity in a vacuum, providing a complete defense to a party that can offer a “reasonable

interpretation” of the disputed term. Instead, under bedrock principles of contract interpretation,

courts resolve contractual ambiguity by considering extrinsic evidence, including the parties’

course of dealing and contemporaneous statements. See, e.g., Metro. Area Transit, Inc. v.

Nicholson, 463 F.3d 1256, 1260 (Fed. Cir. 2006) (“Having found the contract [with the

Government] ambiguous, we may appropriately look to extrinsic evidence to aid in our

interpretation of the contract” including “the parties’ course of performance.”) (citing the

Restatement (Second) of Contracts § 202(4)); Dennison v. MONY Life Ret. Income Sec. Plan for

Emps., 710 F.3d 741, 745 (7th Cir. 2013) (under “a general principle of contract interpretation,”

“[w]hen the consistent performance of parties to a contract accords with one of two alternative

interpretations of the contract, that’s strong evidence for that interpretation.”).5 In order to


5
        Interpretation of contracts between the United States and private parties is governed by the
federal common law. See Boyle v. United Techs. Corp., 487 U.S. 500, 504 (1988); United States
v. Nat’l Steel Corp., 75 F.3d 1146, 1150 (7th Cir. 1996).



                                               -261-
determine whether a party’s interpretation of an ambiguous contract provision is “reasonable,”

a court considers what the parties actually believed the contract meant. Even if KBR’s contract

obligations were ambiguous, and they were not, that would not suggest that KBR should escape

liability, because the evidence here shows the parties shared the same understanding of KBR’s

duties. See SOF 14-51; 84-86; 120-136. For that reason, SuperValu’s disregard of a party’s

subjective belief is limited only to disputes over statutes or regulations.

       The words used in SuperValu and Safeway support this position, e.g., “A defendant who

acted under an incorrect interpretation of the relevant statute or regulation did not act with reckless

disregard if (1) the interpretation was objectively reasonable and (2) no authoritative guidance

cautioned defendants against it.” 9 F.4th at 464 (citing Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47,

70 (2007)) (emphasis added). SuperValu repeated that formulation several times. See id. at 465

(defense only applies where defendant holds objectively reasonable interpretation of “a statute or

regulation”); id. at 468 (interpretation of “the text of the statute or regulation that the defendant

allegedly violated”); id. at 470 (“Relators also err by calibrating objective reasonableness against

the clarity of a statute or regulation’s policy objective”). In the Seventh Circuit’s later decision

addressing the same issue, Safeway, the court consistently used the same “statute or regulation”

language to describe the scope of the “reasonable interpretation” defense. 30 F.4th at 652

(describing SuperValu: “a defendant does not act with reckless disregard as long as its

interpretation of the relevant statute or regulation was objectively reasonable”); id. at 657 (Safeco

held “that a defendant does not act with ‘reckless disregard’ as long as its interpretation of the

relevant statute or regulation is ‘objectively reasonable’”); id. at 658 (Safeco “held that a defendant

does not act with reckless disregard under the FCRA as long as its interpretation of the relevant

statute or regulation was ‘objectively reasonable’”). The consistent omission of “contract” was not




                                                -262-
inadvertent. The rules articulated by SuperValu are impossible to reconcile with basic principles

of contract law.

       Here, evidence of the parties’ course of dealing, KBR’s own internal procedures, and

KBR’s contemporaneous statements all demonstrate that KBR was required to check for available

excess before ordering new material. See SOF 14-51; 84-86; 120-136. KBR urges the Court simply

to ignore that evidence, but the Court cannot possibly interpret a supposedly ambiguous contract

without it. Nothing suggests that SuperValu intended to sweep away sub silentio decades of

contract law, so extending that case to this case, which concerns the LOGCAP III contract, makes

no sense. This Court should decline KBR’s request to be the first court to do so.6

       D.      KBR Fails to Demonstrate That It Acted in Accordance with Its Purportedly
               “Reasonable” Interpretation of The Contract.

       KBR’s motion would fail even if SuperValu applied. SuperValu requires more than just a

showing that an alternative reasonable interpretation of a statute or regulation existed; it also

requires the defendant to show that its actions complied with that alternative interpretation. See


6
        Unsurprisingly, none of the cases that SuperValu relied upon, nor any case to rely upon
SuperValu, have involved interpretations of negotiated contracts. See Safeco, 551 U.S. at 47
(interpreting Fair Credit Reporting Act); United States ex rel. Olhausen v. Arriva Med. LLC,
No. 21-10366, 2022 WL 1203023 (11th Cir. 2022) (per curiam) (interpreting Medicare equipment
supplier regulations); Safeway, 30 F.4th 649 (interpreting Medicaid “usual and customary”
regulation); United States ex rel. Sheldon v. Allergan Sales, LLC, 24 F.4th 340 (4th Cir. 2022),
opinion vacated and judgment affirmed, No. 20-2330, 2022 WL 4396367 (4th Cir. Sept. 23, 2022)
(interpreting Medicaid “best price” statute and regulation); United States ex rel. Streck v. Allergan,
746 F. App’x 101 (3d Cir. 2018) (interpreting “average manufacturer price” in Medicaid statute);
United States ex rel. McGrath v. Microsemi Corp., 690 F. App’x 551 (9th Cir. 2017) (interpreting
International Traffic in Arms Regulation); United States ex rel. Donegan v. Anesthesia Assocs. of
Kan. City, PC, 833 F.3d 874 (8th Cir. 2016) (interpreting Medicare anesthesia regulation);
United States ex rel. Purcell v. MWI Corp., 807 F.3d 281 (D.C. Cir. 2015) (interpreting Export-
Import Bank certification); Illinois ex rel. Elder v. JPMorgan Chase Bank, N.A., No. 21 C 85,
2022 WL 3908675 (N.D. Ill. Aug. 30, 2022) (interpreting escheat statute); United States v.
Wisconsin Bell Inc., No. 08-CV-0724, 2022 WL 860621 (E.D. Wis. Mar. 23, 2022) (interpreting
federal Education Rate Program regulation); Lupinetti v. Exeltis USA, No. 19 C 825, 2021 WL
5407424 (N.D. Ill. Nov. 19, 2021) (interpreting statutes, regulations, and CMS guidance).



                                                -263-
9 F.4th at 459 (defendant actually provided the Government pricing data consistent with its

interpretation of “usual and customary”). Yet KBR offers no evidence of such compliance. KBR

argues that its LOGCAP III obligations were content-free, subjective, meaningless—take your

pick—such that any amount of cross-leveling would satisfy them. Br. at 37 (“It would be a closer

case if KBR knowingly failed to cross-level entirely.”). KBR argues that it cross-leveled at least

$495 million in materials, and insists that is enough to settle the matter of “best efforts.”7 But under

the FCA the question is not whether KBR cross-leveled some of the time. The question is whether

it systematically failed to cross-level and then misrepresented that it had consistently done so.

Under KBR’s interpretation, if it arbitrarily decided it would cross-level only on Tuesdays, that

would satisfy contract requirements. Bypassing the cross-level process for over half the value of

items purchased is akin to cross-leveling only on certain days of the week. Neither practice is a

“reasonable” interpretation of “maximum best efforts,” “necessary for performance,” or “cost

reasonableness.”8

        On summary judgment, Relators are entitled to the reasonable inference that applicable

contract provisions, regulations, the conduct of the parties, and the testimony of witnesses, all

demonstrate that KBR was required at least to check the theater for excess material before buying

new material. And KBR was required to do that for every purchase, subject of course to normal




7
       KBR points to Relators’ expert, Dr. Gary Gaukler, for this figure. As will be discussed at
greater length in opposition to KBR’s anticipated Daubert motion, KBR repeatedly
mischaracterizes Dr. Gaukler’s opinions.
8
        KBR also argues, without offering any supporting evidence, that it “reasonably
implemented [the duty to cross-level] by conducting due diligence as to whether items could be
cross-leveled ....” Br. at 36. The Court, or a jury, may reasonably ask how less than 50%
compliance, coupled with widespread manipulation, can be deemed “due diligence.”



                                                 -264-
human error and isolated failures. That interpretation is the only reasonable one consistent with all

the evidence, especially when that evidence is viewed in a light most favorable to Relators.

III.   Relators Have Identified Thousands of False Claims

       Relators of course acknowledge that they must point to false claims—and they have.

Dr. Gaukler has identified 899 public vouchers associated with unnecessary costs incurred because

KBR purchased items when existing excess material was available in theater. SOF 143. For

example, on July 14, 2008, KBR submitted Public Voucher No. 47 for Task Order 139. SOF 143.

The voucher requested reimbursement for a purchase of fifteen blower motors ordered on July 1,

2008 with a total cost of $7,725, despite the fact that these items were available in excess in other

KBR storerooms. SOF 143. In 2008, KBR was bypassing MATCON half the time and

manipulating inventory to artificially decrease items available to cross-level. See SOF 56-83.

Based on the evidence, it is well beyond more-likely-than-not that KBR knew the items on this

voucher were not “necessary for performance” because KBR could have obtained them through

cross-levelling.9 This is all Relators must show under a preponderance of the evidence standard.

See 31 U.S.C.A. § 3731(d).

       KBR ignores the statutory standard, arguing that Relators must establish more than

a knowing and systematic bypassing and manipulation of contract requirements; they must tie that

knowledge to each individual voucher. No case remotely supports such a requirement. The

evidence reveals KBR’s pervasive scheme and Dr. Gaukler calculates how often that scheme

resulted in charges to the Government for unnecessary material. Relators need not rule out every




9
        Even without Dr. Gaukler’s model, a jury could conclude that the preponderance of the
evidence, showing a knowing scheme to bypass cross-leveling and manipulate inventory levels
over a discrete time period, resulted in false claims.



                                               -265-
purportedly legitimate reason for failing to cross-level each unnecessary item that KBR ordered.10

“Ruling things out is not the standard in a civil suit (or even in a criminal prosecution).”

United States v. Rogan, 517 F.3d 449, 453 (7th Cir. 2008) (affirming FCA judgment against

defendant who paid physicians kickbacks and rejecting the argument that defendant’s “records do

not ‘rule out’ the possibility that the four physicians provided some medical services”). KBR’s

proposed “absolute certainty” standard has no legal basis. The preponderance of the evidence

shows that KBR submitted specific false claims and KBR cannot win summary judgment on this

ground.




10
        KBR speculates that particular cross-levels may have properly been denied for various
unidentified reasons, notwithstanding the availability of excess material in theater. Such “justified”
denials were extremely uncommon. Relators focus on KBR’s bypassing and manipulating the
cross-leveling system most of the time, but on the occasions when KBR actually followed its
cross-leveling procedures, KBR rarely denied a cross-level request when its database showed a
cross-level was supportable. Moreover, Dr. Gaukler’s model incorporates KBR’s documented
cross-level denials, and it reduces the value of KBR’s $341 million in overordering by a mere
$800,000. SOF 156. This belies KBR’s assertion that its exercise of “discretion” in cross-leveling
somehow negates the falsity of its claims for unnecessary purchases.



                                                -266-
Dated: September 29, 2022           Respectfully submitted,


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                            -267-
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-268-
                            CERTIFICATE OF COMPLIANCE

       1.     This brief complies with the type volume limitations of C.D. Ill. Local Civ.

R. 7.1(B)(4)(b)(1) and 7.1(D)(5) because Section (2)(c), as defined under the Rule, contains less

than 7,000 words.

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                                                     /s/ David J. Chizewer



Dated: September 29, 2022




                                             -269-
                             CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of September, 2022, I caused the foregoing

PLAINTIFFS/RELATORS’         OPPOSITION       TO    DEFENDANTS’        MOTION      FOR

SUMMARY JUDGMENT to be served through the Court's Electronic Case Filing system upon

all attorneys of record.




                                             /s/ David J. Chizewer
APPENDIX A
                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF ILLINOIS
                           ROCK ISLAND DIVISION


UNITED STATES OF AMERICA, ex rel.
GEOFFREY HOWARD and ZELLA
HEMPHILL,                                  Case No. 4:11-cv-04022-MMM-JEH

                 Plaintiffs,
                                           Judge Michael M. Mihm
           v.                              Magistrate Judge Jonathan E. Hawley

KBR INC. and KELLOGG BROWN AND
ROOT SERVICES INC.,

                 Defendants.



                     PLAINTIFFS-RELATORS’ APPENDIX OF
                         KEY TERMS AND ACRONYMS


 AAA              Army Audit Agency
 ACL              Administrative Change Letter
 ACO              Administrative Contracting Officer
 ACRN             Accounting Classification Reference number
 AFEB             Award Fee Evaluation Board
 ASL              Authorized Stock List
 BLS              Base Life Support
 BPA              Business Process Analyst
 CAR              Corrective Action Request/Report
 CAS              Cost Accounting Standards
 CID              Criminal Investigation Division
 CJOA             Combined Joint Operations Area
 CLIN             Contract Line Item Number
 CLSS             Corps Logistics Service Support
 COBC             Code of Business Conduct
 COR              Contracting Officer’s Representative
 CPAF             Cost Plus Award Fee
 DCAA             Defense Contract Audit Agency
 DCMA             Defense Contract Management Agency
 DFAR             Defense Supplement to the FAR
 DMC              Distribution Management Center
 DoD              Department of Defense
 DOP              Desktop Operating Procedures
FAR       Federal Acquisition Regulations
FOB       Forward Operating Base
FSS       Federal Supply System
GFP       Government Furnished Property
GOI       Government of Iraq
IAR       Inventory Adjustment Report
IDIQ      Indefinite delivery, indefinite quantity
IJOA      Iraq Joint Operations Area
ITEMNUM   Item Number
JBB       Joint Base Balad
LOGCAP    Logistics Civil Augmentation Program
LOTD      Letter of Technical Direction
MATCON    Material Control
MCS       Material Control Specialist
MR        Material Requisition
MRN       Material Reference Number
NS        Non-Stock
NTE       Not to Exceed
OEF       Operation Enduring Freedom
OIF       Operation Iraqi Freedom
OPSDIR    Operations Directive
PA        Property Administrator
PCARSS    Plant Clearance Automated Reutilization Screening System
PCP       Property Control Procedures
PCSA      Property Control System Analysis
PEB       Performance Evaluation Board
PM        Project/Program Manager
PMO       Program Management Office
PMSA      Property Management System Analysis
PO        Purchase Order
POLINE    Purchase Order Line
PONUM     Purchase Order Number
POP       Period of Performance
PPM       Principal Program Manager
PR        Purchase Requisition
PSM       Procurement and Supply Management
RO        Requisition Objective
ROD       Report of Discrepancy
ROP       Reorder Point
SAP       Systems, Applications, and Products
SLT       Senior Leadership Team
SMART     Supply Management Assistance and Review Team
SOP       Standard Operating Procedure
SOW       Statement/Scope of Work
SP        Special
SSA       Supply Support Activity



                                 -2-
SSL        Safety Stock Level
STK        Stock
SUBCLIN    Sub-Contract Line Item Number
TACO       Theater Administrative Contracting Officer
TD         Technical Directives
TO         Task Order
TREC       Temporary Receiving Storerooms
TTM        Theater Transportation Mission
WACOAPPR   Waiting ACO Approval
WO         Work Order




                                  -3-
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                               ROCK ISLAND DIVISION


UNITED STATES OF AMERICA, ex rel.
GEOFFREY HOWARD and ZELLA
HEMPHILL,                                        Case No. 4:11-cv-04022-MMM-JEH

                     Plaintiffs,
                                                 Judge Michael M. Mihm
              v.                                 Magistrate Judge Jonathan E. Hawley

KBR INC. and KELLOGG BROWN AND
ROOT SERVICES INC.,

                     Defendants.


                            INDEX OF EXHIBITS TO
                      PLAINTIFFS/RELATORS’ OPPOSITION
               TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

                               DESCRIPTION                                      RELATORS'
                                                                                 EXHIBIT
                                                                                   NO.

                         VOLUME 1 - DOCUMENTS
KBR's Government-Approved Property Control Procedures,                                 1
dated September 21, 2006
Sample purchase requisition                                                            2
Internal KBR email containing December 29, 2008 email from B. Simmons                  3
KBR March 2010 Materials Control Technical Directive                                   4
Internal KBR email containing February 2, 2009 email from M. Brannen                    5
November 4, 2009 internal KBR email from C. O'Muirgheasa                               6
June 2009 email from KBR employee                                                       7
Internal KBR email containing February 25, 2010 email from R. Kaye                      8
Internal KBR email containing July 14, 2008 email from S. Hurd                         9
October 7, 2011 internal KBR email attaching Business Case for Process Design          10
Initiative, TREC CRIPPLER
May 2009 KBR Technical Direction Bulletin re: TRECs                                    11
February 21, 2010 internal KBR email from L. Sullivan                                  12
Internal KBR email                                                                     13
February 21, 2010 internal KBR email from L. Sullivan                                  14
                              DESCRIPTION                                       RELATORS'
                                                                                 EXHIBIT
                                                                                   NO.
February 21, 2010 internal KBR email attaching analysis of KBR's "Theater           15
Temporary Receiving (TREC) Storeroom Inventory"
KBR Distribution of Government Property Desktop Operating Procedure,               16
Rev. #01, dated August 23, 2008
November 26, 2008 DCMA Memorandum                                                  17
July 9, 2008 internal KBR email from E. Denton                                     18
June 2018 internal KBR email                                                       19
September 14, 2007 Memorandum from M. Mayo                                         20
August 23, 2009 internal KBR email from J. Haught                                  21
April 12, 2008 internal email from P. Powell                                       22
June 24, 2009 internal KBR email                                                   23
July 1, 2009 KBR Technical Direction Bulletin re: PCARSS                           24
Internal May 19, 2009 KBR email                                                    25
May 5, 2009 internal KBR email containing May 4, 2009 email from J. Haught         26
May 10, 2009 internal KBR email                                                    27
Internal KBR email containing June 11, 2009 email from G. LaBoa                    28
June 24, 2009 email from C. O'Muirgheasa                                           29
May 4, 2010 internal KBRM attaching Letter of Reprimand from G. LaBoa              30
August 23, 2009 internal KBR email from J. Haught                                  31
Internal KBR email containing February 16, 2010 email from E. Faris                32
Internal KBR email containing May 19, 2021 email from E. Faris                     33
Internal KBR email containing June 4, 2011 email from C. O'Muirgheasa              34
May 28, 2010 email from L. Sullivan                                                35
May 28, 2010 internal KBR emails from L. Sullivan                                  36
May 28, 2010 emails from L. Sullivan                                               37
March 5, 2010 internal KBR email from R. Kaye                                      38
March 3, 2008 email containing draft KBR "Distribution Management Center           39
Proof of Principle – CJOA presentation"
September 1, 2008 Task Order 159 Statement of Work                                 40

                        VOLUME 2 – DOCUMENTS
Task Order 159 Statement of Work                                                   41
September 15, 2010 Modification to Task Order 159                                  42
Internal KBR email containing June 18, 2008 email from T. Hippert                  43
June 30, 2011 internal KBR email from T. Hippert                                   44
Internal KBR email containing June 24, 2009 email from J. Vujic with attached      45
PCARSS form
March 13, 2010 KBR "Supply Discipline, PSM Supply – Areas of Opportunity"          46
KBR Desktop Operating Procedures: Distribution of Government Property,             47
dated June 2008
Task Order 139 Statement of Work Change 6                                          48
July 10, 2007 DCMA Memorandum                                                      49


                                              -ii-
                             DESCRIPTION                                      RELATORS'
                                                                               EXHIBIT
                                                                                 NO.

                        VOLUME 3 - DOCUMENTS
Internal KBR email attaching 2008 SMART Reports                                  50
Internal KBR email attaching 2008 SMART Report for site B3                       51
August 24, 2009 internal KBR email attaching SMART Audit Report of Site C7       52
March 22, 2010 internal KBR email from J. King attaching 2010 SMART Audit        53
Report of Site F2
Internal KBR email containing March 19, 2009 email from J. Webb                  54
October 16, 2007 internal KBR emails                                             55
KBR Materials Stock Plan Desktop Operating Procedure Rev. #2                     56

                         VOLUME 4 - DOCUMENTS
KBR Materials Stock Plan Desktop Operating Procedure Rev. 03                     57
May 24, 2008 email from L. Sullivan                                              58
June 23, 2008 internal KBR emails from B. McGarry                                59
August 24, 2009 internal KBR email from L. Lust                                  60
October 21, 2009 internal KBR email                                              61
July 22, 2004 Amendment P00008 to LOGCAP III Base Contract                       62
Internal KBR email containing August 2, 2010 email from C. O'Muirgheasa          63
Emails reflecting ACO approval of MR with Commercial Purchase Justification      64
Internal KBR email containing September 11, 2009 email from L. Lust              65
February 28, 2010 internal KBR email from C. O'Muirgheasa                        66
KBR data                                                                         67
January 23, 2010 internal KBR email attaching analysis of TRECs                  68
February 20, 2010 internal KBR email                                             69
March 3, 2010 email from R. Kaye                                                 70
July 2, 2009 Analysis by KBR's Head of the DMC                                   71
November 6, 2009 internal KBR email from C. O'Muirgheasa                         72
February 21, 2010 internal KBR email                                             73
February 9, 2011 email from L. Sullivan to herself                               74
Internal KBR email containing February 9, 2011 email from L. Sullivan            75
Internal KBR email containing February 23, 2010 email from R. Kaye               76
February 18, 2010 internal KBR email                                             77
February 26, 2010 internal KBR email                                             78
December 27, 2008 email from B. Simmons                                          79
March 2010 internal KBR email chain between L. Lust and R. Kaye                  80
March 20, 2010 email from R. Kaye                                                81
April 1, 2010 internal KBR email from R. Kaye                                    82
September 27, 2007 Walter Declaration                                            83
KBR Response to Interrogatory Number 10                                          84
July 27, 2008 internal KBR email from J. Haught                                  85
August 17, 2008 email from T. Sellars                                            86


                                             -iii-
                             DESCRIPTION                                      RELATORS'
                                                                               EXHIBIT
                                                                                 NO.
May 4, 2009 email from J. Haught attaching inventory analysis                     87
June 18, 2009 internal KBR email                                                 88
KBR's Government-Approved Property Control Procedures, dated July 15, 2008        89

                       VOLUME 5 – DOCUMENTS
KBR "Desktop Procedures: Redistribution of Government Property and Materiel      90
to include FOB/Base Closures," Revised June 2007
KBR Distribution of Government Property Desktop Operating Procedure, dated       91
August 23, 2008
“Materials Burn Rate” used for Task Orders 139 and 159                           92
KBR Government and Infrastructure Estimating Manual                              93
February 25, 2022 Expert Report of M. Rudolph                                    94
LOGCAP III Base Contract and Statement of Work                                   95
March 1, 2022 Expert Report of G. Gaukler                                        96

                         VOLUME 6 – DOCUMENTS
June 27, 2022 Expert Rebuttal Report of M. Rudolph                                97
June 24, 2022 Expert Rebuttal Report of D. Zakheim                               98
January 31, 2006 Amendment to LOGCAP III Base Contract                            99
August 21, 2006 Task Order 139                                                   100
November 2, 2007 DCMA Letter of Technical Directive to KBR                       101
KBR Materials Stock Plan Desktop Operating Procedure Rev. #0                     102
July 2006 KBR "Desktop Procedures: Redistribution of Government Property         103
and Materiel to include FOB/Base Closures"
April 22, 2022 Expert Report of E. Branch                                        104
June 27, 2022 Expert Rebuttal Report of G. Gaukler                               105
July 28, 2022 Expert Supplemental Rebuttal Report of G. Gaukler                  106
Relator Hemphill's February 10, 2020 Supplemental Response to Interrogatory      107
No. 9
Presentation to Award Fee Evaluation Board LOGCAP III – TO 139/159, for the      108
period May 1, 2008 thru December 31, 2008
Presentation to Award Fee Evaluation Board LOGCAP III – TO 118, for the          109
period May 2, 2007 thru October 31, 2007
PDF of Native Excel Spreadsheet KBR-HOW-0043609, Tab "1034-Task 57,"             110
Tab "1035-Task57," Tab "Prior MonthYrl Details 2008" and Tab "Yr2 Detail
2008, Row 128"
PDF of Native Excel Spreadsheet KBR-HOW-9030564, Tab "1035-Task 57"              111
PDF of Native Excel Spreadsheet KBR-HOW-9031407, Tab "1034-Task 159"             112
PDF of Native Excel Spreadsheet KBR-HOW-9031445, Tab "1035-Task 159"             113
PDF of Native Excel Spreadsheet KBR-HOW-9159179, Tab "ZBILL20080714-             114
044718-GC00GY," Row 1376
Data Pursuant to Local Rule 7.1(C) – 899 Public Vouchers                         115


                                             -iv-
                             DESCRIPTION                         RELATORS'
                                                                  EXHIBIT
                                                                    NO.
Data Pursuant to Local Rule 7.1(C) – MAXIMO database files (2)      116
Data Pursuant to Local Rule 7.1(C) – ZBILL production               117
Data Pursuant to Local Rule 7.1(C) – Gaukler's Output 1             118
Data Pursuant to Local Rule 7.1(C) – Gaukler's Output 2             119
Data Pursuant to Local Rule 7.1(C) – Gaukler's Output 3             120

                 VOLUME 7 - DEPOSITION TRANSCRIPTS
Branch, Elliott – June 24, 2022 Deposition                          121
Brannen, Mark – November 11, 2020 Deposition                        122
Brennan, Richard – May 17, 2022                                     123
Faris, Elias – February 13, 2020 Deposition                         124
Goetz, Douglas – May 19, 2022 Deposition                            125
Haught, James – February 11, 2020 Deposition                        126
Hippert, Ty – September 17, 2020 Deposition                         127

               VOLUME 8 - DEPOSITION TRANSCRIPTS
Hurd, Steve – February 21, 2020 Deposition                          128
Kaye, Richard – March 9, 2021 Deposition                            129
KBR 30(b)(6) Witness, Ferrazas, Jimmy – September 29, 2021          130
KBR 30(b)(6) Witness, Jacobs, Gregory – September 23, 2021          131
KBR 30(b)(6) Witness, Lust, Larry – September 28, 2021              132
KBR 30(b)(6) Witness, Lust, Larry – September 29, 2021              133
King, Jim – November 13, 2020                                       134
LaBoa, Guy – February 19, 2020 and February 20, 2020                135

                VOLUME 9 - DEPOSITION TRANSCRIPTS
Lust, Larry – February 12, 2020                                     136
Mayo, Michael – October 15, 2020                                    137
McNamara, Maria – November 13, 2019 and November 14, 2019           138
O’Muirgheasa, Connor – December 17, 2020                            139
Pagonis, Gust – July 27, 2021 and July 29, 2021                     140

               VOLUME 10 - DEPOSITION TRANSCRIPTS
Ritondale, Cheryl – June 9, 2021                                    141
Rock, Jeff – December 4, 2020                                       142
Sheridan, Mary – January 13, 2021                                   143
Sullivan, Lynellen – February 12, 2021                              144
Vines, John – May 20, 2022                                          145
Vollmecke, Kirk – October 23, 2020                                  146




                                             -v-
                       DESCRIPTION                  RELATORS'
                                                     EXHIBIT
                                                       NO.

               VOLUME 11 - DEPOSITION TRANSCRIPTS
Vujic, John – June 24, 2021                            147
Wade, Mary – September 15, 2020                        148
Zakheim Dov – July 29, 2022                            149




                                    -vi-
